                                     Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22                                Page 1 of 99 PageID 3821                           -...,.,
9 15465.00 1
                                                                                                                                                                         ~~ at&t
                                                                 MOBILITY USAGE
0 4 /15/ 2 0 11
SCAMP                                                         (with cell location)


 Run Date:           04/15/2011
 Run Time:           15:28:49
 Voico Usage For:    (817) 343-6690
 Account Number :    318912244
Item    Conn.     Conn. Seizure Originating               Terminating   Elapsed     Number            IMBI              IHSI         Desc r iption   Coll Location
         Date     Timo      Time      Number                Number       Timo       Dialed
68    03/05/11 12: 04P     0 : 07 18173436690           121453 5 3700      0:31   121453 5 3700 011935005960741 3 1 041027693620 1    M2M_ DIR       [52703 / 34571: - 97.42067:32.76231:60)
                                                                                                        5
69    03/05/11 12:10P       0:35      18173436690       12144356137       0:02    12144356137 0119 35005960741 310410276936201        M2m DIR        [52703/ 34571: - 97.42067:32.76231:6 0 )
                                                                                                       5
70    03/05/11 12:29P       0 : 21    12145353700       1 8173436690      0:03    18173436690 011935005960741 310410276936201         M2M_VMC        [ 52703/34179: - 97.4065:32.73331:300,
                                                                                                       5                                             52703/33197: - 97 . 417:32.72469:60)
71    03/05/11 12: 54P      0:08      18173436690       12145353 7 00     0:26    1214535 3700 011935005960741 310 4 1 0276936201     M2M DIR        [52703/14153:-97.4065: 3 2 .7 3331:300)
                                                                                                      5
72    03/05 /11 01: 48P     0:11      18173436690       19153172253       2:51    19153172253 011935005960741 310410276936201         M2m DIR        [5 2703 /3457 1: - 97.42067:32.76231 : 60)
                                                                                                      5
73    03/05/ 11 04:50P      0:22      18173436690       19155912171       4:48    19155912171 011935005960741 310410276936201         M20 DIR        [52709/60428:-97.09917:32 .9 5581:128)
                                                                                                       5
74    03/05/11 06: 06P      0:07      18177761615       18173436690       0:26    18173436690 011935005960741 310410276936201         M2M DIR        [ 52709 / 60428:-97.09917:32.95581: 128 )
                                                                                                       5
75    03/05/11 10: 18P      0:01      18179480989       18173436690       0:00    18173436690 011935005960741 310410276936201         m2M DIR        [52709/23562: - 97.09917:32.95581:128 )
                                                                                                       5
76    03/06/11 09:59A       0:30      18173436690       12142847546       0:08    12142847546 011935005960741 310410276936201         M2m DIR        [ 52703 /14 221:-97.44867:32.77356:6 0 )
                                                                                                       5
77    03/06/11 10:23A       0:16      1 8173436690      12142847 5 46     0:23    12142847546 01 1 93500596074 1 310410276936201      M2m_DIR        [ 52703/14221:-97.44867:32.77356:60)
                                                                                                       5
78    03/06/11 l0:44A       0:08      12142847546       18173436690       0:21    18173436690 0119 35005960741 31041027 6936201       m2M DIR        [ 5270 3 / 34571: - 97.42067:32.76231:60)
                                                                                                       5
79    03/06/11 l 2:01P      0:34      18173436690       12144356137       0:04    12144356137 011935005960741 310410276936201         M2m DIR        [52703 /1 4181: - 97.42067:32.7623 1 :60)
                                                                                                       5
80    03/06/11 12: 03P      0:31      18173436690       12144356137       0:01    12144356137 011935005960741 310410276936201         M2m_ DIR       [52703 /1 4221: - 97.44867:32.77356:60,
                                                                                                       5                                             52703/14181:-97.42067:32.76231:60)
81    0 3 /06/1 1 12: 07P   0:04      1 21443 5 613 7   18173436690       0:23    181734 3 6690 011935005960741 310410276936201       m2M DIR        [52703/35367 :- 97.44867:32.77356:8)
                                                                                                       5
82    03/06/11 01:55P       0:13      12145353700       18173436690       0:00    18173436690 011935005960741 310410276936201         M2M_ DIR       [52703/ 35367 : -97.44867:32.77356:8)
                                                                                                     5
83    03/06/11 02 : 15P     0:13      18173436690       12145353700       0:34    12145353700 011935005960741 3 1 0410276936201       M2M DIR        [52703/ 3457 1 : - 97.42067:32.76231:60,
                                                                                                       5                                             52703 / 3536 1 :-97.44867:32.77356:8)
84    03/06/11 03: SOP      0:03      18173436690       18004321000       1:03    18004321000 011935005960741 31 0410276936201        M20_DIR        [52703/34573: - 97.42067:32 . 76231:300)
                                                                                                       5
85    03/06/11 03:52P       0 : 08    18173436690       18889130900       0:53    18889130900 011935005960741 3 1 041027693620 1      M20_ DIR       [52703/34578:-97.42067:32.76231:180)
                                                                                                       5
86    03/06/1 1 03: 53P     0:02      18173436690       18004321000       2:15    1800432 1 000 011935005960741 310410276936201       M20 DIR        [52703/35399: - 97 . 39886:32.77283:300,
                                                                                                       5                                             52703/34177: - 9 7 .4065 : 32.73331:60)
87    03/06/11 04:04P       0:17      1 8173436690      19155912171       2:08    1915591 2171 011935005960741 3 10410276936201       M20 DIR        [52705/41219: - 97.268:32.78578:240,
                                                                                                       5                                             52707/00959:-97.23075:32.79428:300)
88    03/06/11 04: 06P      0:16      18173436690       1915591 2171      3:23    191559 1 2171 011935005960741 310410276936201       M20 DIR        [52707/00959: - 97.23075:32.79428: 3 00,
                                                                                                       5                                             52707 /00399: - 97 . 1 96 14:32.83408:300)




                                                                                    AT&T Propri etary
        AMO                      The information containe d here is for use by authoriz e d pers on only a nd is                                                                      Page 4
                                                        not for gene ral di stributi on .
                                        Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22                                  Page 2 of 99 PageID 3822                             -...,..,
 915 465 . 0 01
 0 4/ 15 /20 11
 SCAMP
                                                                    MOBILITY USAGE
                                                                 {with cell location)                                                                                          t11at&t
 Run Date:           04/15/2011
 Run Timo:           15:28:49
 Voico Uoage For:    (817)343-6690
 Account Number:     318912244
Item    Conn.     Conn.  Seizure   Originating              Terminating   Elapsed      Numb or         IMEI            IMSI               Descrip t ion   Cell Location
         Dato     Time     Time      Number                   Numb or      Timo        Dialed
89    03/06/11 07: 54P    0:07 18173436690                14697741845       15:40    14697741845 011935005960741 310410276936201           M2M DIR        [ 52707/23531:-97. 1 6078:32.85086 : 8,
                                                                                                              5                                           52903/27603:-97.08444:32.92639:300]
90     03/06/11    09: 46P     0:21      146977 4 1845    18173436690        0:00    18173436690 011935005960741 310410276936201           M2M_ VMC       [ 52709/60428: - 97.09917 : 32 . 95581:128 ]
                                                                                                              5
91     03/06/11    09: 46 P    0:0 1     1 8 173436690    13173419000       0:24     1 317 3419000                     310410276936201       M2m          []
92     03/06/1 1   09: 4 6P    0 : 01    14697 741845     18173436690       0:24     1 817 343 6690                    310410276936201       m2M          []
93     03/07/11    10:34A      0 : 10    18 173436690     12142230947       0:5 7    1 21422 3 0947 0 11935005960741 3 104 1 0276936201    M2M_DIR        [52903/23587:-97.09742:32.89986 : ,
                                                                                                              5                                           52709/24338:-97.09953:32.93497 :]
94     03/07/11 10: 53A        0 : 22    12146940034      18173436690       1:13     18173436690 011935005960741 310410276936201           m2M VMC        [52709/24338: - 97.09953:32.93497 : ]
                                                                                                              5
95     03/07 / 11 11: OlA      0:11      18173436690      19155912171       1 : 22   19155912171 011935005960741 310410276936201           M20_ DIR       [ 52709 / 2433 8 :-97 . 09953 : 32.93497:]
                                                                                                              5
96     03/07/11    11 : 28A    0:13      18173436690      18179120500       0:42     181 79120500 011935005960741 310410276936201          M20 DIR        [52709 / 60313:-97 . 07914:32.93881:240,
                                                                                                              5                                           52709/ 62022:-97 . 09953:32.93497: 1 20 ]
97     03/07/11    11:29A      0:04      1 81734 3 6690   18004321 000      0:33     1800432 1 000 011935005960741 310410276936201         M20 DIR        [52709 / 62022:-97.09953:32.93497:120]
                                                                                                              5
98     03/07/11 03 : 05P       0:18      18173436690      18179120500       0:23     1 8 1 79120500 011935005960741 310410276936201        M20_DIR        [52709 / 24338:-97.09953:32.93497:]
                                                                                                              5
99     03/07/11 03: 32P        0:26      18173436690      18179120500       0:11     181791 20500 011935005960741 310410276936201          M20 DI R       [52709 / 60428: - 97 . 09917 : 32.95581:128 ]
                                                                                                              5
100    03/07/11 04: 29P        0:03      18173436690      18004321000       0:37     18004321000 01193 5 005960741 310410276936201         M20 DIR        [52709 / 60428:-97.09917:32.95581:128 ]
                                                                                                              5
101    03/07/1 1   04 :3 0 P   0:27      18173436690      19155912171       0 : 03   19155912171 011935005960741 310410276936201           M20_ DIR       [52709/60428: - 97.09917:32 . 95581 : 128 ]
                                                                                                              5
102    03/07/11    04: 51P     0:25      181 7 3436690    19157405173       1:38     1 9157 40 5173 011935005960741 310410276936201        M2m DI R       [52709/60422: - 97.09917:32.95581 : 128,
                                                                                                              5                                           52709/60423:-97.09917 :32.95581:248 ]
103    03/08/11    0 2 : OlA   0:19      18173436690      18179469251       5:32     181 79469251 011935005960741 310410276936201          M2m_DI R       [ 5 2707/40649: - 97. 1 60 7 8:32.85086 : 248 ]
                                                                                                              5
104    03/08/11    02: 08A     0: 1 4    1 8179469251     18173436690       6:17     1817 3436690 0 1 1935005960741 310410276936201        m2M DI R       [52707/23533:-97.16078:32.85086:248,
                                                                                                              5                                           52707/27571:-97.22244 : 32 . 82669:60]
105    03/08/11    02 : 18A    0:08      1 8 179469251    1 8173436690      2:33     1 8 1 73436690 0 1 1935005960741 31041027693620 1     m2M DI R       [52706/00777:-97 . 27833 : 32 . 83 864 : 8,
                                                                                                              5                                           52706/42148: - 97.290 1 7:32.87097 :1 28 ]
106    03/08/11 12 : 49P       0: 1 6    18173 436690     18179120500       0:35     1817912050 0 011935005960741 31041027693620 1         M20_ DI R      [52709 / 24338: - 97.09953: 3 2.93497 : ]
                                                                                                              5
107    03/08/11 01: 04P        0:05      19157405173      18173436690       0 : 16   181 73436690 01193500596 0741 310410276936201         m2M DIR        [52709 / 62028: - 97.09953:32.93497:120]
                                                                                                              5
108    03/08/11    03: 08P     0:36      1 8 173436690    18179120500       0:00     18179120500 01193500596 0741 310410276936201          M20_ DI R      [52709 / 24338: - 97.09953:32.93497:]
                                                                                                              5
1 09   03/08/11 03: 20P        0:10      18173436690      18179120500       0:27     1 8 179120500 0 1 19 3 5005960741 31041027693620 1    M20 DI R       [52709/60422:-97.09917:32.95581:128]
                                                                                                              5
110    03/08/11 04: 42P        0:23      18173436690      16823519256       0:40     1682 3 519256 011935005960741 31041027693620 1        M2m_ DI R      [52709 / 23562: - 97.099 1 7:32.95581: 128]
                                                                                                              5




                                                                                       AT&T Propri e tary
         AMO                                                                                                                                                                                  Page 5
                                   The information contained here is for use by autho rized person only and is
                                                          not for general di s tributi on.
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                                          Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22                                   Page 3 of 99 PageID 3823
 04 /15/2011                                                          MOBILITY USAGE
 SCAMP                                                             (with cell location)


 Run Date:               04 /15/2011
 Run Time:               15:28:49
 Voi ce Osage For:       (817)3 43-6690
 Acc oun t Number:       318912244
 Item     Conn.       Conn.     Seizure      Originating      Terminating   Elapsed       Number           IMBI                IMSI          Description   Cell Location
          Date        Time       Time          Number           Number       Time         Dialed
111     03/08/11     09:42P      0:22      18179469251      18173436690        0:10     18173436690 011935 005960741    31 0410276936201      m2M_ VMC     [52709/60423:-97.09917:32.95581:248]
                                                                                                             5
112     03 / 08/11   09 : 48P    0:06      18173436690      18174852277        0 : 22   18174852 277 011935005960741    310410276936201       M20 DIR      [52709 /62021: - 97.09953:32.93497 :0]
                                                                                                             5
113     03/08 / 11 09:48P        0:09      18173436690      18172962476        0:3 1    18172962476 011935005960741     310410276936201       M2M DIR      [52709/62021:·97.09953:32.93497:0,
                                                                                                             5                                             52709/60313:-97 . 07914:32.93881:240]
114     03/08/11 11 : SSP        0:01      18173 4 36690    1817 47 56127      0:00     18174756127 011935005960741     3104 1 0276936201     M2M_DIR      [52707 /42 189:-97.13406:32 . 83747:248]
                                                                                                             5
115     03/08/11 11:59P          0 :24     18173436690      1 817903 8698      0:05     18179038698 011935005960741     3104 1 02769 36201    M2m DIR      [52707/42189:-97 . 13406:32.83747:248]
                                                                                                             5
116     03/09/11 12: 24A         0:22      18174756127      18173436690        0:02     18173436690 011935005960741     3104 102 76936201     M2M_ VMC     [52707 /14743:-97. 13406:3 2.83747:248]
                                                                                                             5
117     03/09/11 02:24A          0:11      18173436690      18174756127      13:47      18174756127 01193 50 05960741   3104 1 0276936201     M2M DIR      [5 2707/14743 :- 97.13406:32.83747:248,
                                                                                                             5                                             52709/23471 :-97 .07914:32.93881:8]
118     03/09/11 09: 03A         0:20      16823519256      18173436690       0:22      18173436690 011935005960741     310410276936201       m2M DIR      [52709 /60428 :-97.09917:32.95581:128]
                                                                                                            5
119     03/09/11 12 : 4SP        0:19      18173436690      19157264091       2 : 30    19157264091 011935005960741 310410276936201           M2M DIR      [527 09/23562 :-97.09917:32.95581:128 ]
                                                                                                            5
120     03 /09/11 02:13P         0: 07     18173436690      16823654979      11:39      16823654979 0119350 059 60741 31041 0 276936201       M2M_ DIR     [ 52709/24332:-97.099 5 3:32.93497:128]
                                                                                                            5
121     03/09/11     02:27P      0:03      18173436690      18004321000       0:42      18004321000 011935005960741 310410276936201           M20 DIR      [ 52709/24332:-97.09953:32.93497 :1 28,
                                                                                                            5                                              52709/23473: - 97.07914:32 . 93881 :24 8]
122     03/09/11     03: 07P     0:06      12145669724      18173436690       2:32      18173436690 011935005960741 310410276936201           M2M DIR      [ 52709/23562:-97.09917 : 32.95581:128]
                                                                                                            5
123     03/09/11 06: 24P         0:02      18173 4 3669 0   18004321000       0:34      1800 4321000 01 1 935005960741 310410276936201        M20_ DIR     [ 52707/40649:-97.16078:32 . 85086 : 248]
                                                                                                            5
124     03/09/11 07: OSP         0:17      16823654979      18173436690       1:06      18173436690 011935005960741 31041027693 620 1         M2M DIR      [ 52707/40649:-97.16078:32 . 85086:248]
                                                                                                            5
125     03/09/11     09: OlP     0 : OS    18173436690      18004321000       0:39      18004321000 011935005960741 310410276936201           M20_DIR      [ 52707/23533 : -97.16078 : 32.85086 :2 48]
                                                                                                            5
126     03 /09/ 11 09: 02P       0:02      18173436690      18004321000       2:19      18004321 000 011935005960741 310410 276936201         M20_ DIR     [52707/23533: ·97.16078:32.85 086:248]
                                                                                                            5
127     03/10/11 09: 06A        0 :04      18173436690      18 004321000      0:34      18004321000 011 935005960741 310410276936201          M20 DIR      [52709/62022 :-97.09953:32.93497:120]
                                                                                                            5
128     03/10/11 11: 34A        0:02       18173436690      18179120500       0:00      1817912050 0 011935005960741 310410276936201          M20_ DIR     [52709/24338: - 97.09953:32.93497:]
                                                                                                            5
129     03 / 10/11   02: 38P    0 :14      18173436690      18173431808       0:21      18173431808 011935005960741 310410276936201           M2M DIR      [52709/2 4338: -97.09953:32.93497:]
                                                                                                            5
1 30    03/10/11     04:17P     0:07       18173436690      18179120500       0:14      18179120500 011935005960741 310410276936201           M20_DI R     [52709/24331:-97.09953:32.93497 : 8,
                                                                                                            5                                              52709/23562 :- 97 .09917:32.95581:128 ]
131     03/11/11     02:51A     0 :02      18173436690      18004321000       0:37      18004321000 011935005960741 3 1 0410276936201         M20 DIR      [52709 /2 3562:-97 . 09917:3 2.95 581:128]
                                                                                                            5




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                                                            not for general distribution.
                                    Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22                                    Page 4 of 99 PageID 3824
915465 .001                                                     MOBILITY USAGE
04/15/20 11
SCAMP                                                        (with cell location)


 Run Date:           04/15/2011
 Run Time :          15:28:49
 Voice Usage For:    (8 17)343·6690
 Account Number:     318912244
Item    Conn.     Conn.   Seizure   Originating         Terminating   Elapsed      Number             IMBI                IMSI         Descr iption   Cel l Location
         Date     Time      Time      Number              Number       Time        Dialed
132    03/11/11 02:52A     0:05      18173436690      18664471705        1:45    18664471705 011935005960741         310410276936201    M20_ DI R     [52709/23562: - 97 . 09917:32.95581:128)
                                                                                                     5
133    03/11/11 02: 54A    0:07      18173436690      18889130900        0:48    18889130900 011935005960741         310410276936201    M20 DI R      [52709/23562: - 97.09917:32.95581 : 128)
                                                                                                     5
134    03/11/ 1 1 02:56A   0:05      18173436690      18664471705        1 :11   1866447 1705 011935005960741        310410276936201    M20 DI R      [52709/23562 :- 97.099 17:32.95581:128 )
                                                                                                     5
135    03/11/11 09:54A     0:11      18173436690      18179120500       0:46     18179120500 011935005960741         310410276936201    M20_ DI R     [52709/24338: - 97 . 09953:32.93497: )
                                                                                                     5
136    03/11/11 12: lOP    0:30      18173436690      17025134813       0:20     17025134813 011935005960741         310410276936201    M2m DIR       [52709 /62028: - 97.09953:32.93497:120)
                                                                                                     5
137    03/11/11 12:11P     0:14      18173436690      18179120500        1:07    18179120500 011935005960741         310410276936201    M20 DI R      [52709 / 62028: - 97.09953:32.93497:120)
                                                                                                        5
138    03/11/11 10: 17P    0:07      19722238071      18173436690       0:44     18173436690 01193500596074 1 310410276936201           02M DI R      [52707/23533: - 97.16078:32.85086:248)
                                                                                                     5
139    03/12/11 12:25A     0 : 24    18173436690      18179882986       0:10     1 8179882986 011935005960741 310 410276936201          M2M_ DIR      [52707/40643: -9 7.16078:32.85086:248)
                                                                                                        5
140    03/12/11 12:26A     0 : 24    1 8 173436690    181798 82986      0 : 03   1 817988 2 986 01193500 5 96074 1   310410276936201    M2M DI R      [52707/40643: - 97.16078:32.85086 : 248)
                                                                                                       5
141    03/12/11 12:40A     0:24      18173436690      18179882986       0:04     18179882986 011935005960741         310410276936201    M2M DIR       [52707/40649: - 97 . 16078:32.85086:248)
                                                                                                       5
142    03/12/11 01 : 52A   0:13      18173436690      14694632000      37:38     14694632000 011935005960741         310410276936201    M2m_DI R      [52707/40649: - 97.16078:32.85086 : 248,
                                                                                                       5                                              52709/60428: - 97.09917:32.95581 : 128)
143    03/ 12/11 02:31A    0:18      181 734 3 6690   14695692275      43:54     14695692275 011935005960741         310410276936201    M2m DIR       [52709 /60428: - 97 . 09917:32.95581:128 )
                                                                                                       5
144    03/12/11 10:05A     0:02      18173436690      18004321000       0:40     18004321000 011935005960741         310410276936201    M20_ DI R     [52709/60422: - 97 . 09917 : 32 . 95581:128)
                                                                                                        5
145    03/ 12/11 10:06A    0:07      1817 3436690     18889130900       0:43     18889130900 011935005960741 310410 2 76936201          M20 DI R      [52709/60422: - 97 . 09917 : 32.95581:128)
                                                                                                        5
146    03/12/11 08: 52P    0:08      18173436690      18889130900       0:43     18889130900 011935005960741 310410276936201            M20_ DIR      [52709/24332: - 97.09953:32.93497 : 128)
                                                                                                    5
147    03/12/11 09: 56P    0:21      14697741845      18173436690       0:00     18173436690 011935005960741 310410276936201            M2M VMC       [52709/24338: - 97.09953:32.93497:)
                                                                                                        5
148    03/12/11 09:56P     0:01      181 73436690     13173419000       0 : 05   131734 1 9000               310410276936201              M2m         [)
149    03/12/11 09: 56P    0:01      14 697741845     18173436690       0 : 05   18173436690                 310410276936201              m2M         [)
150    03/ 12/11 10: 33P   0:07      181 7343 6690    18889130900       0 : 47   18889130900 011935005960741 310410276936201            M20 DI R      [52709/24338 :- 97 .09953: 3 2.93497: )
                                                                                                        5
15 1   03/12/11 10: 52P    0:21      1 46 9767 0349   181734 3 6690     0 : 00   1 817 3 4 3 6690 011935005960 7 4 1 310410276936201    m2M_ VMC      [52707/40649 :- 97.16078:32.85086:248)
                                                                                                        5
152    03/12/11 10:53P     0:01      1 8173436690     1317 3419000      0 : 38   13 173419000                310410276936201              M2m         [)
153    03/12/11 10:53P     0:25      14697670349      18173436690       0:38     1817343669 0                31041027693 6201             m2M         [)
154    03/13/11 12 :08A    0:20      18179469251      18173436690       0:00     18173436690 011935005960741 310410276936201            m2M_ VMC      [52707/40649: - 97.16078:32 . 85086:248)
                                                                                                        5




                                                                                   AT&T Prop ri etary
         AMO                                                                                                                                                                           Page 7
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                                         Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22                                 Page 5 of 99 PageID 3825
                                                                     MOBILITY USAGE
04/15/2011
SCAMP                                                             (with cell location)                                                                                        i? at&t

 Run Date:               04/15/2011
 Run Time:               15:28:49
 Voice Osage For:        (817)343-6690
 Account Number:         318912244
Item     Conn.       Conn.     Seizure      Originating     Terminating   Elapsed      Number           IMBI                IMSI            Description   Cell Location
         Date        Time       Time          Number          Number       Time        Dialed
155    03 /13/11 12: 08A        0:01      18173436690     13173419000        0:08    13173419000                   310410276936201             M2m        []
156    03/13/11 12: 08A         0:25      18179469251     18173436690        0:08    18173436690                   310410276936201             m2M        []
157    03/13/11 12: 22A         0 : 21    14697741845     18173436690        0:00    18173436690 01 1935 005960741 310410276936201           M2M_ VMC     [527 07/40649 : -97 . 16078:32.85086 : 248]
                                                                                                          5
158    03/13/11 12:23A          0:01      18173436690     13173419000       0:21     13173419000                   310410276936201             M2m        []
159    03/13/11 12:23A          0:01      14697741845     18173436690       0:21     18173436690                   310410276936201             m2M        []
160    03/13/11 01: 38A         0:10      18173436690     14697741845       1:02     14697741845 0119 35 005960741 310410276936201           M2M DIR      [52707/40649:-97.16078 : 32.85086 : 248]
                                                                                                          5
161    03/13/11     03: OOA     0:01      18173436690     14697741845       0 : 06   14697741845 0 11 93 50059607 41 3104102769 36201        M2M_ DIR     [52707/40649:-97.16078:32.85086:248 ]
                                                                                                           5
162    03/13/11     03: OOA     0:01      18173436690     14697741845       0:05     14697741845 011935005960741 310410276936201             M2M DIR      [52707/40649:-97.16078:32.85086:248]
                                                                                                          5
163    03/13/11 03: OlA         0:02      18173436690     14 69774 1845     0 : 04   14697741845 011935005960741 310410276936201             M2M_ DIR     [52707 /40649:-97.16078: 32.8508 6:248 ]
                                                                                                        5
164    03/ 13 /11   03: OlA     0:29      18173436690     18179469251       0:04     18179469251 011935005960741 310410276936201             M2m DIR      [52707/40649: - 97.16078:32.85086:248 ]
                                                                                                          5
165    03/13/11 03: 02A         0:01      18173436690     13173419000       0:04     13173419000                     310410276936201           M2m        []
166    03/13/11 03:02A          0:00      18179469251     18173436690       0:00     18173436690                     310410276936201           m2M        []
167    03/13/11 03: 02A         0:02      18179469251     18173436690       0 : 04   18173436690                     310410276936201           m2M        []
168    03/13/11 03: 02A         0:10      18173436690     14697741845      21:16     14697741845 01193500596074 1    310410276936201         M2M_ DI R    [527 07/40649 :- 97.16078:32.85086:248,
                                                                                                          5                                               52807/61339 :- 96.98325 : 33.00553:240]
169    03/13/11     03:02A      0:01      18173436690     13173419000       0:05     13173419000                     310410276936201           M2m        []
170    03/13/11     03 :02A     0:00      18179469251     18173436690       0:00     18173436690                     310410276936201           m2M        []
171    03/13/11     03:02A      0:23      18179469251     1817343 6690      0:05     18 173436 690                   310410276936201           m2M        []
172    03/13/11     03: 03A     0:01      18173436690     13173419000       0:05     13173419000                     310410276936201           M2m        []
173    03/13/11     03: 03A     0 : 00    18179469251     18173436690       0:00     18173436690                     310410276936201           m2M        []
174    03/13/11     03: 03A     0:22      18179469251     18173436690       0:05     18173436690                     31 04 1 0276936 2 01      m2M        []
175    03/13/11     03: 06A     0:02      18173436690     13173419000       0:28     13173419 000                    310410276936201           M2m        []
176    03/13/11     03 : 06A    0:00      18179469251     18173436690       0:00     18173436690                     310410276936201           m2M        [52707/41589: - 97.13542:32.85347:240]
177    03/13/11     03 : 06A    0:23      18179469251     18 173436690      0:28     18173436690                     310410276936201           m2M        []
178    03/13/11     03: 13A     0 : 00    18179469251     18173436690       0:00     18173436690                     310410276936201         m2M DIR      []
179    03/13/11     03: 15A     0 : 02    18173436690     13173419000       0:57     13173419000                     310410276936201           M2m        []
180    03/13/11     03: 15A     0 : 00    18177845975     18173436690       0:00     18173436690                     310410276936201           m2M        [52903/61689 :-97.064 86:32.91786:240]
181    03/13/11     03: 15A     0 : 23    18177845975     18173436690       0:57     18173436690                     310410276936201           m2M        []
182    03/13/11     03:26A      0:18      18179469251     18173436690       0:00     18173436690 0 11 935005960741   3 1 0410276936201       m2M_DIR      [52807/02822:-96 .99561:33.025 03:180]
                                                                                                         5
183    03/13/11     03 :28A     0:31      18173436690     18179469251       0:10     181794692 51 011935005960741 310410276936 201           M2m DIR      [528 07/02822 : -96 . 99561:33.02503:180]
                                                                                                         5
184    03/13/11     03:38A      0:07      18173436690     14697741845       0:53     14697741845 011935005960741 310410276936201             M2M_ DIR     [52807/00639:-96.96389:33.00542:300,
                                                                                                        5                                                 52807/61337:-96.98325:33.00553:0 ]



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                                            Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22                               Page 6 of 99 PageID 3826
                                                                                                                                                                             ~ at&t
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04/15/2011
                                                                        MOBILITY USAGE
SCAMP                                                                (with cell lo c ation)


 Run Date:                 04/ 15 / 2011
 Run Timo:                 15:28:49
 Voice Usage Por :         (817)343-6690
 Account Numbe r:          318912244
Item      Conn .       Co nn.     Seizure     Originating     Terminating   Blapsed       Number          IMBI               IMSI         Description   Coll Location
         Dato          Time        Time          Number          Number      Time         Dialed
185    03/13 / 11     03 :46A      0:14      18179469251    18173436690        0 : 00   18173436690 011935005960741     310410276936201    m2M_ VMC     [52807 / 61337:-96.98325:33.00553:0]
                                                                                                           5
186    03 / 13/11 03 :46A          0:01      18173436690    13173419000       2:53      13173419000                     310410276936201      M2m        []
187    03/13 / 11 03: 4 6A         0:18      1 8179469251   18173436690       2:53      1817343669 0                    310410276936201      m2M        []
188    03/13/11 OS: 17A            0:09      18173436690    18173431808       2:36      18173431808 011935005960741     310410276936201    M2M DIR      [52905/19758: - 96.96028 : 32 . 95381 : ,
                                                                                                           5                                            52907/13487:-96.96489:32 . 92289 : 8 ]
189    03/13/11       09: 26A      0:15      14697670349    18173436690        0:25     18173436690 011935005960741     310410276936201    m2M_ DIR     [52709/23562:-97.09917:32.95581:128]
                                                                                                           5
190    03 / 13 / 11   09 : 57 A    0:17      13302406183    18173 4 36690      0:24     18173436690 0119350059607 4 1   310410276936201    M2M DIR      [52709 / 23562:-97.09917:32.95581:128]
                                                                                                           5
191    03 / 13 / 11 10: 20A        0 : 26    18173436690    1330 2 406183     0:27      13302406183 011935005960741     310410276936201    M2M DIR      [52709 / 60428: - 97.09917 : 32.95581:128]
                                                                                                           5
192    03 / 13 / 11 10: 21A        0:03      13302406183    18173436690       8:18      18173436690 011935005960741     310410276936201    M2M DIR      [52709 / 604 28:-97.09917:32 . 95581:128,
                                                                                                           5                                            52903 / 60087:·97.097 4 2:32 . 89986:0]
193    03 / 13/11 10: 31A          0:13      18173436690    14697670349       0:30      14697670349 011935005960741     310410276936201    M2m DIR      [52903/60087:-97.09742:32.89986:0]
                                                                                                           5
194    03 / 13 / 11 11: 14A        0:08      14697670349    18173436690       0:47      18173436690 011935005960741     310410276936201    m2M DIR      [52909 / 12372:-96.74036:33.12503:180,
                                                                                                           5                                            52909/13303:-96 . 68461:33.13925:248]
195    03 / 13 / 11 12:49P         0:25      18173436690    14697670349       0:04      14697670349 011935005960741     310410276936201    M2m DIR      [52909 / 08299: - 96 . 63889:33 . 18278 : 300]
                                                                                                           5
196    03 / 13 / 11 12:53P         0:05      14697670349    1817343669 0      1 : 00    18173436690 011935005960741     310410276936201    m2M DIR      [52909 / 08297:-96.63889:33.18278:60,
                                                                                                           5                                            52909 / 10757:-96.64903:33.16036:8]
197    03 / 13 / 11 03: 12P        0:11      18173436690    18173431808       1:36      18173431808 011935005960741     310410276936201    M2M DIR      [52908/02782:-96.81903:33.08753:180,
                                                                                                           5                                            52908 / 02181:-96.82436:33.06828:60]
198    03/13 / 11     07: 46P      0:12      18173436690    18173431808       2:39      18173431808 011935005960741     310410276936201    M2M_ DIR     [52903/27603:-97.08444:32.92639:300]
                                                                                                           5
199    03/13/11 08: 08P            0:21      14695692275    18173436690       0:00      18173436690 011935005960741     310410276936201    m2M VMC      [52709/20237:-97.12608:32.93822:8]
                                                                                                           5
200    03/13 / 11 08: 09P          0:01      18173436690    13173419000       0:05      13173419000                     310410276936201      M2m        []
201    03/13/11 08: 09P            0:24      14695692275    18173436690       0:05      18173436690                     310410276936201      m2M        []
202    03 / 13 / 11 08: lOP        0:07      14696671196    18173436690       3:13      18173436690 011935005960741     310410276936201    m2M DIR      [52709 / 20237:-97 . 12608:32.93822:8]
                                                                                                           5
203    03/13/11       08:27P       0 : 04    18173431808    18173436690       0:49      18173436690 011935005960741     310410276936201    M2M DIR      [52709 / 18908:-97.15139:32 . 97094:,
                                                                                                           5                                            52709/24339:·97.09953:32.93497:]
204    03 / 13 / 11   08: 28P      0:03      18179469251    18173436690       0:00      18173436690 011935005960741     310410276936201    m2M_ VMC     [52709 / 24337:-97 . 09953:32.93497:]
                                                                                                           5
205    03 / 13 / 11 08:28P         0:01      18173436690    13173419000       0:09      13173419000                     310410276936201      M2m        []
206    03/13 / 11 08: 28P          0:09      18179469251    18173436690       0:09      18173436690                     310410276936201      m2M        []
207    03 / 13 / 11 10: 17P        0:21      14696671196    18173436690       0:00      18173436690 011935005960741     310410276936201    m2M VMC      [52709 / 18908:-97.15139:32.97094:]
                                                                                                           5
208    03 / 13 / 11 10:17P        0:02       18173436690    13173419000       0:04      13173419000                     310410276936201      M2m        []
209    03/13/11 10:17P            0:26       14696671196    18173436690       0:04      18173436690                     310410276936201      m2M        []




                                                                                          AT&T Prop r i e t a ry
          AMO                          The informat i on c on tained h e r e is f o r us e b y a uthor ized p e rson only and is                                                           Page 9
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                                     Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22                                 Page 7 of 99 PageID 3827
 915465.001
 04/15/2011
                                                                 MOBILITY USAGE
 SCAMP                                                        (with cell location)


 Run Dato:           04/15/2011
 Run Time:           15:28:49
 Voice Osago For:    ( 817)343-6690
 Account Numbe r:    318912244
Item    Conn.     Conn.   Seizure   Originating        Termine ting   B1apsed       Number           IHBI               IMSI          Description   Cell Location
         Date     Time      Time      Number              Number       Time         Dialed
210   03/14/11 12:11A       0:20      14696671196     18173436690        0:00     18173436690 011935005960741 310410276936201          m2M_ VMC     [ 52709/60422:-97.09917:32.95581:128)
                                                                                                      5
211   03/14/11 12:11A       0:01      18173436690     13173419000        0:06     13173419000                     310410276936201        M2m        [)
212   03/14/11 12: 11A      0:25      14696671196     18173436690        0 : 06   18173436690                     310410276936201        m2M        [)
213   03/14/11 08:46A       0:02      18173436690     18004321000        0:41     18004321000 011935005960741     310410276936201      M20 DIR      [ 52709/62027:-97 . 09953:32 . 93497 :0,
                                                                                                     5                                              527 09 /60428:-97.09917:32.95581 :128 )
214   03/14/11 08: 48A      0:08      18173436690     18889130900        0:38     18889130900 011935005960741     310410276936201      M20_DIR      [52709 /62027:-97.09953:32.93497:0)
                                                                                                     5
215   03/14/11 12:17P       0:21      18179469251     18173436690        0:00     18173436690 011935005960741     310410276936201      m2M_ VMC     [ 52709/62028:-97.09953:32.93497:120)
                                                                                                      5
216   03/14 / 11 12: 17P    0:01      18173436690     13173419000       1:23      13173419000                     31041027693620 1       M2m        [)
217   03 /14/ 11 12: 17P    0:25      18179469251     18173436690       1:23      1817343669 0                    310410276936201        m2M        [)
218   03 /14/ 11 04 :02P    0:22      18179882986     18173436690       0:26      18173436690 011935005960741     310410276936201      M2M VMC      [52709/60 422:-97.09917:32.95581:128)
                                                                                                      5
219   03/14/11 04: 23P      0:24      18173436690     18179882986        0:10     18179882986 011935005960741     310410276936201      M2M DIR      [52709/24337:-97.09953:32.93497:,
                                                                                                      5                                             52709/24338:-97.09953:32.93497:)
220   03/14/11 0 4: 32P     0:32      18173436690     14695791622        0:06     14695791622 011935005960741     310410276936201      M2m DIR      [52903/44260:-97.09953:32.8695:0,
                                                                                                      5                                             52903/40551:-97.11217:32 . 85897:0)
221   03/14/11   07: 38P    0:21      18177212416     18173436690        0:00     18173436690 011935005960741     310410276936201      m2M VMC      [52707 /23533:-97. 16078:32.85086:248)
                                                                                                      5
222   03/14/11   07:39P     0 : 02    18173436690     13173419000       0:02      13173419000                     310410276936201        M2m        [)
223   03/14/11   07:39P     0:25      18177212416     18173436690       0:02      18173436690                     310410276936201        m2M        [)
224   03/14/11   07: 52P    0:29      1 8 173436690   18179469251       0:06      18179469251 011935005960741     310410276936201      M2m DIR      [52707 / 40649:-97.16078:32.85086:248)
                                                                                                      5
225   03/14/11   08: 02P    0:19      18173436690     19157400023       0:07      19157400023 011935005960741     3104102769362 0 1    M2m DIR      [52706 /07673 : -97 . 25503:32.83767:300 ,
                                                                                                      5                                             52706/00771:-97.27833:32.83864:8)
226   03/14/11   08: 02P    0 :05     1 8 173436690   19155413433       0:0 9     19155413433 011 935005960741    3104102769362 01     M2 0 DIR     [52706/00771:-97.27833:32.83864:8)
                                                                                                      5
227   03/14/11   09: 5 1P   0:20      18179469251     18173436690       0:00      18173436690 011935005960741     3104 10276936201     m2M VMC      [52706/14722:-97.29017:32.87097:128)
                                                                                                      5
228   03 /14/ 11 09:51P     0:01      18173436690     13173419000       0:26      1 3173419000                    310410276936201        M2m        [)
229   03/14/11 09:51P       0:25      181794692 51    18173436690       0:26      18173436690                     310410276936201        m2M        [)
230   03/14/11 10: 44P      0:31      18173436690     16824726873       0:10      16824726873 0119350059607 4 1   310410276936201      M2m DIR      [52706/42148:-97.29017:32.87097 :128)
                                                                                                      5
231   0 3/15/11 10: 21A     0:32      1817343669 0    18179120500       0:00      18179120500 01193 5005960741    310410276936201      M20_DIR      [52709/24338: -97 . 09953:32.93497:)
                                                                                                      5
232   03 /15/ 11 10:41A     0:40      18173436690     18179120500       0:00      1 8179120500 011935005960741 310410276936201         M20_ DIR     [52709/62028:-97.09953:32.93497 : 120)
                                                                                                      5
233   03/15/11 10: 51A      0:00      18173436690     18172962476       0:00      18172962476 01193 5005960741 310410276936201         M2M_ DIR     [52709/24338:-97.09953:32.93497 :)
                                                                                                      5
234   03/15/11 10:51A       0:44      18173436690     18179120500       0:00      18179120500 011935005960741 310410276936201          M20 DIR      [52709 /24338:-97.09953:32.93497 :)
                                                                                                     5



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                                                                                                                                                                                            ~ at&t
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 04 / 15 / 2011
                                                                      MOBILITY USAGE
 SCAMP                                                             (with cell location)


 Run Date:              04/15 /20 11
 Run Time:              15: 28:50
 Voice Usage For:       (817)343-6690
 Account Number:        318912 24 4
Item    Conn.       Conn.    Seizure  Originating              Terminating     Elapsed       Number              IMBI                   IMSI            Description   Cell Location
         Date       Time       Time     Number                    Number        Time         Dialed
235   03 / 15 /1 1 11 :02A     0:08 18173436690              1817 9120500         0:27     1 8 179 12 0500 011935005960741      3 1 04 1 0276936201      M20 DIR      [527 09 /24338 :- 97 .0 9953:32.93497:)
                                                                                                                  5
236    03/15/11       02 : SOP   0:0 4     18173436690       1800432 10 00        0 :4 5   180043210 00 011935 0059607 41       310410276936201          M20 DIR      [5 2709/24338 : -97. 09953:32.93497 : )
                                                                                                                  5
237    03/15/11 0 2: 51P         0:13      1817343669 0      18179120500          0 :28    1 8179 1 20500 011935005960741       3104 1 027693620 1       M20_ DIR     [52709/24338:-97.09953:32.93497:)
                                                                                                                  5
238    0 3/ 1 5/ll 02: 52P       0:0 8     18173436690       1888913 090 0        0:45     18889130900 011935005960741          310410276936201          M2 0 DIR     [52709 /24338: -97.09953:32.93497:)
                                                                                                                  5
239    03 / 15/ll 02: 57P        0:04      18179120500       18173436690          0:12     18173436 690 01193 5 005960741       31 0 4 1 0276936201      02M_ DIR     ( 52 7 09/24338 :- 97 .099 53:32.93497:)
                                                                                                                  5
240    03/15/ll 03: 47P          0:29      18173436690       18173431808          0:03     18173431808 0119 35005960741         31041027693 62 0 1       M2M DIR      [5 2 7 09/62028: -97 . 0995 3:32.93497: 1 20)
                                                                                                                  5
241    0 3 /15/1 1 03: 48 P      0:30      1 8173436690      1 8 173 4 31808      0:04     18173431808 011935005960 7 41        3104102 7 693620 1       M2M DIR      [5 2903/60087 :- 97. 0974 2:32 . 89986:0,
                                                                                                                  5                                                   52709/62028: - 97.099 5 3:32 . 93497:120)
242    03/15 /1 1 03: 48P        0 : 00    18173436690       1 8173431808         0:00     18173431808                          31041027693620 1         M2M_ DIR     [)
243    03/15/11 03: 48P          0 : 00    18173436690       1817343 1 808        0:00     18173431808                          3 10 41 0276936201       M2M_ DIR     [)
244    03/15/ll 03 : 49P         0 :3 0    18173436690       18 173431808         0:03     18173431808 011935005960741          310 41 027 6936201       M2M DIR      [ 52709/62028: - 97.09953:32.93497:120)
                                                                                                                  5
24 5   0 3 / 1 5/11   03 :5 0P   0 : 30    1 8173436690      18 17343 1808        0 : 03   18173431808 011 9350 05960741        31041 0276936201         M2M_ DIR     (52 709/62028: -97 .09953:32.93497: 120)
                                                                                                                   5
246    03 / 15 /ll    03: 51P    0:30      1 8 1 73436690    1 817343 1808        0:03     18173431808 011 93 50 0596074 1      310410276936201          M2M_ DIR     (52709/ 62028 :- 97 .09 953 :32 . 93497 : 120 )
                                                                                                                     5
247    0 3/15/ll 03: 51P         0:31      18 17 3436 690    1817343 1 808        0 : 03   18173431808 01 1 93500596074 1       310410276936201          M2M DIR      [ 52709/62 0 28: - 97.09953:32.93497:120)
                                                                                                                     5
248    0 3/15/ll 03: 52P         0:26      181734 3 669 0    18174811214          0:03     1 8 17481 1 214 01193500 5 960741    310410276936201          M20 DI R     [52709 /62 0 2 8:-97.09953:32.93497:120)
                                                                                                                     5
249    03 / 15/11 03: 53P        0: 29     18173436690       1 8 17343 1808       0:07     18173431808 011935005960741          310410276936201          M2M DI R     [52709/62028:-97.09953 :32.934 97:120)
                                                                                                                     5
250    03/15/ll 0 3 : 53P        0:29      18173436690       18173431808          0:07     1 8 173 4 318 08 011935 0 05960741   3 1 04 1 02769 36201     M2M DIR      [52709/62028:-97.09953:32.93497:120)
                                                                                                                     5
251    03/15/ ll 03: 54P         0:00      18173431808       18173436690         0 : 00    18173436690                          310410276936201            M2M        [)
2 52   03/15/1 1 03: 54P         0 : 06    18173436690       1 8 17 3431808      0:03      1 81734 318 08 0 11 935 00596074 1   310410276936201          M2M DIR      (52709 /6 2028:-97.09953:32.93497:120)
                                                                                                                     5
253    03/15 / ll     03 : 54P   0 : 03    18173431808       18173436690         0:00      18173 436690 011935005960741         3 1 0410276936201        M2M DIR      [52709 / 62028:-97.09953:32.93497 : 120)
                                                                                                                     5
254    03/15/ll       04 : 09P   0:0 7     18173436690       16 8236 54979       0: 11     1682 3654979 01193500596074 1        31 04 1 02769 36201      M2M DIR      [52709/60428:-97.099 17: 32.95581 :128 )
                                                                                                                     5
255    03/ 15 /ll     07: 37 P   0 :2 0    1 81794692 51     18173 43669 0       0:00      18173 436690 011935005960741         31 04 1 02769 362 0 1    m2M_ VMC     [52707 /406 49 : - 97. 16078:32.8 5086 :248)
                                                                                                                     5
2 56   03 / 1 5/ll 07: 3 8P      0:0 1     1 8 17343669 0    13173419000         3 :5 2    1317341900 0                         3 1 04 1 0276936201        M2m        [)
257    03 / 15 / ll 07 : 38P     0:24      1 8 1794 6925 1   18 173436690        3:52      18173436690                          3 1 04 1 027693620 1       m2M        [)




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                                     Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22                                   Page 9 of 99 PageID 3829                           ~
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                                                                 MOBILITY USAGE
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 Run Date:            04/15/2011
 Run Time:            15:28:50
 Voice Uoago For:     (817)343 -6690
 Account Numbe r :    318912244
Item    Conn.      Conn.  Seizure    Originating         Terminating   Blapsod       Numbe r           I MBI              IMSI          Description   Cel l Location
         Dato      Time     Time       Number              Number       Time         Dialed
258   03/15/11 08:21P       0:24      18173436690      1 81798 82986      0:05     1817 988 2986 0119 3 5005960741 3 104 1027693620 1    M2M DIR      [52707 / 40649:-97.16078:32 . 85086 : 248]
                                                                                                          5
259   03/15/11 08:22P       0:25      1817343 6690     1 8179882986       0:05     18179882986 011935005960741 310410276936201           M2M DIR      [52707 /406 49:-97 . 16078:32.85086:248]
                                                                                                          5
260   03/15/11 08:23P       0 :2 0    18173 4366 90    14695791622        0 : 05   14695791622 011935005960741 31 04102 76936 2 01       M2m DIR      [5 2707 /406 49: - 97. 1 6078 : 32.85086 : 248]
                                                                                                         5
261   03/15/11 08:23P       0:06      18173 436690     16824726873        0:06     1 682472 6873 01 1 935005960741 310410276936 2 01     M2m DIR      [5 2 707/40649: - 97. 1 6078 :3 2.85086 :248 ]
                                                                                                         5
262   03/15/11 08:24P       0:16      18173436690      16824726873        2:42     1 6824726873 0 11935005960741 310410276936201         M2m DIR      [52707/40649 : -97.16078:32.85086:248]
                                                                                                         5
263   0 3/15/1 1 08 : 27P   0:24      1 817 3436690    18179882986        0:08     18179882986 011 93 50059607 4 1 3104102769362 01      M2M DIR      [52707/40649:-97. 1 6078:32.85086 :2 48]
                                                                                                         5
264   03 /15/11 08: 28P     0 : 24    1 8173436690     18179882986        0:05     18179882986 011935005960741 310410276936201           M2M DIR      [52707/40649:-97.16078:32.85086 : 248]
                                                                                                         5
265   03/15/11 08: 33P      0 : 24    18173436690      18179882986       0:04      181798 82 986 011935005960741 310410276936201         M2M_ DIR     [5 2707 / 40649:-97.16078:32 . 85086:248]
                                                                                                        5
266   03/15/11 08:34P       0:16      18173436690      18179074 504      4:25      18179074504 011935005960741 310410276936201           M2m DIR      [52707/40647:-97.16078 : 32. 85086 : 8,
                                                                                                         5                                            52707 / 41588 : -97.13542:32 . 85347:120]
267   03/15/11 08: 39P      0:33      18173436690      16824726873       0:08      1682472 6873 011935005960741 3 1041027693620 1        M2m DIR      [52707/41588: - 97.13542 :3 2.85347 :1 20]
                                                                                                         5
268   03/15/11 08:41P       0:25      18173436690      18179882986       0:06      18179882986 011935005960741 310410276936201           M2M DIR      [5 29 03/40558:-97 . 11217 : 32.85897:120]
                                                                                                         5
269   03/15/11 09:01P       0:02      18173436690      14696843383       0:00      14696843383 011935005960741 310410276936201           M2m_ DIR     [5 2903 /40558:-97. 11 217:32.85897 : 1 20]
                                                                                                         5
270   03/15/11 09:47P       0:16      18173431808      18173436690      12:21      18173436690 011935005960741 310410276936201           M2M DIR      [ 52709 /60422: -97.099 17:32.95581:128]
                                                                                                         5
271   03/16/11 08:39A       0:03      18173436690      18004321000       0:17      1800432100 0 011935005960741 3104102769 3 6201        M20_ DIR     [5 2709/23562:-97.099 17:32 .95581:128]
                                                                                                       5
272   03/16/11 08: 40A      0: 04     1817343 6690     18004321000       0:45      18004321 000 011935005960741 310410276936201          M20_ DI R    [52 709/2433 1: -97.09953 : 32.93497:8 ]
                                                                                                       5
273   03/16/11 03 : 57P     0:07      1 81 7343 6690   1 8889130900      0:53      18889130900 011935005960741 310410276936201           M20 DIR      [52709/60422:-97.09917:32.95581 :1 28]
                                                                                                         5
274   03/16/11 04: 39P      0:09      1817343 6690     18174852277       0:38      18174852277 011935005960741 310410276936201           M20_ DIR     [52709/2433 1:-97 .09953:32.93497:8 ]
                                                                                                         5
275   03/16/11 09: 09P      0:19      18173436690      18179882986       0:00      18179882986 01193500596074 1 310410276936201          M2M DIR      [52707/40649:-97.16078:32.85086:248]
                                                                                                         5
276   03/16/11 09: lOP      0:03      18173436690      18179882986       0: 00     18179882986 011935005960741 310410276936201           M2M_ DIR     [52707 / 40649: -97. 16078:32.85086:248 ]
                                                                                                         5
277   03/16/11 09: 11P      0:24      1 81734 3 6690   18179882986       0:05      18179882986 011935005960741 310 410276936201          M2M DIR      [52707 / 4064 9:-97 .16078:32 .85086:2 48]
                                                                                                      5
278   03/16/11 09: 11P      0:32      18173436690      14695791622       0: 05     14695791622 011935005960741 310410276936201           M2m_DIR      [52707/40647:-97. 16078:32.85086 :8]
                                                                                                         5




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 SCAMP
                                                               MOBILITY USAGE
                                                            {with cell location)                                                                                                  €? at&t
 Run Date:           04/15/2011
 Run Time:           15:28:50
 Voice Usage For:    (8 17)343-6690
 Account Number:     318912244
Item    Conn.     Conn.   Seizure Originating             Terminating    Elapsed       Number             IMEI                  IMSI           Descript ion   Cell Location
         Date     Time      Time    Number                  Number        Time         Dialed
279    0 3/16/11 09:13P       0:30     18173436690      18179074504         0 : 04   18179074504 011935005960741 31041027693620 1               M2m DIR       [ 52707/2353 1 : - 97.16078:32.85 0 86:8]
                                                                                                          5
280    03 / 1 6/11 09:13P     0:24     18173436690      18179882986         0 : 04   18 179 882986 011935005960 7 41 310410276936201            M2M_ DIR      [ 52707/41863:-97.15467:32.88094:240,
                                                                                                            5                                                 52707/41862:-97.15467:32.88094:120]
281    03 /16/11   09:14P     0:20     18173436690      1 4695791622       0:05      14695791622 011935005960741         310410276936201        M2m DIR       [5 2707/23531 :- 97.16078:32.85086:8]
                                                                                                            5
282    03/16/11    09:17P     0 :2 4   181 7 3436690    18179882986        0:03      18179882986 011935005960741         310410276936201        M2M DIR       [52707/40641: - 9 7.16078:32.85086:8,
                                                                                                            5                                                 52707/42062:-97.1546 7 :32.88094:120]
283    03/16/11    09:18P     0:38     18173436690      16824726873        0:06      16824726873 011 93500596074 1       310410276936201        M2m DIR       [52707 /42062:-97.15467:32 .88094:120,
                                                                                                            5                                                 529 03 / 02913:-97 . 12997:32.86617:300]
284    03/16/11    09 : 19P   0:24     1 8 173436690    18179882986        0 :08     18179882986 011935005960741         3104 10276 936201      M2M DIR       [5290 3/02913:-97. 1 2997 : 32.86617:300]
                                                                                                            5
285    03/ 16 / 11 09: 19P    0:33     18173436690      1 4695791622       0:05      14695791622 011935005960741         310410276936201        M2m_ DIR      [52903/02913:-97 . 12997:32.86617:300,
                                                                                                            5                                                 52903/02911:-97 . 12997:32.86617:60]
286    03/16/11    09:20P     0:02     18173436690      18004321000        0:48      1800432 1 000 0 119350 0 596074 1   310410276936201        M20 DIR       [52903/02911:-97.12997:32.86617:60,
                                                                                                            5                                                 52903/44260:-97.09953:32.8695:0]
287    03/16/11 09:22P        0:30     18173436690      18173431808        0:03      1817343 1 808 011935005960741       310410276936 2 01      M2M_ DIR      [52903 / 44260:-97.09953:32.8695:0]
                                                                                                            5
288    03/16/11 0 9: 23P      0: 00    1817343 1 808    18173436690        0: 00     1817343669 0                        310410276936201          M2M         [5290 3 /44260: - 97.09953:32.8695 : 0]
289    03/16/11 0 9 : 23P     0:00     18173431808      18173436690        0:0 0     1 8173436690                        310 410276936201         M2M         [52903/44260:-97.09953:32.8695 : 0]
290    03/16/11 09:23P        0:2 5    18173436690      18179882986        0:03      1 8179882986 011935005960741        310410276936201        M2M DIR       [5 29 03/44 2 60:-97.09953:32.8695:0,
                                                                                                            5                                                 52903/016 7 3:-97.08228:32.87758:300]
291    03/ 1 6/11 09:23P      0:11     18173436690      18173431808        1:25      18 173 431808 011935005960741       3104102 76936201       M2M_ DIR      [52903/0 1 673:-97.08228:32.87758:300 ,
                                                                                                          5                                                   52903/60081:-97.09742:32 . 89986:0]
292    0 3/16/ 11 09: 25P     0:24     1817343669 0     18179882986        0:05      18179882986 011935005960741         310410276936201        M2M DIR       [52903/60081: - 97.09742 : 32.89986:0 ]
                                                                                                          5
29 3   03 / 1 6/1 1 09:27P    0:27     18173436690      1804873 254 1      0 : 06    18048732541 011935005960741         31041027693620 1       M2M_ DIR      [5 2903/27609: -97 .0 8444:32.92639:]
                                                                                                          5
294    0 3/16/11 09:28P       0:13     18173436690      18048732 54 1     11: 59     18048732541 011935005960741         310410276936201        M2M DIR       [ 52903/27609:-97.08444:32.92639:,
                                                                                                          5                                                   52707/21341:-97.18964:32.91275:8 ]
295    03/16/11    09: 41P    0:25     18173436690      18179882986        0:04      18179882986 011935005960741         310410276936201        M2M DIR       [52709/02423:-97.18342:32.92942:248]
                                                                                                          5
296    03/16/11 10: 11P       0:24     18173436690      18179882986        0:05      18179882986 011935005960741         310410276936201        M2M_ DIR      [ 52709/35308 : -97.26156:32.92961:180 ]
                                                                                                          5
297    03/16/11 10: 26P       0:24     18173436690      18179882986        0:0 5     18179882986 011935005960741         3104102769362 0 1      M2M DIR       [5270 9/35302 :- 97.26156 : 32 . 92961:180]
                                                                                                          5
298    03/ 16 / 11 1 0:4 1P   0:24     1 8 173436690    1 8 1 79882986     0 :29     18179882986 011 935005960741        3 10410276936201       M2M_ DIR      [ 52709/35302: - 97.26156:32.92961:180,
                                                                                                          5                                                   527 09/41793:-97.232 92:32 .93019 :240]
299    03/16/11 1 0 : 43P     0 : 23   1 8173436690     1 8 1 74756127     0 : 04    18174756127 011935 00 5960741       3 1 04 1 0276936201    M2M DIR       [52709/35302 :-9 7.26156:32.92961 :180]
                                                                                                          5
300    03/ 16 / 11 1 0: 43P   0:30     1 8 173 436690   1 8 17 2266303     0:04      18172266303 0 1 193500 5960741      310410276936201        M2m_ DIR      [52709/35302:-97 . 26156:32.9296 1 : 18 0]
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04/15/2011
SCAMP
                                                           MOBILITY USAGE
                                                        (with cell location)                                                                                     t;1 at&t
 Run Date:           04/15/2011
 Run Time:           15:28:50
 Voice Usage Per:    (817)343-6690
 Account Number:     318912244
Item    Conn.     Conn.  Seizure   Originating     Terminating   Elapsed     Number            IMEI             IMSI          Description   Cell Location
         Date     Time     Time      Number          Number       Time       Dialed
301   03/16/11 10: 44P    0:25     18173436690    18179882986       0:09   18179882986 011935005960741 310410276936201         M2M DI R     [52709 / 35302:-97.26156:32.92961:180)
                                                                                                5
302   03/16/11 10:45P     0 :1 4   18173436690    18048732541       2:22   1 8048732 5 41 011935005960741 310410276936201      M2M_ DIR     [52709/35302:-97.26156 : 32 . 92961:180)
                                                                                                 5
303   03/16/11 10: 48P    0 : 23   1817343 6690   1817 9882986      0:05   1817 9882986 011935005960741 310410276936 2 01      M2M DIR      [52709/35302:-97 . 26156 : 32.92961:180,
                                                                                                5                                           52709/20052:-97.28481 :32.94214:128)
304   03/16/11 10:49P     0:30     18173436690    18172266303       0:04   18172266303 011935005960741 310410276936201         M2m DIR      [52709/20052: - 97.2848 1 :32.94214 : 128)
                                                                                                5
305   03/16/11 10:52P     0:23     18173436690    18179882986      1:20    18179882986 011935005960741 310410276936201         M2M DIR      [52706/40967:-97.30836:32.89667 : 8,
                                                                                                5                                           52706/ 42147 :- 97.29017:32.87097:8)
306   03/16/11 10 : 54P   0:31     18173436690    18172266303      0:03    181722 6630 3 011935005960741 3 1 0410276936201     M2m DIR      [52706 / 40967: - 97.30836:32.89667 : 8 )
                                                                                                5
307   03/16/11 10:55P     0:27     1817343 6690   18172266303      0 :03   1817 226 6 303 01 1 935005960741 310410276936201    M2m_ DIR     [52706/ 14471:-97.30836:32 . 89667:8)
                                                                                                   5
308   03/16/11 10 : 56P   0:22     18173436690    18174756127      0 :03   18174756127 01 1 935005960741 3 10410276936201      M2M DIR      [52706/ 14471:-97.30836:32 . 89667:8)
                                                                                                5
309   03/16/11 10:56P     0:28     18173436690    18172266303      0:02    18172266303 011935005960741 310410276936201         M2m_ DIR     [52706 / 14471:-97 . 30836:32 . 89667:8,
                                                                                                5                                           52706 / 14721 : -97.29017:32.87097 : 8)
310   03/16/11 10:57P     0:24     18173436690    18179882986      0:12    18179882986 011935005960741 310410276936201         M2M DIR      [ 52706 / 14471: - 97.30836:32.89667:8)
                                                                                              5
311   03/16/11 10:57P     0:24     18173436690    18179882986      0:05    18179882986 011935005960741 310410276936201         M2M DIR      [52706 / 14471:-97.30836:32.89667 : 8,
                                                                                                5                                           52706 / 14721:-97.29017:32.87097 : 8)
312   03/16/11 10:58P     0:24     18173436690    18179882986      0:05    18179882986 011935005960741 31041027693620 1        M2M DIR      [ 52706 / 14721:-97.29017:32.87097:8)
                                                                                                5
313   03/16/11 10 : 59P   0:24     18173436690    18179882986      0:04    18179882986 011935005960741 310410276936201         M2M DIR      [52706 / 40967:-97.30836:32 . 89667:8 )
                                                                                                5
314   03/16/11 11: OOP    0:24     18173436690    18179882986      0:04    18179882986 011935005960741 3104 1 027693620 1      M2M DIR      [ 52706/40967:-97.30836:32 . 89667:8 )
                                                                                                5
315   03/16/11 ll:OlP     0: 28    18173436690    18172266303      0:03    18172266303 01 19350059 60741 31 0410276936201      M2m DIR      [52706 / 40961:-97 . 30836 : 32.89667:8 )
                                                                                                5
316   03/16/11 11: 03P    0:20     1 8173436690   18173431808      0:04    18173431808 011935005960741 310410276936201         M2M DIR      [52709 / 20052:-97.28481 : 32 . 94214:128)
                                                                                               5
317   03/16/11 11:03 P    0 :2 2   18173436690    18173431808      0:03    18173431808 011935005960741 310410276936201         M2M_ DIR     [52709 / 20052: - 97.28481 : 32 . 94214 : 128,
                                                                                               5                                            527 0 9/35303: - 97.26156 : 32 . 92961 : 300)
318   03/16/11 11: 0 4P   0:22     18173436690    18173431808      0:03    1817343 1808 011935005960741 310410276936201        M2M DIR      [52709 / 35303:-97.26156 : 32.92961:300)
                                                                                                5
319   03/16/11 11 : 04P   0:15     18173 436690   18173431808     31:52    18173431808 0 11935005960741 310410276936201        M2M DIR      [52709 / 35303:-97.26156:32.92961 :3 00,
                                                                                                5                                           52709 / 60422:-97.09917 :32.95581:128)
320   03/16/11 11 : 37P   0:18     18173436690    18173431808      0:32    18173431808 011935005960741 310410276936201         M2M DIR      [52709/ 6 0 422:-97.09917:32 . 95581:128 )
                                                                                              5
321   03/16/11 11 : 59P   0:03     18173436690    18173431808      0:04    18173431808 011935005960741 310410276936201         M2M DIR      [52709/ 23562: - 97.09917:32.95581:128 )
                                                                                                5




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                                                     not for general distribution.
 915465.001
                                   Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 12 of 99 PageID 3832                                                        -...,.,
                                                                                                                                                                     ti~ at&t
 04/15/2011
                                                               MOBILITY USAGE
 SCAMP                                                      (with cell location)


 Run Date:             04/15/2 011
 Run Time:             15:28:50
 Voice Usage For:      (817) 343-6690
 Account Number:       318912244
Item     Conn .     Conn.    Seizure    Originating     Terminating   Elapsed      Number          IMEI            IMSI             Description   Cell Location
         Date       Time      Time        Number           Number      Time        Dialed
322    03/17/11    12:00A     0:01     18173436690    19155912171        0:00    19155912171 011935005960741 310410276936201         M20_ DIR     ( 52709/23562:-97.09917:32.95581 : 128]
                                                                                                    5
323    03/17/11 12:00A        0:04     18173436690    18173431808        0:10    18173431808 011935005960741 310410276936201         M2M DIR      ( 52709/23562:-97.09917:32.95581:128]
                                                                                                    5
324    03/17/11 1 2:05A       0:04     18173436690    18173431808        0:03    18173431808 011935005960741 310410276936201         M2M_ DIR     (52709/23562:-97 .09 917:32.95581:128]
                                                                                                      5
325    03/17/11 07 :55A       0:03     18173436690    18173431808        0:13    18173431808 01193500596 0741 310 41027693620 1      M2M DIR      ( 527 09 /23562:-97.09917:32.95581:128]
                                                                                                     5
326    03/17/11 08:06A        0:19     18173436690    19155912171        7:05    1 9155912171 011935005960741 310410276936201        M20 DIR      (52709/23562:-97.09917 : 32.95581:128]
                                                                                                      5
327    03/17/11    09:30A     0:04     18173436690    18173431808        0:04    18173431808 011935005960741 310410276936201         M2M DIR      (52709/60428: - 97.09917:32.95581:128]
                                                                                                      5
328    03/17/11 09:49A        0:44     18173436690    18179120500        0:00    18179120500 011935005960741 310410276936201         M20 DIR      (52709/23568: - 97.09917:32.95581:,
                                                                                                      5                                           52709/18908:-97.15139:32.97094:]
329    03/17/11 09:55A        0:35     18173436690    18179120500        0 :00   18179120500 011935005960741 31041027693620 1        M20_ DIR     ( 52709/23568:-97.09917:32 . 95581:]
                                                                                                      5
330    03/17/11    09 :59A    0:06     18173436690    18173364101        0:46    18173364101 011935005960741 310410276936201         M20_DIR      (52709/ 23562:-97.09917:32.95581:128]
                                                                                                      5
331    03/17/11    lO:OOA     0:39     1817343669 0   1 817912 0500      0:00    18179120500 0119 3500 59 60741 310410276936201      M20_ DIR     (52709/23562:-97.09917:32.95581:128]
                                                                                                      5
332    03/17/11 10:07A        0:39     18173436690    18179120500        0:00    18179 12 0500 011 935005960741 31 041 0276936201    M20 DIR      (52709/60428:-97 . 09917:32 . 95581:128]
                                                                                                       5
333    03/17/11 10 : 0 7A     0 : 04   18173436690    18173431808       0:03     18173431808 011935005960741 310410276936201         M2M_DIR      (52709/60428:-97.09917:32.95581:128]
                                                                                                      5
334    03/17/11 10:13A        0 : 07   18173436690    18179120500       0:46     1 8179120500 011935005960741 310410276936201        M20 DIR      (52709/60422:-97 . 09917:32 . 95581 : 128]
                                                                                                     5
335    03/17/11 10: 14A       0:05     18173436690    18004321000       1:05     18004321000 011935005960741 310410276936201         M20 DI R     (52709 /6042 2 :-9 7.09917:32.95581:128]
                                                                                                      5
336    03/ 17 /11 10 : 15A    0:16     18173436690    1682365 4979      0:29     16823654979 0119350059607 41 310410276936201        M2M DIR      (52709/60422:-97 . 09917 : 32 . 95581:128]
                                                                                                     5
337    03/17/11 10 : 22A      0:36     18173436690    18172962476       0 :0 5   18172962476 011 93500596074 1 310410276936201       M2M DIR      (52709/60428:-97.09917:32.95581:128]
                                                                                                      5
338    03/17/11 10:23A        0 : 03   18172962476    18173436690       9:20     18173436690 011935005960741 310410276936201         M2M_ DI R    (52709/23568:-97.09917:32.95581: ]
                                                                                                      5
339    03/17/11 10:38A       0:26      18173436690    18174811214       0:3 5    18174811214 011935005960741 310410276936201         M20_ DIR     (52709 /60428:-97.099 17:32.95581:128]
                                                                                                    5
340    03/17/11 12:12P       0:05      18173436690    18173431808       0:12     18173431808 011935005960741 310410276936201         M2M DIR      (52709/60422:-97.09917 : 32 . 95581:128]
                                                                                                      5
341    03/17/11 12:50P       0:07      18174811214    1 8173436690     1 2:56    18173436690 01193500596074 1 310410276936201        02M_ DIR     (52709/23568:-97.09917:32.95581:]
                                                                                                    5
342    03/17/11 01:03P       0:29      18173436690    19 155912171      0:05     19155912171 011935005960741 310410276936201         M20_DIR      (52709/60422:-97.09917:32.95581:128 ]
                                                                                                      5




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                                   Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 13 of 99 PageID 3833                                                                ~
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                                                                                                                                                                             ~ ~ at&t
 04 / 1 5/2011
                                                               MOBILITY USAGE
SCAMP                                                       {with cell location)


 Run Date:             04 / 15/2011
 Run Time:             15:28:50
 Voice Osage Por:      (817) 343-6690
 Account Number:       318912244
Item     Conn .     Conn.    Seizure     Originating      Terminating   Elapsed       Number               IMBI              IMSI          Description   Cell Location
         Date       Time      Time         Number           Number       Time         Dialed
343    03/ 17/11   01:06P     0:31     18173436690      19722135863        0 : 03   197 2 2135863 011935005960741      310410276936201      M2m_ DIR     [52709 /60428:-97.09917:32.95581:128 ]
                                                                                                            5
344    03/17/11    01:07P     0: 3 4   18 173436690     19157405173        0:04     19 1 574051 7 3 011 935005960741   3104 10276936201     M2m DIR      [52709 /6 0428:-97.09917:32.95581 : 128 ]
                                                                                                            5
345    03/17/11    01: 08P    0 : 17   1817 343 6690    18048732541        6:18     1804873 2 541 011935005960741      310410276936201      M2M DIR      [52709 /6042 8:-97.09917:32.95581 : 128 ]
                                                                                                            5
346    03/17/11    01:14P     0:30     18173436690      1915726409 1       0:00     19157264091 011935005960741        310410276936201      M2M_ DIR     [52709/60428:-97.09917:32.95581:128 ]
                                                                                                            5
347    03/17/11 01:16P        0:14     18173436690      13302406183        6:35     13302406183 0 1193500596074 1      310410276936201      M2M DIR      [52709 / 60422 : -97.099 17:32.95581:128]
                                                                                                            5
348    03/17/11 01:29P        0:24     18173436690      18178974827        0:25     18178974827 011935005960741        310410276936201      M2M DIR      [52709 / 60422 : -97 . 09917 : 32.95581:128 ]
                                                                                                            5
349    03/17/11 01: 37P       0:44     18173436690      18174162202        0:00     18174162202 011935005960741        310410276936201      M20 DIR      [52709 / 23568:-97.09917:32 . 95581:]
                                                                                                            5
350    03/17/11 01:38P        0:02     18173436690      18174429912        4:55     18174429912 011935005960741        310410276936201      M20 DIR      [52709 /23568 :-97. 09917 :32.95581:]
                                                                                                          5
351    03/17/11 01:45P        0 : 04   19157264091      18173436690        9:22     18173436690 011935005960741 310410276936201             M2M DIR      [52709 / 23568:-97.09917:32 . 95581:]
                                                                                                       5
352    03/17/11 01:55P        0:18     18173436690      18172962476        2:01     18172962476 011935005960741 310410276936201             M2M DIR      [52709 / 23568:-97.09917:32.95581:]
                                                                                                       5
353    03/17 / 11 01:57P      0 : 24   18173436690      16823654979        0:35     16823654979 011935005960741 3104102 769 36201           M2M DIR      [52709 /2 3568:-97.09917:32 . 95581:]
                                                                                                          5
354    03 / 17 / 11 02:14P    0:05     18173436690      18664471705        0:23     1866447 1705 011935005960741       310410276936201      M20 DI R     [52709/60428:-97.09917:32.95581:128]
                                                                                                          5
355    03/17/11    02:15P     0:05     18173436690      18664471705        0 : 10   18664471705 011935005960741        310410276936201      M20_ DIR     [52709/60428:-97.09917:32.95581 : 128 ]
                                                                                                          5
356    03/17/11    02:34P     0:05     18 17296 2 476   18173436690        1 : 18   1 81734 36 690 011935005960741     310410276936201      M2M DI R     [52709/60428:-97.09917:32 . 95581 : 128 ]
                                                                                                          5
357    03/ 1 7/11 02:53P      0:14     18178974827      18173436690        0 : 16   18173436690 01193500596074 1       310410276936201      M2M_ DIR     [52707/41447:-97.17439:32 . 86639:0 ]
                                                                                                          5
358    03/17/11 03:00P       0: 1 0    18174429263      18173436690        8:48     18173436690 01 1 935005960741      31041027693620 1     02M_DI R     [52707 / 40649: - 97.16078:32.85086 : 248 ]
                                                                                                          5
359    03 / 17 /11 03 :27P   0:21      12149467097      18173436690        0:00     18173436690 011935005960741        31 0 410276936201    02M VMC      [52707/40643:-97.16078:32.85086:248]
                                                                                                          5
360    03/17/11 03: 27P      0:01      1817343 6690     13173419000        1:12     18173436690                        310410276936201      02M_VMB      []
361    03/17/11 06 : 17P     0 :25     18173436690      18178974827        0:05     18178974827 011935005960741        310410276936201      M2M DIR      [52707/23533:-97.16078 : 32.85086:248]
                                                                                                          5
362    03/17/11 06:18P       0 : 52    18173436690      12149467097        0:00     12149467097 011935005960741        310410276936201      M20_ DIR     [52707/23533:-97 . 16078:32 .85086:248]
                                                                                                          5
363    03/17/11    06:19P    0:19      18173436690      18179120500        0:12     18179120500 0 1 1935005960741      310410276936201      M20 DIR      [52707/23533:-97.16078:32.85086:248]
                                                                                                          5
364    03/17 / 11 06:20P     0:07      18173436690      18173431808        0:00     18173431808 011935005960741        310410276936201      M2M_ DIR     [52707 /23533:-97.16078 :32.85086:248 ]
                                                                                                          5



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                                  The i nformat i on c ont a ine d here is for u s e by autho r iz ed person only and i s                                                                 Page 1 6
                                                               n o t f o r general di s t ri bu t i on .
 915465.001
                                         Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 14 of 99 PageID 3834                                                                -..,.;
                                                                                                                                                                                   ~ ~ at&t
 04/15/2011
                                                                      MOBILITY USAGE
 SCAMP                                                             (with cell location)


 Run Data :               04 / 15/ 2011
 Run Ti mo:               15:28:50
 Voi ce Uoago For:        (817) 343-6690
 Account Number:          318912244
Ite m    Conn.       Conn.      Seizure  Originating            Terminating    Elapsed       Number          IMEI                IMSI           Description   Cell Locati on
           Date      T i me       Time     Numbe r                Number        Time         Dialed
365    03 / 17 / 11 06:28P        0:10 18173 4 36690          13617741561         0:37    13617741561 011935005960741     310410276936201        M2M_ DIR     [52707 / 23533 : -97.16078:32.85086:248]
                                                                                                               5
366    03 / 17 / 11 06:33P           0:04     13617741561     18173436690         4:20    18173436690 011935005960741     310410276936201        M2M DIR      [52707/406 4 9:-97.16078:32 . 85086:248]
                                                                                                               5
367    03/17/11 06:37P               0: 00    18179053030     18173436690        7:55     1 8173436690 011935005960741    310410276936201        m2M DIR      [52707/40649 : -97.16078:32.85086:248]
                                                                                                              5
368    03 / 17 / 11       06 : 41P   0:01     18173436690     13173419 0 00      0:30     131734 1 9000                   310410276936201          M2m        []
369    03/17 / 11         06:41P     0 : 00   15126996659     18173436690        0:00     18173436690                     310410276936201          m2M        []
370    0 3 / 17/11        06: 41P    0:23     15126996659     18173436690        0:30     18173436690                     310410276936201          m2M        (]
371    03/17 / 11         06:45P     0 : 04   18179053030     18173 436690       2:04     18173436690 011935005960741     310410276936201        m2M DIR      [52707 /4 0649 :- 97.16078:32 . 85086:2 4 8]
                                                                                                              5
372    03 / 17 / 11       06:48P     0:09     18173436690     18179053030        2:28     18179053030 011935005960741     310410276936201        M2m_DIR      [52707 / 40649 : -97.16078:32.85086:248]
                                                                                                              5
373    0 3 / 17 / 11      06: 51P    0:14     1817343 6 690   13617 7 41561      8 : 29   13617741561 011935005960741     31041027693 6 201      M2M DIR      [52707 / 40649 : -97 . 16078 : 3 2. 85086:248]
                                                                                                              5
37 4   0 3 / 17 / 11      06: 52P    0:00     18172962476     18173436 6 9 0     0:12     18173436690 0119350059607 4 1   31041027693 6 2 0 1    M2M DIR      [52707 / 40649 : -97.16078:32 . 85086 : 248]
                                                                                                              5
375    03 / 17 / 11 06: 54P          0:00     18172962476     18173436690        0:34     18173436690 011935005960741     310410276936201        M2M DIR      [52707 / 40649:-97 . 16078:32.85086 : 248]
                                                                                                              5
376    03 /   17 /   11   06: SSP    0:00     18172962476     18173436690        0 : 00   18173436690                     31041027 6 936201      M2M DIR      []
377    03 /   17 /   11   07:00P     0:00     13617741561     18173436690        0:00     18173436690                     3104102769362 0 1        M2M        []
378    03 /   17 /   11   07:00P     0:01     18173436690     13173419000        0:16     13173419000                     31041027 6 936201        M2m        []
379    03 /   17 /   11   07: OOP    0:02     13617741561     18173436690        0:16     18173436690                     310410276936201          m2M        []
380    03 /   17 /   11   07: OOP    0:27     18173436690     15126996659        0:04     15126996659 011935005960741     310410276936201        M2m_ DIR     [52707 / 40649 : -97 . 16078:32.85086:248]
                                                                                                              5
38 1   03/17/11           07 : OlP   0:01     18173436690     13173419000        0:04     13173419000                     3104 1 0276936201        M2m        []
382    03 / 17/11         07: OlP    0:00     13617741561     18173436690        0:00     18173436690                     3104 1 027693620 1       M2M        []
383    03/17 / 11         07: OlP    0:03     13617741561     18173436690        0:03     18173436690                     31041027693 6201         m2M        []
384    03 / 17/11         07: OlP    0:03     15126996659     18173 4 36690      9 : 03   18173436690 011935005960741     3104 1 0276936201      m2M DIR      [5 2707 / 40649 : · 97.16078 : 32 . 85086:248]
                                                                                                              5
385    03 /   17 / 11 07:04P         0:00     13617741561     18173436690        0:00     18173436690                     310 4 10276936201        M2M        []
386    03 /   17 / 11 07:0 4 P       0:01     18173436690     13173419000        0:04     13173419000                     310410276936201          M2m        []
387    03 /   17 / 11 07:04P         0:23     13617741561     18173436690        0 : 04   18173436690                     310410276936201          m2M        []
388    03 /   17 / 11 07: 08P        0:02     18173436690     13173419000        0:03     13173419000                     310410276936201          M2m        []
389    03 /   17 / 11 07: 08P        0:00     18176815643     18173436690        0:00     18173436690                     310410276936201          m2M        []
390    03 /   1 7/11 07: 08P         0:23     18176815643     18173436690        0:03     18173436690                     310410276936201          m2M        []
391    03 /   17 / 11 07: lOP        0:17     18173436690     14693584679        0 : 00   14693584679 0119350059607 4 1   310410276936201        M2m DIR      [52707 /4 0649 :- 97 . 160 7 8:32 .8 5086:248]
                                                                                                              5
392    03/17 / 11 07: lOP            0:20     14693584679     18173436690        0:00     18173436690 011935005960741     310410276936201        m2M VMC      [52707 / 40649:-97.16078:32.85086:248]
                                                                                                              5
393    03 / 17 / 11 07 :11P          0:01     18173436690     13173419000        0 :04    13173419000                     310410276936201          M2m        []



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                                Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 15 of 99 PageID 3835
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                                                             MOBILITY USAGE                                                                                                 .:::   ;~              t
04/15/2 011
SCAMP                                                     (with cell location)                                                                                             \§f. at&

 Run Dato:           04/15/2011
 Run Time:           15:28:50
 Voico Uoage For:    (817)343-6690
 Account Number :    318912244
Item    Conn.     Conn.  Seizure   Originating         Terminating   Elapeed        Number            IMEI                IMSI           Description   Cell Location
         Date     Time     Timo      Number               Number      Time          Dialed
394   03/17/11 07:11P     0:25 14693584679            18173436690       0:03     18173436690                       310410276936201          m2M        [)
395   03/17/11 07: 13P    0:21 14693584679            18173436690       0:00     18173436690 011935005960741       310410276936201        m2M VMC      [52707/40649:-97.16078:32.85086:248 )
                                                                                                       5
396   03/17/11    07:13P    0:02     18173436690      13173419000       0 : 34   13173 4 19000                     31041027693620 1         M2m        [)
397   03/17/11    07:13P    0:25     1 4693584679     181 73436690      0 : 34   1 8 173 4 36690                   31041027693620 1         m2 M       [)
398   03/17/11    07:44P    0:23     18173436690      1361774156 1      0:04     1361 7741561 0 11 93500596074 1   310410276936201        M2M DIR      [52709/19433:-97.152 1 :32.9458 : 240)
                                                                                                       5
399   03/17/11 07:45P       0:24     18173436690      18179882986       0:06     18179882986 01 1 935005960741     310410276936201        M2M DIR      [52709/ 02422: - 97.18342:32.92942:128)
                                                                                                       5
400   03/17/11    07: SOP   0:27     18173436690      13302406183       0:04     13302406183 011935005960741       310410276936201        M2M DIR      [52709 / 18908:-97. 1 5 1 39:32.97094:,
                                                                                                       5                                               52709/20322:-97. 1 5139 : 32.97094:128)
401   03/17/11 08: OlP      0:13     18173436690      12149467097       0:22     12149467097 011935005960741       310410276936201        M20_ DIR     [52709 / 23568:-97.09917:32 . 95581:)
                                                                                                       5
402   03/17/11 08:43P       0:08     15126996659      18173436690       0:00     18173436690 011935005960741       310410276936201        m2M VMC      [52709 / 23568:-97.09917:32.95581:)
                                                                                                      5
403   03/17/11 08:43P       0:02     1 8173436690     13173419000      0:05      13173419000                       310410276936201          M2m        [)
404   03/17/11 08: 43P      0:13     1 5 1 26996659   18173436690      0:05      18173436690                       310410276936201          m2M        [)
405   03/17/11 08:47P       0:21     18173436690      15126996659      3 : 53    15126996659 011935005960741       310410276936201        M2m DIR      [52709 / 23568:-97 . 09917:32.95581:)
                                                                                                       5
406   03/17/11    08: 52P   0:09     18173436690      15126996659       3:23     15126996659 011935005960741       310410276936201        M2m DIR      [52709 / 23568: - 97.09917:32 . 95581:)
                                                                                                       5
407   03/17/11    08: 56P   0 : 28   18173436690      15126996659      1:13      15126996659 011935005960741       310410276936201        M2m_ DIR     [52709 / 23568 : -97.09917:32 . 95581 : )
                                                                                                       5
408   03/17/11    09: OOP   0:44     181 73436690     15126996659      0:00      1 5 1 26996659 011935005960741    3 1 04 1 0276936201    M2m DIR      [52709/60428 : -97.09917:32.95581 : 128)
                                                                                                       5
409   03/ 17/11   09: OlP   0:01     18173436690      13173419000      0:04      13173 419000                      310410276936201          M2m        [)
410   03/17/11    09: OlP   0:02     15126996659      18173436690      0:04      18173436690                       310410276936201          m2M        [)
411   03/17/11    09:01P    0:00     1512 6996659     18173436690      0:00      18173436690                       310410276936201          m2M        [)
412   03/17/11    09:01P    0:03     15126996659      18173436690      8 :1 8    18173436690 011935005960741       310410276936201        m2M DIR      [ 52709/60428:-97.09917:32.95581:128)
                                                                                                       5
413   03/17/11 09:07P       0 : 00   13302406183      18173436690      0:00      18173436690                       310410276936201          M2M        [)
414   03/17/11 09: 07P      0 : 01   181 73436690     13173419000      0:47      13173419000                       310410276936201          M2m        [)
415   03/17/11 09: 07P      0 : 01   13302406183      18173436690      0:47      18173436690                       310410276936201          m2M        [)
416   03/17/11 09: llP      0:26     18173436690      13302406183      0:03      1 3302406183 011935005960741      310410276936201        M2M DIR      [52709 / 60428:-97.09917:32.9558 1 :128,
                                                                                                       5                                               52709 / 60429: - 97.09917:32.9558 1 :248)
417   03/17/11 09 : llP     0:04     13302406183      18173436690      0:46      18 1 73436690 011935005960741     310410276936201        M2M DIR      [52709 / 60428:-97.09917:32.95581:128)
                                                                                                       5
418   03/17/11 09 : 20P     0:19     18173436690      14693584679      0:06      14693 5 84679 011935005960741     310410276936201        M2m DIR      [52709 / 60428:-97.09917:32.95581:128)
                                                                                                       5
419   03/17/11 09:30P       0:08     18178327656      18173436690      1:09      18173436690 011935005960741       310410276936201        M2M_ DIR     [52709/23568:-97.09917:32.95581:)
                                                                                                       5




                                                                                   AT&T Pro priet a r y
        AMO
                                The informa tion conta ined h e re is f or use by a uthori z e d person only a nd is                                                                    Pa ge 18
                                                         n o t for general di s tri buti on.
                                 Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 16 of 99 PageID 3836
9 154 65. 0 0 1
                                                              MOBILITY USAGE                                                                                                  4;-~ t t
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SCAMP                                                      (with cell location )                                                                                              ~ a&


 Run Date:           04/15/2011
 Run Time:           15:28 : 50
 Voice Usage For:    (817)343-6690
 Account Number:     318912244
Item    Conn.     Conn.  Seizure   Originating           Terminating     Elapsed        Number          IMEI               IMSI            Description   Cell Location
         Date     Time      Time     Number                Number         Time          Dialed
420   03/17/11    09: 42P   0:07     1361774 1 561     18173436690          4:24     18173436690 011935005960741    31041 0276936201        M2M DIR      [52709/24337:-97 . 09953:32 . 93497: ,
                                                                                                         5                                               52709 /189 08: - 97.15139:32.97094 :]
421   03/17/11 10: 02P      0 : 05   13617741561       18173436690        36:43      18173436690 011935005960741    31041 02 76 936201      M2M DIR      [52709 / 23568 : -97 . 09917:32 . 95581: ]
                                                                                                         5
422   03/17/11 10:38P       0 : 22   18178327656       18173436690          0 : 38   1 8173436690                   310410276936201           M2M        []
423   03/18/11 02 :49A      0 : 21   18179469251       18173436690          0 : 00   1 8173436690 011935005960741   310410276936201         m2M VMC      [52709 / 60428:-97.09917:32.95581 : 128 ]
                                                                                                         5
424   03/18/11 02: 50A      0 : 02   1 8 173436690     1 3173419000         0:04     1 3173419000                  31041027693620 1           M2m        []
425   03/18/11 02 : 50A     0:26     18179469251       1 8173436690         0:04     18173436690                   31041027693620 1           m2M        []
426   03/18/11 08: 34A      0:13     18173436690       19155912171          9:02     19155912171 01 1 935005960741 310410276936201          M20 DIR      [52709/24338: - 97.09953:32.93497:]
                                                                                                         5
427   03/18/11    08: 44A   0:28     18173436690       13617741561          0: 1 4   136 1 7741561 01 193500596074 1 310410276936201        M2M_ DIR     [527 09/2 4338:-97. 09 953 : 32.93497:]
                                                                                                         5
428   03/ 1 8/11 08: 45A    0:24     18173436690       15126996659         1:07      15126996659 011935005960741 310410276936201            M2m DIR      [52709/24338:-97.09953 : 32.93497:]
                                                                                                         5
429   03/18/11    09: 09A   0:20     18175813613       18173436690         0:00      18173436690 011935005960741 310410276936201            0 2M VMC     [52709/24338:-97.09953:32.93497:]
                                                                                                         5
430   03/18/11 09: 09A      0:01     181 73436690      13 1 734 1 9000     0:34      18173436690                 310410276936201            02M VMB      []
431   03/18/ 1 1 09: 35A    0 : 31   18173436690       12147320901         0:23      12147320901 011935005960741 310410276936201            M2m DIR      [52709 / 24332: - 97.09953 : 32.93497:128]
                                                                                                         5
432   03/18/11 10 : 33A     0 : 08   18173436690       18179120500         1:20      18179120500 011935005960741 3 1 0410276936201          M20 DIR      [52709 / 24338: - 97.09953:32.93497 : ]
                                                                                                         5
433   03/18/11 10 : 53A     0 : 21   1 8 1 79469251    1 8173436690        0:00      18173436690 011935005960741    31 04 1 027 693620 1    m2M_ VMC     [52709/24338: - 97 . 09953 : 32.93497 : ]
                                                                                                        5
434   03/18/11 10 : 54A     0 : 02   18173436690       13173419000         1:21      13173419000                    310410276936201           M2m        []
435   03/18/1 1 10: 54A     0:25     1 8 1 7946925 1   18173436690         1 :21     1 8173436690                   310410276936201           m2M        []
436   03/18/11 11: OlA      0:27     18173436690       18174811214         0 : 37    18174811214 011935005960741    3 104102 76936201       M20 DIR      [52709 /62 028:-97 . 09953:32.93497:120]
                                                                                                         5
437   03/18/11 11: 22A      0:30     18173436690       13617741561         0:54      136177 4 156 1 011935005960741 310410276936201         M2M_ DIR     [52709/24338 : - 97 .099 53:3 2.93497 :]
                                                                                                           5
438   03/18/11 11:58A       0 : 32   18173436690       12147320901         0 : 03    12147320901 011935005960741 310410276936201            M2m DIR      [52709/62028:-97 . 09953:32 . 93497:120]
                                                                                                         5
439   03/18/11 12: 18P      0:03     18173436690       18004321000         0:41      1800432 1000 011935005960741 310410276936201           M20_ DIR     [527 09/2 4338 : -97.0995 3 :32.93497: ]
                                                                                                         5
440   03/18/11 12:23P       0:27     18173436690       18179120500         0:00      1817912050 0 01193500596074 1 310410276936201          M20_DIR      [52709/24338 :- 97 . 09953 : 32.93497:]
                                                                                                         5
441   03/18/11 12:45P       0:23     18173436690       18172962476         0:00      181729624 76 011935005960741 310410276936201           M2M DIR      [52903/03673: - 97.08444:32.92639:300 ]
                                                                                                         5
442   03/18/11 12 :46P      0:24     18173436690       12144357871         0:04      12 1 44357871 011 935005960741 310410276936201         M2M_DIR      [529 03 /03673 :-97 . 08444:32 . 92639:300,
                                                                                                           5                                             52903 /600 81:-97 . 09742 :32.89986:0]
443   03/18/11 12 : 48P     0:24     18173436690       19728964423         0 : 27    19728964423 011935005960741 3104102769 36 201          M2M DI R     [52903 / 60083: - 97 . 09742:32.89986:240,
                                                                                                         5                                               52903 /60082 :-97.09742:3 2.89986 : 120 ]



                                                                                       AT&T Propri e t a r y
        AMO                      The inf orma tio n conta ine d here i s fo r u se b y a utho r iz e d p e r son o nly a nd i s                                                           Pag e 19
                                                            n ot f o r g e neral d istr ibut ion .
                                                                                                                                                                                              \
                                   Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 17 of 99 PageID 3837
                                                                                                                                                                       ~ at&t
915465.001                                                      MOBILITY USAGE
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SCAMP                                                        (with cell location )


 Run Date:            04/15/2011
 Run Time:            15:28:50
Voice Usage For:      (817)343 - 6690
Account Number:       318912244
Item     Conn.     Conn.     Seizure     Originating    Terminating   Elapsed     Number           IMEI                IMSI          Description   Cell Location
         Date    Time         Time         Number          Number      Time       Dialed
444    03/18/11 12:49P        0:07     12147320901     18173436690       2:36   18173436690 011935005960741     310410276936201       m2M DIR      [52903 /44260 :-97.09953:32.8695:0,
                                                                                                     5                                             52903/40283: - 97.10911:32.842:240]
445    03/18/11   01: 26P     0:21     18175813613     18173436690       0:00   18 173436690 01193500596 0741   310410276936201       02M VMC      [52707/23533:-97.16078:32.85086:248 ]
                                                                                                    5
446    03/18/11   01:27P      0:02     18173436690     13173419000       0:05   18173436690                     31041 02769 3 6201    02M VMB      []
447    03/18/11   01 : 43P    0:17     18173436690     18175813610       4:38   18175813610 011935005960741     310410276936201       M20 DIR      [52707/23533:-97.16078:32.85086:248]
                                                                                                     5
448    03/18/11   01:53P      0:07     18 17 5813612   18173436690      1:06    18173436690 011935005960741 310410276936201           02M_ DIR     [52707 / 40649:-97. 1 6078:32 . 85086:248 ]
                                                                                                   5
449    03/18/11   02 : 40P    0:22     18179882986     18173436690       0:03   18173436690 011935005960741 310410276936201           M2M VMC      [52707/23533: - 97.16078:32.85086:248]
                                                                                                     5
450    03/18/11   03:04P      0:08     13617741561     18173436690       2:17   18173436690 011935005960741 310410276936201           M2M DIR      [52707/40649:-97.16078:32 . 85086 : 248]
                                                                                                     5
451    03/18/11   03:19P      0:21     19157405173     18173436690       0:00   18173436690 011935005960741 31041027693620 1          m2M VMC      [52707 /40649:-97 .16078:32.85086:248 ]
                                                                                                     5
452    03/18/11   03: 19P     0:01     18173436690     13173419000       0:25   18173436690                 3104 10276936201          m2M_VMB      []
453    03/18/11   03:20P      0:12     18173436690     19157405173       4:18   19157405173 011935005960741 310 410276936201          M2m DIR      [52707/40649:-97.16078:32.85086:248]
                                                                                                     5
454    03/18/11   03 : 37P    0:15     13617741561     18173436690       3:02   18173436690 011935005960741 310410276936201           M2M DIR      [ 52707 /40649:-97.16078:32.85086:248 ]
                                                                                                     5
455    03/18/11   03:45P      0:15     18173436690     18175813613       3:39   181758136 13 011935005960741 31041027693 620 1        M20_DIR      [52707/40649: -97.16 078:32.85086:248,
                                                                                                    5                                              52707/41589:-97.13542:32.85347:240]
456    03/18/11   03: 49P     0:00     13617741561     18173436690       3:47   18173436690 01193500 5960741 310410276936201          M2M DIR      [52707/41589 : -97.13542:32.85347:240,
                                                                                                     5                                             52903/40287: - 97. 1 0911:32.842:0]
457    03 /18/11 04: 14P      0:08     18173436690     13617741561      2:37    13617741561 011935005960741 310410276936201           M2M_ DIR     [52709 /6042 2:-97.09917:32.95 581:128 ]
                                                                                                     5
458    03/18/11 04:22P        0 :1 5   18173436690     18175813613       6:39   18175813613 011935005960741 310410276936201           M20 DIR      [52709/60428 :- 97.09917:32.95581:128]
                                                                                                     5
459    03/18/11 05:26P        0:08     181758 13610    18173436690      6:19    18173436 690 0 11 935005960741 3104 1 0276936201      02M_ DIR     [52707 / 23533:- 97 .16078:32.85086:2 48 ]
                                                                                                      5
460    03/18/11 05:33P        0 :2 0   18175813610     18173436690      0:00    18173436690 0 1193 50059 6 074 1 310410276936201      02M_VMC      [52707/23533: - 97.16078:32 . 85086 : 248 ]
                                                                                                     5
461    03/18/11 05:34P        0:01     18173436690     13173419000      0:42    18173436690                 31041 02769 36201         02M VMB      []
462    03/19/11 12:42A        0:00     13617741561     18173436690      0:00    18173436690                 310410276936201           M2M DIR      []
463    03/19/11 11: OOA       0:03     18173436690     18004321000      0:47    18004321000 011935005960741 310410276936201           M20 DIR      [52709/23568:-97.09917:32.95581:]
                                                                                                     5
464    03/19/11 12 :03P       0:01     18173436690     81734318         0:00    81734318     011935005960741 310410276936201          M20_ DIR     [52709 / 23562:-9 7 .09917:32.95581:128]
                                                                                                     5
465    03/ 1 9/11 12 :03P     0:04     18173436690     18173431808      0:07    18173431808 011935005960741 310410276936201           M2M DIR      [52709 /23562 :-97 . 09917:3 2.95581:128]
                                                                                                     5
466    03/19/11 12:22P        0 : 26   18173436690     14697670349      0:11    14697670349 011935005960741 310410276936201           M2m DIR      [52709/23562:-97.09917:32.95581:128]
                                                                                                     5




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                                                          not for general distribution.
                                  Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 18 of 99 PageID 3838
                                                                                                                                                                     ~ at&t
915465.001                                                    MOBILITY USAGE
04/ 1 5/2011
SCAMP                                                      (with cell location)


Run Date:             04/15/2011
Run Timo:             15:28:50
Voice Osage For:      (817)343-6690
Account Number:       318912244
Item    Conn.      Conn.    Seizure     Originating      Terminating   Blapoed     Numbe r          IMBI              IMSI         Description   Cell Location
        Date       Time      Time         Number           Number       Time       Dialed
467    03/19/11 12: 2SP      0:24     18173436690       13302406183       0:22   13302406183 0 11 93 SOOS960741 310110276936201     M2M_ DIR     (S2 709/23S62: - 97.09917 : 32 . 9SS81:128)
                                                                                                     s
468    03/19/11 12:31P       0:07     13302406183       18173436690      7:30    18173436690 01193SO OS960741 310410276936201       M2M DIR      (S2709/23S62:-97.099 17:32.9SS81:128)
                                                                                                     s
169    03/19/11 12:S4P       0 : 21   1 81 748112 1 4   18173436690       0:00   1 8173436690 01193SOOS960741 3104 1 02 76936201    02M_ VMC     (S2709/23S6 2: -97.099 17:32 . 9SS81 :1 28,
                                                                                                     s                                           S2709/24331:-97.099S3:32.93 497:8)
470    03/19/11 12: S4 P     0:01     18173436690       13173419000      0:07    18173436690                 310410276936201        02M_ VMB     [)
471    03/19/11 01: 04P      0:20     18174811214       18173436690      0:00    18173436690 01193SOOS960741 310410276936201        02 M VMC     (S2709/23472: - 97.07914:32.93881:128 )
                                                                                                     s
472    03/19/11 0 1 : 04P    0 : 01   18173436690       13173419000      0:01    18173436690                 310410276936201        02M VMB      [)
473    03/19/11 01: 48P      0 : 27   18173436690       18174811214      0:07    18174811214 01193SOOS960741 310410276936201        M20 DIR      ( S2903 / 03678:-97.08444:32.92639 : 180 )
                                                                                                     s
474    03/19/11 02:01P       0 : 20   14697 670 349     18173436690      0:00    18173436690 01193SOOS960741 310410276936201        m2M VMC      (S290 3/03673:-97.08444 :32. 92639 : 300 )
                                                                                                     s
47S    03/19/11 02: 01P      0:01     18173436690       13173419000      0:04    13173419000                 310410276936201          M2m        ()
476    03/19/11 02: 01P      0:2S     14697670349       18173436690      0:04    18173436690                 310410276936201          m2M        ()
477    03 /19/11 02: 03P     0:08     18173436690       14697670349      1:31    14697670349 01193SOOS960741 310410276936201        M2m DIR      (S2903 /0367 3: - 97.08444:32.92639:300 ,
                                                                                                     s                                           S2709 /6 2022: - 97.099S3:32.93497:120)
478    03/19/11 02:08P       0 : 06   18173436690       14697670349      0:09    1 4697670349 01193SOOS960741 310410276936201       M2m DIR      (S2709 /23S68:-97.09917:32 . 9SS81:)
                                                                                                     s
479    03/19/11 02:08P       0:10     18173436690       14697670349      0: 12   14697670349 01193 SO OS960741 310410276936201      M2m_ DIR     (S2709 / 23S68: - 97.09917:32 .9SS 81:)
                                                                                                     s
480    03 /19/ 11 02:09P     0:26     18173436690       18174811214      0:14    18174811214 01193SOO S960741 310410276936201       M2 0 DIR     (S2709/23S68: - 97.09917:32.9 SS81:)
                                                                                                     s
481    0 3/20/1 1 02: 09A    0:20     18174811214       18173436690      0:00    18173436690 01193SOOS960741 310410276936201        02M_ VMC     (S 2709/60422 : -97.09917:32.9SS81:128 )
                                                                                                     s
482    03/20/11 02: 09A      0 : 01   181 73436690      13173419000      0:07    18173436690                 310410276936201        02M VMB      [)
483    03/20/11 12:27P       0 : 04   18173436690       18004321000      0:39    18004321000 01193SOOS960741 3 104 1 0276936201     M20 DIR      (S2709/23S68:-97 . 09917 : 32.9SS81: )
                                                                                                     s
484    03/20/11 02: 13P      0:21     14697670349       18173436690      0:00    18173436690 01193SOOS960741 310410276936201        m2M VMC      (52707/40649: - 97.16078:32.8S086:248)
                                                                                                     s
48S    03/20/11 02: 13P      0:01     1817343 6690      13173419000      0:27    13173419000                 310410276936201          M2m        ()
486    03/20/11 02: 13P      0:2S     14697670349       18173436690      0:27    18173436690                 310410276936201          m2M        ()
487    03/20/11 03: SSP      0:20     181794692S1       18173436690      0:00    18173436690 01193SOOS960741 31041027693620 1       m2M_ VMC     (S2707 / 23S33: - 97.16078:32.8S086 : 248)
                                                                                                     s
488    03/20/11 03: SSP      0:01     18173436690       13173419000      0:10    13173419000                 310410276936201          M2m        ()
489    03/20/11 03: SSP      0:2S     181794692S1       18173436690      0:10    18173436690                 310410276936201          m2M        ()
490    03 / 20/11 03: S6P    0:20     181794692S1       18173436690      0:00    18173436690 01193SOOS960741 310410276936201        m2M VMC      (S2707 /2 3S33: - 97.16078:32 . 8S086:248 )
                                                                                                     s
491    03/20/11 03: S6P      0:01     1817343 6690      13173419000      0:04    13173419000                   310410276936201        M2m        [)
492    03/20/1 1 03:S6P      0 : 2S   181794692S1       18173436690      0:04    18173436690                   310410276936201        m2M        ()




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                                      Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 19 of 99 PageID 3839
                                                                                                                                                                       ~ at&t
 915465.001
 04/15/2011
                                                                  MOBILITY USAGE
 SCAMP                                                         (with cell location)


 Run Date:           04 / 15 / 2011
 Run Time:           15:28:51
 Voice Usage For:    (817)343-6690
 Account Number:     318912244
Item    Conn.     Conn.    Seizure  Originating          Terminating   Elapsed       Number           IMEI               IMSI          Description   Cell Loca tion
         Da te    Time        Time    Number               Number       Time         Dialed
493    03/20/11       04: 13P    0:21     18179469251   18173436690       0:00     18173436690 01193SOOS960741 310 4 10276936201        m2M VMC      [S2707 / 40643:-97.16078:32 . 8S086:248]
                                                                                                       s
494    03/20/11 04: 14P          0:01     18173436690   13173419000       0:49     13173419000                 310410276936201            M2m        []
49S    03/20/11 04: 14P          0 : 2S   181794692S1   18173436690       0:49     18173436690                 310410276936201            m2M        []
496    03 / 20 / 11 OS: 09P      0:20     181794692S1   18173436690       0:00     18173436690 01193SOOS960741 310410276936201          m2M VMC      [S2707/40649:-97.16078:32.8S086:248]
                                                                                                       s
4 97   03/20 / 11 OS:09P         0:01     18173436690   13173419000      1:11      13173419000                 310410276936201            M2m        []
498    03 / 20 / 11 OS: 09P      0:2S     181794692S1   18173436690      1:11      18173436690                 310410276936201            m2M        []
499    03/20/11 OS: 17P          0:20     181794692S1   18173436690      0:00      18173436690 01193SOOS960741 310410276936201          m2M VMC      [S2707/40649:-97.16078:32.8S086:248]
                                                                                                       s
soo    03/20/11 OS: 17P          0:01     18173436690   13173419000       0:04     13173419000                 310410276936201            M2m        []
S01    03/20/ 11 OS: 17P         0:2S     181794692S1   18173436690       0 : 04   18173436690                 310410276936201            m2M        []
S02    03/20/11 OS: S2P          0:12     18173436690   18179469251       0:41     181794692S1 01193SOOS960741 310410276936201          M2m DIR      [ S2707/40649:-97.16078:32.8S086:248]
                                                                                                       s
S03    03 / 20/ 11    OS: S3P    0:0 2    18173436690   13173419000       0:04     13173419000                     310410276936201        M2m        []
S04    03 / 20 / 11   OS: S3P    0:00     181794692S1   18173436690       0:00     18173436690                     310410276936201        m2M        []
sos    03/20/11       OS: S3P    0:03     181794692S1   18173436690       0:04     18173436690                     310410276936201        m2M        []
S06    03/20/11       OS: S3P    0:01     18173436690   181794692S1       0:04     181794692S1 01 1 93SOOS960741   310410276936201      M2m DIR      [S2707/40649:-97 . 16078:32.8S086:248]
                                                                                                       s
S07    03/20/11       OS: S3P    0:06     18173436690   181794692S1      4:43      181794692S1 01193SOOS960741 310410276936201          M2m_ DIR     [S2707/40649:-97 . 16078:32.8S086:248,
                                                                                                       s                                             S2707/42188:-97.13406:32.83747:128]
SOB    03/20/11 OS: SSP          0:00     18174811214   18173436690      0:19      18173436690 01193SOOS960741 310410276936201          02M_ DIR     [S2707 / 42188:-97 . 13406:32.83747:128,
                                                                                                       s                                             S2903 / 40289:-97.10911:32.842:240]
S09    03 / 20 / 11 OS: SSP      0:08     18173436690   181794692S1      1:10      181794692S1 01193SOOS960741 310410276936201          M2m DIR      [S 2903 / 40289:-97.10911:32.842:240,
                                                                                                       s                                             S2903 / 00SS9:-97.07419:32.83989:300]
S10    03/20/11       06: OOP    0:10     18173436690   14697670349      7:28      14697670349 01193SOOS960741 310410276936201          M2m DIR      [S2903 / 40288:-97.10911:32.842:120,
                                                                                                       s                                             S2818 / 40318:-97.06083:32.772S6:120 ]
S11    03/20/11 06: 11P          0:27     18173436690   18048732S41      0:07      18048732S41 011 93SOOS960741 310410276936201         M2M_ DIR     [S2803 / 14671:-97.09319:32.7S886:8]
                                                                                                       s
S12    03 / 20/11 06: 17P        O:OS     18174811214   18173436690      1:46      18173436690 01193SOOS960741 310410276936201          02M DIR      [S2818/273S9:-97.09664:32.77369:,
                                                                                                       s                                             S2818/41369: - 97.09664:32.77369:240 ]
S13    03 / 20/11 06: 20P        0:1S     18173436690   1S126996659      3:28      1S1269966S9 01193SOOS960741 310410276936201          M2m DIR      [S2818/41369:-97.09664:32.77369:240]
                                                                                                       s
S14    03/20/ 11 06: 24P         0:27     18173436690   13617741561      0:04      13617741S61 01193SOOS960741 310410276936201          M2M DIR      [S2818/273S3:-97.09664:32 . 77369:248]
                                                                                                       s
S1S    03/20/11       06 : 2SP   0:19     18173436690   191S5912171     17:S8      191SS912171 01193SOOS960741 310410276936201          M20 DIR      [S2818/273S3:-9 7 .09664:32.77369:248,
                                                                                                       s                                             S2818/273S2:-97.09664:32.77369:128]
S16    03/20/11       06: 36P    0:00     168236S4979   18173436690      0:00      18173436690                     3 1 0410276936201      M2M        []
S17    03/20/11       06: 36P    0:01     18173436690   13173419000      0:04      13173419000                     310410276936201        M2m        []
S18    03/20/11       06:36P     0 : 01   168236S4979   18173436690      0:04      18173436690                     310410276936201        m2M        []




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 915465.001                        Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 20 of 99 PageID 3840                                                            ~
 04/15/2011
                                                               MOBILITY USAGE
                                                                                                                                                                          ~ at&t
 SCAMP                                                       (with cell location)                                                                                         ~


 Run Date:              04/15/2011
 Run Time:              15:28:51
 Voice Usage For:       (817) 343-6690
 Account Number:        318912244
Item     Conn.      Conn.     Seizure     Originating     Terminating    Elapsed      Number            IMEI               IMSI          Description   Cell Location
         Date       Time       Time         Number          Number        Time        Dialed
519    03/20/11    06 :43P     0:06     1 8173 436690   1 68236 5 4979      1 :49   16823654979 011935005960741 310410276936201           M2M_ DIR     [ 528 1 8/27352 :- 97.09664:32.77369:128 ]
                                                                                                          5
520    03/20/11 07 :03P        0:21     18179469251     18173436690         0:00    18173436690 011935005960741     310410276936201       m2M VMC      [ 52818/27358:-97.09664 :3 2 . 77369:,
                                                                                                        5                                              52818/27359:-97.09664:32.77369:]
521    03/20/11 07: 04P        0:02     18173436690     13173419000         0:05    13173419000                     3104 10276936201        M2m        []
522    03/20/11 07: 04P        0:25     18179469251     1 8173436690        0:05    1 8173436690                    3104 10276936201        m2M        [)
523    03/20/11 07: lOP        0:20     18179469251     18173436690         1:48    18173436690 0119 35005960741    31041 0276936201      m2M DIR      [52818 / 41 363:-97.09664:32.773 69:240]
                                                                                                          5
524    03/20/11 07:44P         0:20     18177212416     18173436690         0:00    18173436690 01193500596074 1 310410276936201          m2M VMC      [ 52818/41369:-97.09664:32.77369:240 ]
                                                                                                          5
525    03/20/11 07 : 44P       0:01     18173436690     13173419000        0:37     13173419000                   31041 027 693 6201        M2m        []
526    03/20/11 07 : 44P       0:25     18177212416     18173436690        0:37     18173436690                   31041 0 276936201         m2M        []
527    03/20/11 08: 46P        0:21     19155912171     18173436690        0:00     18173436690 01193500596 07 41 310410276936201         02M VMC      [52818 / 41369:-97.09664:32.77369:240 ]
                                                                                                          5
528    03/20/11 08: 47P        0:01     18173436690     13173419000        0:34     18173436690                   310410276936201         02M_ VMB     []
529    03/20/11 11: 36P        0:21     18173436690     18048732541        2:09     18048732541 0 11935 005960741 310410276936201         M2M_ DIR     [52709/18908:-97.15139:32.97094:,
                                                                                                          5                                            52709 / 24337:-97.09953:32.93497: ]
530    03/20/11 11: 45P        0:11     18173436690     13617741561       28:06     13617741561 0 1193500596074 1 310410276936201         M2M_ DIR     [52709/60422:-97.09917:32.95581: 1 28 ,
                                                                                                          5                                            52709/07583:·97.12506:32.971:360]
531    03/21/11 01:41A         0:22     18172691226     18173436690        0:13     18173436690 0 11 93 5 00 596 074 1 310410276936201    M2M VMC      [52709/23562:-97.09917:32.95581 : 128]
                                                                                                          5
532    03/21/11    01 : 42A    0:21     18172691226     18173436690        0:14     18173436690 011935005960741 31 0410276936201          M2M VMC      [ 52709/23562:-97 . 09917:32.95581:128]
                                                                                                          5
533    03/21/11 05:27A        0:05      18173436690     18004321000        0 : 34   1800432100 0 011935005960741 310410276936201          M20_ DIR     [52709/23562:-97.09917:32.95581:128 ]
                                                                                                          5
534    03/21/11 05:47A        0:03      18173436690     18004321000        1:38     18004321000 011935005960741 310410276936201           M20_ DIR     [52709/60422:-97.09917:32 . 95581:128]
                                                                                                          5
535    03/21/11 10: 34A       0:20      19155912171     18173436690        0:00     1817343669 0 011935005960741 310410276936201          02M_ VMC     [52709/24338:-97.09953:32.9349 7 :]
                                                                                                          5
536    03/21/11 10:34A        0:01      18 173436690    13173419000        0:33     18173436690                 310410276 936201          02M_ VMB     []
537    03/21/11 10:44A        0:17      18173436690     1915726409 1       0:30     19157264091 011935005960741 310410276936201           M2M DIR      [52709/24338:-97.09953:32.93497:]
                                                                                                       5
538    03/21/11    01: 03P    0:21      14697670349     18173436690        0:00     18173436690 011935005960741 310410276936201           m2M_ VMC     [52709 / 24332:-97.09953:32.93497:128 ]
                                                                                                          5
539    03/21/11 01:04P        0:01      18173436690     13173419000        0:24     13173419000                     310410 276936201        M2m        [)
540    03/21/11 01: 04P       0:24      14697670349     18173436690        0 : 24   1817 3436690                    310410276936201         m2M        []
54 1   0 3/21/11 02 :33P      0 : 21    14693584679     18173436690        0:00     18173 436690 011935005960741    310410276936201       m2M VMC      [52709/62028: - 97.09953:32.93497:120]
                                                                                                         5
542    03/21/11 02: 33P       0:01      18173436690     13173419000        0:52     13173419000                     310410276936201         M2m        [)
543    03/21/11 02 : 33P      0:25      14693584679     18173436690        0:52     1 8173436690                    310410276936201         m2M        [)
544    03/21/11 04: l2P       0:21      181 73 436690   18179120500        0:22     1 8179120 500 011935005960741   310410276936201       M20 DIR      [52709/23478: - 97.079 14:3 2.93881:,
                                                                                                          5                                            52709/23479:-97.07914 : 32.93881:]



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                                     Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 21 of 99 PageID 3841                                                              -..,;
04/15 /20 1 1
SCAMP
                                                                 MOBILITY USAGE
                                                              {with cell location)                                                                                           ~ f at&t

 Run Da ta:          04 / 15/ 2011
 Run Time:           15:28 : 51
 Voice Usago Por:    (817)343-6690
 Account Number :    318912244
Item     Conn .   Conn.    Seizure  Originating               Terminating   Blapaod      Number              IMBI              IMSI         Description   Cell Location
          Dato    Time       Time     Number                    Number       Time        Dialed
545   03/21/11 06:02P        0:20 18048732541               18173436690        0:00   18173436690 011935005960741        310410276936201     M2M VMC      [52709/60313:-97 . 07914:32.93881 : 240]
                                                                                                              5
546   03/21/11       06:03P     0 : 01   18173436690        13173419000       0:44    18173436690                        310410276936201     M2M_ VMB     []
547   03/21/11       07:00P     0 : 20   18048732541        18173436690       0:00    1 8173436690 011935005960741       310410276936201     M2M VMC      [52709/23479:-97.07914:32.93881:]
                                                                                                              5
548   03/21/ll 07: 01P          0:01     18173436690        13173419000       0:11    1817 3 436690                      310410276936201     M2M_ VMB     []
549   03/21/11 09:09P           0:27     1 8 1 734 3 6690   19155912171       0:16    1 9 155 9 1 2171 011935005960741   31041027693620 1    M20 DI R     [ 52709/23562 : -97.09917 : 32.9558 1:128]
                                                                                                              5
550   03/21/11 09:10P           0:04     19155912171        18173436690       9:52    18173436690 011935005960741        310410276936201     02M DIR      [52709 / 23562:-97.09917:32.95581 : 128]
                                                                                                              5
551   03 / 21 / ll 09:19P       0:00     18177761615        18173436690       5:31    18173436690 011935005960741        310410276936201     M2M DIR      [52709/23562:-97.09917:32.95581:128]
                                                                                                              5
552   03/21/ 11 09: 25P         0:11     18173436690        19155912171       2:05    19155912171 011935005960741        310410276936201     M20_ DIR     [52709/23562:-97.09917:32.95581:128]
                                                                                                              5
553   03 / 21/ 11 09: 28P       0:22     18173436690        12145353700       4:17    12145353700 011935005960741        310410276936201     M2M_ DIR     [52709/23562:-97.09917:32.95581 : 128]
                                                                                                              5
554   03 / 21/ 11    09:33P     0:04     18173436690        12145353700       0:05    12145353700 011935005960741        310410276936201     M2M_ DIR     [52709 / 23562:-97.09917:32.95581 : 128]
                                                                                                              5
555   03/21/11       09: 34P    0 : 09   18173436690        12145353700       0:33    12145353700 011935005960741        310410276936201     M2M_ DIR     [52709 / 23562:-97 . 09917:32.95581:128]
                                                                                                              5
556   03 / 21 / 11   09:35P     0:22     18173436690        18174012962       0:28    18174012962 011935005960741        310410276936201     M2m DIR      [52709 / 23562 : -97.09917:32.95581 : 128]
                                                                                                              5
557   03/21/11       09 : 53P   0:07     18174012962        18173436690       6:03    18173436690 011935005960741        310410276936201     m2M DIR      [52709/23562:-97.09917:32 . 95581:128]
                                                                                                              5
558   03/21/ll       10: 01P    0:02     18173436690        19725663350       3:34    19725663350 011935005960741        310410276936201     M20 DIR      [52709/23568:-97 . 09917 : 32.95581 : ]
                                                                                                              5
559   03/21/11       10: 38P    0:08     181740 1 2962      18173436690       3:31    18173436690 0 11 935005960741      31041027693620 1    m2M_ DIR     [52709/23568:-97.09917:32 . 95581 : ]
                                                                                                              5
560   03/21/11       10:50P     0: 11    18174012962        18173436690       8:51    18173436690 011935005960741        310410276936201     m2M DIR      [ 52709/60422:-97.09917 : 32.95581 : 128,
                                                                                                              5                                           52709/20543 : -97.16761:32.98706:240]
561   03/21/ll       ll:llP     0:23     18173436690        19155912171       5:30    19155912171 011935005960741        310410276936201     M20 DIR      [52709/22791:-97.16761:32.98706:8]
                                                                                                              5
562   03/22/ll 12: 35A          0:21     16825515808        18173436690       0:00    18173436690 011935005960741        310410276936201     m2M VMC      [52709/20547:-97.16761:32.98706:0]
                                                                                                              5
563   03 / 22/11 12: 35A        0:02     18173436690        13173419000       0:24    13173419000                        310410276936201       M2m        []
564   03/22/11 12: 35A          0:25     16825515808        18173436690       0:24    18173436690                        310410276936201       m2M        []
565   03 / 22 / 11 08:38A       0:07     18173436690        18177761615       0:16    18177761615 011935005960741        310410276936201     M2M DIR      [52709 / 24338:-97.09953 : 32.93497:]
                                                                                                         5
566   03 / 22 / 11   08: 41A    0:08     18177761615        18173436690       0:06    18173436690 011935005960741        310410276936201     M2M_ DIR     [52709/24338:-97.09953 : 32.93497:]
                                                                                                         5
567   03/22/11       08:43A     0:08     18173436690        16825515808      18:24    16825515808 011935005960741        310410276936201     M2m_ DIR     [52709/24338 : -97 . 09953:32.93497:]
                                                                                                         5




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                                                                                                                                                                       ~ at&t
9 1546 5.001
04/15/2011
                                                                  MOBILITY USAGE
SCAMP                                                          (with cell location)


 Run Oato:               04 / 15/ 2011
 Run Time :              15:28:51
 Voice Uoago Por:        (817) 343-6690
 Account Numbor:         318912244
Item    Conn.       Conn .     Seizure Originating       Terminating   Elaps ed      Number            IMBI              IMSI          Description   Cell Locati o n
         Data       Time         Time     Number           Number       Timo         Dial ed
568   03 / 22 / 11 11 : 49A      0:15 18173436690      18174012962        8:21     18174012962 011935005960741     310410276936201      M2m DIR      [52709/62028:-97.09953:32.93497:120)
                                                                                                         5
569   03/22/11 12:29P           0:09     18173436690   18177761615        0:34     18177761615 011935005960741     310410276936201      M2M DIR      [52709/24338:-97.09953:32.93497: )
                                                                                                         5
570   03/22/11 12 : 32P         0:30     18173436690   18179053030        0:09     18179053030 011935005960741     310410276936201      M2m DIR      [52709/24338:-97.09953:32.93497:)
                                                                                                         5
571   03/22 / 11 12:53P         0:21     18173436690   18179053030        1:14     18179053030 011935005960741     310410276936201      M2m DIR      [52709/60422:-97.09917:32.95581:128)
                                                                                                         5
572   03 / 22 / 11 12:55P       0:12     18173436690   18173365600      17:16      18173365600 011935005960741     310410276936201      M20 DIR      [52709 / 60428:-97.09917 : 32.95581:128)
                                                                                                        5
573   03/22 / 11 01:14P         0:17     18173436690   18174012962        2 : 27   181740 1 2962 011935005960741   310410276936201      M2m_ DI R    [52709/60428:-97.09917:32.95581:128)
                                                                                                        5
574   03 / 22/11 01:16P         0:15     18173436690   19157264091        6:11     19157264091 011935005960741     310410276936201      M2M DIR      [52709 / 23562:-97.09917:32.95581:128)
                                                                                                        5
575   03 /22 / 11 02:40P        0:06     14697670349   18173436690        0:21     18173436690 011935005960741     31041 0 276936201    m2M_ DIR     [52709 / 23568:-97 . 09917:32.95581:)
                                                                                                        5
576   03 / 22 / 11 03:55P       0:04     18177761615   18173436690        0 :24    18173436690 011935005960741     3104102 7 6936201    M2M DIR      [52709 / 60428:-97.09917:32.95581:128)
                                                                                                        5
577   03 / 22 / 11   08 : 43P   0:20     12148616994   18173436690        0:00     18173436690 011935005960741     310410276936201      m2M VMC      [52709 / 24311: - 97.12608:32.93822:8)
                                                                                                        5
578   03 / 22 / 11 08:43P       0:01     18173436690   13173419000        0:30     13173419000                     310410276936201        M2m        [)
579   03 / 22/11 08:43P         0:25     12148616994   18173436690        0:30     18173436690                     310410276936201        m2M        [)
580   03/22 / 11 11:18P         0:16     18173436690   16825515808        8:07     16825515808 011935005960741     310410276936201      M2m DIR      [52709 / 23562:-97.09917:32.95581:128)
                                                                                                        5
581   03 / 22 / 11 11:36P       0 : 27   18173436690   13302406183        0:31     13302406183 011935005960741     310410276936201      M2M_ DIR     [52709 / 60428:-97.09917:32.95581:128)
                                                                                                        5




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                                Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 23 of 99 PageID 3843                                                                       -...,;
91 5 4 65. 001
0 4 / 1 5/ 2011
SCAMP
                                                            MOBILITY USAGE
                                                         (with cell location)                                                                                                     ~ ~ at&t

 Run Date:          04/15/2011
 Run Time:          15:28:53
 Data Ooago Por:     ( 817 ) 343 -6690
 Account Numbor:    318912244
Item       Conn.      Conn.       Originating   Elapsed    By teo    Bytes             IMBI                    IMSI             Access      Descrip t ion   Cell Location
           Date        Time         Number       Timo        Op        on                                                             Pt
1      03/01/11     12:30A 181 73436690           60:00     90798    273519   .........•.••..            310410276936201     phone         _ MOBILE_ DATA_ [ 52706/26951 :-97.25503:32.83767:60]
2      03/01/11     01:30A 18173436690           16:24     206630    517557   ...............            310410276936201     phone         _ MOBILE_ DATA_ [ 52706/2695 1: - 97.25503:32.83767:60 ]
3      03/01/11     01:46A 1 8 1 73436690         0:31           0        0   ........•......            3104 1 0276936201   phon e        _ MOBILE_ DATA_ [52008 / 42083:-97.25778:32.909 4 7 : 240 ]
4      03/01/11     0 1:4 6 A 18173436690         4:21          0         0   ...............            310410276936201     phon e        _ MOBILE_ DATA_ [52706/40968:-97.30836:32.89667 :1 28 ]
5      03/01/11     0 1 :51 A 1 817 3 4 36690     8:10      36410     76951   .....•..••.....            310410276936201     phone         _ MOBILE_ DATA_ [52709 / 20052:-97.28481:32.94214:128 ]
6      03/01/11     02:11A 18173436690           11:02     319979    480004                              310410276936201     phone         _ MOBILE_ DATA_ [52709 /243 37:·97.09953:32.93497: ]
                                                                          9
7      03/01/11     02:22A 18173436690            0:15     28496     509180   ••• • • • •• • • •• •••    310410276936201     phone         _ MOBILE_ DATA_ [52 7 09 / 24337:-97.09953:32.93497: ]
                                                                          0
8      03/01/11     02 : 22A 18173436690          4:57     77083     504370   •••••••••••••••            310410276936201     phone          MOBILE DATA     [52709 / 24337:-97.09953:32.93497:]
                                                                          4
9      03/01/11     02 : 27A 18173436690          0:29     35898     508465   ••• •• •• • •••••••        310410276936201     phone         _ MOBILE_ DATA_ [52709 /24337 :-97. 09953 :32.93497: ]
                                                                          6
10     03/01/11     02:28A 18173436690            0:18      32364    508793   ••••••• • •••••••          3104102 76936201    phone         _ MOBILE_ DATA_ [52709 / 24337:-97.09953:32.93497:]
                                                                          9
11     03/01/11     02:28A 18173436690            0:39     42212     507783   •• ••••• •• ••••••         310410276936201     phone         _ MOBILE_ DATA_ [52709 / 24337:-97.09953:32.93497:]
                                                                          0
12     03/01/11     02:29A 18173436690            0:17     29848     509050   •• • • ••• • •• • • •• •   310410276936201     phone         _ MOBILE_ DATA_ [52709 / 24337:-97 . 09953:32.93497:]
                                                                          4
13     03/01/11     02:29A 18173436690            0 : 45   49283     507193   •• •••••••••••••           310410276936201     phone         _ MOBILE_DATA_ [52709 / 24337:-97.09953:32.9349 7 :]
                                                                          1
14     03/01/11     02:30A 18 1 73436690          1:10     50461     507039   •• • •• •• • • •• • • ••   310410276936201     phone         _ MOBILE_ DATA_ [52709 / 24337:-97.09953:32.93497:]
                                                                          7
15     03/01/11     02:31A 1 8173436690           0:54     64126     505617   •••••••••• • ••••          310410276936201     phone         _ MOBILE_ DATA_ [52709/24337:-97.09953:32.93497:]
                                                                          2
16     03/01/11     02:32A 18173436690            0:14     28 1 32   509320   • • • • ••• •••• • • • •   310410276936201     phone         _MOBILE_ DATA_ [52709 /24 337:-97.09953:32.93497 :]
                                                                          0
17     03/01/11     02 : 32A 18173436690          0:30     43396     507776   ***************            310410276936201     phone         _ MOBILE_ DATA_ [52709/24337: - 97.09953:32.93497: ]
                                                                          6
18     03/01/11     02:33A 18173436690            0: 1 7   31917     508917   •• • • •• •••••• •••       310410276936201     phone         _ MOBILE_DATA_ [52709/24337:-97 . 09953 : 32.93497 : ]
                                                                          1
19     03/01/11     02:33A 18173436690            0:22     37352     508318   •• •••• ••••• •• ••        310410276936201     phone         _ MOBILE _ DATA_ [52709 /2 4337:- 97. 09953:32.93497:]
                                                                          2
20     03/01/11     02 : 33A 18173436690          1:23     60997     505941   ••• •••• ••••• •• •        310410276936201     phone         _ MOBILE_ DATA_ [52709 / 24337:-97.09953:32.93497:]
                                                                          6
21     03/01/11     02:35A 18173436690            0:27     40180     508116   •• • • •• •••••••••        3104102 76936201    phone         _ MOBILE_ DATA_ [52709 / 24337:-97.09953:32.93497:]
                                                                          5
22     03/01/11     02:35A 181734 3 6690         60:00     60938     274739   •••••••••••••••            310410276936201     phone         _ MOBILE_ DATA_ [52709 / 24337:-97.09953:32.93497:]
                                                                          6
23     03/01/11     03:35A 18173436690           60:00       102         49   •• ••• ••••••••••          310410276936201     phone         _ MOBILE _ DATA_ [527 09/24337 : -97.0995 3 :32.93497: ]
24     03/01/11     04:35A 18173436690           60:00        51         49   •• ••• ••• •••••• •        310410276936201     phone         _ MOBILE _ DATA_ [52709 / 24337:-97.09953:32.93497:]
25     03 /01/ 11   05:35A 18173436690           60:00      6491      15275   ••• ••• •••••••••          310410276936201     phone         _ MOBILE_DATA_ [52709 / 24337:-97 .099 53 :32.93497:]




                                                                                         AT&T Pro prietary
        AMO                                                                                                                                                                                   Page 26
                               The informa ti on c o ntained here is f o r use by authori z ed p e r s on only a n d i s
                                                          not for general di s tributio n.
                              Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 24 of 99 PageID 3844
915465.00 1
0 4 /15/20 11
SCAMP
                                                           MOBILITY USAGE
                                                        (with cell location)                                                                                                                     at&t

 Run Date:         04/15/2011
 Run Time:         15:28:53
 Data Uoago Por:   (817)343 · 6690
 Account Number:   318912244
Item      Conn.     Conn.     Originating    Elapsed    Byteo       Bytes                IMBI                    IMSI              Access     Description       Cell Lo cation
          Date      Time        Number        Time       Up          on                                                               Pt
26      03/01/11   06:35A 18173436690         60:00         51          49      •••• • ••• • •• • • ••     310410276936201   phone          _ MOBILE_ OATA_ [52709 / 24337: · 97.09953:32.93497:]
27      03/01/11   07:35A 18173436690         60:00 206841 113238               • •• •••••••• • • ••       310410276936201   phone          _ MOBILE_ OATA_ [52709/24337: · 97.09953:32.93497:]
                                                                4
28      03/01/11   08:35A 18173436690         60:00     18635       25122       •••••• • • •• • • • ••     310410276936201   phone        _ MOBILE_ OATA_ [52709/24337:-97.09953:32.93497: ]
29      03/01/11   08:52A 18173436690          0:48      1772       34385       •••••••• • •••• ••         310410276936201   wap.cingul a _ MOBILE_ OATA_ [52709/62022:-97.09953:32.93497:12 0 ]
                                                                                                                             r
30      03/01/11   09:35A    18173436690      40:12       152           49      ••••• •• •• •••• • •       310410276936201   phone          _ MOBILE_ OATA_     [52709 / 62022:-97.09953:32.93497:120 ]
31      03/01/11   lO:lSA    18173436690       0:13             0        0      ••••••••• • •••• •         310410276936201   phone          _ MOBI LE_ OATA_    [52903/03673:-97.08444:32.92639:300]
32      03/01/11   10:16A    18173436690      60:00     15908       29140       ................           310410276936201   phone          _ MOBILE_ OATA_     [52709 / 62028:-97.09953:32.93497:120 ]
33      03/01/11   10:40A    18173436690       0:50      2957       27336       ...•.•..•......            310410276936201   acds.voicem    _ MOBILE_ OATA_     [52709 / 24338:-97 . 09953:32.93497:]
                                                                                                                             ail
34      03/01/11   11:09A 18173436690          0 : 57    2061        1333       .........•.....            310410276936201   acds.voicem
                                                                                                                                            - MOBILE- DATA  -   [52709 / 24338:-97.09953:32.93497:]
                                                                                                                             ail
35      03/01/11   11:16A    18173436690       0 : 00           0           0   •• •••••• • • •• • • •     310410276936201   phone          _ MOBILE_ OATA_     [52709 / 24338:-97.09953:32.93497:]
36      03/01/11   11:16A    18173436690       0: 1 3       0      0            •••••• ••• ••• • ••        310410276936201   phone          _ MOBILE_ OATA_     [52903 / 27603:-97.08444:32.92639 : 300]
37      03/01/11   11:16A    18173436690      60:00     93882 744992            •••• ••• • •• •• •••       310410276936201   phone          _ MOBILE_ OATA_     [52709/ 24338:-97.09953:32 . 93497:]
38      03/01/11   12:16P    18173436690      38:23     15708       24369       •••• • •• • •• • • •• •    310410276936201   phone          _ MOBILE_ OATA_     [52709/ 24338:·97.09953:32.93497:]
39      03/01/11   12:54P    18173436690       0:07         0           0       •••• ••••••• •• ••         310410276936201   phone          _ MOBILE_ OATA_     [52903 / 27603:-97.08444:32.92639:300)
40      03/01/11   12:54P    18173436690       0:04       0             0       ••••••• •• ••••• •         310410276936201   phone          _ MOBILE_ OATA_     [52709 / 24332:-97.09953:32.93497:128)
41      03/01/11   12:54P    18173436690       0:03       0             0       • •• •• ••••• •• •••       310410276936201   phone          _ MOBILE_ OATA_     [52903 / 27603:-97.08444:32.92639:300 )
42      03/01/11   12:54P    18173436690       0:03       0     0               ••••••• •••• ••• •         310410276936201   phone          _ MOBILE_ OATA_     [52709 / 24332:-97.09953:32.93497:128)
43      03/01/11   12:55P    18173436690       1:04       0     0               ....•..........            310410276936201   phone          _ MOBILE_ DATA_     [52903 / 27603:-97.08444:32.92639:300 ]
44      03/01/11   12:56P    18173436690      60:00     102    98                                          310410276936201   phone          _MOBILE_ DATA_      [52709 / 62028:·97.09953:32.93497:120)
45      03/01/11   01:56P    18173436690      60:00   10985 21172                                          310410276936201   phone          _MOBI LE_ OATA_     [52709 / 62028:-97.09953:32.93497:120 )
46      03/01/11   02:56P    18173436690      60 : 00  6071 23245                                          310410276936201   phone          _ MOB I LE_OATA_    [52709/62028 : -97.09953:32.93497:120)
47      03/01/11   03:56P    18173436690      30 : 44    51    49               ***** ** * * * '* '* ***   310410276936201   phone          _ MOBILE_ OATA_     [52709/62028:-97.09953:32.93497:120 )
48      03/01/11   04:39P    18173436690      59:34 300053 482108               •••• ••• •••• • •••        310410276936201   phone          _ MOBILE_ OATA_     [ 52709 / 23562 : -97.09917:32.95581:128)
                                                                            9
49      03/01/11   05:38P    18173436690       1:39 21345 161702                ••• •• • •••••••••         310410276936201   phone          _ MOBILE_ OATA_     [ 52709/23562:-97.09917 : 32 . 95581:128]
50      03/01/11   06:0 1P   18173 4 36690    60 : 00 198857 870134             • •• • •• •• ••••• • •     310410276936201   phon e         _MOBI LE_OATA_      [ 52709 / 2023 1 : - 97.12608:32.93822:8)
51      03/01/11   07:01P    18173436690      60 : 00     112          49       '************'***          310410276936201   phon e         _MOBILE_ OATA_      [52709/20231: - 97. 12608:32.93822:8)
52      03/01/11   08:01P    18173 4 36690    21:20     57803 234439            •• • •••• • ••••• • •      310410276936201   phon e         _ MOBILE_OATA_      [52709 / 20231:-97. 12608:32.93822:8)
53      03/01/11   08:23P    18173436690       5:47     30733 290350            •• • •••• ••• ••• ••       310410276936201   phone          _ MOBILE_ OATA_     [52903 / 03679:-97 . 08444:32.92639:300)
54      03/01/11   08:28P    18173436690       0:04             0           0   ****'** **** *** **        310410276936201   phone          _ MOBILE_ OATA_     [52707 / 41582:·97 . 13542:32.85347:120)
55      03/01/11   08:28P    18173436690       0:40             0           0   •••••••• •• •• •••         310410276936201   phone          _ MOBILE_ OATA_     [52903 / 40553:-97.11217:32.85897:240)
56      03/01/11   08:29P    18173436690      60:00       986        1425       *** * *** *** * * * **     310410276936201   phone          _ MOBILE_ OATA_     [52707 / 41588:-97.13542:32.85347:120)
57      03/01/11   09:29P    18173436690      60:00       948        2561       ••••• • •• •• ••• • •      310410276936201   phone          _MOBILE_OATA_       [52707 / 41588 : ·97.13542:32.8534 7 :120)
58      03/01/11   10:29P    18173436690      60:00      2296        6290       •• • •• • •••••••••        310410276936201   phone          _MOBILE_ OATA_      [52707/ 41588: - 97.13542:32.85347:120 )
59      03/01/11   11:29P    18173436690      60:00      1673        5952       ******* ** ***** *         310410276936201   phone          _ MOBILE_ OATA_     [52707 / 41588:-97.13542:32.85347:120 )



                                                                                           AT&T Propri e t ary
        AMO                   The info rma tion con taine d here i s f or use by a utho r i zed per son o nly a nd i s                                                                           Pa ge 2 7
                                                        not for general di s tribut ion.
915465.001
                                    Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 25 of 99 PageID 3845
04 /15/2 011
                                                                 MOBILITY USAGE
SCAMP                                                         (with cell location)


 Run Date:             04/15/2011
 Run Time:             15:28:53
 Data Osage For:       (817)343-6690
 Account Number:       318912244
Item         Conn.      Conn.    Originating      Elapsed    Bytes      Bytes             IMEI                 IMSI              Access     Description Cel l Location
          Date          Time       Number          Time       Up         Dn                                                        Pt
60      03/01/11       11:35P 18173436690           0 : 23   215889       4838      ••••••• ••••••••    310410276936201       wap.cingu1a _ MOBILE_ DATA_ [52707/23533: - 97. 1 6078 :32. 85086:248]
                                                                                                                              r
61      03/02/11       12:2 9A    18173 436690     4 3:53 170118 551493             ***************     3104 10276936201      p h one       _ MOBILE_DATA_     [52707/23533:-97 . 16078:32.85086:248]
62      03/02/11       0 1:13A    1817343 6690       0:04      0      0             ............•..     3104 10276936201      phone         _ MOBI LE_ DATA_   [52903/23223: - 97.12706:32 .8829 7:24 8]
63      03 /0 2 /1 1   01:13A     18173436690        3:43  55109 213467             ***************     31041 0276936201      phone         _ MOBILE_DATA_     [52707/23531:-97.16078:32.85086:8]
64      03/02/11       01:17A     18173436690      18:50 178823 464791                                  310410276936201       phone         _ MOBILE_ DATA_    [5 2903/02919: - 97. 1299 7 :32 .866 17:48]
65      03 /0 2 / 11   01:36A     18173436690      60:00      51     49                                 310410276936201       phone         _ MOBILE_ DATA_    [52709/62028: - 97.09953:32.93497:120]
66      03/02/11       02:36A     1817343 6690     60:00      12597      30113      •••••••••••••••     310410276936201       phone         _ MOBI LE_ DATA_   [52709 /6 2028: - 97.09953 : 32.93497:120]
67      03/0 2 /11     03:36A     181 7343669 0    60 : 00     7028      27437      •••••••••••••••     310410276936201       phone         _ MOBILE_ DATA_    [52709/62028: - 97 . 099 53:32.93 497 : 120 ]
68      03/02/11       04:36A     18173436690      60 : 00     6954      22943      ***************     310410276936201       phone         _ MOBILE_ DATA_    [52709 / 62028:-97. 099 53:32.93497 : 120 ]
69      03/02 / 11     05:36A     18173436690      60:00      12614 528460          •••••••• •••••••    310410276936201       phone         _ MOBILE_DATA_     [52709/62028: - 97.09953:32.93497:120 ]
70      03/02/11       06:36A     18173436690      60:00        1 61   737                              310410276936201       phone
                                                                                                                                            - MOBILE- DATA-    [52709/620 28: -97 .09953 :32.93497: 12 0]
71      03/02/11       07:30A     18173436690       4 : 04     6612 391610                              310410276936201       wap.cingu1a   _ MOBILE_DATA_     [52709/23562: -9 7.09917 : 32 . 95581:128]
                                                                                                                              r
72     03/02/11        07:36A 18173436690          60 : 00         51        49     •••• •• •••••••••   310410276936201       phone         _ MOBILE_ DATA_ [52709/23562:-97.09917 : 32.95581:128]
73     03/02/11        08:36A 1 817343 6690        60 : 00   486226     22 1045     ••••••••••••• ••    310410276936201       phone         _ MOBI LE_ DATA_ [52709/23562:-97 .09917 :32. 95581:128]
                                                                              2
74     03/02/11        09:36A     1 8173 436690    60:00       6788      2 466 5    ***************     31 041027693620 1     phone         _ MOBILE_DATA_     [52709/23562:-97.09917:32.95581:128 ]
75     0 3/02/11       10:36A     18173436690      60 :0 0 139864 51 4 078          •••••••••••••••     310410276936201       phone         _ MOBILE_ DATA_    [52709 / 23562 :- 97.09917: 32. 95581:128]
76     03/02/11        11:36A     18173436690      60:00    21684 157583            •••••••••••••••     310410276936201       phone         _ MOBILE_DATA_     [52709 / 23562:-97.099 1 7:32.95581:128]
77     03/02/11        12 : 36P   1 8173 436690    17: 4 1      0        0          •••••••••••••••     310410276936201       phone         _ MOBILE_ DATA_    [527 09/ 23562:-97 .09917:32.95581:128 ]
78     03/02/11        12 : 53P   18173436690       2:36        0        0          • • •••••••••••••   310410276936201       phone         _ MOBILE_ DATA_    [52008/604 2 2 :- 97.09917 :3 2.95 5 81:]
79     03/02/11        12:56P     18173436690      21: 24 348057        477247      ••••••••• ••••••    3 1 04 1 0276936201   phone         _ MOBILE_ DATA_    [527 09/60422:-97 . 09917 : 32 . 95581:128]
                                                                             3
80     03/02/11        01:17P 18173436690           0:35     45259 507577           •••••••••••••••     310410276936201       phone         _ MOBILE_DATA_ [ 52709/60422:-97 . 09917 : 32 . 95581:128]
                                                                         8
81     03/02/11        01 :1 8P 18 173 436690       0:31     39076 508 116          •••••••••••• •• •   31 0410276936201      p h one       _ MOBILE_ DATA_ [52709/ 60422:-9 7 .09917:32.955 81 :128]
                                                                         4
82     03/02/11        01: 1 8P 18173436690         1:11     60006 506027           ••••••••• ••••••    310410276936201       p h one       _ MOBILE_ DATA_ [52709 /60 422: - 97.099 17 :32.9 55 81:128]
                                                                         7
83     03/02/11        01:20P 18173436690           0:45     59373 506081           ••••••••• ••••••    3104 102769362 01     phone         _ MOBILE_DATA_ [52709/60422:-97. 099 17:3 2.9 5581 : 128]
                                                                                6
84     03/02/11        01:20P 18173436690           0:3 4    43102      507787      ••••••••••••• ••    3104 10276936201      phone         _ MOBILE DATA_ [52709/6042 2 : - 97.09917:3 2.955 81 : 128 ]
                                                                             3
85     03/02/1 1       01:21P 18173436690           0:33     45533      507522      ********** ** ***   3104 10276 9362 01    phone         _ MOBILE_DATA_ [52709/60422:-97.09917 : 32 . 95581:128]
                                                                             3
86     03/02/11        01:21P     18173436690      60 :00    34179 633059           ***************     310410276936201       phone         _ MOBILE_ DATA_    [52709 / 60422:-97.09917:32.95581:128]
87     03/02/11        02: 21P    18173436690      11:58     10081 144637                               310410276936201       phone         _ MOBILE_DATA_     [52 709 / 60422:-9 7 .09917:32.95581: 128]
88     03/02 / 11      02 :33P    1817343 6690      0 : 05       0      0                               31041027693620 1      phone         _ MOBILE_ DATA_    [52903/23587: - 97.0974 2:32.8 9986: ]
89     03/02/11        02:34P     18173436 690     43 : 47    7188       349 1 6    ***************     31041027693620 1      phone         _ MOBILE_ DATA_    [ 52709/24338:-97.09953:32.93497:]



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                                                                                                                                                                             ~ at&t
915465.001
04/15/2011
                                                               MOBILITY USAGE
SCAMP                                                       (with cell location)


 Run Date:            04/15/2011
 Run Time:            15:28:53
 Data Usage For:      (817)343-6690
 Account Nwnber:      318912244
Item      Conn.        Conn.    Originating    Elapsed    Bytes       Bytes             IMEI                IMSI           Access      Description      Cell Location
          Date         Time       Number        Time       Up          Dn                                                       Pt
90      03/02/11      03:17P 18173436690          0:05         0      0                               310410276936201   phone        _ MOBILE_ DATA_ [52903/23587:-97.09742:32.89986:)
91      03/02/11      03:17P 18173436690          6:03       305      0                               310410276936201   phone        _ MOBILE_ DATA_ [52709/24338 :- 97.09953:32.93497:)
92      03/02/11      03:23P    18173436690       0:08         0      0                               310410276936201   phone        _ MOBILE_DATA_ [52903/23587:-97.09742:32.89986:)
93      03/02/11      03:24P    18173436690      55:10    4 8091 102340           ...............     310410276936201   phone        _ MOBILE_ DATA_ [52709/62022:-97.09953:32.93497:120)
94      03/02/11      04:19P    18173436690       0:50    16333   32413                               310410276936201   phone          MOBILE DATA [52903/03673:-97.08444:32.92639:300)
95      03/02/11      04:20P    18173436690      25:44    75111 473393            •.•.....•..••••     310410276936201   phone        _ MOBILE_ DATA_ [52709/60313:-97.07914:32.93881:240)
96      03/02/11      04:45P    18173436690       0:10         0      0                               310410276936201   phone        _ MOBILE_ DATA_ [ 52903/23587:-97.09742:32.89986: )
97      03/02/11      04:45P    18173436690      10:47         0      0           ................    310410276936201   phone        _ MOBILE_ DATA_    [52709/60521:-97.11489:32.91886:0)
98      03/02/11      04:56P    18173436690       0:23         0      0           ***************     310410276936201   phone        _ MOBILE_ DATA_    [5 2903/60087:-97.09742:32.89986:0)
99     03/02/11       04:57P    18173436690       8:32            0           0                       310410276936201   phone        _ MOBILE_ DATA_    [52709/62022:-97.09953:32.93497:120)
100    03/02 / 11     05:05P    18173436690       1:06            0           0                       310410276936201   phone        _ MOBILE _ DATA_   [ 52903 / 60087: - 97.09742:32.89986:0)
101    03/02/11       05:06P    18173436690      30:03        51          49                          310410276936201   phone        _ MOBILE_ DATA_    [52709/24332:-97.09953:32.93497:128)
102    03/02/11       05:36P    18173436690       0:09         0              0   ••.••..........     310410276936201   phone        _ MOBILE_ DATA_    [ 52903/23587:-97 . 09742:32.89986:)
103    03/02/11       05:37P    18173436690       0:05            0           0   ..••.....•.•...     310410276936201   phone        _ MOBILE_ DATA_    [ 52709/62022:-97.09953:32.93497:120 )
104    03/02/11       05:37P    18173436690      0 : 04           0           0   ...............     310410276936201   phone        _ MOBILE_ DATA_    [ 52903/60081 :- 97.09742:32.89986:0)
105    03/02/11       05:37P    18173436690      0:20             0           0                       310410276936201   phone        _ MOBILE_ DATA_    [52709/62022:-97.09953:32.93497:120)
106    03/02/11       05:37P    18173436690      1:11             0           0                       310410276936201   phone        _ MOBILE_ DATA_    [52903/60087:-97.09742:32.89986:0)
107    03/02/11       05:38P    18173436690      5:23             0  0                                310410276936201   phone        _ MOBILE_ DATA_    [52709/24332:-97.09953:32.93497:128)
108    03/02 / 11     05:44P    18173436690      0:06         0      0            •.•.•.....•..••     310410276936201   phone        _ MOBILE_ DATA_    [52903/23587:-97.09742:32.89986:)
109    03 / 02 / 11   05: 44P   1817343 6690    60:00     49044 105019            .............•.     310410276936201   phone        _ MOBILE DATA_     [52709/2 4 338:-97.09953:32.93497:)
110    03/02/11       06:44P    18173436690     27:22             0           0                       310410276936201   phone        _ MOBILE_ DATA_    [52709/24338:-97.09953:32.93497:)
111    03/02/11       07:11P    18173436690      0:06          0           0                          310410276936201   phone        _ MOBILE_ DATA_    [52903/23587:-97.09742:32.89986:)
112    03/02/11       07:11P    18173436690     12:13         51          49                          310410276936201   phone        _ MOBILE_ DATA_    [52709/24338:-97.09953 : 32.93497:)
113    03/02/11       07:23P    18173436690      0:07             0           0   ****** * ********   310410276936201   phone        _ MOBILE_ DATA_    [52903/03673:-97.08444:32.92639:300)
114    03/02/11       07:24P    18173436690      0:08             0        0      •••••••••••••••     310410276936201   phone        _ MOBILE_ DATA_    [52709/60313:-97.07914:32.93881:240)
115    03/02/11       07:24P    18173436690      0:48         0            0      •••••••••••••••     310410276936201   phone        _ MOBILE_ DATA_    [52903/03673:-97.08444:32.92639:300)
116    03/02/11       07:31P    18173436690      0:59       106          344      •••••••••••••••     310410276936201   phone        _ MOBILE_ DATA_    [52709/60313:-97.07914:32.93881:240)
117    03/02/11       07:32P    18173436690      0:16      0               0      •••••••• • ••••••   310410276936201   phone        _ MOBILE_ DATA_    [52903/60087:-97.09742:32.89986:0)
118    03/02/11       07:33P    18173436690      0:30      0      0               •...•.••.•...••     310410276936201   phone        _ MOBILE_ DATA_    [52709/24332:-97.09953:32.93497:128)
119    03/02/11       07:33P    18173436690      0:04      0      0                                   310410276936201   phone        _ MOBILE_ DATA_    [52903/23587:-97.09742:32.89986:)
120    03/02/11       07:33P    18173436690     60:00 249792 741781                                   310410276936201   phone        _ MOBILE_DATA_     [52709/24338:-97.09953:32.93497:)
121    03/02/11       08:33P    18173436690      1:56      0      0               ................    310410276936201   phone        _ MOBILE_ DATA_    [52709/24338:-97.09953:32.93497:)
122    03/02/11       08:35P    18173436690      0:10      0      0               ..•...........•     310410276936201   phone        _ MOBILE_DATA_     [52903/23587:-97.09742:32.89986:)
123    03/02/11       08:35P    18173436690     27:49    155     49               ........•...••.     310410276936201   phone        _ MOBILE_ DATA_    [52709/60313:-97.07914:32.93881:240)
124    03/02/11       09:03P    18173436690      0:04      0               0                          310410276936201   phone        _ MOBILE_ DATA_    [ 52903/27603:-97.08444:32.92639:300)
125    03/02/11       09:03P    18173436690     60:00    103              49                          310410276936201   phone        _ MOBILE_ DATA_    [ 52709/24332:-97.09953:32.93497:128)
126    03/02/11       10:03P    18173436690     60:00 109354          360975                          310410276936201   phone        _ MOBILE _ DATA_   [52709 / 24332:-97 . 09953:32.93497:128)
127    03/02/11       11:03P    18173436690     60:00 175097          415219                          310410276936201   phone        _ MOBILE_DATA_     [52709/24332:-97.09953:32.93497:128)



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                                                        not for general di stribution.
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                                  Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 27 of 99 PageID 3847
                                                               MOBILITY USAGE
04/ 1 5/2011
SCAMP                                                      (wi t h c e ll l ocation )                                                                                   i? at&t

Run Date:            04/15/2011
Run Time:            15:28:53
Data Usage For:       (817)343-6690
Account Number:      318912244
Item        Conn.     Conn.    Originating      E1apoed   Bytes   Bytes           IMBI                IMSI             Access     Description     Cell Location
         Date          Time      Number          Time       Up      Dn                                                    Pt
128    03/03/11      12:03A 18173436690          60:00         51      49   ................   310410276936201      phone       _ MOBILE_ DATA_   [ 52709/24332:-97.09953:32.93497:128]
129    03/03/11      01:03A 18173436690          60:00         51      49   ..............•    310410276936201      phone       _ MOBILE_ DATA_   [52709/24332:-97.09953:32.93497:128]
130    03/03/11      02:03A 18173436690          60:00         51      49                      310410276936201      phone       _ MOBILE_ DATA_   [52709/24332:-97.09953:32.93497:128 ]
131    03/03/11      03:03A 18173436690          60:00     13456 41391      ..........•....    310410276936201      phone       _ MOBILE_ DATA_   [52709/24332:-97.09953:32.93497:128]
132    03/03/11      04:03A 18173436690          60:00     10838 26791                         310410276936201      phone       _ MOBILE_ DATA    [52709/24332:-97.09953:32.93497:128]
133    03/03/11      05:03A 18173436690          60:00         51      49   ...............    310410276936201      phone       _ MOBILE_ DATA_   [52709/24332:-97.09953:32.93497: 128 ]
134    03/03/11      06:03A 18173436690          60:00         51      49   ***************    310410276936201      phone       _ MOBILE_ DATA_   [52709/24332:-97.09953:32.93497:128]
135    03/03/11      07:03A 18173436690          60:00      6693   12565                       310410276936201      phone       _ MOBILE_ DATA_   [52709/24332:-97 . 09953:32 . 93497:128]
136    03/03/11      08:03A 18173436690          10:37    155273 496589                        310410276936201      phone       _ MOBILE_ DATA_   [52709/24332:-97 . 09953:32 . 93497:128]
                                                                        7
137    03/0 3 / 11   08:14A 18173436690           0:39     52148 506840     •••••••••••••••    310410276936201      phone       _ MOBILE_ DATA_ [52 709/24 332:-97.09953:32.93497:128]
                                                                      8
138    03/03/11      08: 1 5A 18173436690         1:11     76484 504471     •••••••••••••••    310410276936201      phone       _ MOBILE_ DATA_ [52709/24332:-97.09953:32.93497:128]
                                                                        4
139    03/03/11      08:16A 18173436690           0:2 4    32717 508770     •••••••••••••••    31 0410276936201     phone       _ MOBILE_ DATA_ [52709/24332:-97.09953:32.93497:128]
                                                                      4
140    03/03/11      08: 1 6A 18173436690         0:29     48136   507238   ***************    310410276936201      phone       _ MOBILE_ DATA    [ 52709/24332:-97.09953:32.93497:128]
                                                                        9
141    03/03/11      08:17A 18173436690          60:00     70914   395070   •••••••••••••••    310410276936201      phone       _ MOBILE_ DATA_ [52709/24332:-97.09953:32.93497:128]
                                                                        3
142    03/03/11      09:17A     1817343669 0     60:00    8132      14154                      310410276936201      phone       _ MOBILE_ DATA_   [527 09/24332: -97 . 09953:32 . 93497:128]
143    03/03/11      10:17A     18173436690      48:16  39854      130621   ...............    310410276936201      phone       _ MOBILE_ DATA_   [52709/24332:-97.099 53:32 .93497:128]
144    03/03/11      11:05A     18173436690       0:05       0          0   ...••.•.•......    310410276936201      phone       _ MOBILE_ DATA_   [52903/03673:-97.08444:32.92639:300]
145    03/03/11      11:05A     1817343669 0     60:00  21384       60952                      310410276936201      phone       _ MOBILE_ DATA_   [52709/60521:-97.11489:32.91886:0]
146    03/03/11      12:05P     18173436690       2:35    1816       3011                      3104102 76936201     phone       _ MOBILE_ DATA    [52709/60521:-97.11489 : 32.91886:0]
147    03/03/11      12:08 P    18173436690       0:05       0          0                      310410276936201      phone       _ MOBILE_ DATA_   [52903/60087:-97.09742:32.89986:0]
148    0 3/0 3/ 11   12:08P     18173436690      18:10    4785       6150   •••.•...•...•..    310410276936201      phone       _ MOBILE_ DATA_   [52709/62028: -9 7.09953:32.93497:120]
149    03/03/11      12:26 P    18173 4 36690     0:04       0          0   ....•••........    310410276936201      phone       _ MOBILE_ DATA_   [52903/03673: -97 .08444:32.92639:300]
150    03/03/11      12:26P     181734366 90     60:00 11087    23079       ....••.•.......    31 04 1 0276936201   phone       _ MOBILE_ DATA_   [52709/62022:-97 .09953:32.9 3497:120]
151    0 3/03/11     01:26P     18173436690      43:06    6672  32555                          310410276936201      phone       _ MOBILE_ DATA_   [52709/62022:-97 . 09953:32.93497:120]
152    03/03/11      02:09P
                     0 2:0 9P
                                181734366 90
                                18173436690
                                                  0:09
                                                 60:00
                                                             0      0
                                                        7 9073 542526
                                                                            ······-········
                                                                            ***************
                                                                                               3104102 7 693 6201
                                                                                               310410276936201
                                                                                                                    phone
                                                                                                                    phone
                                                                                                                                _ MOBILE_ DATA_   [52903/23587 : -97 . 09742:32.89986:]
153    03 /03/1 1                                                                                                               _ MOBILE_ DATA_   [52709/62 022:-97.09953:32 .9 3497 : 120]
154    03/03/11      03 :09 P   1817343 6690     60:00     356     49                          310410276936201      phone       _ MOBILE_ DATA_   [ 52709/62022:-97.09953:32.93497:120]
155    0 3/03/ 11    0 4:09 P   18173436690      60:00     112     49       ...•...........    31041027693620 1     phone       _ MOBILE_ DATA_   [52709/62022: -97 .09 953:32.93497: 120]
156    03/03/11      05:09P     18173436690      60:00 147115 617190        ...............    310410276936201      phone       _ MOBILE_ DATA_   [52709/62022 :-97. 09953:32.93497:120]
157    03/03/11      0 6:0 9P   18173436690      60:00  50708 524321        ..••...........    310410276936201      phone       _ MOBILE_ DATA_   [52 709/62022:-97. 09953:32.93497:120]
158    03/03/11      07:09P     18173436690      60:00      51     49                          3104 1027693620 1    phone       _ MOBILE_ DATA_   [52709/62022: -97.09953: 3 2 . 93497:120]
159    03/03/11      08 :09P    18173436690      60:00      51     49                          310 410276936201     phone       _ MOBILE_ DATA_   [52709/62022:-97 . 09953: 32.93497: 120]




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                                 The information contained h ere is for use by authorized person onl y and i s                                                                     Page 30
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                                  Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 28 of 99 PageID 3848
915465.001
04/15/2011
                                                              MOBILITY USAGE                                                                                               .:;~
                                                                                                                                                                           ~ at&
                                                                                                                                                                                               t
SCAMP                                                      (with cell location}


Run Date:             04/15/2011
Run Time:             15:28:53
Data Uoage For:       (817)343 - 6690
Account Number:       318912244
Item     Conn.         Conn.    Originating     Elapsed Bytes  Bytes               IMBI                 IMSI             Acceoo       Description     Cell Location
         Date          Time        Number        Time     Up     Dn                                                         Pt
160    03/03/11       09:09P 18173436690          60:00 523344 170418       •••••••••••••••       310410276936201     phone         _ MOBILB_ DATA_ [52709 / 62022: - 97.09953:32.93497:120 ]
                                                                        4
161    03/03/11       10:09P     18173 436690    36:18         0        0                         310410276936201     phone         _ MOBILE_DATA_    [ 52709/62022:-97.09953:32.93497 :12 0]
162    03/03/11       10:45P     18173436690      0:15        51       49   ...............       310410276936201     phone         _ MOBILE_DATA_    [52707 / 23803:-97.13797:32.90131 :248 ]
163    03/03/11       1 0:46 P   18173 436690     2:48         0        0                         310410276936201     phone         _ MOBILE_DATA_    (52709/02425:-97.18342:32.92942:128]
16 4   03/03/11       1 0:4 8P   18173436690      1 :15        0        0   ...............       310410276936201     phone         _ MOBILE_ DATA_   [52707/23809:-97.13797:32.90131:]
165    03/03/11       10:50P     18173 436690     0: 04        0        0                         310410276936201     phone         _ MOBILE_DATA_    [52 709/19436:-97 . 1521 : 32.9458:240]
166    03/03/11       10:50P     18173436690      0 : 03       0        0   ..••....•......       310410276936201     phone         _ MOBILE_ DATA_   [52707/23803:-97.13797 : 32.90131:248]
167    03/03/11       10 : 50P   18173436690     41:23     13590    36401                         310410276936201     phone         _ MOBILE_DATA_    [52709 / 19436: - 97.1521:32.9458:240]
168    03/03/11       11:31P     18173436690      0:12         0        0                         310410276936201     phone         _ MOBILE_ DATA_   [52707 / 23809:-97.13797:32.90131: ]
169    03/03/11       11:3 1P    18173436690     60:00     10020    23339                         310410276936201     phone         _ MOBILE_ DATA_   [52709 / 02422:-97.18342:32.92942:128]
170    03/04/11       12:11A     18173436690      0:50      3079    33440   ....•...•......       3104 10276936201    acds.voicem   _ MOBILB_DATA_    [52709 / 02425:-97.18342:32 . 92942:128]
                                                                                                                      ail
171    03/04/11       12:31A 1 8173436690        60:00        51     49                           310410276936201     phone         _ MOBILE_DATA_ [52709 / 02425:-97 . 18342 : 32 . 92942:128]
172    03/04/11       01:31A 18173436690         55:16     43813 119994                           310410276936201     phone         _ MOBILE_DATA_ [52709 / 02425: - 97.18342:32.92942:128]
173    03 / 04 / 11   02:23A 18173436690          2:01      2059   1333                           310410276936201     acds.voicem   _MOBILE_ DATA_ [52709 / 19436:-97.1521:32.9458:240]
                                                                                                                      ail
174    03/04/11       02:27A 18173436690          0:03         0        0   •••••••••••••••       310410276936201     phone         _ MOBILE_ DATA_ [52707 / 23803:-97.13797:32.90131:248]
175    03/04/11       02:27A 18173436690         18:10 298457      482185   •••••••••••••••       3 1 0410276936201   phone         _ MOBILE_DATA_ [ 52709/24313: - 97.12608:32.93822:248]
                                                                      3
176    03 / 04/11     02:45A 18173436690          0:15     28600 509185     •••••••••••••••       310410276936201     phone         _ MOBI LB_ DATA_ (52709/24313:-97.12608:32.93822:248]
                                                                        2
177    03/04/11       02:45A 18173436690          0:31     41046   507974   •••••••••••••••       310410276936201     phone         _ MOBILE_DATA_ [52709/24313:-97.12608:32.93822:248]
                                                                        7
178    03/04/11       02:46A 181734 36690         0:19     31665 508870     •••• •• •••••••••     310410276936201     phone         _ MOBILE_ DATA_ [ 52709 / 243 13 :-97.12608 : 32.93822:248 ]
                                                                        4
179    03/04/11       02:46A 18173436690          0:22     42315   507793   • •• ••••••••••••     310410276936201     phone         _ MOBILE_ DATA_ [52709/24313:-97.12608 : 32.93822:248]
                                                                        7
180    03/04/11       02 : 46A 18173436690        0:21     44588 507615     •••••• ••• ••••••     310410276936201     phone         _ MOBILE_ DATA_ [52709/ 24313:-97.12608:32.93822:248]
                                                                        6
181    03/04/11       02:47A 1817 3436690         0:19     33280 508791     •••••••••••••••       310410276936201     phone         _ MOBILE_DATA_ [52709 / 24313: - 97.12608:32 . 93822 : 248]
                                                                        5
182    03/04/11       02:47A 18173436690          1:09     80599 503987     • ••• ••••• ••• •••   310410276936201     phone         _ MOBILE_DATA_ [52709 / 24313: - 97.12608:32.93822:248]
                                                                      6
183    03/04/11       02:48A 18173436690          0:15     28600   509190   •••••••••••••••       310410276936201     phone         _ MOBILE DATA_ [52709 / 24313: - 97.12608:32.93822:248]
                                                                        4
184    03/04/11       02:48A 18173436690          0:37     45615   507494   •••••••••••••••       310410276936201     phone         _ MOBILE_ DATA_ [52709/24313:-97.12608:32.93822:248]
                                                                        3
185    03/04/11       02:49A 18173436690          0:22     32336   508779   •••••••••••••••       310410276936201     phone         _ MOBILB_ DATA_ [52709 / 24313:-97.12608:32.93822:248]
                                                                        6




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                                    Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 29 of 99 PageID 3849                                                                       ~
91 5 4 65. 001
                                                                                                                                                                                      ~ ~ at&t
                                                                 MOBILITY USAGE
04 /15/2 011
SCAMP                                                         {with cell location)


 Run Date :            04/15/2011
 Run Time:             15:28:54
 Data Uoage For:       (817)343-6690
 Account Number:       318912244
Item      Conn.        Conn.        Or iginating      Elapsed   Bytes  Bytes              IMBI                     IMSI             Access     Description     Cell Location
          Date          Time        Number             Time       Up     Dn                                                            Pt
186     03/04/11       02:49A 1 8 173436690              4:44    70217 504989    • • ••••• •••• •• ••        310410276936201     phone       _ MOBILE_ DATA    [52709/24313: - 97.12608:32.93822:248)
                                                                             4
187     03/04/11       02:54A 18173 4 36690             0:20    38073 508330     • • • • •••• •• • • •••     310410276936201     phone       _ MOBILE_ DATA_ [ 52709/24313:-97. 12608:32.93822:248)
                                                                             4
188     03/04/11       02:55A 18 173436690              0 :17   31670   508850   ••••••• • • •• ••••         31041027693620 1    phone       _ MOBILE_ DATA_ [ 52709/24313 : -97.12608:32.93822:248 )
                                                                             9
189     03/04/11       02:55A 1 8173 4 36690            0:45    63069 505764     •••••••••• • ••••           310410276936201     phone       _ MOBILE_ DATA_ [52709 / 24313 :- 97.12608:32.93822:248)
                                                                           2
19 0    03/04/11       02:56A 18 17 3 4 36690           0:25    40479 507973     • •• • • • •• • • • •• ••   3 1 0410276936201   phone       _ MOBILE_DATA_ [52709 / 24313: - 97.12608:32.93822 : 248)
                                                                           8
191     03/04/11       02:56A 18173436690               0:22    40660 507995     •••••••• ••••• ••           310410276936201     phone       _ MOBILE_ DATA    [52709 / 24313:-97.12608:32.93822:248)
                                                                           6
192     03/04/11       02:56A 18173436690               0:33    50876 507042     •• • ••••••• • • •••        310410276936201     phone       _ MOBILB_ DATA_ [52709/ 24313:-97.12608:32.93822:248)
                                                                           3
193     03/04/11       02:57A 18173436690              60:00    39741 390462     ********** * * * **         310410276936201     phone       _ MOBI LE_DATA_ [52709/ 24313:-97.12608:32.93822:248)
                                                                           4
194     03/04 / 11     03:57A     18173436690          60:00       51     49     •• •••••• ••• • • • •       310410276936201     phone       _ MOBILB_ DATA_    [52709 / 24313:-97.12608:32 . 93822:248 )
195     03/04/11       04:57A     18 173436690         60:00      51     49      ...............             310410276936201     phone       _ MOBILE_DATA_    [52709 / 24313:-97.12608:32.93822:248)
196     03/04/ll       05 : 57A   1 8173436690         60:00      51     49                                  310410276936201     phone       _ MOBILB_DATA_    [52709 / 24313:-97.12608:32 . 93822:248)
197     03 / 04 / 11   06:57A     18173436690          60:00      51     49                                  310410276936201     phone       _ MOBILB_ DATA_   [52709 / 24313:-97 .12608:32.93822:248)
198     03/04 / 11     07 : 57A   18173436690          60:00 295472 971410       .............••             310410276936201     phone       _MOBILB_ DATA_    [ 52709 / 24313:-97.12608:32.93822:248)
1 99    03/0 4 /11     08:57A     1 817 3436690        60:00   10903  41160                                  310410276936201     phone       _ MOBILB_DATA_    [52709/24313:-97.12608:32.93 822:248)
200     03/04/ll       09:57A     18173436690           1:58   11666 186171      ...............             310410276936201     phone       _ MOBILB_ DATA_   [52709 / 24313 : -97.12608:32.93822:248)
201     03/04/11       09:59A     18173436690           0:11       0      0      .•....•...•••••             310410276936201     phone       _ MOBILB_ DATA_   [52903 / 23587:-97.09742:32.89986:)
202     03/04/11       09:59A     18173436690          60:00   16087  43912      ..•..........•.             310410276936201     phone       _ MOBILB_DATA_    [52709 / 60313: - 97.07914 : 32.93881 :240 )
203     03/0 4 / 11    10 : 59A   18 17 3 43 6 69 0    60 : 00 96027 264916      ...............             31041 027693620 1   phone       _MOBI LE_ DATA_   [52709/60313:-97 . 0791 4 :3 2. 93881:240 )
                                                       60:00   39256 118851                                  310410276936201     phone
204     03/04/11       11 : 59A   18 17 3436690                                                                                              - MOBI LE- DATA   [52709/60313:-97.07914:32.93881:240)
205     03/04/11       12:59P     18173436690          60:00    8155  62139      .....••••..•.••             310410276936201     phone       _ MOBILE_ DATA_   [52709/ 60313:-97.07914:32.93881:240)
206     03/04/11       01:59P     18173436690          29:18      51     49                                  310410276936201     phone       _ MOBI LE_DATA_   [52709 / 60313 : -97.079 1 4:32.93881 : 240)
207     03/0 4 /11     02 : 28P   18173436690           1:13       0      0      ......•..•.•...             310410276936201     phon e      _ MOBILB_ DATA_   [ 52903 / 03673 : -97.08444:32 . 92639:300)
208     03/04/11       02:30P     18173436690          14:31 18155    28610                                  310410276936201     phone       _ MOBILE_ DATA_   [ 52709 / 62028:-97.09953:32.93497:120)
209     03/04/11       02:44P     18173436690           0 : 05     0      0      ..••.•••.....••             310410276936201     phone       _ MOBILB_DATA_    [52903 / 03673:-97 . 08444:32.92639:300)
210     03/04/11       02:44P     181 73436690         60 : 00   102     98                                  3104102 7 6936201   phone       _ MOBILB_DATA_    [52709 / 603 13 : - 97.07914:32 . 93881:240)
211     03/04/11       03:44P     18173436690           8 : 35     0      0      ...............             310410276936201     phone       _ MOBILB_DATA_    [52709 / 60313:-97.07914:32.93881:240)
212     03/04 / 11     03 : 53P   18173436690          17:00   11129  41254                                  3104102 7 6936201   phone       _ MOBILB_DATA_    [52903 / 23581 : - 97.09 7 42:32.89986:8)
213     03/04/11       04 : 10P   18173436690           0:03       0      0                                  310410276936201     phone       _ MOBILE_ DATA_   [52707 / 41862:-97 . 15467:32.88094:120)
214     03/04/11       04:10P     1 8 1 73436690        0:03       0      0      ............•••             310410276936201     phone       _ MOBILB_ DATA_   [52903 / 23223: - 97.12706:32.88297:248)
215     03/04/11       04:10P     18173436690          60:00    7530  28495      ..............•             310410276936201     phone       _ MOBILB_ DATA_   [52707 / 41862: - 97.15467:32.88094:120 )
216     03/04/11       05:10P     18173436690          60:00    9292  30864                                  310410276936201     phone       _ MOBILE_ DATA_   [52707 / 41862:-97.15467:32.88094:120)
217     03/04/11       06:10P     18173436690          55:00 129604 416646                                   310410276936201     phone       _ MOBILE_DATA_    [ 52707 / 41862:-97 . 15467:32.88094:120)



                                                                                            AT&T Proprie t ary
         AMO                        The information c o nta ine d here is for us e by authori zed perso n o nly and is                                                                           Page 3 2
                                                              n o t for genera l di s tribution.
                                    Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 30 of 99 PageID 3850                                                                  -...,
 91 546 5. 00 1
 0 4/ 15 /20 11
 SCAMP
                                                                  MOBILITY USAGE
                                                              (wi th cell location )                                                                                             1;? at&t
 Run Date:             04/15/2011
 Run Time :            15:28:54
 Data Osage For:       (817)343·6690
 Account Number:       318912244
Item        Conn.       Conn .   Originating      Elapsed     Bytes  Bytes           IMBI                  IMSI             Access       Description       Cell Location
           Date         Time         Number        Time         Up     Dn                                                      Pt
218      03/04/11      07:05P 1 8 1 73436690        1 0:59     95981 103802   •••••••••••••••       310410276936201      phone          MOBILE DATA        [52903/24183:·97. 11 217:32 . 8 5 897:248]
                                                                        7
219      03/04/11      07 : 16P 18173436690          2 : 11 113296 500712     ••••••• ••••• •••     310410276936201      phone          MOBILE DATA        [52709/62022:-97.09953:32.93497:120]
                                                                        7
220      03/04/11      07:18P 18173436690            1 : 43   86935 503442    •••••••••••••••       310410276936201      phone         _ MOBILE_ DATA_ [52709/62022:-97.09953:32.93497:120]
                                                                         3
221      03/04/11      07:20P     1817343669 0      60:00     17941 853262    •••••••••••••••       3 1 0410276936201    phone         _ MOBILE_ DATA_     [52709/62022: - 97.09953:32 . 93497:120]
222      03/04/11      0 8:20P    18173436690      60:00     51         49                          310410276936201      phone         _ MOBILE_ DATA_     [527 0 9/62022: · 97.09953:32 . 93497:120]
223      03/04/11      09:20P     18173436690      60:00    102         98    .....••••••...•       310410276936201      phone         _ MOBILE_ DATA_     [52709/62022:-97.09953:32 . 93497:120]
224      03/04/11      10:20P     18173436690      60:00     51         49                          310410276936201      phone         _ MOBI LE_DATA_     [527 0 9/62022:-97.09953:32.93497 : 120]
225      03/04/11      11:20P     1817343669 0     60:00     51         49                          31 0 410276936201    phone         _ MOBILE_ DATA_     [52709/62022: - 97.09953:32 . 93497 : 120]
226      03/05/11      12:20A     18173436690      60:00     51         49                          310410276936201      phone         _ MOBILE_ DATA_     [5 27 0 9/62022: - 97.09953:32 . 93497:120]
227      03/05/11      01:20A     18173436690      60:00  17257     684981                          310410276936201      phone         _ MOBILE_ DATA_     [52709/62022:-97.09953:32 . 93497:120]
228      03/05/11      02:20A     18173436690      60:00    142         98    .•••.••.•......       31 0410276936201     phone         _ MOBILE_DATA_      [52709/62022:-97.09953:32.93497:120]
229      03/05/11      03:20A     18173436690      60:00     51         49                          310410276936201      phone         _ MOBI LE_ DATA_    [52709/62022:-97.09953:32.93497:120]
230      03/05 / 11    04:20A     18173436690      60:0 0 84822     286364                          310410276936201      phone         _ MOBI LE_ DATA_    [52709/62022: - 97.09953:32 . 93497 : 120]
231      03/05 / 1 1   05:20A     18173436690       0:38   6528      12720                          310410276936201      phone         _ MOBILE_ DATA_     [52709/62022:-97 . 09953:32.93497:120]
232      03/05/11      05:20A     18173436690       7:53  19188      52963    ..•............       310410276936201      phone         _ MOBILE_DATA_      [529 0 3/03679:-97.08444:32.92639:300]
233      03/05/11      05 : 28A   18173436690      60:00  51243     150113                          3104 1 0276936201    phone         _ MOBILE_ DATA_     [52707/42188:-97 .13406:32 . 83747:128]
234      03/05/11      06:28A     1 8173436690     60:00    102         98                          310 4 1 0276936201   phone         _ MOBI LE_ DATA_    [52703/34172:-97.4065:32.73331:180]
235      03/05/11      07 : 28A   18173436690      60:00  21737      57864                          310410276936201      phone         _ MOBILB_ DATA_     [52703/34172: · 97.4065:32.73331:180]
236      03/05/11      08 : 28A   18173436690      60:00 209889     774262                          310410276936201      phone         _ MOBI LE_ DATA_    [52703/34172:-97.4065:32 . 73331:180]
237      03/05/11      09: 1 8A   18173436690       0:25   2431      26239                          31041027693620 1     acda.voicem   _ MOB I LE_ DATA_   [52703/34571:-97 . 42067:32.76231:60]
                                                                                                                         ail
238    03/05/11        09:28A 18173436690          60 : 00 1 96211 579683     •••• • ••••••••••     310410276936201      phone       _ MOBILE_DATA_ [52703/34571:-97.42067:32.76231:60 ]
239    03/05 / 11      10:09A 18173436690           1:48 192920      6118     •••••••••••••••       310410276936201      wap.cingula _ MOBILE_ DATA_ [52703/35361:-97.44867:32.77356:8]
                                                                                                                         r
24 0   03/05/11        10:28A 18173436690          60 : 00 7204  28127                              310410276936201      phone         _ MOBILE_ DATA_ [52703/35361:-97.44867:32 . 77356:8 ]
241    03/ 0 5/11      11:28A 18173436690          60:00 321467 18 1 243                            310410276936201      phone         _ MOBILE_ DATA_ [52703/35361: - 97.44867:32.773 5 6:8 ]
                                                                          8
242    03/05/11        12:28P     1817343669 0     60 : 00       51     49    ******* * *******     310410276936201      phone         _ MOBILE_ DATA_     [52703/35361:-97.44867:32.77356:8 ]
243    03/0 5/11       01 : 28P   18173436690      60:00        102     98                          310410276936201      phone         _ MOBILE_ DATA_     [52703/35361:-97.44867:32.77356:8]
244    03/05/11        02:28P     18173436690      60:00      20371 138152                          3 1 0410276936201    phone         _ MOBILE_DATA_      [52703/35361:-97.44867:32.77356:8 ]
245    03/05 /11       03 : 28P   18173436690      60 : 00    57678 227285    ......•.••.....       310410276936201      phone         _ MOBILE_ DATA_     [52 7 03/35361:-97.44867:32.77356:8 ]
246    03/05/11        04:28P     1 817343669 0     0: 1 2        0      0    *** ** * * ********   3 1 041027693620 1   phone         _ MOBILE_ DATA_     [52707/24943: - 97.23075:32.79428:300 ]
247    03/0 5 /11      04 : 29P   18173436690       0:03          0      0    ........•......       310410276936201      phone         _ MOBILE_ DATA_     [52903/14323 : -97.10911 : 32.842:248]
248    03/05/11        04:29P     18173436690       0:1 1         0      0    ...............       310410276936201      phone         _ MOBILE_DATA_      [52707/14742 : -97.13406 : 32.83747:128]
249    03/05/11        04:29 P    1 8173436690     12:17      64819 223742                          310410276936201      phone         _ MOBILE_ DATA_     [52903/40283:-97.10911 : 32 . 842 : 240]




                                                                                       AT&T Proprietary
         AMO
                                   The informati on c ontained h ere is for u s e by au t hori z e d p e r son only and i s                                                                  Page 33
                                                            not for general distribut i on .
915465.001
                                 Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22                                      Page 31 of 99 PageID 3851
04/15/2011
                                                                                   MOBILI TY USAGE
SCAMP                                                                           (with ce l l lo cati on }



 Run Date:           04/15/2011
 Run Time:           15:28:55
 Data Usage For:      (817)343-6690
 Account Number:     318912244
Item         Conn.    Conn.     Originating   Elapsed   Bytes    Bytes             IMEI                IMSI              Access       Description     Cell Location
          Date         Time       Number       Time      Up       On                                                           Pt
250     03/05/11     04 : 41P 18173436690      60:00 160162 114488           ***************     310410276936201     p h one        _ MOB I LE_ DATA_ [52709/23473:-97.07914:32.93881:248)
                                                                      9
251     03/05/ll     05:41P 18173436690        60:00    301743   262360      •••••••••••••••     31 04102769 36201   p h one        _ MOBILE_ DATA_ [5 2709 / 23473:-97.07914:32.93881:248)
                                                                 0
252     03/05/ll     06:41P 18173436690        60:00 249678 139039           ***************     310410276936201     phone          _ MOBILE_ DATA_ [52709/23473 :- 97.07914:32.93881:248)
                                                                         8
253     03/05/11     07:41P     18173436690    60:00       112         49    ***************     310410276936201     phone          _ MOBILE_DATA_    [52709/23473:-97.07914:32.93881:248)
254     03/05/ll     08:41P     18173436690    60:00     51     49           •••• • ••••••••••   31 0410276936201    phone            MOBILE DATA     [52709/23473:-97.07914:32.93881:248)
255     03/05/11     09:41P     18173436690    60:00  10108  95994           ***************     310410276936201     phone          _ MOBILE_DATA_    [ 52709 /2 3473:-97.07914:32.93881:248)
256     03/05/11     10:41P     18173436690    60:00     51     49           •••••••••••••••     31041027693620 1    phone          _ MOBILE_ DATA_   [ 52709 / 23473:-97.07914:32.93881:248)
257     03/05/ll     11:41P     18173436690    60:00     51     49           •••••••••••••••     310410276936201     phone          _ MOBILE_ DATA_   [52709/23473: - 97.07914:32.93881:248)
258     03/06/ll     12:41A     18173436690    60:00     51     49           •••••••••••••••     310410276936201     phone          _MOBILE_DATA_     [52709/23473: - 97.07914:32.93881:248)
259     03/06/1 1    01:41A     18173436690    60:00     51     49           ***************     3104 1 0276936201   phone          _MO BILE_DATA_    [52709/23473:-97.07914:32.93881 :248)
260     03/06/ll     02:41A     18173436690    60:00   6827  15752                               310410276936201     phone          _ MOBILE_ DATA_   [52709/23473 :- 97 .07914:32.93881:248)
261     03/06/ll     03 : 41A   18173436690    60:00    102     98                               310410276936201     phone          _ MOBILE_ DATA_   [52709 /2 3473: - 97.07914:32.93881:248)
262     03/06/11     04 : 41A   18173436690    11:15 157007 496373           ............•..     310410276936201     phone          _MOBILE_ DATA_    [ 52709/23473:-97.07914:32.93881:248)
                                                                   6
263     03/06/11     04:52A 18173436690         0:16    28392 509180         •••••••••••••••     310410276936201     phone          _ MOBILE_ DATA_ [5270 9/2347 3: - 97.07914:32.93881:248)
                                                                         0
264     03/06/11     04:53A 18173436690         0:25    38146 508207         ***************     310410276936201     phone          _ MOBILE_ DATA_ [52709/2 3473: - 97.07914:32.93881:248)
                                                                   6
265     03/06/11     04:53A 18173436690         0:46    52613 506799         ***************     310410276936201     phone          _ MOBILE_ DATA_ [52 709/23 473:-97.07914:32.93881:248)
                                                                      0
266     03/06/ll     04:54A 18173436690         5:34    74902    504616      •••••••••••••••     310410276936201     phone          _ MOBILE_ DATA_ [52709 / 23 473 :-97 . 079 14:32.93881:248)
                                                                      3
267     03/06/11     04:59A 18173436690         0:20    30264    509040      •••••••••••• • ••   310410276936201     phone          _ MOBILE_ DATA_ [52709/23473:-97 . 0791 4:32.93881:248)
                                                                         0
268     03/06/ll     05:00A 18173436690        23:22    53464    403712      ***************     310410276936201     phone          _ MOBILE_ DATA_ [52709/23 4 73 : -97.07914:32.9388 1 :248)
                                                                      7
269     03/06/11     05:23A     18173436690     0:05      0      0           ...............     310410276936201     p h one
                                                                                                                                    -MOBILE - DATA    [52903/03673:-97.08444:32 . 92639:300)
270     03/06/11     05 : 23A   18173436690     0 : 12    0      0           ..•...•.•.••...     310410276936201     phone
                                                                                                                                    -MOBI LE DATA
                                                                                                                                            -     -   [52709/60313: - 97.079 1 4:32 . 93881:240)
271     03/06/11     05:23A     18173436690    12 : 29   51     49           ***************     310410276936201     p hone
                                                                             ...............                                        - MOBILE- DATA-   [52903/03679: - 97.08444:32.92639:300)
272     03/06/11     05:36A     18173436690    15:05      0      0                               310410276936201     phone          _ MOBILE_ DATA_   [52707 /14742: - 97.13406:32.83747:128)
273     03/06/ 1 1   0 5 :51A   18173436690     0:17      0      0                               310410276936201     phone          _ MOBILE_DATA_    [52007 / 41533: - 97.34253:32.74292:240)
274     03/06/11     05:51A     18173436690    37:24     51     49           ** * ************   310410276936201     phone          _ MOBILE_ DATA_   [52705/41539: - 97.34253:32.74292:240)
275     03/06/11     06:29A     18173436690    19:45      0      0           .•..••••.......     310410276936201     phone          _ MOBILE_ DATA_   [52109/35361: - 97 . 44867:32.77356:60 )
276     03/06/ll     06:48A     18173436690    60:00 660513 195836                               310410276936201     phone          _ MOBILE_ DATA_   [52703/35361:-97 . 44867:32.77356:8)
                                                                       6
277     03/06/ll     07:48A 18173436690        60:00     51     49           .........•.....     310410276936201     phone          _ MOBILE_ DATA_ [ 52703 / 35361:-97.44867:32.77356:8)
278     03/06/11     08 : 48A 18173436690      60:00 285507 106248           ***************     310410276936201     phone          _MOBILE DATA_ [52703/35361:-97.44867:32.77356:8)
                                                                       4



                                                                                     AT&T Pr o pri e t a r y
        AMO
                                 The informat ion c o ntained here is f o r u s e b y aut h o r i z e d p e r son only an d is                                                         Page 34
                                                           n o t f o r g e nera l d i s tri bution.
 915465.001                        Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 32 of 99 PageID 3852                                                                          ~

                                                                                                                                                                                       ~~ at&t
 04/15/2011                                                    MOBILITY USAGE
 SCAMP                                                       (with cell location)


 Run Date:            04/15/2011
 Run Time:            15:28:55
 Data Osage For:      (817)343-6690
 Account Number:      318912244
Item       Conn.       Conn.   Originating       Elapsed     Bytes     Bytes          IMEI                  IMSI               Access        Description      Cell Location
           Date        Time           Number      Time        Up        Dn                                                       Pt
279    03/06/11       09 : 48A 18173436690         60:00      7738      8041                         310410276936201        phone           _ MOBILE_ DATA_ [ 52703/35361 :- 97 . 44867:32.77356:8]
280    03/06/11       10:48A 18173436690          60:00         1 02      98   ................      310410276936201        phone           _ MOBILE_ DATA_ [ 52703/35361 : -97 . 44867:32.77356:8]
281    03/06/11       11:48A 18173436690          60:00      139387 551032     ***************       310410276936201        phone           _MOBILE_ DATA_ [527 03/35361 :- 97 . 44867:32.77356:8]
282    03/06/11       12:48P     18173436690      60: 00      74405 337206     ***************       310410276936201        phone           _MOBILE_ DATA_    [ 52703/35361 :-9 7 . 44867:32.77356:8]
283    03/06/11       01:48P     18173436690      60:00        6307  28217     •••••••••••••••       310410276936201        phone           _MOBI LE_ DATA_   [ 52703/35361 :- 97 . 44867:32.77356:8]
284    03/06/11       02:48P     18173436690      60:00          51     49     •••••••••••••••       310410276936201        phone           _ MOBILE_ DATA_   [52703/35361:-97 . 44867:32.77356:8]
285    03/06/11       03:48P     18173436690      60:00       56389 196517     •••••••••••••••       310410276936201        phone             MOBILE_ DATA_   [52703/35361:-97 . 44867:32.77356:8]
286    03/06/11       04:48P     18173436690      60 : 00       441   1425     •••••••••••••••       310410276936201        phone           _ MOBILE_ DATA_   [52707 /00959 :-97.23075:32 .79428:300]
287    03/06/11       05:48P     18173436690      60:00    630   1425          ***************       310410276936201        phone           _ MOBILE_ DATA_   [ 52707/00959: -9 7 . 23075:32.79428:300 ]
288    03 / 06 /1 1   06 : 48P 18173436690        60:00 486307 117536          ********* **** **     310410276936201        phone           _ MOBILE_ DATA_ [ 52707/00959 : -97 . 23075:32.79428:300]
                                                                           2
289    03/ 06 /11     07 : 48P 18173436690        21:32      154420 435863     *** ************      310410276936201        phone           _MOBILE_ DATA_ [ 52707/00959:-97.23075:32.79428:300 ]
290    03/06/11       08:10P 18173436690          60 : 00    760474 237026     ••••• ••• ••• • •••   310410276936201        phone           _ MOBI LE_ DATA_ [ 52709/24332:-97.09953:32.93497:128 ]
                                                                         8
291    03 /06/ 11     09:10P 18173436690          60:00         217    705     ..........•....       3 104102769 36201      phone           _ MOBILE_ DATA_ [ 52709/24332:-97.09953:32.93497:128 ]
292    03/06/11       09:47P 18173436690           4: 0 2      3039    29322   ••.•...........       310410276936201        acds . voicem   _ MOBILE_ DATA_ [ 52709/60428:-97.09917:32.95581:128 ]
                                                                                                                            ai l
293    03/06/11       10: 04P 18173436690          4:02        2231     1614                         310410276936201        acds.voicem     _ MOBILE_ DATA_ [5270 9/23562: -97. 09917:32.95581:128]
                                                                                                                            ail
294    03/06/11       10:10P 18173436690          60:00         102       49   •.....•..•.••••       310410276936201        phone           _ MOBILE_ DATA_ [ 52709/23562:-97.09917:32.95581:128 ]
295    03/06/11       11 :1 0P 1 8 1 73436690     6 0:00         51       49   .•....•..•...•.       310410276936201        phone           _ MOBILE_ DATA_ [52709/23562:-97 . 09917:32.95581:128 ]
296    03/07/11       12 :1 0A   18173436690      29:34          51       49                         310410276936201        phone           _ MOBILE_ DATA_   [52 709/23562: - 97.09917 : 32.95581:128 ]
297    03/07/11       12:39A     181734 366 90      0:19          0        0                         310410276936201        phone           _ MOBILE_ DATA_   [ 52008/60422:-97.09917 : 32.95581:]
298    03/07/11       12:40A     18173436690        2 : 35        0        0   •.••...........       310410276936201        phone           _ MOBILE_ DATA_   [ 52709/60422:-97.09917:32.95581:128 ]
299    03/07/11       12:42A     181734 3 6690      0:0 4         0        0   .•...........••       310410276936201        phone           _ MOBILE_ DATA_   [52903/00833:-97.06414:32.93075:300 ]
300    03/07/11       1 2: 42A   18173436690      6 0:00         51       49                         3 10 4 1027 693620 1   phone           _ MOBILE_ DATA_   [52709/60313:-97.07914:32.93881:240 ]
301    03/07/11       01:42A     18173436690      60:00          51       49                         31 04102 7693620 1     phone           _ MOBILE_ DATA_   [ 52709/60313: - 97.07914:32 . 93881:240 ]
302    03/07/11       02:42A     1817 3 436690    60:00     51     49          *********** ** **     31 041027 693620 1     phone           _ MOBILE_ DATA_   [ 52709/60313:-97.07914:32.93881:240 ]
303    03/07/11       03:42A     18173436690      60:00    102     49          ••..•.•.•.....•       310410276936201        phone           _ MOBILE_ DATA_   [ 527 09/603 1 3 :- 97.079 14 :32 . 93881 : 240 ]
304    03/07/11       04:42A     18173436690      60:00     51     49                                31041027693620 1       phone           _ MOBILE_ DATA_   [ 5 270 9/603 13: - 97.07914:32.93881:240 ]
305    03/07/11       0 5:42A 18173436690         60:00     51     49          ***************       310410276936201        phone           _ MOBILE_ DATA_   [ 527 09/60313 : -97.07914:32.93881:240]
306    0 3/07/11      06:42A 18173436 690         60:00     51     49                                310410276936201        phone           _ MOBILE_ DATA_   [ 52709/60313:-97.079 1 4:32.9388 1:240 ]
3 07   03 /07/11      07:42A 18173436690          35:47 431397 468890                                310410276936201        phone           _ MOBILE_ DATA_ [52709/60313:-9 7.07914:32.93 881:240]
                                                                           4
308    03 /07/ 11     08:18A 18173436690           1:02      54744 506660                            31 04102769 362 01     phone           _ MOBILE_ DATA_ [52709 /603 13:- 97.079 14 :32.93881 :2 40]
                                                                        0
309    03/07/ 11      08:19A 18173436690           0 :3 3    36296 508480      ***************       3 104 1027 69362 01    phone           _ MOBILE_ DATA_ [52709/60313:-97.07914:32.93881:240]
                                                                        0
310    03/07/11       08:20A 1 8173436690          0:18      29588 509180      *** ******* *****     31 0410276 9362 01     phone           _MOBILE_ DATA_ [52709 /6 0313:-9 7.079 1 4:32.93881:240]
                                                                        0



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        AMO                                                                                                                                                                                          Page 35
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915465 .0 01
                                Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 33 of 99 PageID 3853
                                                             MOBILITY USAGE
04/15/2011
SCAMP                                                     (with cell location)                                                                                                 @? at&t

 Run Date:          04/15/2011
 Run Time:          15:28:55
 Data Osage For:    (817)343-6690
 Account Nwnber:    318912244
Item      Conn.      Conn.      Originating   Elapsed    Bytes  Bytes            IMEI                 IMSI             Access         Description       Cell Location
          Date       Time        Nwnber        Time        Up     Dn                                                      Pt
311     03/07/11    08 : 20A 18173436690        60 :00    41715 355768    •••••••••••••••      310410276936201      phone         _ MOBILE_ DATA_ ( 52709/60313:-97.07914:32.93881:24 0]
                                                                      8
312     03/07/11    09:20A     18173436690     60:00      77675 33581 8                        310410276936201      phone         _ MOBILE_ DATA_       ( 52 709 / 60313:-97.07914:32.93881:24 0 ]
313     03/07/11    10 : 20A   18173436690     13:11       3610   4733                         31 04 10276936201    phone         _ MOBILE_ DATA_       ( 52709/60313:-97.07914:32.93881:240]
314     03/07/11    10:33A     1 8173436690     1 : 37      390    1 89                        3 1 04 10276936201   phone         _ MOBILE_ DATA_       ( 52903 / 23587:-97.0974 2:32.89986: ]
315     03/07/ 11   10:35A     18173436690     60:00        717    847    *'*'*'************   3 104 1 0276936201   phone         _ MOBILE_ DATA_       ( 52709/24338:-97.09953:32.93497:]
316     03/07/11    10:54A     18173436690      0:49       3159  42796                         31041 027693620 1    acds.voicem   _ MOBILE_ DATA_       (52709/6 2028:-97.09 953:32.93497: 12 0]
                                                                                                                    ail
317     03 /07/11   ll:OOA 18173436690           2:23     2061    1333    .••.......•.•••      310410276936201      acds.voicem
                                                                                                                                  -
                                                                                                                                      MOBILE DATA
                                                                                                                                           -        -   (52709 / 24338:- 97 .09953:32.93497 : ]
                                                                                                                    ail
318     03/07/11    11:35A     18173436690     60:00       51     49                           310410276936201      phone
                                                                                                                                  - MOBILE - DATA- (52709/24338 : - 97.09953:32.93497:]
319     03/07/11    12:35P     18173436690      2:48     6306  32688      ...............      310410276936201      phone         _MO BILE_ DATA_       (52709/24338:-97.09953:32.93497:]
320     03/07/11    12:38P     18173436690      0:22        0      0                           310410276936201      phone         _ MOBILE_ DATA_       (529 03/60087 :- 97.09742:32.89986:0]
321     03/07/11    12:38P     18173436690     36:33    18463  96046                           310410276936201      phone         _ MOBILE_ DATA_       (52709 /2 4332:-97.09953:32.93497:128]
322     03/07/11    01:15P     18173436690      0:38        0      0                           310410276936201      phone         _ MOBILE_ DATA_       (52903/23587 :- 97.09742:32.89986:]
323     03/07/11    01:15P     18173436690      3 : 37     52      0      ..•••••........      310410276936201      phone         _ MOBILE_ DATA_       (52709/24338 : -97.09953:32.93497:]
324     03/07/11    01:19P     18173436690      2:03        0      0                           310410276936201      phone         _ MOBILE_ DATA_       (52903/23587 :- 97.09742:32.89986:]
325     03/07/11    01 : 21P   18173436690      5:10        0      0                           310410276936201      phone         _ MOBILE_ DATA_       (52709/ 24332 : -97.09953:32.93497:128]
326     03/07/11    01:26P     18173436690      0:25        0      0                           310410276936201      phone         _ MOBILE_ DATA_       (52903/23587 :- 97 . 09742 : 32.89986:]
327
328
        03/07/11
        03/07/11
                    01:27P
                    01:32P
                               18173436690
                               18173436690
                                                4:57
                                                1:17
                                                           52
                                                           52
                                                                   0
                                                                   0      .•.•••••.....•.
                                                                                               310410276936201
                                                                                               310410276936201
                                                                                                                    phone
                                                                                                                    phone
                                                                                                                                           -
                                                                                                                                  - MOBILE DATA-        (52709/62022 :- 97 . 09953 :32.934 97:120]
                                                                                                                                  - MOBILE- DATA-       (52903/60087 :- 97 . 0974 2:32 .89986:0]
329     03/07/11    01:33P     18173436690     60 : 00 106068 343957                           310410276936201      phone         _ MOBILE_ DATA_       (52709/24338 :-97 .09 953 :32. 93497:]
330     03/07/11    02:33P     18173436690     60:00      371    435                           310410276936201      phone         _ MOBILE_ DATA_       (52709 / 24338: - 97.09953:32.93497:]
331     03/07/11    03:33P     18173436690     60:00 386334 179029                             310410 276 936201    phone         _ MOB ILE_ DATA_      (52709 / 24338:-97.09953:32 . 93497:]
                                                                   5
332     03/07/11    04:33P 18173436690         60:00      102     98      *********** ** **    310410276936201      phone         _ MOB ILE_ DATA_ ( 52709/24338: - 97.09953 : 32.93497:]
333     03/07/11    05:33P 18173436690         14:54 139581 498 1 81                           3104102 76936201     phone         _ MOBILE_ DATA_ (52709/24338:-97.09953 : 32.93497:]
                                                                      9
334     03/07/11    05 :4 8P 18173436690       60:00 123517 488537        ....•...•...•..      310410276936201      phone         _MOBILE_DATA_ (52709/2 4338: - 97.09953:32.93497:]
                                                                     8
335    03/07/11     06:48P     18173436690     60 : 00    142     98      ...•..•........      310410276936201      phone         _ MOBILE_ DATA_       (52709 /24338 : -97.09953:32.93497:]
336    03/07/11     07:48P     18173436690     60 : 00 232548 970035      ...•....•..•...      310410276936201      phone         _MOBILE_DATA_         ( 52709/2 4338: - 97.09953:32.93497:]
337    03/07/11     08 :4 8P   18173436690     38:12 143478 510912                             3104 10276936201     phone         _ MOBILE_ DATA_       (527 09/24338 :-97. 09953:32 .9 3497:]
338    03/07/11     09:26P     18173436690     10 : 14  37218 171814                           310410276936201      p hone        _ MOBILE_ DATA_       ( 52903 / 03673: - 97.08444:32.92639:300]
339    03/07/11     09 : 36P   18173436690     60:00     7766  31646                           310410276936201      phone         _MOBILE_ DATA_        ( 52707/41582: - 97.13542:32.85347:120]
340    03/07/11     10:36P     18173436690     60 : 00   2166   5602                           310410276936201      phone         _ MOBILE_ DATA_       ( 52707/4158 2:-9 7. 13542 :32.85347:120]
341    03/07/11     11 :36P    18173436690     60:00      971   2561      ...•.•....•••••      31041027 6936201     phone         _MOBILE_ DATA_        ( 52707/4158 2:-9 7.13542 : 32 . 85347: 1 20]
342    03/08/11     12:36A     18173436690     60:00     1134   4226                           310410276936201      phone         _ MOBILE_ DATA_       ( 52707/41582 :-9 7.13542 :32.85347:12 0]
343    03/08/11     01:36A     18173436690     24:54      161    737      .....•....•....      310410276936201      phone         _MOBILE_DATA_         (52707/41582: - 97.13542:32.85347:120 ]




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                                The informati on contained here is for use by authorized person o nly and is                                                                               Page 36
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                                    Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 34 of 99 PageID 3854
915465.001                                                      MOBI LITY USAGE
04 / 15 /2 011
SCAMP                                                        {with cell location)


 Run Date:             04/ 15/2011
 Run Time:             15 : 28: 55
 Data Uoago For:        (8 17 ) 34 3-669 0
 Account Number:       318912244
Item       Conn.         Conn .      Originating   Elapsed   Bytes   By too            IMBI                   IMSI               Access       Description      Cell Locatio n
           Date          Time          Number       Time       Up      Dn                                                              Pt
344     03/08/11       02:01A 1817 343 6690         60:00       157      344                           310410276936201       phone          _ MOBILE_ DATA_ [52707 / 40649:-97.16078:32.85086:248 ]
345     03/08/11       03:01A 18173436690           58:56      8261   36703    ...............         310410276936201       phone
                                                                                                                                            - MOBILE- DATA- [52706 / 26951:-97.25503:32.83767:60]
346     03/08/11       04:00A 18173436690           60:00     13317   24289                            31 04 1 0276936201    phone          _ MOBILE_ DATA_    [52709/35303:-97.26156:32.92961:300 ]
347     03/08/1 1      05:00A 18173436690           60:00         51      49   •.•......•.....         3104102 76936201      phone          _ MOBILE_ DATA_    [52 709 / 35303:-97. 2 6156:3 2.92 961: 300]
348     03/08/11       06:00A 18173436690           60:00         51      49                           3104 1 027 6936201    phone          _ MOBILE_ DATA_    [5 27 09 /3530 3: -97.26 156: 32.9 296 1 : 3 00 ]
349     03/08/11       07:00A 18173 43 6690         60:00      5775   15095    ***************         310410276936201       phone          _ MOBILE_ DATA_    [5 2 709/35303:-97. 26 1 5 6:3 2.929 61:300 ]
350     03/08/11       08:00A 18173436690           60:00       161      737                           310410276936201       phone          _ MOBILE_ DATA_    [52709 / 3 5303 : -97 . 26156:32. 9 2961:3 00 ]
351     03/08/11       08:31A 18173 436690           0:51      5332 283386     ***************         31041 0276936201      wap.cingu1a    _ MOB ILE_ DATA_   [52709 / 23562:-97.09917:32.95581:128]
                                                                                                                             r
352     03/08/11       09:00A     181734366 90      34 :38 17878  52128        •••••••••••• •••        3104 1 02769362 01    phone          _ MOBILE_ DATA_    [ 52709 / 23562: - 97.09917:32.95581:128]
353     03/08/11       09:35A     18 1734 366 90     1:43     61       0       • •••• • • ••• •• •••   310410276936201       p h one        _ MOBILE_ DATA_    [ 52903 / 23587:-97.09742:32.89986:]
354     03/08 / 11     09:37A     18173436690       60:00    173     49        •••••••••••••••         310410276936201       phone          _ MOBILE_ DATA_    [ 52709 / 603 13 :- 97 .07 914:32 . 93881:2 40 ]
355     03/0 8 / 11    10:37A     18173436690       59:10  10977  18417        •••••••••••••••         310410276936201       phone          _ MOBILE_ DATA_    [ 5270 9/6 0313:- 97 . 07914:32 . 93881:24 0]
356     03 / 08 / 11   11:36A     18173436690        1:11      0       0       •••••••••••••••         310410276936201       phone          _ MOBILE_ DATA_    [ 529 0 3 / 23587: - 97.09742 : 32.89986:]
357     03/08 / 11     11:37A     18173436690       13:26      0       0       •••••••••••••••         310410276936201       phone          _ MOBILE_ DATA_    [ 52709 / 27237:-97. 1 1489:32.91886 : ]
358     03/08 / 11     11:50A     18173436690        0:19      0       0       •••••••••••••••         310410276936201       phone          _ MOBILE_ DATA_    [ 52903 / 23587:-97 . 097 42 :32 . 89986:]
359     03/08 / 11     11:51A     1817343 6 690     60:00   6293  11023        •••••••••••••••         31041027 6 936201     phone          _ MOBILE_ DATA_    [ 52709 / 24338: - 97.099 53 :32 . 93497:]
360     03/08 / 11     12:51P     18173436690       60:00    213     49        •••••••••••••••         3104 102 76936201     phone          _ MOBILE_ DATA_    [ 52709 / 24338:-97.09953 : 32.93497:]
361     03/08/11       01:51P     18173436690       16:57     61       0       •••••••••••••••         310410276936201       phone          _ MOBILB_ DATA_    [52709 / 2 4 338:-97.09953:3 2. 93 4 97:]
362     03/08/11       02:08P     18173436690        1:21      0       0       • ••••••••••••••        310410276936201       phone          _ MOBILE_ DATA_    [52 903/03673 :- 97 .0 8 444:32.9263 9:300]
363     03/08/11       02:09P     18173436690       51:05  25843  6108 1       •••••••••••••••         310410276936201       pho n e        _ MOBILE_ DATA_    [527 09 / 62028:-97.09953:32.93497:120]
364     03/08/11       03:00P     18173436690        1:14      0       0       ••••• • ••••• ••••      310410276936201       phone          _ MOBILE_ DATA_    [52903/23587 : -97.09742:32.89986 : ]
365     03/08/11       03:01P     18173436690       60:00 171379 587896        •••••••••••••••         310410276936201       phone          _ MOBILE_ DATA_    [52709/ 24338: - 97 . 09953:32.93497 :]
366     03/08/11       04:01P     18173436690       60:00 272368 679271        •••••••••••••••         3104 10276936201      phone          _ MOBILE_ DATA_    [52709 / 24338:·97 .09953:32 . 93497 : ]
367     03/08/11       05:01P     18173436690       6 0:00    102     98       ...•.....•..•..         3104102 7 6936201     phone          _ MOBILE_ DATA_    [52709 / 24338:-97 .09 953 : 32.93 49 7 :]
368     03/08/11       06:01P     18173436690       60:00    9753 113335       .............•.         31 0410 27 6936201    phone          _ MOBILE_ DATA_    [52709 / 24338: ·9 7.0995 3: 32.93497:]
369     03/08/11       07:0 1P    1817 343669 0     60:00     102     98       ...............         310410276936201       phone          _ MOBILB_ DATA_    [52709 / 24338: - 97.09953:32.93497:]
370     03/08/11       08:01P     18173436690       60:00      51     49                               31 0410276936201      phone          _ MOBILE_ DATA_    [52709 / 24338:-97.09953 : 32.93497 : ]
371     03/08/11       09:0 1P    18173436690       4 7:30 187080 930361                               310410276936201       phone          _ MOBILE_ DATA_    [52709 / 24338 : -97.09953:32 . 93497:]
372     03/08/11       09:49P     1817343 669 0     10:23       0      0                               310410276936201       phone          _ MOBILB_ DATA_    [52903 / 03673:·97.08444:32.92 639:30 0 ]
373     03/08/11       09:59P     18173436690       60:00   64518 246495       **** * * * ***** ***    310410276936201       phone          _MOBILE_ DATA_     [52707 / 4 2182: - 97.13406:32.83747:128]
374     03/08/11       10:59P     181734366 90      60:00   11384  28999       ......•........         310410276936201       phone          _ MOBILE_DATA      [52707 / 42182:-97.13406:32.83747:128]
375     03/08/11       11 : 59P   18173436690       60:00   60686 226352                               310410276936201       phone          _ MOBILE_ DATA_    [52707 / 42182:-97.13406:32.837 47 :128]
376     03 / 09/11     12 : 59A   181734 36690      60:00      51     49       •••••••••••••••         3104 1 02769 3 6201   phone          _ MOBILE_DATA      [5270 7/ 42182:-97.13406:32.83747:128]
377     03/09/11       01 :59A    18173436690       38:2 5   7129  27869       •••••••••••••••         3 1 0410276936201     phone          _ MOBILE_ DATA_    [52707 / 421 82 : - 97.13406:32.83747 :128]
378     03/09/11       02 :3 8A   1817 3436 690     60:00   73719 363203                               310410276936201       phone          _ MOBILE_ DATA_    [52709 / 23471 : -97 . 07914:32 .93881 :8]
3 79    03/09/11       03 : 38A   1817 3 43 6690    60: 00    102     98                               310410276936201       phone          _ MOBILE_ DATA_    [52709 / 23471: - 97.07 914: 32.93881:8 ]
380     03/09/11       04:38A     18173436690       60:00      51     49       ***************         310410276936201       phone          _ MOBILE_DATA_     [52709 / 234 7 1:-97.07914:32.93881:8]



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        AMO                         The information contained here is for use by authorized person only and is                                                                                       Page 3 7
                                                           not for general distribution .
                                  Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 35 of 99 PageID 3855
915465.00 1
04/ 1 5/20 11
                                                              MOBI LITY USAGE                                                                                                  A~
                                                                                                                                                                              ~ a&
                                                                                                                                                                                             t t
SCAMP                                                      (with c e ll location)


 Run Date:           04/15/2011
 Run Time:           15:28:55
 Data Usage For:     (817)34 3 -6690
 Account Number:     318912244
Item         Conn.    Conn.       Originating   Elapsed     Bytes   Bytes          IMBI                 IMSI              Access       Description      Cell Location
         Date         Time          Number       Time         Up     Dn                                                      Pt
381    03/09/11      05:38A     18173436690       60:00       6731  35367                        310410 276936201      phone         _ MOBILE_ DATA_    [52709/2 347 1 :-9 7 .0791 4:32.93881:8)
382    03/09/11      06:38A     18173436690       60:00          51     49                       310410276936201       phone         _ MOBILE_ DATA     [52709/23471 :-97.07914:32.93881:8)
383    03/09/11      07:38A     18173436690       60:00     139428 972823                        31041 02 76936201     phone         _ MOBILE_ DATA_    [52709 / 23471:-97. 07914 :32.93881:8 )
384    03/09/11      08 : 38A   18173436690       60:00     271214 971017    ...............     31041 027 6936201     phone         _ MOBI LE_ DATA_   (52709/23471:-97.07914:32 . 93881:8)
385    03/09/11      09:38A     18173436690        5 : 49        0       0   •..............     31041027693620 1      phone         _ MOBI LE_ DATA_   [52709/23471:-97.07914:32.93881:8)
386    03/09/11      09:44A     18173436690       10:49       5989   10687   ...•••...•.•...     310410276936201       phone         _ MOBILE_ DATA_    [52903/03673:-97.08444:32 . 92639:300)
387    03/09/11      09:54A     18173436690       60:00        224      49   .•..........••.     310410276936201       phone         _ MOBILE_ DATA_    [52818/ 4 03 17:-97.06083:32.77256:0)
388    03/09/11      10:54A     18173436690       36:02          0       0   .••.•.•.....•..     310410276936201       phone         _ MOBILE_ DATA_    [52816/40233 : -96.85628:32 . 64733:248)
389    03/09/11      11:30A     18173436690       13:23        112      49                       310410276936201       phone         _ MOBILE_DATA_     [5 2903 /18583:-97.05194 :32.7 925:248)
390    03/09/11      11:44A     1817343 6690       1:20          0       0                       310410276936201       phone         _ MOBILE_ DATA_    [527 09/24332: - 97.099 53:32.93497: 1 28)
391    03/09/11      11:45A     18173436690        1:09          0       0                       31 0410276936201      phone         _ MOBILE_ DATA_    [ 529 0 3 / 276 09:-97.084 44:32.92639:)
392    03/09/11      11:46A     18173436690       60:00   110544 350594      ........•......     31041027 693 62 01    phone         _ MOBILE_DATA_     [52709/62022: -97 . 09953 :32.93497:120)
393    03/09/11      12:46P     18173436690       60:00   125463 627242      •••.....•••...•     310410276936201       phone         _ MOBILE_ DATA_    [ 52709 /62 022:-97 .0 9953:32.93497 : 1 20)
394    03/09/11      01 : 46P   18173436690       60:00   596080 289395                          310410276936201       phone         _ MOBILE_DATA_     [ 527 09/62022: - 97.09953:32.93 497 :12 0]
                                                                      8
395    03/09/11      02 : 46P   18173436690       52 : 17    951     49      ***************     310410276936201       phone         _ MOBILE_ DATA_    [52709/62022: - 97.09953:32.93497:120]
396    03/09/11      03:39P     18173436690        9:42        0      0      •••••••••••• • ••   310410276936201       phone         _ MOBILE_ DATA_    [ 52903 /0 3673:- 97 . 08444: 32.92639:300]
397    03/09/11      03 : 48P   1 8173436690      60 : 00    161    448      •••••••••••••••     3104 10 27693620 1    phone         _ MOBILE_DATA_     [52707/24532:- 97 .13 542:32. 85347:128]
398    03/09/11      04:48P     18173436690       60:00      161    737      •••••••••••••••     310410276936201       p h one       _ MOBILE_ DATA_    ( 52707/24532: - 97.13542:32.85347:128 ]
399    03/09/11      05:48P     18173436690       35:20    161    737                            310410276936201       phone         _ MOBILE_DATA_     [ 52707/24532: - 97.13542 : 32.85347 : 128]
400    03/09/11      06:24P     18173436690       40:18    378   1087                            310410276936201       p hone        _ MOBILE_DATA_     [52707 /406 49:-97.1607 8 :32.85086 : 248]
401    03/09/11      07:06P     18173436690       60:00   1074   3265                            310410276936201       phone         _ MOBILE_ DATA_    [52707 /40649: - 97.16078:32.85086:248]
402    03/09/11      08:06P     18173 4 36690     55:09   1723   6585                            310410276936201       phone         _ MOBILE_ DATA_    [52707 /40649 :-97. 16078 :32.85086:248]
403    03/09/11      09:02P     18173436690        0:19      0      0                            310410276936201       phone         _ MOBILE_ DATA_    [52707/23533:-97.16078:32 . 85086:248]
404    03/09/11      09:03P     18173436690        0:21     55    344        .....•.........     310410276936201       phone         _ MOBILE_ DATA_    [52707/23533:-97.16078:32.85086:248]
405    03/09/11      09:04P     18173436690       33:44 403892 111519                            3 1 04102769362 0 1   phone         _ MOBILE_DATA_     [52707/23533:-97.16078:32.85086:248]
                                                                       5
406    03/09/11      09:38P 18173436690            9 : 23     110    688     •••••••••••••••     3104 10276936201      phone       _ MOBILE_ DATA_ [52903 / 4 05 53:-97.112 17: 32.85 897 :240 ]
407    03/09/11      09:45P 18173436690            1:55      4245 115198     •••••••••••••••     3 104102769362 0 1    wap.cingu1a _ MOBILE_ DATA_ [52903/2760 9:-97.08444:32.92639: ]
                                                                                                                       r
408    03/09/11      09:48P 18173436690           60:00 316603 187010        •••••••••••••••     310410276936201       phone         _ MOBILE_ DATA_ [52709 /2 433 8:-97.0995 3:32.93497:]
                                                                        7
409    03/09/11      09 : 54P 18173436690          0:43 228248       7038    •••••••••••••••     310410276936201       wap.cingu1a _ MOBILE_ DATA_ [52709/62021:-97.09953:32.93497 : 0]
                                                                                                                       r
410    03/09/11      10:48P     1 8173436690     60:00   6895  24095         ***************     310410276936201       phone         _ MOBILE_DATA_     [52709/62021:-97.09953:32.93497:0]
411    03/09/11      11:48P     18173436690      60:00  90949 272345         •••••••••••••••     310410276936201       phone         _ MOBILE_ DATA_    [527 09/ 62021: - 97.09953:32.93497:0]
412    03/10/11      12:48A     18173436690      60:00    259     49         •••••••••••••••     310410276936201       phone         _ MOBILE_ DATA_    [52709 / 62021: -97.09953:32.93497 : 0]
413    03/10/11      01:48A     18173436690      60:00 420856 124647         •••••••••••••••     310410276936201       phone         _MOBILE_ DATA      [ 52709/62021:-97.09953:32.93497:0]
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                                                                                     AT&T Pr o pri e t a r y
        AMO                      Th e i n formation c o n taine d h ere is fo r use by authori zed per son onl y a nd is                                                                  Page 38
                                                              n o t f o r gene r a l di str i b u t ion.
                                       Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 36 of 99 PageID 3856
9 15465.001                                                        MOBILITY USAGE
04 / 15 / 2011
SCAMP                                                            (with cell location)


 Run Date :              04/15/ 2011
  Run Time:              15:28:55
 Data Osage For:         (817 ) 343-6690
 Account Number:         3189 12244
Item        Conn.         Conn .      Or igina t i n g   Elapsed    Bytes    Bytes               IMEI                     IMSI                 Access       Desc r iption     Cell Location
             Date          Ti me          Number          Time       Up       Dn                                                                     Pt
4 14     03 / 10/11      02 :4 8A 1 8 173436690           60:00         51       49      •••••••••••••• •         3 10410276936201        phone           _ MOBI LE_ DATA_    [52709 / 62021:- 97.09 953:32.93497:0]
415      03/10/11        03:48A 1817 3436 6 90            60:00       1 02       98      •• • • •• ••• • •• •••   3104 10276936201        p hone          _ MOBILE_ DATA_     [5 2709 / 62021:-97.09953:32.934 97:0]
416      0 3 /10/11      04 :4 8A 18173 4 366 9 0         60 : 00       51       49      •••••• • ••••••••        3104 10 276936201       phone           _ MOBILE_ DATA_     [5 2 709 / 62021: - 97.0995 3 :32.93497:0]
4 17     03/1 0/ 1 1     0 5 : 48A 1 8 1734366 90         6 0 :00       51       49      •••••••••••••• •         3104 1027693620 1       p hone          _ MOBILE_ DATA_     [52709/62021:-97 . 09953:32.93497 : 0]
4 18     03/ 1 0/11      0 6 :4 8A 1 817 3 43669 0        6 0 :00       51       49      •••••••••••••••          310 410276936201        phon e          _ MOBILE_ DATA_     [5 2 709 / 62021: - 97 . 09953: 32.93 4 97:0 ]
4 19     03/1 0/11       07:4 8A 1 81 7 3436690           35:43 17 2 6 77 49477 1        • • • • ••••••••• ••     310410276936201         phone           _ MOBILE_ DATA_     [52709/6202 1: -97 . 09953:32.93497 : 0 ]
                                                                                     4
420      0 3 / 1 0/1 1   08 : 15A 1 817343 6 690           4: 03 228115       47 98      ••••••• • •••••••        3104102 7 6936201       wap.c i ngula _ MOBILE_ DATA_ [52 7 09/ 60422: - 97.099 17 : 3 2 .95581: 1 28]
                                                                                                                                          r
421      03/10/11        08: 2 3A 1817 3 436690            0:26     37936 508215         • • ••••• • •••• • ••    310 4102769 36201       phone           _ MOBILE_ DATA_ [52709 / 60422 : - 97.09917:32.955 81 : 128]
                                                                                6
422      03 / 10 / 11    08:24A 1 81734 36690              0:28     38059 50826 4        • •••••••• •• • •• •     310410276 9362 0 1      phone           _ MOBILE_ DATA_ [52 7 09 / 6 0422:-97 . 09917:32 . 95581 : 1 28]
                                                                                2
423      03 / 10/ 11     08 : 2 4A 18173436690             0:43     52971 506728         ••••••••••• • •••        31041027 69362 01       phone           _ MOBILE_ DATA_ [52709/ 60422:- 97 .09917:32.95581 : 128]
                                                                                6
424      03 / 10 / 11    08:25A 18173436690                1:03     64777 50553 4        • •• • • • ••• • •••••   310 4102769362 0 1      phone           _ MOBILE_ DATA_ [52709 / 60422:-97.09917:32.955 81 : 1 28]
                                                                                7
425      03/10/1 1       08:26A 1817 3 43 6 6 90          60:00  23509 2 9 59 80                                  310410276936201         phone          _ MOBILE_ DATA_ [52709 / 60422:-97.09917 :32.955 81: 1 28]
426      03/ 1 0/1 1     09 : 26A 1 817 3 4366 90         60:00    898 7 756 1 2                                  310410 2 76936201       phone          _ MOBI LE_ DATA_ [52709 / 60422:-97.09917:32.95581: 1 28 ]
427      03/10/11        09:54 A 181 734 3669 0            0:23 24 1 938   5078                                   310410276936201         wap . cingul a _ MOBILE_ DATA_ [5 2 709 / 24338 : - 97. 0 9953:32 . 93497 : ]
                                                                                                                                          r
428      03/ 1 0/11      1 0 : 26A   1 81 73 4366 90      60 : 00    6 55 0 17906        ••.•..••....•.•          310 410276936201        phone           _ MOBILE_ DATA_     [5 2 709 / 24338:-97 . 09953:32.93 4 97 : ]
429      03/10/11        1 1: 26A    181 7 34 36690       60:00     7882 1 3497 86                                310410 2 76936201       phone           _ MOB I LE_ DATA_   [52709 / 24338:-97.09953:32 . 93 497 : ]
430      03/ 1 0/11      1 2:26P     1817 343 6690        60:00        457      49                                310 410 2 76936201      phone           _ MOBILE_ DATA_     [52709 / 2 4338:-97.09953:32.93 4 9 7: ]
4 31     03/10 /11       0 1: 26P    1 817343 66 9 0      60 : 00      112      49                                310410276936201         phone           _ MOBILE_ DATA_     [ 5 2709/24338: - 97 . 09953 : 32.9 34 97 : ]
432      03/10/11        02:26P      1 81734366 90        60 : 00      203      98                                310 410276936201        phone           _ MOBI LE_ DATA_    [52709 / 2 4338: - 97.09953:32.9 349 7:]
433      03/ 1 0/11      03:26P      1 81 7 34366 9 0     6 0: 00       51      49                                310 410276936201        phone           _ MOB I LE_ DATA_   [52709/24338: - 97.09953:32.93497 :]
434      03/10/11        04:26 P     18173 4 366 9 0      60 : 00       51      49                                310410276936201         p ho ne         _ MOBILE_DATA_      [52709/ 2 4338:-97.09953:32.93 4 97 :]
4 35     03/ 1 0/11      05:26 P     181 7 3436 6 9 0     6 0: 00   9892 5 300298                                 3104102769362 01        p h o ne        _ MOBILE_ DATA_     [52709/24338:-97.09953:32 . 93 4 97 :]
4 36     03/10/11        06:26 P     1 81 73 4366 9 0     60 : 00     2 95      49       ......•........          31 04 1 02769 3 62 01   p h on e        _ MOBILE_ DATA_     [ 52709 / 243 38: - 97 . 0995 3 : 3 2.93497: ]
437      03/ 1 0/11      07 : 26P    1 81 73 4 3 66 90    60 :00      2 03      98                                31 0410276936201        phon e          _ MOBI LE_ DATA_    [ 52709 / 24338 : - 97.09953:32 . 93 4 97: ]
438      03/10/11        08:26P      1817343669 0         60 :00      4 38   1480                                 3 1 04 1 0276936201     phon e          _ MOBILE_ DATA_     [ 52709 / 2 4338:-97.09953 : 32 . 9 3 497:]
439      03/ 1 0/11      08:59P      1 81 73436690          0:49     3332 140828         ...............          31 0410276936201        wap.cingu1a     _ MOBILE_ DATA_     [ 527 0 9/ 60423:-97 . 0 9917 : 32 . 95581:248 ]
                                                                                                                                          r
440      03 / 10 / 11    09:01P 18173436690                0:48      3092 122 4 83       • ••••• • ••••••••       310410276936201         wap.cingula _ MOBILB_ OATA_ [ 52709 / 60423:- 97. 09 9 17:32.9 5 581 : 2 48 ]
                                                                                                                                          r
441      03/10 / 11      09:26P      1 817 3 436690       60:00    52463 150146                                   310410276936201         phone           _ MOBILB_ DATA_     [ 52709 /   60423: - 97.0 9 91 7 :32 . 95581:248 ]
442      03/10/11        10:26P      18173436690          52 : 29 324337 8997 64                                  3 1 04 1 0276936201     phone           _ MOBILE_ DATA_     [ 52709 /   60423:- 97.099 1 7 :32 . 95 5 81 : 24 8 ]
443      03/ 1 0/11      ll :l8P     1 81 73 4 3 6 690     8 : 08      0       0                                  3 1 041027693 6 201     phon e          _ MOBI LE_ DATA_    [5290 3 /   03673 : -97.08444:32.92639:300 ]
444      03/10 /11       11 :27P     1 81 7 3 4 3 6690    60:00     1898   3882                                   3104 1 0276936201       p ho n e        _ MOBILE_ DATA_     [ 52707 /   24532:-97 .13542:32.85347: 1 28]



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915465.001
                               Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 37 of 99 PageID 3857                                                            -...,..;
                                                                                                                                                                     cg~ at&t
04/15/2011
                                                           MOBILITY USAGE
SCAMP                                                    (with cell location)


 Run Date:           04/15/2011
 Run Time:           15:28:55
 Data Osage For:     (817)343·6690
 Account Number:     318912244
Item      Conn.       Conn.    Originating   Elapsed Bytes  Bytes              IMEI                 IMSI              Access     Deocription   Cell Location
          Date        Time       Number       Time     Op     Dn                                                         Pt
445     03/11/11     12:27A 18173436690        60:00   6547  13164       ***************     310410276936201       phone       _ MOBILE_ DATA_ [52707/2453 2:-97 . 135 42:32.85347:12 8 ]
446     03/11/11     01:27A 1 8173436690       43:48 119100 500214       •••••••••••••••     310410276936201       phone       _ MOBILE_ DATA_ [ 52707 /24 532:· 97 .13542:32.85347:1 28 ]
                                                                  3
447     03/11/11     02:10A 18173436690         0:26  48867 507181       •••••••••••••••     310410276936201       phone       _ MOBILE_ DATA_ [52707 / 24532:-97.13542:32.85347:12 8 ]
                                                                     1
448     03/11/11     02:11A 18173436690        0:32     51024   506925   ............... .   3104102 7693620 1     phone       _ MOBILE_ DATA_ [52707/24532 :- 97.13542:32.85347:128 ]
                                                                     9
449     03/11/11     02:11A 18173436690        0 : 57   65891   505411   •••••••••••••••     310410276936201       phone       _MOBILE_ DATA_ [52707/24532: - 97.13542:32.85347:128 ]
                                                                     9
450     03/11/11     02:12A 18173436690        0:48     46623   507413   •••••••••••••••     310410276936201       phone       _ MOBILE_ DATA_ [52707/24532 :-97.13542:32. 85347: 12 8 ]
                                                                     6
451     03/11/11     02:13A 18173436690        0:59     41743 507910     •••••••••••••••     310410276936201       phone       _ MOBILE_ DATA_ [ 52707/24532 :- 97. 13542:32.85347:128 ]
                                                                   4
452     03/11/11     02:14A 18173436690        0:48     52774 506797     ••••••••••• ••••    31041027693620 1      phone       _ MOBILE_ DATA_ [527 07/2 4532:-97.13542:32.8534 7:128 ]
                                                                   3
453     03/11/11     02:15A 18173436690        0:37     45716 507549     •••••••••••••••     310410276936201       phone       _ MOBILE_ DATA_ [ 52707/24532:-97.13542:32.85347:128 ]
                                                                   7
454     03/11/11     02:15A 18173436690        0:24     33852 508620     •••••••••••••••     310410276936201       phone       _ MOBILE_ DATA_ [52707 /24 532:-9 7.13542 : 32 .8 5347:128]
                                                                     0
455     03/11/11     02 : 16A 18173436690      0 : 24   33384   508760   •••••••••••••••     310410276936201       phone       _ MOBILE_ DATA_ [52 707/2 4532:-97.13542:32.8534 7:128]
                                                                     0
456     03/11/ 11    02:16A 18173436690        0:43     20378   539157   ***************     310410276936201       phone       _ MOBILE_ DATA_ [52707/24532:-97 . 13542:32.85347:128]
457     03/11/11     02:17A 18173436690        0:42     61223   506001   •••••••••••••••     310410276936201       phone       _ MOBI LE_ DATA_ [52903 /44 260:-97.09953:32.8695 : 0]
                                                                     4
458     03/11/11     02:18A 18173436690        0:30     46743   507382   ***************     3 1 04 1 0276936201   phone       _ MOBILE_ DATA_ [52903/44260 :-97.09953:32.869 5:0]
                                                                     4
459     03/ll/ll     02:18A 18173436690        2:59     84783   503587   •••••••••••••••     310410276936201       phone       _ MOBILE_DATA_ [52903/44260: - 97 . 09953:32.8695 : 0]
                                                                     7
460     03/ll/ll     02:21A 18173436690        0:27     59543   506137   ••••••••• ••••••    310410276936201       phone       _ MOBILE_ DATA_ [ 52903 / 44260:-97.09953:32.8695:0]
                                                                     4
461     03/ll/ll     02:22A 18173436690        0:22     46510 507395     ***************     310410276936201       phone       _ MOBILE_ DATA_ [52903/4 42 60 :-97.09953:32.8 695 :0]
                                                                   5
462     03/11/11     02:22A 18173436690        0:18     37023 508387     •••••••• •••••••    310410276936201       p hone      _ MOBILE _ DATA_ [52903/44260: - 97.09953:32.8695:0]
                                                                     2
463     03/11/ll     02:22A 18173436690        0:14     28704 509190     •••••••••• •••••    310410276936201       phone       _ MOBILE_ DATA_ [ 52903/44260: - 97.09953:32.8695:0]
                                                                   4
464     03/11/ l l   02:23A 18173436690        0 : 19   41554 507844     •••••••••••••••     310410276936201       p h one     _ MOBILE_ DATA_ [ 52903/44260: - 97.09953:32.8695:0]
                                                                   7
465     03/11/11     02:23A 1 8 1 73436690     0:18     32612 508760     •••••••••••••• •    310410276936201       phone       _ MOBILE_ DATA_ [52903/44260: - 97.09953:32.8695:0]
                                                                   0
466     03/ll/11     02:23A 18173436690        0:24     32604 508760     •••••••••••••••     3104 102 76936201     phone       _ MOBILE_ DATA_ [52903 / 44260:-97.09953:32.8695:0]
                                                                   0




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                                                     not for genera l distribution.
                            Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 38 of 99 PageID 3858                                                             .-....,..,
915465.001
04 / 15 /20 11
SCAMP
                                                        MOBILITY USAGE
                                                      (with cell location)                                                                                          ~] ;.         at&t

 Run Date:         04/15/2011
 Run Time:         15:28:55
 Data Osage For:   (817)343-6690
 Account Number:   318912244
Item     Conn.      Conn.     Originating   Elapsed    Bytes    Bytes             IMEI               IMSI            Access     Description   Cell Location
         Date       Time        Number       Time        Up       Dn                                                    Pt
467    03/11/11    02 : 24A 18173436690        0:43     49672   507128     •••••••••••••••     310410276936201    phone       _ MOBILE_ DATA_ [52903/44260:-97.09953:32.8695:0]
                                                                       4
468    03/11/11    02:24A 18 1 73436690       1:02     48212    254901     •••••••••••••••     310410276936201    phone       _ MOBILE _ DATA_ [ 52903/44260:-97.09953:32.8695:0]
                                                                     5
469    03/11/11    02:25A 18173436690         1:31     76445    504438     •••••••••••••••     310410276936201    phone       _ MOBILE _ DATA_ [ 52709/60428 :- 97.09917:32.95581:128]
                                                                     1
470    03/11/11    02:27A 18173436690         0:44     50532    507076     •••••••••••••••     310410276936201    phone       _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128]
                                                                     7
471    03/11/11    02:28A 18173436690         0:54     59562    506155     •••••••••••••••     310410276936201    phone       _ MOBILE_ DATA_ [52709/60428 : -97.09917:32.95581:128]
                                                                     8
472    03/11/11    02:28A 18173436690         0:35     39779    508102     •••••••••••••••     310410276936201    phone       _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128]
                                                                     9
473    03/11/11    02:29A 18173436690         1:08     72222    504910     •••••••••••••••     310410276936201    phone       _ MOBILE_ DATA_ [52709/60428:-97 . 09917:32.95581 : 128]
                                                                       6
474    03/11/11    02:30A 18173436690         1:19     92210 502871        •••••••••••••••     310410276936201    phone       _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581 :1 28]
                                                                  8
475    03/11/11    02:31A 18173436690         0:17     34632 508630        •••••••••••••••     310410276936201    phone       _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128]
                                                                       4
476    03/11/11    02:32A 18173436690         0:53     59188 506136        ***************     310410276936201    phone       _ MOBILE_ DATA_ [52709/60428:-97.09917 : 32 . 95581:128]
                                                                  8
477    03/11/11    02:33A 18173436690         0:52  56916 506310           ***************     310410276936201    phone       _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128]
                                                               6
478    03/11/11    02:34A 18173436690         0:47  53777 506640           •••••••••••••••     310410276936201    phone       _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128]
                                                               6
479    03/11/11    02:34A 18173436690         0:41  52616 506854           •••••••••••••••     310410276936201    phone       _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128]
                                                               7
480    03/11/11    02:35A 18173436690         1:02  61608 505863           ............... .   310410276936201    phone       _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128]
                                                               5
481    03/11/11    02:36A 18173436690         2:41 141209 497915           •••••••••••••••     310410276936201    phone       _ MOBILE_ DATA_ [ 52709/60428: - 97.09917:32 . 95581:128]
                                                               4
482    03/11/11    02 : 39A 18173436690       0:21  46952 507306           •••••••••••••••     310410276936201    phone       _ MOBILE_ DATA_ [ 52709/60428: - 97.09917:32 . 95581:128]
                                                                  3
483    03/11/11    02 : 39A 18173436690       0:42     58811 506148        •••••••••••••••     310410276936201    phone       _ MOBILE_ DATA_ [ 52709/60428 :- 97.09917:32.95581:128]
                                                                       3
484    03/11/11    02 : 40A 18173436690       0:16     29120    509190     •••••••••••••• •    31041027693620 1   phone       _ MOBI LE_ DATA_ [ 52709/60428:-97 . 09917:32.95581:128]
                                                                       4
485    03/11/11    02:40A 18173436690         1 : 01   54050    506603     •••••••••••••••     310410276936201    phone       _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128]
                                                                       6
486    03/11/11    02:41A 18173436690         0:25     59627    506 1 07   •••••••••••••••     310410276936201    phone       _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128]
                                                                      6
487    03/11/11    02:41A 18173436690         0:24     37806 508255        •••••••••••••••     310410276936201    phone       _ MOBILE_ DATA_ [ 52709/60428: - 97.09917 : 32 . 95581:128]
                                                                  0




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                                   Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 39 of 99 PageID 3859
                                                                                                                                                                                ~ at&t
915465.001                                                      MOBILITY USAGE
04 / 15 /20 11
SCAMP                                                        (with cell location)


 Run Date:             04/15/2011
 Run Time:             15:28 : 56
 Data Usage For:       (817)343·6690
 Account Number:       318912244
Item      Conn.         Conn .    Originating    Elapsed     Bytes      Bytes          IMEI                 IMSI             Access     Description      Cell Location
          Date          Time        Number        Time         Up         Dn                                                    Pt
488     03/11 / 11     02:42A 18173436690           0:45      48793     507194   •••••••••••••••     3104102 76936201     phone       _ MOBILE_ DATA     [52709/60428:-97 .0 9917:32.95581:128]
                                                                             6
489     0 3/ll/11      0 2:43A 18173436690         0:18       35221 508580       •••••••••••••••     310410276936201      phone       _ MOBI LE_ DATA_ [52709/60428:-97.09917:32.95581:128]
                                                                         8
490     03 / 11/11     02:43A 18173436690          1:31       95675     502543   •••• •••••••• •••   310410276936201      phone       _MOBILE_ DATA_ [52709/60428:·97.09917:32.95581:128]
                                                                             1
491     03/11/11       02:44A 18173436690          0:16       28860 509190       •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA     [52709/60428: - 97 .09917 : 32.95581: 1 28]
                                                                             4
492     03 /11/ 11     02:45A 18173436690          0:26       39 1 76   508157   •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA_ [52709 /604 28:-97.09917:32.95581:128]
                                                                             2
493     03 / 11 / 11   02:45A 18173436690          0:54       55185     506592   •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA_ [52709/60428 :· 97.09917:32.95581:128]
                                                                             2
494     03/ll/ll       02:46A 18173436690         60 : 00     53153 364647       •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA_ [52709/60428 : -97.09917:32 . 95581:128]
                                                                         3
495     03/11/11       03: 46A    18173436690     60 : 00       102     98       •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA_    [52709/60428:-97.09917:32 . 95581:128]
496     03/11/11       04:46A     18173436690     60:00        6894  22224       •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA_    [52709/60428:-97.09917:32.95581:128]
497     03/11/11       05:46A     18173436690     60:00        7049     24308    ***************     310410276936201      phone       _ MOBILE_ DATA_    [52709/60428:-97.09917:32 . 95581:128]
498     03/11/11       06:46A     18173436690     60:00          51        49    •••••••••••••••     3 1 041027693620 1   phone       _ MOBILE_ DATA_    [52709/60428: · 97.09917:32.95581:128]
499     03/11/11       07 : 46A   18173436690     60 :00         51        49    •••••••••••••••     3104 1 027693620 1   phone       _ MOBILE_ DATA_    [52709/60428:·97.09917:32.95581:128]
500     03/11/11       08 : 46A   18173436690     20:34      103880 501681       ***************     310410276936201      phone       _ MOBILE_ DATA_    [ 52709/60428:-97.099 1 7:32.95581:128]
                                                                          l
SOl     03/11/11       09:07A 18173436690          0:32       39605 508078       ***************     31041027693620 1     phone       _ MOBILE_ DATA_ [ 527 09/60428:-97 . 099 17:32.95581:128 ]
                                                                          9
502     03/11/1 1      09: 07A 18173436690         1:16       611 07 505930      •••••••••••••••     3104 1 0276936201    phone       _ MOBILE_ DATA_ [52709/60428:·97.09917:32.95581:128]
                                                                    3
503     03/11/ll       09: 0 8A   18173436690     60:00 205235 900525            ***************     310410276936201      phone       _ MOBILE_ DATA_    [ 52709/60428:-97.09917:32.95581:128]
504     03/11/ll       l0:08A     18173436690     6 0 : 00      142         98   •••••••••••••••     310410276936201      phone       _ MOBI LB_ DATA_   [52709 /6 042 8 : - 97.09917:32.95581 : 128 ]
505     03/11/11       11:08A     18173436690     6 0:00         51         49   •••••••••••••••     31 0 4102769362 01   phone       _ MOBILE_ DATA_    [ 52709/6 0428: -97.09917:32 . 95581:128]
506     03/11/11       12:08P     18173436690     60:00      20330      40165    •• •••••• •••••••   310410276936201      phone       _ MOBILB_ DATA_    [ 52709/60428:·97.09917:32.95581:128]
507     03/11/11       Ol:08P     18173436690     60:00        346         98    •••••• •• •••••••   31 04102769 362 01   phone       _ MOBILB_ DATA_    [52709/60428 :- 97.09917:32.95581: 128]
508     03/ ll/ ll     02:08P     18173436690     58:29         91         49    ••••• ••••• •••••   31041 0 276936201    phone       _ MOBILB_ DATA_    [52709/60428:-97.09917:32 . 95581:128]
509     03/ 11/11      03:07P     18173436690      2 : 56        0          0    •••• ••• ••••••••   310410276936201      phone       _ MOBILB_ DATA_    [5290 3/03673:·97. 08444:32.9263 9:300 ]
510     03/11/11       03:10P     181734366 90    6 0:00 237450 233754           •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA_    [52709/60319: - 97.07914:32.93881:240]
                                                                      0
511     03/11/11       04:10P     18173436690     60 :00    103     49           ......••.......     310410276936201      phone       _ MOBILE_ DATA_    [52709/60319:·97.07914:32.93881:240]
512     03/11/ll       OS:lOP     1817 3436690    60:00   51304 315131                               310410276936201      phone       _ MOBILE_ DATA_    [52709 /6031 9: -97 . 07914:32.93881:240]
513     03/11/11       06:10P     1817 3436690    60:00    4315   5399           .................   31041 0276936201     phone       _ MOBILE_ DATA_    [52709/60319:·97.07914:32.93881:240]
514     03/ 11 /11     07:10P     1 8173436690    60:00     426     98           ................    31041 0276936201     phone       _MOBILB_DATA_      [52709 / 60319 : · 97.07914:32.93881:240 ]
515     03/11/11       08:10P     18173436690     60:00    6064  1711 7                              3104 10276936201     phon e      _ MOBILE_ DATA_    [52709/60319: - 97.07914:32.93881 : 240]
516     03/11/11       09:10 P    181734366 90    53:38 1682 30 55163 1          •••• ••• ••••••••   31041 0276936201     phone       _ MOBILE_ DATA_    [52709/60319:-97.07914:32.93881:240]




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                                Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 40 of 99 PageID 3860                                                                      -....;
915465.001
04 /1 5 /201 1
SCAMP
                                                            MOBILITY USAGE
                                                          (with cell location)                                                                                                  1§1 at&t
 Run Date:          04/15/2011
 Run Time:          15 : 28:56
 Data Usage For:     (817)343 - 6690
 Account Number:    3189122 44
Item      Conn.      Conn.     Originating    Elapsed   Bytes       Bytes              IMEI                 IMSI                Access     Description     Cell Location
          Date        Time        Number       Time      Up          Dn                                                           Pt
517     03/11/11    10:03P 18173436690          7:59        40              0   •••••••••••••••      310410276936201       phone         _ MOBILE_ DATA_   [52903 / 03673 :- 97.08444:32.92639:300]
518     03/11/11    10:11P 18173436690         60:00      3994       15115      ••••••••••••• ••     310410276936201       phone         _ MOBILE_ DATA_   [52707/14741:-97.13406:32.83747:8]
519     03/11/11    11: 11P 18173436690        60:00   1351   4865              ................     3104102769362 01      phone         _ MOBILE_ DATA_   [5 2707 /1 4741 :- 97.13406:32.83747:8]
520     03/12/11    12:11A 18173436690         13:17     589  2457              ......•........      310410276936201       phone         _ MOBILE_ DATA_   [52707/14741 :-97.13406:32. 83747:8]
521     03/12/11    12:25A 18173436690          0:10       0     0              •....•...••....      310410276936201       phone         _ MOBILE_ DATA_   [52707/40643 :-9 7.16078:32.85086:248]
522     03/12/11    12:26A 18173436690         13:08     757  2408                                   310410276936201       phone         _ MOBILE_ DATA_   [52707/40 643:-97.16078:32.8 5086:248 ]
523     03/12/11    12:40A 18173436690         60:00   1 890  6880              ...............      310410276936201       phone         _ MOBILE_ DATA_   [52707 /406 49:-97.16078:32.85086:248]
524     03/12/11    01:40A 18173436690         49:58 174045 695873              ***************      310410276936201       phone         _ MOBILE_ DATA_   [52707/40649 : -97.16078 : 32.85086:248]
525     03/12/11    02:30A 18173436690         48 :23  6433  16108              ...•...........      310410276936201       phone         _ MOBILE_ DATA_   [ 5270 9/20328 :- 97.15139:32.97094:128]
526     03/12/11    03:31A 18173436690         60:00   9410  62816                                   310410276936201       phone           MOBILE DATA     [527 09/60422 :-9 7.09917:32 . 95581:128]
                                                                                ..•............                                          -       -     -
527     03/12/11    03 : 31A 18173436690        4:03   2271  16827                                   310410276936201       acds.voicem   _ MOBILE_ DATA_   [52709 / 60422:-97.09917:32.95581:128]
                                                                                                                           a il
528     03/12/11    04:31A     18173436690     60:00    6517  14855                                  3104 1 02769 3 6201   phone         _ MOBILE_ DATA_   [52709/60422 :- 97.09917 : 32.95581 :128]
529     03/12/11    05:31A     18173436690     60:00      51     49                                  310410276936201       phone         _ MOBILE_ DATA_   [ 52709 /604 22:-97.09917:32.95581: 1 28]
530     03/12/11    06:31A     18173436690     60:00      51     49                                  310410276936201       phone         _ MOBILE_ DATA_   [52709 /60422 :-97.09917:32.95581:128 ]
531     03/12/11    07:31A     18173436690     60:00      51     49                                  310410276936201       phone         _ MOBILE_ DATA_   [52709/60422:·97.09917:32.95581:128 ]
532     03/12/11    08:31A     18173436690     60:00      51     49             ...•.........•.      310410276936201       phone         _ MOBILE_ DATA_   [52709/60422:-97.09917:32.95581 : 128 ]
533     03/12/11    09:31A     18173436690     60:00   79744 407573                                  310410276936201       phone         _ MOBILE_ DATA_   [ 52709/60422: - 97.09917:32.95581 : 1 28]
534     03/12/11    10:31A     18173436690     44:47     173     49                                  310410276936201       phone         _ MOBILE_ DATA_   [52709/ 60422:-97.09917:32 . 95581 : 128]
535     03/12/11    ll:l6A     18173436690      5:49       0      0                                  310410276936201       phone         _ MOBILE_ DATA_   [52 903/03677:-97.08444 :32.92639:60 ]
536     03/12/11    11:22A     1 8173436690     0 : 24     0      0             ***************      310410276936201       phone         _ MOBILE_ DATA_   [ 52709/60522:-97.11489 : 32.91886:120]
537     03/12/11    11:22A     18173436690     60:00     203     98                                  310410276936201       phone         _ MOBILE_ DATA_   [ 52903 /03672:-97.08444:32.92639:180]
538     03/12/11    12:22P     18173436690     60:00    6105  13625             ..•....•......•      310410276936201       phone         _MOBILE_ DATA_    [52903 / 03672:-97.08444:32.92639:180]
539     03/12/11    01 : 22P   18173436690     33:28      61      0             .......••......      310410276936201       phone         _ MOBILE_DATA_    [52903 /03672 :- 97.08444 :32.92639:18 0]
540     03/12/11    01:55P     18173436690     60:00 262622 709138                                   310410276936201       phone         _ MOBILE_ DATA_   [52 709/24332: -9 7.09953 :32.93497:128 ]
541     03/12/11    02:55P     18173436690     60:00    4708   6711             ...........•...      310410276936201       phone         _ MOBILE_ DATA_   [52 709/24332: -9 7 . 09953:32.93497:128]
542     03/12/11    03:24P     18173436690      1:10 192790    4278                                  310410276936201       wap.cingula   _ MOBILE_ DATA_   [52709/23562:-97.09917 : 32 . 95581:128]
                                                                                                                           r
543     03/12/11    03:34P 18173436690          0:50 228115           5998      •••••••••••••••      310410276936201       wap.cingula _MOBILE_ DATA_ [52709 / 60422: - 97.099 17:32.9558 1:1 28]
                                                                                                                           r
544     03/12/11    03:55P 18173436690         60:0 0    80134      223033      • •••••••• •••• ••   310410276936201       phon e      _ MOBILE_ DATA_ [52709 /6 0422:-97.09917:32 . 9558 1 :128]
545     03/12/11    04:36P 18173436690          4:01    513514       10191      ****** * ********    310410276936201       wap.cingu1a _MO BILE_DATA_ [52709/60428: - 97.09917:32.95581:128]
                                                                                                                           r
546     03/12/11    04:55P     18173436690     42:00       213          49                           310410276936201       phone         _ MOBILE_ DATA_   [52709 / 60428:-97 . 09917:32.95581:128]
547     03/12/11    05:37P     18173436690      0:05            0           0   ...............      310410276936201       phone         _ MOBILE_ DATA_   [52903/03673: - 97 . 08444:32.92639 :300]
548     03/12/11    05:38P     18173436690      0:38            0           0   ........•......      310410276936201       phone         _ MOBILE_ DATA_   [52709/60521 :- 97.11489:32.91886:0]
549     03/12/11    05:38P     18173436690      0:17            0           0   ...............      310410276936201       phone         _ MOBILE_ DATA_   [52903/03673:-97.08444:32.92639:300]
550     03/12 /11   05:38P     18173436690     60:00       102          98                           310410276936201       phone         _ MOBILE_ DATA_   [52709/62028:-97.09953:32.9349 7 : 120]
551     03/12 /11   06:38P     18173436690      7:46            0           0                        310410276936201       phone         _ MOBILE_ DATA_   [52709 /62 028 : -97 .0 9953:32.93497:120]



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                                Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 41 of 99 PageID 3861
                                                             MOBILITY USAGE
04/15/2011
SCAMP                                                     (with cell location)                                                                                                'f1 at&t
 Run Date:            04/15/2011
 Run Time:            15: 28:56
 Data Usage For:      (817)343-6690
 Account Number:      318912244
Item         Coon.     Coon.    Originating   Elapsed Bytes   Bytes                 IMBI                 IMSI                Access     Description     Cell Location
             Date      Time       Number       Time     Up     Do                                                              Pt
552     03/12/11      06:46P 18173436690         0:08       0       0        •••••••••••• •• •    310410276936201      phone          _ MOBILE_ DATA_   [52903/23587:-97.09742:32.89986:]
553     03/ 12 / 11   06:46P 18173436690        60 :00     51     49                              310410276936201      phone          _ MOBILE_ DATA_   [52709 /24338 :·97.09953:32 .93497:]
554     03/ 12 / 11   07:46P 18173436690        60:00 181869 579417          **** ***********     310410276936201      phone          _ MOBILE_ DATA_   [52709/24338:-97.09953:32.93497:]
555     03/12/11      08:23P 18173436690        1:06 513812         12 271   ••••• ••••• •• •••   31041027693620 1     wap.cingula    _ MOBILE_ DATA_   [52709 /62 02 8:-97.09953:3 2.93497:12 0]
                                                                                                                       r
556     03/12/11      08:46P   18173436690     60:00       203         98    ..............•      3104102769362 01     phone          _MOBILE_ DATA_    [52709 /62 028:-97.09953:32 . 93497: 1 20]
557     03/12/11      09:46P   18173436690     50:57       820        737    ••...••........      31041027693620 1     phone          _ MOBILE_ DATA_   [52709/62028:·97.09953:3 2.9 3497 :120]
558     03/12/11      10:37P   18173436690      7:41       504           0   ***************      310410276936201      phone          _ MOBILE_ DATA_   [52903/03673:-97.08444:32 . 92639 : 300]
559     03/12/11      10:45P   18173436690     60:00      2818       7322                         310 4102769362 01    phone          _ MOBILE_ DATA_   [52707/42187:-97.13406:32 . 83747:8]
560     03/12/11      10:53P   18173436690      0:47      4127      55899    ***************      310410 2769362 01    acds.voicem    _ MOBILE_ DATA_   [52707/40649:·97.16078 : 32.85086 :248 ]
                                                                                                                       ail
561     03/12/11      11:02P 1 8173436690       0:35      2101       1375    •••••••••••••••      310410276936201      acds.voicem _ MOBI LE_ DATA_ [52707/23533:-97.16078:32 . 85086:248]
                                                                                                                       ail
562     03 /12/11     11:06P 18173436690        0:24      1812      40555    •••••••••••••••      310410276936201      wap.cingula _ MOBILE_ DATA_ [ 52707/40643: · 97 . 16078:32.85086:248]
                                                                                                                       r
563    03 /12/1 1     11:45P 1 8173436690      60 : 00    3832      13514    ••••••.........      310410276936201      phone          _ MOBILE_ DATA_ [ 52707/40643 : ·97.16078:32.85086:248 ]
564    0 3/13/11      12:23A 18173436690        2:05      3687      26638                         310410276936201      acds.voicem    _ MOBILE_ DATA_ [ 52707/40649:·97.16078:32.85086:248 ]
                                                                                                                       ail
565    03/13/11       12:45A 18173436690       53:10      3354      11450    •••••• •••• •••• •   31 04 1 0276936201   phone          _ MOBILE_ DATA_ [ 52707/40649:·97.16078:32.85086:248]
5 66   03/13/11       01:17A 18173436690        0:32      2061       1335    ••••• •••• ••••••    310410276936201      acds.voicem    _ MOBILE_ DATA_ [ 52707/40649:-97.16078:32.85086 : 248]
                                                                                                                       ail
567    03/13/11       01:39A   18173436690     20: 1 8     917       3440    •••••••••••••••      310410276936201      phone          _ MOBILE_ DATA_   [52 707/40649:-97.16078 : 32 . 85086:248]
568    03/13/11       03:00A   18173436690      0:06          0         0    •••••••••••••••      3 10410276936201     phone          _ MOBILE_ DATA_   [ 52707/40649: · 97.16078:32.85086:248]
569    03/13/11       03:00A   18173436690      0:16          0         0    .•••.•.........      3 10410276936201     phone          _ MOBILE_ DATA_   [52707 /40649:·97 .16078:32.85086:248]
570    03/13/11       03:01A   18173436690      0:09          0         0                         310410276936201      phone          _ MOBILE_ DATA_   [52707 /40649: -9 7 . 16078:32.85086:248]
571    03/13/11       03:01A   18173436690     21:57       106        344                         31041027693620 1     phone          _ MOBILE_DATA_    [52707/40649 : -97 . 16078:32.85086:248]
572    03/13/11       03:06A   18173436690      4:01      4775      39575                         310410276936201      acds.voicem    _ MOBILE_ DATA_   [52707/41588:-97 .1 3542:32.85347:120]
                                                                                                                       ail
573    03/13/11       03:16A 18173436690        4:02      4567      88523    ...............      310410276936201      acds.voicem    _ MOBILE_ DATA_ [52707 /034 09:0:0:0]
                                                                                                                       ail
574    03/13/11       03:23A 18173436690       15:15       327       1376    ...•...........      310410276936201      phone          _ MOBILE_ DATA_ [52807/61339:· 96.983 25:33 . 00553:240]
575    03/ 1 3/ 11    03:23A 18173436690        0:57      5480       2509    ...............      3104102769362 01     acds.voicem    _ MOBILE_ DATA_ [52807/61339:·96.98325 : 33 . 00553:240]
                                                                                                                       ail
576    03/ 13 /11     03:39A 18173436690       60:00  27477 576835                                310 4102769362 01    phone          _ MOBILE_ DATA_ [52807/00639:·96.96389:33 . 00542 : 300]
57 7   03/13/ 11      03:48A 18173436690        2:10 207791   6518           ..•.•.••.......      3104102769362 0 1    wap.cingula    _ MOBILE_ DATA_ [ 52807 / 14971:· 96.98325:33.00553:8]
                                                                                                                       r
578    03/13/11       03:49A 18173436690        0:49      3 0 79    37354    .......•...•...      310410276936201      acds.voicem MOBILE DATA [ 52807/27043: - 96.96389:33.0 0 542:3 00]
                                                                                                                                  -        -     -
                                                                                                                       ail
579    03/13/11       04:3 9A 18173436690      44:36     37908     329679    ............... .    310410276936201      phone       _ MOBILE_ DATA_ [ 52807/27043: - 96.96389:33.00542:300 ]
580    03/13/ 11      05:24A 18173436690        0:05          0         0    ***************      3104102769362 01     phone       _ MOBILE_ DATA_ [ 52709/24668:-97.01981 : 32. 94222 :]




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                                 Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 42 of 99 PageID 3862
915465.001                                                    MOBILITY USAGE                                                                                             A~
04/15/2011
SCAMP                                                      (with cell location)                                                                                         ~ at&t

Run Date:            04/15/2011
Run Time:            15:28:56
Data Usage Por :     (817) 343-6690
 Account Number:     318912244
Item        Conn.     Conn.    Originating     Elapsed Bytes   Bytes            IMBI                IMSI               Access     Description     Cell Location
            Date      Time        Number        Time     Up     Dn                                                        Pt
581    03/13/11      05:24A     18173436690       0 : 04     0       0                        3 1 0410276936201   phone         _ MOBILE_ DATA_   [529 0 7 /14997:-9 7 .00897 : 32 . 91694:8)
582    03/13/11      05:24A     18173436690       0:04       0       0                        310410276936201     p h one       _ MOBILE_ DATA_   [52709 /24 668:-97.01981:32.94222:)
583    03/13/11      05 : 24A   18173436690       0 :03      0       0                        310410276936201     phone         _MOBILE_DATA_     [52907/14997 : -97. 00897:32.91694:8)
584    03/13/11      05 : 24A   18173 436690      3:11       0       0                        310410276936201     phone         _ MOBILE_DATA_    [52709/24668:-97.01981:32.94222:)
585    03/13/11      05:27A     18173436690       3:16       0       0    ...•...........     310410276936201     phone         _MOBILE_DATA_     [52903/24461:-97 . 04358 : 32.92375:60)
586    03/13/11      05:31A     18173436690      60:00 450176 107782      ...•••.•.•••...     310410276936201     phone         _MOBILE DATA_     [52709/23473:-97.07914:32.93881:248)
                                                                      0
587    03/13/11      06:31A     18173436690     60 :00       51     49    •••••••••••••••     310410276936201     phone         _ MOBILE_ DATA_   [52709/23473:-97.07914:32.93881:248)
588    03/13/11      07:31A     1817343 6690    60:00        51                               310410276936201     phone         _ MOBILE_ DATA_   [52709/23473:-97.079 1 4:32.93881 : 248)
589    03/13/11      08:31A     18173436690     60:00        51     49    .....••.•••.•..     310410276936201     phone         _ MOBILE_ DATA_   [ 52709/23473:-97.07914:32.93881 : 248)
590    03/13/11      09:31A     18173436690     58:28        51     49                        310410276936201     phone         _ MOBILE_ DATA_   [ 52709/23473: -97.079 1 4:32.93881:2 48)
591    03/13/11      10:29A     18173436690     12:45     16454 560275    .••.•.••.......     310410276936201     phone         _MOBILE_DATA_     [ 52903/60087: · 97.09742:32.89986:0)
592    03/13/11      10:42A     18173436690      3:45         0       0   .••............     310410276936201     phone         _ MOBILE_ DATA_   [ 52709/24328: - 97.04 1 08:32.94217:)
593    03/13/11      10:46A     18173436690      0:13         0       0                       310410276936201     phone         _ MOBILE_ DATA_   [ 52807/23953:-97.01161 : 33.00692:248)
594    03/13/11      10:46A     18173436690      0:05         0       0                       310410276936201     phone         _ MOBILE_ DATA_   [52709/24001:-97 . 02286 : 32.96956:8)
595    03/13 /11     10:46A     18173436690      0 : 09       0       0   ........•...•..     310410276936201     p hone        _ MOBILE_ DATA_   [52 8 07 / 12903:-96.99258:32.98017 :300)
596    03/13/11      10:46A     18173436690      0:27         0       0                       310410276936201     phone         _ MOBILE_ DATA_   [ 52709/27172 : -97 . 03797 : 32 .97467:180)
597    03/13/11      10:47A     18173436690     16 : 42       0       0   ......•........     310410276936201     phone         _ MOBILE_ DATA_   ( 52807/60642:-97.01161:33 . 00692:120)
598    03/13/11      11:03A     18173436690     60:00       102      98   ...............     310410276936201     phone         _ MOBILE_ DATA_   [52908/23821: ·96. 83219:33.07506: B)
599    03/13/11      12:03P     18173436690     60:00       161     448                       3104102769362 0 1   phone         _ MOBILE_ DATA_   (5 2909/00079: ·9 6.74036 : 33. 12 503:300)
600    03/13/11      12:49P     18173436690      0:31      2061    1335                       310410276936201     acds.voicem   _ MOBILE_ DATA_   (52909/ 08299:-96.6 3889: 33.18278:300)
                                                                                                                  ail
601    03/13/11      01:03P     18173436690     60 : 00      51      49   •••••••••••••••     310410276936201     phone         _MOBILE_ DATA_    [5 2909/ 0 8291:-96.63889:33.18278 : 60 )
602    03/13/11      02:03P     18173436690     60 : 00    8719 1 07616   •••••••••••••••     31041 0 276936201   phone         _ MOBILE_DATA_    [52909/08297:-96.63889:33.18278:60 )
603    03/13/11      03:03P     18173436690     13:20       244       0   ******* ********    310410276936201     phone         _ MOBILE_ DATA_   (52909/26971:-96.63889:33.18278:60)
604    03/13/11      03:17P     18173436690     60:00       274      49   •••••••••••••••     310410 276936201    phone         _ MOBILE_ DATA_   [52906/01199 : -96.83003:33.04058:300 )
605    03/13/11      04:17P     18173436690     60:00     47791 129249    ***************     310410276936201     phone         _ MOBILE_ DATA_   [52805/11601:-96.8225:32.97167:0)
606    03/13/11      05:17P     1 8173436690    60:00 187 037     72122   ***************     310410276936201     phone         _MOB I LE_DATA_   [52906/11033:-96 . 82775:33.00181:240)
                                                              7
607    03 / 13/11    05:23P 18173436690          4:02 461966       9351   ••• •••••••• ••••   310410276936201     wap. cingu1a _ MOBILE_ DATA_ [5 2805/10991 :-96.83125:32.98025:310)
                                                                                                                  r
608    03/13/11      05:27P 181734366 9 0        6:02 232370       6145   •••••••••••••••     310410276936201     wap . cingu1a _MOBILE_ DATA_ ( 52906/11033:-96.82775:33 . 00 1 81 : 240)
                                                                                                                  r
609    03 /1 3 /11   05:35P 18173436690          0:38 231013       4879   •••••••••••••••     310410276936201     wap.cingu1a _ MOBILE_ DATA_ [52906 /11033 : -9 6.82775:33.00181 : 240)
                                                                                                                  r
610    03/13/11      05:39P 18 173436690         0:47     1372     1272   •••••••••••••••     310410276936201     wap.cingul a _ MOBILE_ DATA_ (52805/10991:-96 . 83125:32.98025:310)
                                                                                                                  r
611    03 / 13 /11   05:40P 18173436690          2:14     1372     1282   ***************     310410276936201     wap.cingu1a _ MOBILE_ DATA_ (529 0 6/11033:-96.82775:33.00181:240)
                                                                                                                  r




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915465.001
                                   Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 43 of 99 PageID 3863                                                                          -...,...,
                                                                                                                                                                                       ~~ at&t
04/15/2011
                                                               MOBILITY USAGE
SCAMP                                                       (with cell location)


 Run Date:              04/15/2011
 Run Ti me :            15:28:56
 Data Usage For:        (817)343-6690
 Account Number:        318912244
Item           Conn .    Conn.     Originating    Elapsed    Bytes    Bytes             IMEI                  I MSI               Access     Description Cell Location
               Date      Time       Number         Time       Up       On                                                          Pt
612      03/13/11       05: 44P 18173436690         1:08 230789         5039    ***************        31041027 69 3 62 01    wap.cingu la _ MOBILE_ DATA_ [ 52906/1 1 033 : -96.82775 : 33.00181:240 ]
                                                                                                                              r
613      03/13/11       05: 48P 18173436690         2:49       3109   143802    ••••• •••• ••••••      310410276936201        wap. cingul a _ MOBILE_ DATA_ [ 52805/10991 :-9 6.8 3125 : 32 . 98025 :3 10 ]
                                                                                                                              r
614      03/13/11       05 :52P 18173436690         0 :25 305783        6039    •••••••••••••••        3104102 76936201       wap.cingula _ MOBILE_ DATA_ [52805 /10991 :- 96 .83125:32.98025:31 0 ]
                                                                                                                              r
615      03/13/11       05 : 56P 18173436690        2:03      13652   752056    •••••••••••••••        310410276936201        wap.cingula _MOBILE_ DATA_ [52 805/10991:-96.83125:32.98025:31 0]
                                                                                                                              r
616      03/13/11       06:17P 18173436690         60:00     19120     51448    ••••••• • •••••••      3 10 4 1027693620 1    p hone        MOBILE DATA       [528 05/1099 1:- 96.8312 5: 32 . 980 25:31 0]
617      03/13/11       06:27P 18173436690          0:26     240648     6039    •••••••••••••••        31041027 693620 1      wap.cingula _ MOBILE_DATA_      [52805/10991:-96.83125:32.98025:310]
                                                                                                                              r
618      03/ 1 3/ 11    07:17P   18173436690        9 : 33      165      0      ••••• •• ••••••••      31041027693620 1       phone       _ MOBILE _DATA_     [52905/ 03681: - 96.84869 :33.00328:60]
619      03/13/11       07:26P   18173436690        3:54          0      0      •.•............        310410276936201        phone       _ MOBILE _ DATA_    [52709 / 61167: - 97 . 02286 :3 2.96956:0 ]
620      03/13/11       07:30P   1 8 173 436690    19:09      87935 470249                             310410276936201        phone       _ MOBILE_ DATA      [52903/03407:-97 . 04358:32.92375:60]
621      03/13/11       07:49P   18173436690        2 :24     70157 505008                             310410276936201        phone       _ MOBILE_ DATA_     [5 2709/24332:-97.09953:32.93497:1 2 8]
                                                                            2
622      03/13/1 1      07:52P 18173436690          0:51      54552 506667      •••••••••••••••        310410276936201        phone          _ MOBILE_ DATA_ [ 52709 /2 4332: - 97 . 09953:32.93497:128]
                                                                         2
623      03/13/11       07 :5 3P 18173436690        1:01      61899 505884      •••••••••••••••        310410276936201        p hone         _ MOBILE_ DATA_ [5 2709 / 2433 2: -97.09953:32.93497:128 ]
                                                                         7
624      03/13/11       07: 54P 18 173436690        1:08     70776    504963    ** *** **********      3 1 04 1 0276936201    p hone         _ MOBILE_ DATA_ [52709/24332: - 97.09953:32.93497:128 ]
                                                                            0
625      03/13/11       07 : 55P 18173436690        1:32      91480   502887    ***************        3 1 04 1 0276 936201   phone          _ MOB ILE_ DATA_ [52709/24332: - 97 . 09953:32.93497:128]
                                                                           4
626      03/ 1 3/11     07:56P 18173436690          0 : 40   52116 506838       •••••••••••••••        3104 1 0276936201      phone          _ MOB ILE_ DATA_ [ 52709/24332 :- 97.09953: 3 2.93497:128]
                                                                         8
627      03/13/11       07:57P 18173436 690         0: 36    46946 507 339      •••••••••••••••        3 1 04 1 0276936201    phone          _ MOBILE_DATA_ [ 52709/2 4332:-97 . 09953:32.93497:128]
                                                                         9
628      03/13/11       07:57P 18173436690          3:25     71827 504941       ............... .      310410 2 76936201      phone          _ MOBILE_DATA_ [ 52709/24332 :- 97.09953:32.93 4 97 : 128 ]
                                                                         5
629      03/13/11       08 : 0 1P 1817343 6690      0:27     34632 50863 0      • •• ••••• •••••••     3104102 76936 201      phone         _ MOBILE_DATA_ [52 709/24332 :- 97 . 09 953 : 32 . 9 34 97 : 128 ]
                                                                         4
630      03/13/11       08 : 01P 18173436690        0:22     33642    508761    ******* ** ******      310410276936201        phone         _MOBILE_ DATA_ [52709/24332: - 97.09953 :32.9349 7 : 128]
                                                                           8
631      03/13/11       08:02P 1 8173436690         2:27     68320    505212    •••••••••••••••        310410276936201        phone           MOBILE DATA     [52709/24332:-97.09953 : 32.93497:128]
                                                                           8
632      03/13/11       08 : 04P 18173436690        0:15     29272    509190    •••••••••••••••        3 10410276936201       pho ne        _ MOBILE_ DATA_ [52709/24332: - 97.09953:32.93497:128 ]
                                                                           4
633      03/13/11       08:04P 18173436690          0:18     31873    508871    ••• • ••••••• • • ••   3104 1 0276936201      phone         _ MOBILE_ DATA_ [ 52709 /24 332 : - 97 . 09953:32.93497: 128 ]
                                                                            9
634      03/13/11       08:05P 18173436690         60:00     25836 776829       •••••••••••••••        31041027693620 1       phone         _ MOBILE_ DATA_ [52709/24332:-97 . 09953:32.93497:128 ]




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                                     Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 44 of 99 PageID 3864
                                                                                                                                                                                ~ at&t
915465.001                                                       MOBILITY USAGE
04/15/2011
SCAMP                                                         (with cell location)


 Run Dato:              04 / 15 / 2011
 Run Time:              15 : 28:56
 Data Uoago Por:        (817 ) 343 - 6690
 Account Numbor:        318912244
Item      Conn .         Conn .      Originating   Elapsed    Bytes    Bytes            IMBI                IMSI            Access      Description      Cell Location
          Dato           Time      Number           Time       Up       Dn                                                     Pt
635     03 / 13/11      09:04P 18173436690           0:49      7292    415417     •••••••••••••••     310410276936201   wap . cingula _ MOBILB_ DATA_ [ 52709/18908:-97.15139 : 32.97094:]
                                                                                                                        r
636     03 / 13 / 11    09:0SP 18173436690          60:00       268    393        •..............     310410276936201   phone       _MOBILB_ DATA_ [5 2709/18908 : -97.15139:32 . 97094:]
637     03/13/11        09:49P 18173436690           1:11     15812 728906                            310410276936201   wap.cingula _ MOBILE_ DATA_ [ 52709/18908:-97.15139:32 . 97094:]
                                                                                                                        r
638     03 / 13/11      lO:OSP 18173436690          60:00         51        49    ••••••••••• •• ••   310410276936201   phone         _ MOBILE_ DATA_ [ 52709/18908:-97 .15139:32 . 97094: ]
639     03 / 13/11      ll:OSP 18173436690          36:06 228057 489212           •••••••••••••••     310410276936201   phone         _ MOBILE_ DATA_ [527 09 / 18908:-97.15139:32.97094:]
                                                                      1
640     03 / 13 / 11    11:41P 18173436690           1:09     66796    5 05411    •••••••••••••••     310410276936201   phone         _ MOBILE_ DATA_ [52 709 / 18908 : -97 . 15139: 3 2.97094:]
                                                                              1
641     03 / 13/11      11 : 42P 18173436690         1:25     79038    5 0 4137   ••••••• •••• ••••   310410276936201   phone         _MOBILE_DATA_ [52709/18908:-97.15139:32 . 97094:]
                                                                              8
642     03 / 13 / 11    11:43P 18173436690           1:06     80162    504027     •••••••••••••••     310410276936201   phone         _ MOBILE DATA_ [52709 / 18908:-97 . 15139:32.97094 :]
                                                                              7
643     03 / 13 / 11    11:44P 18173436690           1 : 34   74056    504596     • ••••••••••••••    310410276936201   phone         _MOBILE_ DATA_ [52709 / 18908 : -97 . 15139:32.97094:]
                                                                              7
644     03 / 13 / 11    11:46P 18173436690           0 : 23   39625    508132     •••••••••••••••     310410276936201   phone         _ MOBILE_ DATA_ [52709/18908 : -97.15139:32.97094:]
                                                                              6
645     03/13 / 11      11:46P 18173436690          60:00     20420    224251     •••••••••••••••     310410276936201   phone         _ MOBILE_ DATA_ [52709 / 18908:-97.15139:32 . 97094:]
                                                                              8
646     03/14 / 11      12:46A     18173436690      60 : 00    51            49   •••••••• •••• •••   310410276936201   phone         _ MOBILE_ DATA_    [52709 / 18908:-97.15139:32.97094:]
647     03 / 14 / 11    01:46A     18173436690      60:00      51     49          •••••••••••••••     310410276936201   phone         _ MOBILE_ DATA_    [52709/18908 : -97 . 15139:32.97094:]
648     03/14/11        02 :46A    1817343 6690     60:00   6648  15162           ••••••• ••••••••    310410276936201   phone         _ MOBILE_ DATA_    [52709/18908:-97.15139:32.97094:]
649     03/14/11        03:46A     1 8173 436690    60 : 00    51     49          ............•..     310410276936201   phone         _ MOBILE_DATA_     [52709/18908: - 97.15139:32.97094: ]
650     03/14/11        04 : 46A   18173436690      60:00     102     98          ...............     310410276936201   phone         _ MOB ILE_ DATA_   [52709/18908:-97 . 15139:32.97094:]
6 51    03/14/11        05 : 46A   1817343669 0     60:00      51     49                              310410276936201   phone         _ MOBILE_ DATA_    [52709/18908:-97.15139:32 . 97094 : ]
652     03/14/11        06 : 46A   18173436 690     60:00   7 197 28782                               310410276936201   phone         _ MOBILE_ DATA_    [527 0 9/18908:-97 . 15139:32 . 97094 : ]
653     03/14/11        07:46A     18 17343669 0    43:01 108307 5011 96                              310410276936201   phone         _ MOBILE_ DATA_    [52709 / 18908:-97. 1513 9 :32 .97094:]
                                                                         7
654     03/14 / 11      08:29A 18173436690           0:49     53747 506654        •••••••••••••••     310410276936201   phone         _ MOBILE_DATA      [52709/18908 : -97.15139:32.97094:]
                                                                         7
655     03 / 14 / 11    08 : 30A 18173436690        60:00     87699 101648        •••••••••••••••     310410276936201   phone         _MOBILE_DATA_ [52709/ 18908:-97.15139:32 . 97094 : ]
                                                                         6
656    03 / 14 /   11   09 : 30A   18173436690      60:00       102     98        •••••••••••••••     310410276936201   phone           MOBILE DATA      [52709/18908:-97 . 15139 : 32.97094:]
657    03 / 14 /   11   l0:30A     18173436690      60:00        51     49        •••••••••••••••     310410276936201   phone         _ MOBILE_DATA_     [52709 / 62022:-97.09953:32 . 93497:120]
658    03 / 14 /   11   ll:30A     1817343669 0     60:00     10078     12398     •••••••••••••••     310410276936201   phone         _ MOBILE_ DATA_    [52709 / 62022 : - 97 . 09953 : 32.93497:120 ]
659    0 3/14 /    11   l2:19P     18173436690       0:49      3239     57827     •••••••••••••••     310410276936201   acds . voicem _ MOBILE_DATA_     [52709 / 62028:-97.09953 : 3 2. 93497:120]
                                                                                                                        ail
660    03 / 14/11       12:27P 18173436690           0:35      2061      1335                         310410276936201   acds . voicem MOBILE DATA        [52709 / 62028 : - 97.09953:32.93497:120]
                                                                                                                        ail
                                                                                                                                      -       -     -
661    03 / 14 / 11     12:30P 18173436690          60:00       102         98    •••••••••••••••     310410276936201   phone         _ MOBILE_ DATA_    [52709 /62028:-97.09953:32.93497:120]



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915465.001
                                 Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 45 of 99 PageID 3865
                                                              MOBILITY USAGE
04 / 15 /2 011
SCAMP                                                      (with cell location)                                                                                                   ti? at &t

 Run Date:           04/15/2011
 Run Time:           15:28:56
 Data Osage For:     (817)343-6690
 Account Number:     318912244
Item     Conn.        Conn.    Originating    Elapsed    Bytes       Bytes              IMEI                IMSI            Access         Description     Cell Location
         Date         Time          Number     Time       Up          Dn                                                        Pt
662    03/14/ll      01:30P     18173436690    60:00     188142      574106      •••••••••••• •• •    310410276936201    phone           _ MOBILE_ DATA_   [ 52709 / 62028: - 97 . 09953:32.93497:120]
663    03/14/ll      02:30P     18173436690    60 : 00     7554       27699                           310410276936201    phone           _ MOBILE_ DATA_   [52709/62028:-97.09953:32.93497:120)
664    03/14/ll      03:30P     18173436690    53 : 32     1321        3882                           310410276936201    phone           _ MOBILE_ DATA_   [52709 / 62028 :- 97.09953:32.93497:120]
665    03/14/ll      03:43P     18173436690     0:46       1932       65788      ...............      310410276936201    wap . cingu1a   _ MOBILE_DATA_    [52709 / 23568:·97.09917:32.95581:]
                                                                                                                         r
666    03/14/ll      03:44P 18173436690         0:47       2412       96376      ••••••••••••• • •    310410276936201    wap.cingu1a _ MOBILE_ DATA_ [52709 / 23568:-97.09917:32.95581:]
                                                                                                                         r
667    03/14/ll      03:49P 18173436690         1:35       2132       74408      •••• •••••••••••     310410276936201    wap.cingula _ MOBILE_ DATA_ [52709 / 60422:-97.09917:32.95581 : 128]
                                                                                                                         r
668    03/14/ll      04:02P 18173436690         0:50       3079       34199      •••••••••••••••      310410276936201    acds.voicem     _ MOBILE_ DATA_ [52709 / 60422:-97.09917:32.95581:128]
                                                                                                                         ail
669    03/14/ll      04 : 10P 18173436690       0:27       2061        1335      •••••••••••••••      310410276936201    acds.voicem     _ MOBILE_ DATA_ [52709 / 23568 :- 97.09917:32.95581:]
                                                                                                                         ail
670    03/14/ll      04:24P     18173436690    11:29      0                  0   •••••••••••••••      310410276936201    phone           _MOBILE_DATA_     [52903 /   03673 :- 97.08444:32.92639:300]
671    03/14/ll      04 : 35P   18173436690     0:05      0                  0   •••••••••••••••      310410276936201    phone           _ MOBILE_ DATA_   [52707 /   41862:-97.15467:32.88094 : 120]
672    03/14/ll      04:35P     18173436690     0:06      0                  0   ••••••• ••••••••     310410276936201    phone           _ MOBILE_ DATA_   [52903 /   23223:-97.12706:32.88297:248]
673    03/14/ll      04:35P     18173436690    60:00   1723            3194      •• ••••• ••••••••    310410276936201    phone           _MOBILE_ DATA_    [52707 /   24531:-97.13542:32.85347:8]
674    03/14/ll      05:35P     18173436690    60:00   2289            4914      ••• ••••• •••••••    310410276936201    phone           _ MOBILE_ DATA_   [52707 /   24531:-97.13542:32.85347:8]
675    03/ 14/ll     06 : 35P   18173436690    60:00   2690           10129      •••••••••••••••      310410276936201    phone           _ MOBILE_ DATA_   [52707 /   24531:·97.13542:32.85347:8]
676    03/14/ll      07:34P     18173436690     0:25 305783            6079      •••••••••••••••      310410276936201    wap.cingula     _ MOBILE_ DATA_   [52707 /   23533 : -97.16078:32.85086:248)
                                                                                                                         r
677    03/14/ll      07:35P 18173436690        60:00      84932      287157      •••••••••••••••      310410276936201    phone        _ MOBILE_ DATA_ [52707 / 23533: - 97.16078:32.85086:248]
678    03/14/ll      07 :44P 18173436690        4 : 02   305781        5999      ••••••••••• • •• •   310410276936201    wap.cingu la _ MOBILE_ DATA_ [52707 / 40643:-97.16078:32.85086:248)
                                                                                                                         r
679    03/14/ll      07:56P 18173436690         0:52     305890        8999      •••••• ••• ••••••    310410276936201    wap.cingula _ MOBILE_ DATA_ [52707 / 41833: - 97.18364:32.83831:248]
                                                                                                                         r
680    03/14/ll      08:04P 18173436690         1 : 01 305782          6399      •••••••••••••••      310410276936201    wap.cingu la _ MOBILE_ DATA_ [52706 / 00779:-97.27833:32.83864 :24 8]
                                                                                                                         r
681    03/ 14 / ll   08:35P 18173436690        60 : 00       51          49                           3104102769362 01   phone           _ MOBILE_ DATA_ [52706 / 00779:-97 .2 7 833:32.83864:248]
682    03/14/ll      09:35P 18173436690        60:00        161         737                           310410276936201    phone           _ MOBILE_ DATA_ [52706 / 00779:-97 . 27833:32.83864 : 248]
683    03/14/ll      09:52P 1 8 173436690       0:49       3079       36210      .........•.•.••      310410276936201    acds.voicem     _ MOBILE_ DATA_ [52706/ 14722:-97.29017:32.87097:128]
                                                                                                                         ail
684    03/14/ll      l0 : 35P 18173436690      18:47      60711 258006           ••...••.......•      310410276936201    phone           _ MOBILE_ DATA_ [52706/ 14722:·97 . 290 1 7 : 32.87097 : 128]
685    03/ 1 4/ll    l0:37P 18173436690         0:42       2061   1335           .•.....•.......      310410276936201    acds.voicem     _ MOBILE_ DATA_ [52706/ 14 722: - 97 . 29017 : 32.87097: 1 28]
                                                                                                                         ail
686    03/14/ll      l0:53P 18173436690         0:46       3132      121375      •••••••••••••••      310410276936201    wap.cingu 1a    _ MOBILE_ DATA_ [52706 / 14471 :-97.30836:32.89667:8]
                                                                                                                         r
687    03/14/ll      l0 :54 P 1 8173436690      0: 15            0           0   •••••••••••••••      310410276936201    wap.cingula _ MOBILE_ DATA_ [ 52709/20052: - 97 . 28481:32.942 14:128 ]
                                                                                                                         r
688    03/14/ll      l0:54P 18173436690         7:49         51          49      ** * ************    310410276936201    phone           _ MOBILE_ DATA_ [ 52709 / 20052: · 97.28481 : 32.94214:128 ]
689    03/14/ll      11: 02P 18173436690        0:03             0        0      •••••••••••••••      310 410276936201   phone           _ MOBILE_ DATA_ [ 52707 / 40387: - 97 . 22008:32.884 1 9:8 ]



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                                  Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 46 of 99 PageID 3866                                                                           -._.;
                                                                                                                                                                                        IE ~ at&t
 04 / 15 /20 11
                                                               MOBILITY USAGE
 SCAMP                                                      (with cell location)


 Run Date:            04 / 15/2011
 Run Time:            15:28:56
 Data Usage For:      (817)343-6690
 Account Number:      318912244
Item      Conn.        Conn.     Originating    Elapsed Bytes   Bytes                IMEI                 IMSI               Acceoo       Description      Cell Locati on
           Date        Time         Number       Time     Up     Dn                                                                Pt
690      03/14/11     11:02P 18173436690           0:51       0       0       * ** ************    310410276936201       p h one        _ MOBILE_ DATA_    [52709/21649: - 97 . 19567:32.945 19:248)
691      03/14/11     ll:03P 1817343 6690          0 : 42     0       0       •••••••••••••••      310410276936201       p h one        _ MOBILE_ DATA_    (52707 / 40387 :- 97 . 22008:32.88419:8)
692      03/14/11     11:04P 18173436690           0:07       0       0       ***************      3104102 76936201      phone          _MOBILE_ DATA_     [52709 / 02426: - 97.18342:32 .9 2942:248)
693      03/14/11     11 : 04P 1817 3436690        0:04       0       0       •••••••••••••••      3104102 76936201      p hon e        _ MOBI LE_ DATA_   [ 52707 / 21 344:-9 7 . 18964:32.9 1275:8)
694      03/14/11     11:04P 18173436690          43:07 816322 430410         •••••••••••••••      3104 1027693620 1     phone          _ MOBILE_ DATA_    [52709 / 17992 :-97.19 567:32.94 519:128]
                                                                          3
695      03/14/11     11:47P 18173436690          0 : 32   6331 9 5 0 5 717   • ••• •••••••• •••   310410276936201       phone          _ MOB ILE_ DATA_ [527 0 9 / 17992:-97.19567:32.94 519:128 ]
                                                                         7
696      03/14/11     1 1:48P 18173436690         4:02      1492      9745    •••••••••••••••      310410276936201       wap.cingu1a _ MOBILE_ DATA_ [52709 / 23562 :-9 7 . 09917:32.95581 : 1 28 ]
                                                                                                                         r
697      03/14/11     11:48P 18173436690          0:19     33391  508765      •••••••••••••••      3104 1 027693620 1    phon e         _ MOBILE_ DATA_ [ 527 0 9 / 23562 :- 97.09917:32.95581: 1 28 )
                                                                        9
698      03/14/11     11:48P 18173436690          0:36     5569 3 506452      •••••••••••••••      310410276936201       phon e         _ MOBILE_ DATA_ [52 709 / 23562:-97.09917:32.95581:128 )
                                                                        5
699      03/14/11     11:48P 18173436690          0 :3 7   47651 507334       •••••••••••••••      3104102 7 6936201     phone          _ MOBILE_ DATA_ [52709/ 23562: -97.09917:32.95581 :12 8)
                                                                        2
700      03/14/11     11:49P 18173436690          0 : 49   5529 3 5 06493     •••••••••••••••      310410276936201       phone          _MOBILB_ DATA_ [52709 / 23562: - 97.09917:32.9 55 81 :128)
                                                                        9
701      03/14/ 11    l1:50P 1 8173 4 36690       0:53     68671 505263       •••••••••••••••      310410276936201       phone          _ MOBILE_ DATA_ [52709 / 23562: - 97.09917:32.95581:128)
                                                                          9
702      03/14/11     11:51P 181734366 90         0:17     29796 509050       ••• ••••••••••••     3104 1 02769 3 6201   phone          _ MOBILE_ DATA_ [52 709 / 23562: - 97.09917 :3 2 . 95 581 :128 )
                                                                      4
703      03/ 14/ 11   11: 51P 181734 36690        3:22     97680 502305       •••••••••••••••      3 1 04 10 276936201   phone          _ MOBILE_ DATA_ [52709 / 23562: - 97.09917 :3 2 . 95581: 128)
                                                                      2
7 04     03/14/11     11:54P 18173436690          0:29     45185 507514       •••••••••••••••      310410276936201       phon e         _ MOBILE_ DATA     [52709 / 23562 :- 97.09917 : 32 . 95581: 12 8 )
                                                                      7
705      03/14/11     11:55P 18173436690          0:22     34728 508591       •••••••••••••••      310410276936201       p hone         _ MOBILE_ DATA_ [5 2709 / 23562:-97.09917:32.95581:128)
                                                                      5
706      03/14/11     11 :5 5P 18173436690        0:52     60886 505953       • ••••••••••••••     31041027693 6 201     p h one        _ MOBILE_ DATA     [5270 9/ 23562: - 97.09917:32.9558 1 : 128)
                                                                      8
707      03/14/11     11 : 56P 1 8173 436690      1 :54    55967 506409       •••••••••••••••      310410276936201       phone          _MOBI LE_DATA_ [52709 / 235 6 2: - 97.09 917:32.95 581:12 8)
                                                                         1
7 08     0 3/14 /11   11:58P 18173436690         60 : 00 139008 114410        ••••• ••• •••••••    310410276936201       pho ne         _MOBILE_ DATA_ [52709 / 23562 :- 97 . 09917:32 . 95581:128)
                                                                         3
709      0 3/1 5/11   12:02A 18173436690          2 :0 6    2925    16671     •••••• • ••••••••    310410276936201       wa p. cin gu 1a _ MOB I LE_ DATA_ [52709 / 23562:-97 . 09917:32.95581:128)
                                                                                                                         r
710      03/15/11     12:58A     18173436690     60 :00    13810 532052       ....•.•....•...      310410276936201       phone          _ MOBILE_ DATA_    [527 0 9/    23562 : -97.099 17 :32. 95 5 81: 1 28)
711      03/15/11     01 : 58A   18173436690     60:00      7214  28554                            310410276936201       phone          _ MOBILE_ DATA_    [ 52 70 9/   23562:-97.09917 :32.955 81: 1 28 )
712      03/15/11     02:58A     18173436690     60:00        51     49                            31 04 1 0276936201    phone          _MOBILE_ DATA_     [52709/      23 56 2 : - 97.09917 :32.95581 : 1 28 )
713      03/15/11     03:58A     18173436 690    60:00       102     98                            310410276936201       phon e         _ MOBILE_ DATA_    [52709 /     23562 : - 97 .0 9917 :32.95581 :128 )
714      03/15/11     04:58A     18 173436690    60:00        51     49       ...............      3104102 7 693620 1    phone          _ MOBILE_ DATA_    [52 7 09 /   23562:-97 .099 17:32.95581 : 128 )
715      03/15/11     05 :58A    18173436690     60 : 00    6504    150 9 4   •••••••••••••••      310410276936201       phone          _ MOBILE_ DATA_    [52709 /     235 62 :- 97 . 0991 7 :32.95581:128)



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                                  Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 47 of 99 PageID 3867
                                                                                                                                                                                    ~ at&t
 915465.001
 04/15/2011
                                                               MOBILITY USAGE
 SCAMP                                                      (with cell location)


 Run Date :           04/15/2011
 Run T ime:           15 : 28:56
 Data Usage For:      (817)343-6690
 Account Number:      318912244
Item      Conn.        Conn.     Originating     Elapsed    Bytes      Bytes              IMBI                 IMSI              Access       Description     Cell Location
              Date     Time        Number         Time       Up         On                                                          Pt
716      03/15/11     06:58A 18173436690          60: 0 0         51         49    •• •••• •••••••••    310410276936201       phone         _ MOBILB_ DATA_ [5 2709 /23562: - 97.09917:32.95581:128)
717      03/ 1 5/11   07 : 58A 18173436690        22:21 123158         388875      •••••••••••••••      3 1041027693620 1     phone         _ MOBILE_ DATA_ [ 52709 /2 3562:-97.099 1 7:32.955 81:128)
                                                             8              8
718      03/15/11     08 : 20A 18173436690         0:47  46695         507406      •••••••••••••••      310410276936201       phone         _ MOBILE_ DATA_ [52709/23562: - 97.09917:32.95581:128)
                                                                            6
719      03/15/11     08:21A 18173436690          60:00     83118      503225      •••••••••••••• •     3104 1 0276936201     phone         _ MOBILE_DATA_ [ 52709/23562:-97.09917:32.95581:128 )
                                                                            1
720      03/15/11     09:21A     18173436690      60:00    72759       152239                           310410276936201       phone         _ MOBILE_ DATA_   [52709 / 23562:-97.09917:32.9558 1 : 1 28)
721      03/15/11     10:21A     18173436690      60:00     8617        28202      .............•.      310410276936201       phone         _ MOBILE_ DATA_   [ 52709/23562: - 97.09917:32 . 95581 : 128)
722      03/15/11     11 :21A    18173436690      60 : 00  82923       337472      ...............      310410276936201       phone         _ MOBILE_DATA_    [52 709/23562:-97. 09917 :32.95581 : 128 )
723      03/15 /11    12:21P     18173436690       8 : 09      52     0            .•...••........      310410276936201       p hone        _ MOBILE_ DATA_   [527 09/23562: - 97 . 099 17:32.95581:128)
724      03/15/11     12:29P     18173 4 36690     0 : 03       0     0                                 310410276936201       phone         _ MOBILE_ DATA_   [52903/23587 :- 97 . 09742 :32. 89986 : )
725      03/15/11     12:29P     181734 3 6690    60:00     7719  56139            ...............      310410276936201       phone         _ MOBILE_ DATA_   [52709/24338: - 97.09953 : 32 . 93497 : )
726      03/15/11     01:29P     18173436690      56:36      112     49                                 310410276936201       phone         _ MOBILE_ DATA_   [ 5 2709/24338:-97.099 53 :32.93497:)
727      03/15/11     02:26P     18173436690       0:30         0     0                                 310 4 10276936201     phon e        _ MOBILE_ DATA_   [52903/23587: - 97.09742:32.89986:)
728      03/15/11     02 : 27P   18173436690      60 : 00 154010 405281                                 310410276936201       phone         _ MOBILE_ DATA_   [52709/24338: · 97.09953:32.93497:)
729      03/15/11     03 : 27P   18173436690      21:04     4703   6688                                 310410276936201       phone         _ MOBILE_ DATA_   [52709/24338: - 97.09953 : 32.93497 :)
730      03/15/11     03:48P     18173436690       1:02        40     0                                 31041 0276936 20 1    phone         _ MOBILE_DATA_    [52903/60087:-97 . 09742:32 .89986: 0)
731      03/15/11     03:49P     18173436690      40:48    14008 209996                                 310410276936201       phone         _ MOBILE_ DATA_   [52709/62028 :-97.09953:32.93497:120)
732      03/15/11     04:29P     18173436690       0:04         0     0                                 3 1 04 1 0276936201   phone         _ MOBILE_ DATA_   [52903 /2 76 09: -97.08444:32.92639:)
733      03/15/ 11    04:30P     18173436690       0:04         0     0                                 310410276936201       phone         _ MOBILE_DATA_    [52709/2 4338:-97.09953:32.93497:)
734      0 3 /15/11   04:30P     18173436690       8:05         0     0                                 310410276936201       phone         _ MOBILE_ DATA_   [52903/27609 :- 97.08444:32.9 2 639:)
735      03/15/11     04:38P     18173436690      60:00     17 41  3538            .....•••••.•.•.      310410276936201       phone         _ MOBILE_ DATA_   [ 52707 /14741: ·97. 13 406:32.83747:8)
736      03/15/11     05:38P     18173436690      60:00    13713  26379                                 310410276936201       phone         _ MOBILE_DATA_    [52707/14741:·97.13406:32.83747:8)
737      03/15/11     06 : 27P   18173436690       0 : 49   2932 135488                                 310410276936201       wap.cingula   _ MOBILE_ DATA_   [52707/40649: - 97.16078:32.85086 :248 )
                                                                                                                              r
738      03/15/11     06 :3 0P 1 8173436690        2:30      3156      165809      •••••••••••••••      3 10410276936201      wap.cingula _ MOBILE_ DATA_ [52707/40649: · 97.16078:32 . 85086:248)
                                                                                                                              r
739      03/15/11     06:38P 18173436690           0:01           0            0   •••••••••••••••      310410276936201       wap.ci ngula _ MOBILE_ DATA_    [52707/40649: · 97.16078 : 32 . 85086:248)
                                                                                                                              r
7 40    03/15/11      06:38P 181734 36690         60:00      2819  22681           •••••••••• • •• ••   310410276936201       p hone        _ MOBILE_ DATA_   [ 52707/40649 :- 97 .1 6078:32.8 5086 :248)
741     03/ 15/11     06:38P 18173436690           0:50      3452 145145           •••••••••••••••      310410276936201       wap.c i ngula _ MOBILE_ DATA_   [ 52707/40649: - 97.16078:32.85086:248 )
                                                                                                                              r
742     03/15/11      07:38P     18173436690      43:21    645    2457             •••••••••••••• •     310410276936201       p hone        _ MOBILE_ DATA_   [527 07/40649 :-97.16078:32.85086:248 )
743     03/15/11      08:2 1P    1817343 6690     18:25 188269 499589              ...............      31 04 10276936201     phone         _ MOBILE_DATA_    [52707/40649:-97.16078:32.85086:248)
744     03 / 15 /11   08:40P     18173436690      21:42  17430   43929             ....••...•.....      310410276936201       phone         _ MOBILE_ DATA_   [529 03/40559 :- 97.112 17:32.85897:240)
745     03/15/11      09:02P     18173436690      40 :48  1179    4521                                  310410276936201       p hone        _ MOBILE_ DATA_   [52903/40558: -9 7. 11217:32.85897:120)
746     03/15/11      09: 05P    18173436690       2:11   40 52 198936                                  3 1 0410276936201     wap.cingula   _ MOBILE_ DATA_   [52903/40558:-97.11217 :3 2.8 5897: 120)
                                                                                                                              r




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                              Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 48 of 99 PageID 3868                                                                   .....,
                                                                                                                                                                           ~ ~ at&t
04 /15/20 11
                                                          MOBILITY USAGE
SCAMP                                                   (with cell location)


 Run Date:         04/15/2011
 Run Time:         15:28:57
 Data Usage For:   (817 )343-6690
 Account Number:   318912244
Item      Conn.    Conn.      Originating   Elapsed Bytes       Bytes            IMEI                 IMSI              Access      Description     Cell Location
           Date    Time         Number       Time       Up       On                                                      Pt
747     03/15/11   09:32P 18173436690          0 : 41 216121      4639    .....•.••.•....       310410276936201     wap.cingula _ MOBILE_ DATA_ [ 52903 /40 558:·97.11217:32.8589 7 :12 0]
                                                                                                                    r
748     03/15/11   09:42P 18173436690         60:00    271        1136                          310410276936201     phone       _ MOBILE_ DATA_ [52709/603 13:-97.07914:32.93881:240]
749     03/15/11   09:44P 18173436690          0:32 312578        9399                          310410276936201     wap.cingu1a _ MOBILE_ DATA_ [52709/62022: -97.09953:32.93497 :12 0]
                                                                                                                    r
750    03/15/11    10:42P 1 8173 436690      60:00        212    786                            310410276936201     phon e       _ MOBILE_ DATA_ [52709 /62022: - 97 . 09953:32.93497:120]
75 1   03/15/11    10:43P 18173436690         4 :02      5332 284995                            310410276936201     wap. cingu1a _ MOBILE_ DATA_ [52709/60428:·97 . 09917:32 . 95581:128]
                                                                                                                    r
752    03/1 5/11   11:42P   1 8173 436690    60:00     51     49          ...............       310410276936201     phon e          MOBILE DATA     [ 52709/60428: · 97 . 09917:32 . 95581 :128]
753    03/16/11    12:42A   18173436690      60:00     51     49                                310410276936201     phone         _ MOBILE_ DATA_   [ 52709/60428: · 97 .0991 7:32 .95581:128]
754    03/16/11    01:42A   18173436690      60:00     51     49                                3 1 0410276936201   phone         _ MOBILE_ DATA_   [52709/60428: · 97.09917:32.95581:128]
755    03/16/11    02:42A   18173436690      60:00   4306  14363          ...............       310410276936201     phone         _ MOBILE_ DATA_   [52709/60428:-97.09917:32.95581:128]
756    03/16/11    03:42A   18173436690      60:00     51     49                                310410276936201     phone         _ MOBILE_ DATA_   [52709/60428: - 97 . 09917 : 32 . 95581 : 128]
757    03 /16/11   04:42A   18173436690      60:00   7048  23273                                310410276936201     phone         _ MOBILE_ DATA_   [52709 /60428: · 97 . 09917 : 32.95581:128]
758    03/16/11    05:42A   18173436690      60:00   6842  20844                                310410276936201     phone         _ MOBILE_ DATA_   [527 09/60428: · 97 . 09917:32.95581:128]
759    03/16/11    06:42A   18173436690      60:00   6633  28234                                310410276936201     phone         _ MOBILE_ DATA_   [52709 / 60428:·97.09917:32.95581 : 128]
760    03/16/11    07:42A   18173436690      25:01 284399 483699                                310410276936201     phone         _ MOBILE_ DATA_   [52709/60428:-97 . 09917 :3 2 .95581:128]
                                                                     2
761    03/16/11    08:07A 18173436690          0:30     52905   506799    •••••••••••••••       310410276936201     phone         _ MOBILE_ DATA_ [52 709 / 60428:·97.09917:32.95581:128]
                                                                     2
762    03/16/11    08:08A 18173436690          0 : 40   65362   505545    •••••••• •••••••      310410276936201     phone         _ MOBILE_ DATA_ [52709/60428:·97.09917:32.95581:128]
                                                                     4
763    03/16/11    08 : 09A 18173436690        0 : 18   36225   508425    ***************       310410276936201     phone         _ MOBILE_DATA_ [52709/60428: - 97.09917:32.95581:128]
                                                                     6
764    03/16/11    08:09A 18173436690          1:53     79681   504066    •••••••••••• •••      3104102 76936201    phone         _ MOBILE_ DATA_ [5 2709/604 28:-9 7.099 17:3 2.9558 1:128 ]
                                                                     9
765    03/16/11    08 : llA 18173436690        0:29     60628 505973      ••••••• •• • •• •••   310410276936201     phone         _ MOBILE_ DATA_ [52709/60428 :· 97.09917:32.95581:128 ]
                                                                     9
766    03/16/11    08:llA 1 8173436690         0:19     30888   509040    •••••••••••••••       310410276936201     phone         _ MOB I LE_DATA_ [52709/60428:-97.09917:32.95581 : 128 ]
                                                                     0
767    03/16/11    08:12A 18173436690          0:35     45967   507470    •••••••••••••••       310410276936201     phone         _ MOBILE_ DATA_ [52709/60428:·97.09917:32.95581: 128 ]
                                                                      5
768    03/16/11    08:12A   18 173 436690    60:00 142775 879726                                310410276936201     phone         _ MOBILE_ DATA_   [52709/60428: - 97.09917:32.95581:128 ]
769    03/16/11    09:12A   18173436690      60:00   6618  22086          ****** * ********     310410276936201     phone         _ MOBILE_ DATA_   [52709 /60428 : ·97.09917:32.95581: 128 ]
770    03/16/11    l0:12A   18173436690      60:00 1 5222  87678          .......•.....••       310410276936201     phone         _ MOBILE_ DATA_   [52709/60428 :·97.09917:32.95581:128]
771    03/16/11    ll:l2A   18173436690      60:00    729    448          ......•••......       310410276936201     phone         _ MOBILE_ DATA_   [52709/60428:·97.09917:32 . 95581:12 8]
772    03/16/11    l2:07P   18173436690       0:49   3692 172268                                310410276936201     wap.cingu1a   _ MOBILE_ DATA_   [52709 / 62028:·97 . 09953:32 . 93497:120]
                                                                                                                    r
773    03/16/11    l2:12P 18173436690        60:00 137463 520243          •••••••••••••••       310410276936201     phone         _ MOBILE_ DATA_ [ 52709 / 62028 :· 97 . 09953:32.93497:120]
774    03/16/11    Ol:l2P 18173436690        60:00     102     98         •••••••••••••••       310410276936201     phone         _ MOBILE_DATA_ [ 52709/62028: · 97 .09953 :32 . 93497 : 120]
775    03/16/11    02:12P 18173436690        60 : 00 84225 178135         ••••••• •••••• ••     310410276936201     phone         _ MOBILE_ DATA_ [ 52709 / 62028 : ·97 . 09953:32 . 93497:120]



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                                      Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 49 of 99 PageID 3869
04 / 15 /2 011
                                                                   MOBILITY USAGE
SCAMP                                                           (with cell location)


 Run Date:               04/15/2011
 Run Time:               15:28:57
 Data Osage For:          (817) 343-6690
 Account Number:         318912244
Item      Conn.            Conn.    Originating       Elapsed   Bytes     Bytes           IMBI                 IMSI               Access      Description      Cell Location
          Date             Time       Number           Time      Up        Dn                                                          Pt
776     03 / 16 / l l    0 3:12P 18173436690            31:24       51        49    ..............•     310410276936201       phone       _ MOBILB_ DATA_      [52709 /62028:-97.09953:32.93497:120 ]
777     03 /16/ll        03:44P 18173436690              0:45         0         0   ..............•     310410276936201       phone       _ MOBILE_ DATA_      [52903 /03673 :- 97.08444:32.92639:300]
778     03/16/ll         03:44P 18173436690            58:20 126955 412520          .•.........•.••     31 0 4 1 0276936201   phone       _ MOBILE_ DATA_      [52709/62028:-97.09953:32.93497:120]
779     03 / 16 / l l    04:07P 18173436690             0:47   1452   7458          ..........•.•..     31041027693620 1      wap.cingula _ MOBILE_ DATA_      [5270 9 /604 22:-97.09917:32.95581:128]
                                                                                                                              r
780     03 / 16 / l l    04:43P 18173436690             0:05         0         0    •••••••••••••••     310410276936201       phone         _ MOBI LE_ DATA_ [ 52903/27609:-97.08444 : 32 .9 2639:]
78 1    03 /16/ 11       04:43P 1 8 173 436690          0 :04        0         0    •••••••••••••••     310410276936201       phone         _ MOBILE_ DATA_ [52709/24338:-97 . 09953:32 . 93497:]
782     03/16/ll         04:43P     18173436690          6:57      52       0       •••••••••••••••     310410276936201       phone         _ MOBILE_ DATA_ [52903 / 27609:-97.08444:32.92639:]
783     03 /16/ 11       04:50P     1 8 1734 3669 0      0:21       0       0       •••••••••••••••     310410276936201       phone         _ MOBILE_ DATA_ [527 07/41588:-97.13542:32.85347: 1 20]
784     03/16/11         04:50P     18173436690          0:38       0       0       ***************     310410276936201       phone         _ MOBILE_ DATA [52903 / 40559:·97.11 2 17:32.85897 :240]
785     03/16/ll         04:51P     18173436690        60:00     1339    1081       ***************     31041 0 2769362 0 1   phone         _ MOBILE_ DATA_    [527 07/24532 : -97. 1 3542:32.85347:128]
786     03/16/11         05:51P     18 17 3436690      60 : 00    445    1081       •••••••••••••• •    310410276936201       phone         _ MOBI LE_ DATA_   [ 52707/24532 :- 97.13542:32 . 85347:128]
787     03/16/11         06:51P     18173436690        60:00      505     737       •• •••••••••••••    310410276936201       phone         _ MOBILE_ DATA_    [ 52707/24532 :- 97.1 3 542:32.85347:128]
788     03/16/ll         07:51P     18173436690        60:00     8939   14914       ***************     310410276936201       phone         _MOBILE_DATA_      [5270 7/245 32:-9 7.13542:32.85347: 128]
789     03/16/11         08:51P     18173436690        27:01     8571   19596                           310410276936201       phone         _ MOBILE_ DATA_    [52707/24532:-97.13542:32.85347:128]
790     0 3 / 16/ ll     09 :1 8P   18173436690        22:30    33146   97620                           310 4 10276936201     phone         _ MOBILE_ DATA_    [52903/02913 : -97.12997 : 32.86617:300]
791     0 3 /16/ll       09:40P     18173436690        60:00 176317 581776                              310410276936201       phone         _ MOBILE_DATA_     [ 52709/02423:-97.18342:32.92942:248]
792     03/16/ll         10 : 40P   18173436690        1 0:18      51      49                           310410276936201       phone         _ MOBILE_ DATA_    [ 52709/02423:-97.18342:32.92942:248]
793     03/16/11         10:51P     18173436690        11:21    19278   39638                           310410276936201       phone         _ MOBILE_ DATA_    [52706 / 14721 : -97.29017:32.87097 :8]
794     03/16/ll         11:02P     18173436690        60:00      986     797                           310410276936201       phone         _ MOBILE_DATA_     [52709 /20052: - 97 . 28481:32.94214:128]
795     03/17/11         12:02A     18173436690          7:43 1 66098 495516                            310410276936201       phone         _ MOBILE_ DATA_    [ 52709/20052: · 97.28481:32.94214:128]
                                                                            3
796     03/17 / l l      12:10A 18173436690              0 : 26 44629 507539        •••••••••••••••     31041027693620 1      phone         _ MOBILE_ DATA_ [52709/200 52:-97.28481:32.94 214:128]
                                                                            2
797     03/17/11         12:10A 18173436690              1:00   63546 505742        •••••••••••••••     3104 1 0276936201     phone         _ MOBILE_ DATA_ [52709/20052:-97 . 28481:32.94214:128]
                                                                            2
798     03/17/11         12:11A 18173436690              0:29   43165 507688        ***************     310410276936201       phon e        _ MOBILE_ DATA_ [52709 / 20052:-97.28481:32.94214:128]
                                                                            8
799     03/17/11         12:12A 18173436690              0:29   39439 508090        •••••••••••••••     310 410276936201      phone         _ MOBI LE_ DATA_ [52 7 09/20052:-97 .28481: 32.94214 :1 28]
                                                                            8
800     0 3 / 17 / l l   12:12A 18173436690             0 :27   34528 5 08620       •••••••••••••••     310410276936201       phone         _ MOBILE_ DATA_ [527 09/20052:-97 . 28481 : 32.942 1 4: 1 28 ]
                                                                            0
801     03/17/11         12:12A 18173436690             0:26    37859 508302        •••••••• ••••• ••   310410276936201       phone         _ MOBILE_ DATA_ [52 709/2 0052: -97.28481 : 32.942 1 4:128]
                                                                            0
802     0 3/ 17 /11      12 : 13A 18173436690           0:21    37360 508298        ***************     310410276936201       phone         _ MOBILE_ DATA_ [527 09/2 00 52: - 97.28481:32.94214:128]
                                                                            8
803     03 / 17 / 11     12 : 13A 1 8173436690          0:3 4   52061 506902        •••••••••••••••     310410276936201       phone         _ MOBILE_ DATA_ [ 52709/200 52 : -97.28481:32.94214:128]
                                                                            8
804     0 3/ 1 7/11      12 : 14A 1 8173436690          0:14    28444 509190        •••••••••••••••     310410276936201       phone         _ MOBILE_ DATA_ [ 52709/20052: - 97.28481:32.94214 : 128]
                                                                            4




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                                Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 50 of 99 PageID 3870
04/15/20 11
                                                            MOBILITY USAGE
SCAMP                                                    (with cell location)


 Run Date:            04/ 15/2011
 Run Time:            15:28:57
 Data Us ago Por:     (817) 343-6690
 Account Number:      318912244
Item       Conn.      Conn.     Originating    Elapsed    Bytes    Bytes           I MEI                IMSI               Accoos    Description          Cell Loca tion
           Data       Time          Number      Time        Up       Dn                                                       Pt
805     03/17/ll      1 2: 14A 1 817343669 0      0:15     28495 509184      ...............     31 0410276936201       phone
                                                                                                                                    - MOBILE- DATA-       [52709 /20052:-97.28481:32.94214:128]
                                                                         9
806     03/17/ ll     12: 14A 18173 436690       0:15      286 00 509180     ...............     310410276936201        p hone      _ MOBILE_ DATA
                                                                                                                                                      -   [52709 /20052 : - 97.28481:32.94214:128]
                                                                         0
807     03/17/11      12:15A 18173436690         0:45      45611 507500      ***************     310410276936201        phone
                                                                                                                                    - MOBILE DATA- [52709/200 52:-97.2848 1:3 2.94214 : 128]
                                                                         7
808     03/ 17 / 11   12:15A 18173436690         0:15      29172 50919 0     ...............     310410276936201        phone
                                                                                                                                    - MOBILE   DATA
                                                                                                                                                      -   [527 09/20052 : -97 .28481 :32 .942 14:128]
                                                                         4
809     03/17/11      12:16A 1 8 173436690       2:07     115080 50 0575     ...............     310 41 027 693 62 01   phone
                                                                                                                                    - MOBILE   DATA
                                                                                                                                                      -
                                                                                                                                                          [527 0 9 / 20052:-97.28481:32.94214:128]
                                                                         6
810     03/17/11      12:18A 18173436690         0:16      28548 509180      ...............     3 1041027693620 1      pho n e
                                                                                                                                    - MOBILE   DATA
                                                                                                                                                      - [52709 / 20052:-97.28481:32.94214:128]
                                                                         0
8 11    03/17/11      12:18A 18173436690         0:42      4623 3 507391     ...............     3 10410276936201       phone       - MOBILE_ DATA- [ 52709/20052: - 97.2848 1 :32.94214:128]
                                                                         8
812     03/17/11      12 : 19A 18173436690       0:55      53525 506694      .••............     3 1 0410276936201      phone
                                                                                                                                    - MOBILE_ DATA-       [52709/20052: - 97.28481:32.94214 : 128]
                                                                         4
813     03/17/11      12:20A 1817343 669 0       1:51     102274 501870      ..•..•.........     310410276936201        phone       _ MOBI LE_ DATA
                                                                                                                                                      - [ 52709 / 20052: - 97.28481:32.94214 :1 28]
                                                                         8
814     03/ 17 / 11   12:21A 18173436690         0:21      41222 507941      ...............     310410276936201        phone
                                                                                                                                    - MOBILE_DATA-        [ 52709 / 2 0052:- 97. 28481:32.94214:128 ]
                                                                         3
815     03/17/11      12:22A 1817343669 0        0:52      63672 505771      ...•...........     31 04 10276936201      p ho n e
                                                                                                                                    - MOBI LE_ DATA-      [52709 / 20052: - 97.28481:32. 94214 : 128]
                                                                         9
8 16    03/17 /11     12:23A 18173436690         1:17      77305 504316
                                                                         4
                                                                             ************* **    31 04 10 276936201     phone       - MOBI LE_ DATA_      [52709 / 20052:-9 7 .28481:32.94214:128 ]

817     03/17 / 11    12:24A 18173436690         0:53      58792 506174      ...............     31 04 10276936201      phone
                                                                                                                                    - MOBILE   DATA       [5270 9/2 0052 : -97.28481:32 . 94214: 128 ]
                                                                         9
818     03/17/11      12 : 25A 18173436690       0 :15     28912 509190      ......•........     3104102769362 0 1      phone
                                                                                                                                    - MOBILE   DATA
                                                                                                                                                      -   [52709/20052:-97 . 28481:32.94214:128 ]
                                                                         4
819     03/17 /ll     12:25A 1 8 173436690       0 : 15    29120 509180      ...............     31041 02 769362 0 1    phone
                                                                                                                                    - MOBILE   DATA
                                                                                                                                                      -   [527 09/ 20052:-97.28481:32 . 94214:128 ]
                                                                         0
820     03 /17/1 1    1 2:25A 18173436690        0:33      52028 506926      .................   3104102 7 6936201      phone
                                                                                                                                    - MOBILE_ DATA-       [52709/ 20052: - 97.28481:32.942 1 4: 1 28]
                                                                         8
821     03/17/1 1     12:26A 18173436690         0:45      60057 506006      ...............     310410276936201        pho n e
                                                                                                                                    - MOBILE   DATA       [52709/20052:-97. 28481 : 32 . 94214:128]
                                                                         1
822     03/17/11      12:27A 18173436690         0:15      2 89 12 509180    ...............     310410276936201        phone
                                                                                                                                    - MOBILE_ DATA-       [52 709/ 20 0 52:-97 .284 81:32.94214:128]
                                                                         0
823     03/17/11      12:27A 18173436690         3:32      78661 5042 48     ...............     310410276936201        phone
                                                                                                                                    - MOBILE_ DATA_       [52 709/ 20052:-97.28481 :32. 94214:128]
                                                                         3
824     03/ 17 / 11   12:30A 18173436690         0:39      52838 50677 0     ...............     31041027 693620 1      phone
                                                                                                                                    - MOBILE   DATA
                                                                                                                                                   -      [52709/20052 :- 97.28481: 32.94214:128]
                                                                         3
825     03/17/11      12:31A 18173436690         0 :2 5    33696 508760      ..•.....••.....     310410276936201        phone       - MOBILE- DATA-       [52709 /20052 : -97.28481:32.94214:128]
                                                                         0




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915465.001
                              Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 51 of 99 PageID 3871
                                                           MOBILITY USAGE
04/15/2011
SCAMP                                                   (with cell location)                                                                                         t? at&t

 Run Date:           04/15/2011
 Run Time:           15:28:57
 Data Osage For:     (817)343-6690
Account Number:      318912244
Item         Conn.    Conn.    Originating   Elapsed    Bytes  Bytes           IMEI                 IMSI             Access     Description    Cell Location
          Date        Time       Number       Time        Up     Dn                                                     Pt
826     03/17/11     12:31A 18173436690         2:01     54677 506651    •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA_ [52709 / 20052:-97.28481:32 .942 1 4:128)
                                                                     4
827     03/17/11     12:33A 18173436690        3 :47    60431   505960   ***************     310410276936201      phone       _ MOBILE_ DATA_ [52709/20052:-97.28481:32.94214:128)
                                                                     9
828     03/17/11     12 :37A 18173436690       0:26     34060   508620   ***************     3 10410 276936201    phone       _ MOBILE_ DATA_ [52709/20052:-97.28481:32.94214:128)
                                                                     0
829     03/17/11     12:38A 18173436690        3:43     69837   505141   •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA_ [52709 / 20052:-97.28481:32.94214:128)
                                                                     5
830     03/17/11     12:41A 18173436690        0:22     39481 508101     •••••••••• •••••    310410276936201      phone       _ MOBILE_ DATA_ [52709/20052: - 97.28481 :32. 942 1 4:128)
                                                                     9
831     03/17/11     1 2:42A 18173436690       1:40     7220 2 504866    •••••••••••••••     310410276936201      phone       _ MOBILE_DATA_ [52709 / 20052:-97.28481:32.94214:128)
                                                                    2
832     03/17/11     12:43A 18173436690        0:21     39413   508186   •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA_ [52709 /20052: - 97.28481:32.94214:128)
                                                                     1
833     03/17/11     12:44A 18173436690        0:25     47301 507365     ***************     31041 0 27693620 1   phone       _ MOB ILE_DATA_ [52709/20052: -9 7.28481:3 2.94214: 128)
                                                                   7
834     03/17/11     12:44A 18173436690        0:24     42124 507840     •••••••••••••••     3 1 0410276936201    phone       _ MOB ILE_ DATA_ [52709/20052: - 97 . 28481:32.94214: 1 28 )
                                                                   0
835     03/17/11     12:45A 18173 436690       0:24     44879 507580     •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA_ [ 52709 / 2 0052:-97.28481 :32.94214: 128 )
                                                                   2
836     03/17/11     12:45A 1817343 6690       0:38     70135 505076     •••••••••••••••     310410276936201      phone       _ MOBILE_DATA_ [52709/20052: - 97.28481:32.94214:128)
                                                                   0
837     03/17/11     12:46A 18173436690        0:15     28444 509180     •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA_ [52709/20052:-97.28481:32 . 94214 :12 8)
                                                                   0
838     03/17/11     12:46A 18173436690        0 : 27   41513 507860     ••••••••••••• ••    310410276936201      p h one     _ MOBILE_ DATA_ [527 09/ 20052:-97 . 28481:32.94214:128)
                                                                   6
839     03/17/11     12:46A 18173436690        1:56     93128 502746     •••••••••••••••     31041027693620 1     p hone      _ MOBILE_ DATA_ [527 09/20052:-97 . 28481:32 . 94214:128)
                                                                   8
840     03/17/11     12:48A 18173436690        0:33     43491 507712     •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA_ [52709 / 20052:-97.2 8 481:32.94214:12 8)
                                                                   6
841    03/17/11      12:49A 18173436690        4:29     86322 503383     ••••••• •• ••••••   310410276936201      phone       _ MOBILE_ DATA_ [52709 / 2 0052: - 97.28481:32.94214:128)
                                                                   5
842    03/17/11      12:53A 18173436690        0:23     57857   506251   •••••••••••••••     3 10410276936 2 01   phone       _ MOBILE_ DATA_ [52709/20052:-97.28481:32.94214:128)
                                                                     4
843    03/17/11      12:54A 18173436690        0:17     35437   508516   •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA_ [52709/20052: - 97.28481:32.94214:128)
                                                                     1
844    03/17/11      12:54A 18173436690        0:15     29068 509138     •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA_ [52709/20052:-97.28481:32.94214:128)
                                                                     8
845    03/17/11      12:54A 18173436690        0 : 24   42168   507920   •••••••••••••••     310410276936201      phone       _ MOBILE_ DATA_ [5 2709 /20052: - 97 . 28481:32.94214:128)
                                                                     0
846    03/17/11      12:55A 18173436690        0 :4 1   69088   505188   ****'**'*********   310410276936201      phone       _ MOBILE_ DATA_ [52709/20052:-97 .2 848 1:32.94214:128 )
                                                                     1




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                                Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 52 of 99 PageID 3872                                                               ~
915465.001
                                                                                                                                                                          (; ~ at&t
04/15/2011
                                                            MOBILITY USAGE
SCAMP                                                    (with cell location)


 Run Date:           04/15/2011
 Run Time:           15:28:57
 Data Ooage For:     (817)343-6690
 Account Number:     318912244
Item       Conn.     Conn.      Originating   Elapsed Bytes  Bytes              IMEI                  IMSI             Access      Description      Cell Location
           Date      Timo         Number       Time     Up     On                                                         Pt
847     03/17/11     12 : 55A 18173436690        2:10 101277 501982      •••••••••••• •••       310410276936201     phone         _ MOBILE_DATA_ [52709/20052:-97.28481:32.94214:128]
                                                                     9
848     03/17/11     12:57A 18173436690         1:07    79522   504110   •• •• • •• ••••• •••   310410276936201     phone         _MOBILE_DATA_ [52709 /20052:-97.28481:32.94214:128]
                                                                     7
849     03/17/11     12:59A 18173436690         1:00    58252 506257     •••••••••••••••        310410276936201     phone         _ MOBILE DATA_ [52709/20052: -97.2 8481:32.94214 : 12 8]
                                                                  9
850     03/ 17 /11   01 : 00A 18173436690       1:05   51012 506940      •••••••••••••••        310410276936201     phone         _ MOBILE_DATA_ [52709/20052:-97.28481:32 . 94214:128]
                                                                  0
851     03/17/11     Ol:01A 18173436690         8: so 272920 484744      ••••••••••••• ••       310410276936201     phone         _MOBILE_DATA_ [52709 /20052:-97.28481:32.942 14:128]
                                                                  3
852     03/17/11     01:10A 18173436690         0:50   54470 506555      •••••••••••••••        310410276936201     phone         _MOBILE_ DATA_ [52709/20052 : -97.28481:32.94214:128]
                                                                     1
853     03/17/11     Ol:10A 18173436690         0:53    47512   507360   •••••••••••••••        310410276936201     phone         _MOBILE_DATA_ [52709/20052:-97.28481:32.94214:128]
                                                                     0
854     03/17/11     Ol:l1A 18173436690         0:58   75679    504467   ••••••• •••••• ••      310410276936201     phone         _ MOBILE_ DATA_ [52709/20052 : -97.28481:32.94214 :128 ]
                                                                     2
855     03/17/11     01:12A 18173436690         3:17   135635   498474   •••••••••••••••        310410276936201     phone         _MOBILE_ OATA_ [52709/20052 : -97.28481:32.94214 : 128]
                                                                     9
856     03/17/11     01:15A 1817343669 0        1:01    51314   506935   •••••••••••••••        310410276936201     phone         _ MOBILE_DATA_ [52709/20052:-97.28481:32.94214:128]
                                                                     0
857     03/17/11     01:16A 18173436690         0:44    51243   506897   •••••••••••••••        310410276936201     phone         _ MOBILE_ DATA_ [52709/20052:-97.28481: 32.94214 :128]
                                                                     0
858     03/17/11     01:17A 18173436690        60:00    81238 243435     •••••••• ••••• ••      310410276936201     phone         _MOBILE_DATA_ [52709 /20052: -97.28481:32.942 14:128]
                                                                     4
859     03/17/11     02:17A    18173436690     60:00     6997    22255   •••••••••• •••••       310410276936201     phone         _ MOBILE_ OATA_   [ 52709/20052: - 97.28481:32.942 14:128 ]
860     03/17/11     03 :17A   18173436690     60:00    13325  43641     •••••••••••••••        310410276936201     phone         _ MOBILE_DATA_    [ 52709/20052: - 97.28481:32.942 14: 12 8]
861     03/17/11     04:17A    18173436690     60:00       51     49                            310410276936201     phone         _MOBILE_DATA_     [ 52709/20052: - 97 . 28481:32 . 94214:128]
862     03/17/11     05:17A    18173436690     60:00      161    737                            310410276936201     phone         _ MOBILE_DATA_    [52709/20052:-97 . 28481:32.94214: 1 28]
863     03/17/11     0 5:38A   18173436690      4:03     3892 177068     ..•............        310410276936201     wap.cingu1a   _MOBILE_DATA_     [527 09/60422:-97 . 09917 : 32 . 95581:128]
                                                                                                                    r
864     03/17/11     06:17A 18173436690        60:00 321352 116935                              31041027693620 1    phone         _MOBILE_ DATA_ [52709 /60422: -97.09917:32.95581:128 ]
                                                                 9
865     03/17/11     07:17A 18173436690        60:00  69272 206608                              310410276936201     phone         _ MOBILE_ DATA_ [52709/60422:-97.09917:32.95581:128]
866     03/17/11     08:17A 18173436690        60:00     51     49                              310410276936201     phone         _ MOBILE_DATA_ [52709/ 60422:-97.09917:32.95581:128]
867     03/17/11     09:17A 18173436690        14:46 187368 493308                              3 1 0410276936201   phone         _ MOBILE_DATA_ [52709/60422:-97.09917:32.95581:128]
                                                                     6
868     03/17/11     09:32A 18173436690         1:23   51272    506982   •••••••••••••••        310410276936201     phone         _MOBILE_DATA_ [52709/ 60422 :-9 7.09917:32.95581:128]
                                                                     8
869     03/17/11     09:33A 18173436690         0:50   56512    506404   •••••••••••••••        310410276936201     phone         _ MOBILE_ DATA_ [52709/60422:-97.09917:32.95581:128]
                                                                     9
870     03/17/11     09:34A 18173436690         0:35   39092    508200   •••••••••••••••        31041 027693620 1   phone         _MOBILE_DATA_ [52709 /60422: -97.09917:32.95581 :128]
                                                                     0




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                               Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 53 of 99 PageID 3873
                                                                                                                                                                       ~~ at&t
915465.001                                                 MOBILITY USAGE
04/15/2011
SCAMP                                                   (with cell location)


 Run Date:           04/15/2011
 Run Time:           15:28:57
 Data Usage For:     (817)343-6690
 Account Number:     318912244
Item     Conn.        Conn.   Originating    Elapsed   Bytes    Bytes             IMBI                IMSI             Access      Description   Cell Location
         Date         Time       Number       Time      Up       Do                                                       Pt
871    03/17/11      09:35A 1817 3 436690      0:51     53825   506696      •• •••••••••••••    310410276936201     phone        _ MOBILE_ DATA_ [5270 9/60422: -97.0 99 17:32. 95581 :128]
                                                                     8
872    03 / 1 7/11   09:36A 18173436690        0:20     38460   508218      •••••••••••••••     310410276936201     phone        _ MOBILE_ DATA_ [5270 9/6 0 422:-97.09917 :32.95581:128 ]
                                                                     9
873    03 / 17 /11   09:36A 18173436690        0:49     52053   506829      •••••••••••••••     310410276936201     phone        _ MOBILE _ DATA_ [ 52709/60422 :- 97.09917:32.95581:128]
                                                                     3
874    03/17 /11     09:37A 18173436690        1:19     76012   504521      •••••••••••••••     310410276936201     phone        _ MOBILE _ DATA_ [ 52709/60422:-97.09917:32.95581 :1 28 ]
                                                                        2
875    03/17 /11     09:38A 18173436690        2:54 109340 501127           •••••••••••••••     310410276936201     phone        _ MOBILE _ DATA_ [ 52709/60422:-97.09917:32 . 95581:128 ]
                                                                        4
876    03 /17/11     09 : 41A 1817343 6690     0:19     39874 508014        •••••••••••••••     3 10 410276936201   phone        _ MOBILE_ DATA_ [52 709/60422:-97 . 09917:32.95581:128 ]
                                                                   3
877    03/17/11      09:41A 18173436690        0:28     46092 507420        •••••••••••••••     310410276936201     phone        _ MOBILE_ DATA_ [ 52709/60422:-97.09917:32 . 95581:128 ]
                                                                   5
878    03/17/11      09:42A 18173436690        0:18     43840 507703        •••••••••••••••     3104102769362 01    phone        _ MOBILE_ DATA_ [5270 9/60422:-97. 09917:32.95581:128 ]
                                                                   4
879    03/17/ 11     09:42A 18173436690        0:19     30163   509074      •••••••••••••••     310410276936201     phone        _ MOBILE_ DATA_ [ 52709/60422:-97.09917:32.95581:128 ]
                                                                     4
880    03/17/11      09 :42A 18173436690       4:01      9572   747209      •••••••••••••••     310410276936201     wap.cingu1a _ MOBILE_ DATA_ [52709 /60428: -97 .09917:32.9 5581:128 ]
                                                                                                                    r
881    03/17/11      09:42A 18173436690        0:17     30108   509040      •••••••••••••••     31 04102 76936201   phone        _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128 ]
                                                                     0
882    03/17/11      09:43A 18173436690        0:23     37884   508318      •••••••••••••••     310410276936201     phone        _ MOBILE_ DATA_ [52709/60 428:-97.0 9917 :32.95581:128 ]
                                                                     0
883    03/17/11      09:43A 18173436690        0:43     53355   506696      •••••••••••••••     310410276936201     phone        _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128]
                                                                     8
884    03/17/11      09:44A 18173436690        0:41     54203   506637      ***************     310410276936201     phone        _ MOBILE_ DATA_ [52709/60428:-97.09917:32 . 95581:128]
                                                                     1
885    03/17/11      09:44A 18173436690        0:25     47959   507247      **** *** ********   310410276936201     phone        _ MOBILE_ DATA_ [52709/60428:-97.099 1 7:32.95581:128]
                                                                     5
886    03/17/11      09:45A 1817 3436690       0:15     28600   509190      ** ***** ********   310410276936201     phone        _ MOBILE_ DATA_ [ 52709/6 042 8:-97.099 17:32. 95581:128 ]
                                                                     4
887    03/17/11      09:45A 18173 436690       0:36     51401   506873      •••••••••••••••     310410276936201     phone        _ MOBILE_ DATA_ [5 2709/60428: -97.09917:32.95581 :12 8 ]
                                                                        6
888    03/17/11      09:46A 18173436690        0:43     59120   506224      ***************     310410276936201     phone        _ MOBILE_ DATA_ [ 52709/60428:-97.09917:32.95581:128 ]
                                                                     3
889    03/17/11      09:46A 18173436690       60:00 149576      320977      •••••••••••••• •    310410276936201     phone        _ MOBILE_ DATA_ [ 52709/6 04 28 :-97.09917:32.95581 : 128 ]
                                                                     3
890    03/17/11      10:46A 18173436690       27:44    666356   445437      •••••• • ••••••••   3104102 7693620 1   phone        _ MOBILE_ DATA_ [ 52709/60428:-97.09917:32.95581:128]
                                                                     2
891    03/17/11      11:14A 18173436690        1:06     60620   506015      •••••••••••••••     310410276936201     phone        _ MOBILE_ DATA_ [ 52709/60428:-97 .0 9917:32 . 95581:128]
                                                                     6




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                                   Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 54 of 99 PageID 3874
                                                                MOBILITY USAGE
04/15/2011
SCAMP                                                        (with cell location)                                                                                                       @? at&t

 Run Date:            04/15/2011
 Run Time:            15:28:57
 Data Usage For:      (817)343-6690
 Accou nt Number:     318912244
Item       Conn.       Conn.        Originating    Elapsed    Bytes   Bytes               IMEI                    IMSI              Access        Description     Cell Location
           Date        Time           Number        Time       Up       Dn                                                             Pt
892     03 /17/ 11    ll:l5A 18173436690             2:02     89908   503056     ***************           310410276936201       phone          _ MOBILE_ DATA_ [52709/60428: - 97.09917:32.95581:128 ]
                                                                           2
893     03/17/11      11:17A 18173436690             0 : 44   87347 5033 29      •••••••••••••••           310410276936201       phone          _MOBILE_ DATA_ [5 2709/60428 :- 97.09917:32.95581:128 ]
                                                                          8
894     03/17/ll      ll:l8A 18173436690             0 : 26   53090 506709       •••••••••••••••           3 1041027 693620 1    phone          _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128]
                                                                          5
895     03/ 17 / 11   ll : l8A 18173436690           0 :31    37596   508345     •••••••••••••••           310410276936201       phone          _ MOBILE_ DATA_ [52709/60428:-97.099 17 :32.95581:128]
                                                                           2
896     03/17/11      11:19A 18173436690            31:01 141835 497881          ••••••• • •••••••         3 1 0410276936201     phone          _ MOBILE_ DATA_ [52709 /60 428:-97.09917:32.95581:128]
                                                                        0
897     03/ 17 / 11   ll:50A 18173436690            60:00 203 1 54 776791        •••••••••••••••           310410276936201       phone          _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128]
898     03/ 1 7/11    12:50P 18173436690            60:00 125967 431327          •••••••••••••••           3104 1 0276936201     phone          _ MOBILE_ DATA_ [52709/60428:-97.09917:32.95581:128]
899     03/17/11      01:50P 18173436690            55:53 7926 14 354410         •••••••••••••••           31041027693620 1      phone          _ MOBILE_ DATA_ [52709/60428 :- 97.09917:32.95581:128]
                                                                           8
900     03/17/ll      02:46P 18173436690            14:25       106      393     •••••••••••• •• •         310410276936201       phone          _ MOBILE_ DATA_ [ 52707/23801 :- 97.13797:32.90131 : 8]
901     03/17/11      03:09P 18173436690            60:00      1401     4871                               310410276936201       phone          _ MOBILE_ DATA_ [ 52707/40649 :- 97 .1 6078:32.85086 : 248]
902     03/17/ll      03:29 P 18173436690            0:48      5440    266 1 6                             310410276936201       acds.voi cem   _ MOBILE_ DATA_ [ 52707/40643 :- 97.16078:32.85086 :2 48]
                                                                                                                                 ail
903     03/17/11      03:36 P 1 8173436690           0:24      2061     1335                               31 04102769362 0 1    acds .voicem   _ MOBILE_ DATA_ [5 2707/23533 :- 97. 1 6078:32.B5086 : 248]
                                                                                                                                 ail
904     03/17/11      04:09P      1 8 1 73436690    60:00      1124    3265                                31 041 02769362 0 1   phone          _ MOBILE_ DATA_   [ 527 07/23533 : -97. 1 6078:32 . 85086:248]
905     03/17/11      05:09P      1 8 1 73436690    60:00      1673    62 90     .•.........•••.           310410276936201       phone          _ MOBILE_ DATA_   [ 52707/23533 :- 97. 1 6078:32.85086:248]
906     03/17/11      06 : 09 P   1 8 173436690      8:21     29054   37636                                31041 0 276936201     phone          _ MOBILE_ DATA_   [52707/235 33:- 97.16078:32.85086:248]
907     03/17/11      06 :18P     1817343 6690      60:00     72 031 145386                                310 41 0 276936201    phone          _ MOBILE_ DATA_   [52707 /23 533:-97.16078:32 .85086:248]
908     03/17/ll      06:42P      1 8 173436690      4 :01     4815   45683                                3104102769362 01      acds.voicem    _ MOBILE_ DATA_   [52 707/40649:-97.16078:32.85086:248]
                                                                                                                                 ai l
909     03/17/11      06:51P 18173436690             4:02      2061                                        31041027693620 1      acds.voicem    _ MOBILE_ DATA_ [52707 /4 0649:-97.16078:32.85 086:248]
                                                                                                                                 a il
910     03/ 17 /11    07: 1 4P 18173436690           0:58      8849   125524     •• • •• •• • • ••• •• •   310410276936 201      acds.voicem    _ MOBILE_ DATA_ [52707/23533:-97.16 078:32.85 0 86 : 248]
                                                                                                                                 ai l
911     03/ 1 7/11    07: 18 P    18173436690        0:35         0          0   •••••••••••••••           310410276936201       phone          _MOBILE_DATA_     [5 2707/23533: -9 7.16078:32.850 86 :2 48]
91 2    03/17/11      07:18P      18173436690        0:04         0          0   •••••••• •••••• •         310410276936201       phone          _MOBILE_ DATA_    [52903/40283 : -97. 10911:32.842:240]
913     03/17 /11     07 : 1 8P   18173436690        0:03         0          0   •••••••••••••••           310410276936201       phone          _ MOBILE_DATA_    [52707/41 582:-97.13542:32.85347:120 ]
9 14    03/17 /ll     07:18P      18173436690        0:34         0          0   ••••• ••• •••••••         310410276936201       phone          _ MOBILE_ DATA_   [52903/40283 :- 97.10911:32.842:240 ]
915     0 3/ 1 7/11   07:19P      18173436690        0:08         0          0   ••••••••••• •• ••         3104102 7693620 1     phone          _MOBILE_ DATA_    [52818/41101:-97.13536:32.81506 :0 ]
916     03/17/11      07:19P      18173436690        8:37     55607   214531     •••• •• •••••••••         310410276936201       phone          _ MOBILE_ DATA_   [52903/40281:-97.10911:32 .842:0]
917     0 3/17/11     07:28P      18173436690        8:37         0          0   •••••••••••••••           310410276936201       phone          _ MOBILE_ DATA_   [ 52709/62028: - 97.09953:32.93497:120]
9 18    0 3/17/ 11    07 :36P     18173436690        0:07         0          0   ••••• •• ••••••••         310410276936201       phone          _ MOBILE_ DATA_   [ 52707/23809:-97.13797:32.90131:]
91 9    03/17/ 11     0 7:37P     1817 3436690       3:43         0          0   •••••••••••••••           310410276936201       phone          _ MOBILE_ DATA_   [ 52709/24339: - 97 . 09953:32.93497:]
920     0 3/17/ 11    07 :40P     18173436690        0:34         0          0   ••••••••••••• ••          310410276936201       pho n e        _MOBILE_ DATA_    [5 2707/60243:-97.13797:32.90131:240]




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 915465.00 1
                                  Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 55 of 99 PageID 3875
 04/15/201 1
                                                               MOBILITY USAGE
 SCAMP                                                      {with cell location)


 Run Date:            04/15/2011
 Run Time:            15:28:57
 Data Usage For:      (817)343-6690
 Account Number:      318912244
Item      Conn.        Conn.   Originating        Elapsed Bytes   Bytes                    IMEI                        IMSI              Access      Description      Cell Location
          Date         Time      Number            Time     Up       Dn                                                                       Pt
921     03/17/ll      07:41P 18173436690             5:26   5473    12084       ..........•....                 310410276936201       phone         _ MOBILB_ DATA_ [ 52709/19433 :- 97. 15 21 :32.9458:240]
922     03/17/11      07:46P 18173436690             0 :07      0       0                                       310410276936201       phone         _ MOBILB_ DATA_ [5 2707/60249 :- 97. 1 3797:32.90131: 2 40]
923     03/17/11      07:46P 18173436690            60:00 331 268 1 04974       .........•...•.                 310410276936201       phone         _ MOBILE_DATA_ [ 52709/21648:-97.19567:32.94519:128]
                                                                           l
924     03/1 7 /11    08:46P 18173436690           60:00 1 08223 203859         •..............                 31 041 02769362 01    phone       _ MOBILE_ DATA_ [ 52709/21648:-97. 1 9567:32.94519:128]
925     03/ 17 /11    09:08P 18173436690            4:02    3399  72376                                         31 0410276936201      acds.voicem _ MOBILB_ DATA_ [ 52709/60428:-97.09917:32.95581:128]
                                                                                                                                      ail
926     03/17/ll      09:30P 18173436690            1:39       2061     133 5                                   310410 2769362 01     acds.voicem MOBILE DATA [527 09 /23568: -97.099 1 7:32 . 95581 :]
                                                                                                                                      ail
                                                                                                                                                  -       -     -
927     03/ 1 8/11    l0:07A 18173436690           6 0: 00 144047 715234        .......•....•..                 310410 276936201      phone         _ MOBILE_ DATA_ [527 0 9/23473: - 97.07914 :32. 93881:248]
928     03/ 1 8/ ll   l0: 55A 18173436690            0: 5 1  5 1 58 71212                                       310410276936201       acds.voicem   _ MOBILE_ DATA_ [52709/24338: - 97.09953:32.93497:]
                                                                                                                                      ail
929     03/ 1 8/ll    l1 : 00A 18173436690          2:00       2061     1335    ••••••••••••• ••                31041 0276936201      acds.voicem   _ MOBILB_ DATA_ [52709/62028: - 97.09953:32.93497:120]
                                                                                                                                      ail
930     03/ 1 8/11    11: 07A 18173436690          60 :0 0    50704   153206    •••••••••••••••                 310410276936201       phone         _ MOBILB_ DATA_ [52709/62028:-97.09953:32.93497:120]
931     03/18/11      l2:07P 18173436690           36 : 31 248966     101891    •••••••••••••••                 310410276936201       phone         _ MOBILE_ DATA_ [52709/62028:-97.09953:32.93497:120]
                                                                           2
932    03/18/11       l2:44P     18173436690        8 : 46      488        0    ••••• • • •• •• ••••            310410276936201       phone         _MOBILE_ DATA_    [52903/03673:-97.08444:32.92639:300)
933    03/18/ 11      l 2 :52P   18173436690       60 :00      9045   21611     ****** *********                310410276936201       phone         _ MOBILE_ DATA_   [52707/42182: - 97.13406:32.83747:128)
934    03/18/11       Ol: 5 2P   18173436690        0:58          0       0     •••••••••••••••                 310410276936201       phone         _ MOBILE_ DATA_   [52707/42182:-97.13406:32.83747:128)
935    03/18/ 11      01:54P     18173436690       60 :00      966     4128     •••••••••••••••                 310410276936201       phone         _ MOBILB_ DATA_   [52707/40649 :- 97.16078 :3 2.85086:248 ]
936    03/18/11       02 : 54P   18173 436690       9:37       161       688    •••••••••••••••                 310410276936201       phone         _ MOBILE_ DATA_   [52707/4 0 649 : -97.16078:32.85086:248]
937    03/18/ll       03:06P     18173436690       12:54      1179     1528     •••••••••••••••                 310410 2 76936201     phone         _ MOBILE_ DATA_   [52707/40649 : -97.16078 : 32.85086:248]
938    03/18/11       03:19P     18173436690        0:01                                                        310410276936201       phone
                                                                  0        0
                                                                                                                                                    - MOBILE- DATA-   [5 2707/40649 :- 97.16 078 : 32 . 85086:248]
939                   03:19P     1 817343669 0      0:48       319      747                                     310410276936201       phone
       03/18/ll                                                                                                                                     - MOBILE- DATA-   [ 52707/40649:-97.16078 :32. 85086:248]
940    03/18/11       03:20P     18173436690        4:02      3119    42054     ...............                 310410276936201       acda.voicem MOBILE DATA
                                                                                                                                                    -        -    -   [ 52707/40649:-97.16 078:32.85086:248]
                                                                                                                                      ai l
941    03/18/11       03 :25P    1 817343669 0     11 :54       161    688                                      31 0410276936201      phone         _ MOBILE_ DATA_   [ 52707/40649:-97.16078:32.85086:248]
942    0 3/18/11      03:40P     18173436690       12:50        161    688                                      3 1 0410276936201     phone         _ MOBILE_ DATA_   [ 52707/40649:-97.16 0 78:32.85086 : 248]
943    03/18/ll       0 3:53P    18173436690       1 0:04     54886 156637                                      3104 1 027693620 1    phone         _ MOBILB_ DATA_   [ 52903/40287:-97 . 10911:32.842:0]
944    0 3/18/11      04:03P     18173436690       28:44         51        0    •••••••••••••••                 310410276936201       phone         _ MOBILE_ DATA_   [ 52709/27232:-97 . 11489:32.91886:128]
945    03/18/11       04:32P     1 8173436690      1 0 :42      106      393    •••••••••••••••                 3104 1 027693620 1    phone         _ MOBILB_ DATA_   [ 52709/60422: - 97 . 09917:32.95581:128]
946    03/18/11       0 4:43P    18173436690         9 : 46       0        0    •••••••••••••••                 310410276936201       phone         _ MOBILB_ DATA_   [ 52903/27603:-97.084 4 4:32.92639:300]
947    03/18/11       0 4:52P    1 8 173 436690    33:34      6234    22102     •••••••••••••••                 3 10 4 1 0276936201   phone         _MOBILE_DATA_     [ 52707/4 1 582: - 97. 1 3542:32.85347:120]
948    03/18/11       0 5:32P    18173436690       60 : 00     590     1775     ........... . . . . . . .       31 0410276936201      phone         _ MOBILB_ DATA_   [ 52707/23533 : -97.16078:32 . 85 086 :248]
949    03/18/11       05 :35P    1 8 17 3436690      0:29      3279   69019     .... .... . . . . . . . . . .   310410276936201       acds . voicem _ MOB ILE_DATA_   [ 527 07 /23533:-97. 16 078 : 32 . 85086:248]
                                                                                                                                      ail
950    03/18/11       06 :32P 18 173436690         60 : 00      377    1081     ............... .               31 041027 69362 0 1   phone         _ MOBILE_ DATA_   [ 52707/23533 : -97.16078 : 32.85086:248]
95 1   03/18/11       07: 32P 1 8 17 3436690       35:34        973     3489    ............... .               3 10410276936201      phone         _MOB ILE_ DATA_   [527 07 /23533:-97. 1 6078:32.85086:248]
952    03/18/11       08:08P 18173436690           10:28          0                                             3104102769362 01      phone         _ MOBILE_ DATA_   [52903/24183:-97. 11 217:32.85897:248]



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SCAMP
                                    Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 56 of 99 PageID 3876
                                                                 MOBILITY USAGE
                                                              (with cell location}                                                                                                   €? at&t
 Run Date:             04/15/2011
 Run Time:             15:28:58
 Data Usage For :      (817) 343-6690
 Account Number:       318912244
Item      Conn.         Conn.       Originating     Elapsed    Bytes   Bytes            IMI!I                IMSI                 Access      Description     Cell Location
           Date         Time        Number           Time        Up      Dn                                                            Pt
953     03/18/11       08:18P 18173436690             60:00     588 31 2393 17                        310410276936201       phone        _MOBILE _ DATA_ [52709 /6 0 313:-97. 0791 4:32.93881:24 0]
954     03 / 1 8/11    09: 0 6P 18173436690            4:02      4804    2509                         31 0410276936201      acds.voi cem _ MOBILE_DATA_ [52709/60428:-97.09917:32.95581:128]
                                                                                                                            ail
955     03/18/11       09:18P     18173436690        60:00    54037 199458       •.•..•.........      310410276936201       phone           _ MOBILE_ DATA_   [527 09 /6 0428 :-97 .09917:32.95581:128 ]
956     03/18/11       l0:18P     18 17343 669 0     54:25    53778 121391       ..•.•.•.•••....      310410276936201       phone           _ MOBILB_ DATA_   [52709/60428 :- 97.09917:32.95581:128 ]
957     03 / 1 8/11    11:13P     18 17 3436690       7:59         0        0    •.•............      310410276936201       phone           _ MOBILB_ DATA_   [529 0 3/0 36 79 :-97.08444:32.92639:30 0]
958     03 / 1 8/ 11   ll:21P     18173436690         0:04         0        0    ...............      310410276936201       phone           _ MOBILB_ DATA_   [52709 /2466 2:-97.01981:32.94222:180]
959     03/18/11       ll : 21P   18173436690         0:10         0        0    ...............      3104102769 362 01     phone           _ MOBILE_ DATA_   [5290 7/14861 :- 97.01839:32.92431 : 8 ]
960     03/18/11       ll:21P     18173436690         0:34         0        0                         310410276936201       phone           _ MOBILE_ DATA_   [ 52709/24662 :·97.01981:32.94222: 180]
96 1    03 /18/ 11     11 :22P    181734 36690        0 :33        0        0    ***************      31 04 1 027693620 1   phone           _ MOBILE_DATA_    [ 52907/ 14 921 : -96.99494 : 32 . 91928:8 ]
962     03 / 18 /11    ll:22P     18173436690         0:04         0        0                         31 04 1 0276936201    phone           _ MOBILE_ DATA_   [ 52709/03702:-97.01981 : 32.94222:180]
963     03 / 18 / 11   l1:22P     18173436690        60:00        52        0                         310410276936201       p h o ne        _ MOBILE_ DATA_   [52 907/03423 :- 96.97992 : 32 . 92586 : 300]
964     03 / 19 / 11   l 2:22A    1 8 1734366 9 0    60:00    678 06 176184                           31041027693620 1      phone           _ MOBILE_ DATA_   [ 52805/06333:-96 . 83344:32.95344:300]
965     03 /19/ 11     Ol: 22A    18173436690        60:00       112      49                          31041027693620 1      phone           _ MOBILE_ DATA_   [ 52805/06333: -9 6.83344:32.9 5344 :300]
966     03/19/11       02:22A     18173436690        57: 41   4 9605 158227                           310410276936201       phone           _ MOBILE_DATA_    [ 52805/06333:·96 . 83344:32.95344:300]
967     03/19/11       0 3:2 0A   18173436690        60 : 00  52267 196416       .•.............      310410276936201       phone           _MOBILE_ DATA_    [ 52709/603 12:- 97 . 079 1 4 : 32.93881:120]
968     0 3/19/11      04:20A     18173436690        60:00       112      49     ...............      310410276936201       phone           _MOBILE_ DATA_    [527 09/60 312 :-97.079 14 :32.93881 : 120]
969     03 / 19/ 11    05:20A     1 8173436690       60:00 1 2721 19 0450                             310410276936201       phone           _ MOBILE_ DATA_   [ 52709/603 12: - 97.079 14 :32.93881:120]
970     03 / 19 / 11   06:20A     18173436690        60:00       173      49     ............•..      310410276936201       phone           _ MOBILE_ DATA_   [ 52709/60312:-97.079 1 4 :3 2 . 93881:120]
971     03/19/11       07:20A     18173436690        60:00      6503  22919                           31 0410276936201      phone           _MOBILE_ DATA_    [527 09/60312: · 97.079 1 4 :32.93881:120 ]
972     03/19/11       08:20A     18173 436690       60:00       112      49     ...............      3104102 76 93 62 01   phone           _MO BILE_DATA_    [527 09/6 0 312 :- 97.079 1 4:32.93881 :1 20]
973     03/19/11       09 :20A    1 8173436690       60 : 00 151244 503220                            310 410276936201      phone           _MOBILE_ DATA_    [52709/60312:-97.07914:32.93881:120 ]
974     03/19/11       l0 :20A    1 8173436690       60 : 00  14029   572 1 8    .••..••........      310410276936201       phone           _ MOBILE_ DATA_   [52709/60312:-97.07914:32.93881:120 ]
97 5    03/19/11       l1:20A     18173 436690       47:53 259127 4 86203                             310410276936201       phone           _MOBILE_DATA_     [52709/6 0 312:·97. 07 914 :3 2 .9 388 1:12 0]
                                                                            7
976     03/19/11       ll:27A 1 8173436690            4:02      3412   139205    •••••• •• •••••••    310410276936201       wap.cingu1a _ MOBILE_ DATA_ [52709 / 23568:-97.09917:32.95581:]
                                                                                                                            r
977     03/19/11       12 :0 8P 1 8173436690          0 : 29   44824   507650    •••••••••• •• •••    310410276936201       phone           _ MOBILE_ DATA_ [52709/23568:-97.09917 : 32.95581:]
                                                                            4
978     03/19/11       l 2 :08 P 18 173 436690        0:27     42676   507767    •••••••••••••••      310410276936201       phone           _ MOBILE_DATA_ [5 27 09 /23 568:-97.09917:32 .955 81:]
                                                                            4
979     03/19/11       12:09P 18173436690             1:39     94322   502609    •••••••• • ••••• •   310410276936201       phone           _ MOBILE_ DATA_ [52709 /2 3568:-97 .0 9917:32.95581:]
                                                                            3
980     03/19/11       l2:10P 18173436690             0 :22    32136   508910    •••••••••••••••      310410276936201       phone           _ MOB I LE_DATA_ [52709/23568:-97.09917:32.95581:]
                                                                            4
981     03/19/ll       l2:11P 18173 436690            0:23     33228   508760    •••••••••••••••      3104 1 0276936201     phone           _ MOBILE_ DATA_ [5 2709/23568:-97.09917 : 32.95581: ]
                                                                            0
982     03/19/ ll      l2: 11 P 18173436690           0 :43    5589 4 506549     •••••••••••••••      3104 1 02769 3 6201   phone           _ MOBILE_DATA_ [5 2709/23568:-97 . 09917:32.95581 : ]
                                                                           8




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91 546 5 .001
                                 Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 57 of 99 PageID 3877                                                                            ~
                                                              MOBI LITY USAGE
04/ 15 /20 11
SCAMP                                                      (with cel l location)                                                                                                       t;~ at&t

Run Date:            04/15/2011
Run Time:            15:28:58
Data Usage For:       (817)343-6 690
 Account Number:     318 912244
Item      Conn.       Conn.     Originating    Elapsed    Bytes       Bytes                IMEI                    IMSI             Access     Description     Cell Location
          Date         Time       Number        Time       Up          Dn                                                              Pt
983     03/19/11     12:12P 18173436690          0:42     43410 507770            •••••••••••••••            310410276936201     phone       _ MOBILE_ DATA_ [52709 / 23 5 68: - 97 . 09917 : 32 . 95581:)
                                                                           0
984     03/19/11     12 : 13P 18173436690        0:32     46432       507482      ............... .          31041 0 276936201   phone       _ MOBILE_ DATA_ [52709/23568: - 97.09917:32.9 5 581:)
                                                                              3
985     03/19/11     12:13P 18173436690          0:26     34996       508620      •••••••••••••••            310410276936201     phone       _ MOBILE_ DATA_ [52709 /23 568:-97.09917:32.95581 : )
                                                                           0
986     03/19/11     12:14P 18173436690          0 :18    30160 5 0 9040          •••••••••••••••            310410276936201     phone       _ MOBILE_ DATA_ [52709/23568:-97.09917:32.95581:)
                                                                     0
987     03/19/11     12:14P 18173 4 36690       60:00     27080 273242            •••••••••••••••            3104102769362 0 1   phone       _MOBILE_DATA      [52709/23568:-97.09917:32.9558 1 :)
                                                                     9
988     03/19/11     01 : 14P   18173436690     28:07             0           0   ............•..            310410276936201     phone       _ MOBILE_ DATA_   [ 52709/23568:-97 . 09917 : 32 . 95581:)
989     03/19/11     01:42P     18173436690      0 :04            0           0   ***************            31 0410276936201    phone       _ MOBILE_ DATA_   [52903/24959:-97.064 1 4 : 32.9 3 075:)
990     03/19/11     01:42P     18173436690      0:04         0      0                                       310410276936201     phone       _ MOBILE_ DATA_   [52709 / 23478:-97.07914 : 32 . 9388 1 :)
991     03/19/11     01:42P     1817343669 0     0:04         0      0                                       310410276936201     phone       _ MOBILE_ DATA_   [52903 /2446 9: - 97.04358:32.92375:)
992     03/19/11     01:42P     18173436690      0: 0 6       0      0            ................           310410276936201     phone       _ MOBILE_ DATA_   [52709/23478 : -97.07914:32.93881:)
993     03/19/11     01 : 42P   18173436690     21:49     39855 120175                                       3104 1 0276936201   phone       _ MOBILE_ DATA_   [52903 /24469 :- 97.04358:32.92375:)
994     03/19/11     02:04P     18173436690      7:03     78958 504166                                       310410276936201     phone       _ MOBILE_ DATA_   [52709 / 62022: - 97.09953:32.93497:120)
                                                                     6
995     03/19/11     02:11P 18173436690          0:59     55808 506425                                       310410276936201     phone       _ MOBILE_ DATA_ [52709/62022: - 97.09953:32.93497 : 120)
                                                                           1
996     03/19/11     02 : 12P 18173436690        1:20     77359       504352      •• • • • • •• • • •••••    310410276936201     phone       _ MOBILE_ DATA_ [52709/62022:-97.09953 : 32.93497:12 0 )
                                                                           1
997     03/19/11     02 : 14P 18173436690       60:00 136183 222819               •••••••••••••••            310410276936201     phone       _ MOBILE_ DATA_ [52709/6 2 022:-97 . 09953:32 . 93497:120 )
                                                                           0
998     03/19/11     03 : 14P   18173436690     60:00 100662          350828      •••••••••••••••            310410276936201     phone       _ MOBILE_ DATA_ [52709 /62022: -97 .09953:3 2.93497:120)
999     03/19/11     04:14P     18173436690     60 : 00 133082        381936      •••••••••••••••            31 0410276936201    phone
                                                                                                                                             - MOBILE- DATA [ 52709/62022: - 97.09953:32.93497:120)
1000    03/19/11     05:14P     1 8173436690    60:00    1 63    98               •••••••••••••••            310410276936201     phone       _ MOBILE_ DATA_   [ 527 0 9/62022 :- 97.09953:32 .9 3497 : 120)
1001    03/19/11     06:14P     18173436690     60:00 125607 429199               •••••••••••••••            3104 10276936201    phone       _ MOBILE_ DATA_   [ 52709/62022:-97 . 09953:32.93497:120)
1002    03/19/11     07:14P     18173436690     16:26      51    49               •••••••••••••••            310410276936201     phone       _ MOBILE_ DATA_   [52709 / 62022:-97 . 09953 : 32 .93497:120)
1003    03/19/11     07:3 0 P   18173436690      7 : 38           0           0   ***************            31041 0276936201    phone       _ MOBILE_ DATA_   [52903/27603 : -97.08444:32.92639 : 300)
1004    03/19/11     07:38P     18173436690     60 : 00 239067 111110             •••••••••• • ••• •         310410276936201     phone       _ MOBILE_ DATA_   [52707/14742 : -97.13406:32.83747: 128)
                                                                           7
                     08:38P     1 8173436690    60 : 00   2664 6       63756      •••••••••••••••            310410276936201     phone
1005    03/19/11
                                                                                                                                             - MOBILE- DATA    [52707/14742:-97 .134 06:32.83747:128)
1006    03/19/11     09:38P     18173436690     60 : 00     833        1474       ***************            310410276936201     phone       _ MOBILE_ DATA_   [52707/14742:-97.13406:32.83747:128)
1007    03/19/ 1 1   1 0 :38P   181 73436690    60 : 00     435        1081       * **************           31 0410276936201    phone       _ MOBILE_DATA_    [52707/14742:-97.13406:32.83747:128)
1008    03/19/11     11:38P     18173436690     60 : 00     161         448       •••••••••••••••            310410276936201     phone       _ MOBILE_ DATA_   [52707/14742:-97 . 13406:32.83747:128)
1009    03/20/11     12 : 38A   18173436690     60:00       438        1541       •••••••••••••••            310410276936 20 1   phone       _ MOBILE_ DATA_   [52707/14742:-97 . 13406:32 . 83747:128)
1010    03/20/11     01:38A     18173436690     1 5:22      2 17        737       •• • ••••••••••••          310410276936201     phon e      _ MOBILE_ DATA_   [ 52707/ 1 4742:-97 . 13406:32.83747 : 128)
1011    03 / 20/11   01:53A     18173436690       0: 12        0          0       • • • • •• • ••• ••• • •   310410276936201     phone       _ MOBILE_ DATA_   [52818/24771:-97.11131:32.82294:60)
1012    03/20/11     01:53A     18173436690       7:37         0              0   •••••••••••••••            310410276936201     phone       _ MOBILE_ DATA_   [ 52903 /402 83:-97 . 10911:32.842 :240 )



                                                                                             AT&T Pro prie t ary
        AMO
                                 The informa ti on contained here is for u se by authorized person o nly and is                                                                                     Page 60
                                                          n ot for gene ral distri but i on.
                               Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 58 of 99 PageID 3878
                                                                                                                                                                                  ~ at&t
915465.00 1                                                MOBILITY USAGE
04/15/2011
SCAMP                                                   {with cell location)


 Run Date:           04/15/2011
 Run Time:           15: 2 8:58
 Data Usage For:     (817)343-6690
 Account Number:     318912244
Item      Conn .      Conn.      Originating   Elapsed Bytes         Bytes           IMBI                  IMSI                 Access     Description     Cell Location
          Date        Time         Number       Time       Up          Dn                                                          Pt
1013    03/20/11     02:01A 18173436690          60 : 00 220289      604686   ••••••••• •••• ••     3104 10 276936201      p h one       _ MOBILE_ DATA_ [52709/23 473:-97. 0791 4:32.938 8 1:248]
1014    03/20/11     03:01A 18173436690          60:00    74971      129533   •••••••••••••••       310410 2 76936201      phone         _ MOBILE_ DATA [ 52709/ 23473:-97. 079 14:32. 9388 1: 248]
1015    03/20/11     04 : 0 1A 18173436690       20:50 501333 461945          •••••••••••••••       310410276936201        p h one       _ MO BILE_ DATA_ [ 52709/23473 :- 97.07914 :3 2.9388 1:248]
                                                                   2
1016    03/20/11     04 :2 2A 18173436690         0:41     54046  506680      ***************       310410276936201        p hone        _ MOBILE_ DATA_ [52 709/23473:-97.07914:32.9388 1 :248]
                                                                         4
1017    03/20/11     04:22A 18173436690           0 :17    289 12 509 1 95    •••••••••••••••       310410276936201        phone         _ MOBILE_ DATA_ [ 52709/23473: - 97.07914:32.93881:248 ]
                                                                         6
1018    03/20/11     04:23A 18173436690           3:49     92805 502808       •••••••••••••••       310410276936201        p h one       _ MOBILE_ DATA_ [ 52709 / 23473:-97.07914:32.93881:248]
                                                                          2
1019    03/20/11     04 : 26A 18173436690         0:31     40328 507996       ***************       310410276936201        phone         _ MOBILE_ DATA_ [ 52709 / 23473:-97.07914:32.93881:248]
                                                                          4
1020    03/20/11     04:27A 1817 3436690          0:39     38417     508185   *** ** **********     310410276936201        phone         _ MOBILE_ DATA_ [52709 / 23473:-97.07914:32.93881:2 4 8)
                                                                          7
1021    03/20/11     04:28A 18173436690           2:04     96267     502383   •••••••••••••••       310410276936201        phone         _ MOBILE_ DATA_ [ 52709 / 23473:-97.07914:32.93881:248)
                                                                          9
1022    03/20/11     04 : 30A 18173436690         0:30     60187     505989   ***************       3104102769362 01       phone         _ MOBILE_ DATA_ [52709 / 23473: - 97 . 07914:32 . 93881 :248)
                                                                          8
1023    03/20/11     04:30A 18173436690           0:23     3 1 200   508900   •••••••••••••••       310410276936201        phone         _ MOBILE_ DATA_ [52709 / 23473: - 97 .07 9 1 4:32.93881 :2 48 )
                                                                          0
1024    03/20 / 11   04 : 31A 18173436690         0:35     56582     506396   •••••••••••••••       310 4 1 02769 362 01   phone         _ MOBILE_ DATA_ [5 27 09 / 23473:- 97.07 9 14:32.93881 :2 48)
                                                                          0
1025    03/20/11     04 :31A 18173436690          0 : 22   35236 508533       • ••••••••••••••      310410276936201        phone         _ MOBILE_ DATA_ [52709 /2 3473: - 97.07914:32.93881 : 248 )
                                                                      0
1026    03/20/11     04:31A 18173436690           0:33     42427 507887       •••••••••••••••       3104 1 0276936201      phone         _ MOBILE_ DATA_ [5 2709 / 23473:-97.0791 4:32 .93 881 :248)
                                                                          2
1027    03/20/11     04:32A 18173436690           0:30     41348 508002       • ••••••••••••••      310410276936201        phone         _ MOBILE _ DATA_ [ 52709 / 23473: - 97 . 07914:32.9388 1 :248)
                                                                      4
1028    03/20/11     04:33A 181734 3 6690         1 : 39   97630 502367       •••••••••••••••       310410276936201        pho ne        _ MOBILE_DATA_ [ 52709 / 23 47 3:-97.07914:32.93881:248)
                                                                      1
1 029   03/20/11     04:34A 18173436690           0:3 5    73572 504762       •••••••••••••••       310410276936201        phone         _ MOBILE_ DATA_ [52709/234 7 3:-97 . 07914:32.93881:248]
                                                                          9
1030    03/20/11     04:35A 18173436690           0 : 42   45052     507633   •••••••••••••••       3 1 0410276936201      p h one       _ MOBILE_ DATA_ [52709 / 23473: -9 7.07914: 32.93881:248)
                                                                      1
1031    03/20/11     04:35A 1 8 1 73436690        0:26     44204 507623       ••• •• •••• •••• ••   3 1 0 41027693620 1    phone         _ MOBILE_ DATA_ [52709 /2347 3:- 97 .0 7914 :3 2.93881:248]
                                                                          7
1032    03/20/11     04 :36A 18173436690          0 : 23   32188     508900   ••• •••••• ••••••     310410276936201        phone         _ MOBILE_ DATA_ [52709/23473 :-9 7.07914:32 . 93881: 248)
                                                                          0
1033    03/20/11     04:36A 1 8173436690          0:33     39616     508130   •••••••••••••••       310410276936201        phone         _ MOBILE_ DATA_ [52709 / 23473 :- 97.07914:32.93881 : 248]
                                                                          2
1034    03/20/11     04 : 37A 18173436690         0:14     28288     509180   •••••••••• ••• ••     31041027 6 936201      phone         _ MOBILE_ DATA_ [52709/23473 :-9 7 . 079 1 4:32.93881:248)
                                                                          0




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                                                      not for general distribution .
                                   Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 59 of 99 PageID 3879                                                                      -...,.,.,
915465.001                                                      MOBILITY USAGE
04/ 15 / 2011
SCAMP                                                        (with cell location)                                                                                                  ~ ~ at&t

 Run Date:            04/15/2011
 Run Time:            15:28:58
 Data Osage For:      (817)343 - 6690
 Account Number:      318912 244
Item       Conn .     Conn.        Originat ing   Elapsed    Bytes     Bytes              IMEI                 IMSI             Access       Description     Cell Location
           Date        Time       Number           Time       Up        Dn                                                         Pt
1035    03/20/11      04:3 7A 18173436690           0:37      45900 507435         ••••••••••• ••••     310410276936201      phone         _ MOBILB_ DATA_ [52709 / 23473:-97.07914:32.93881:248]
                                                                         2
1036    03/ 20 / 11   04:38A 18173436690            0 : 29    36348 508480         •••••••••••••••      3104 1 0276936201    p hone        _ MOBILE_ DATA_ [ 52709/2 34 73 : -97.07914 :32. 93881:2 48]
                                                                         0
1037    03/20/11      04 : 38A 18173436690          0:51      86823    503370      ***************      310410276936201      phone         _ MOBILE_ DATA_ [ 52709/ 23473: -97.079 14 : 32 . 93881 :248 ]
                                                                            7
1038    03/20/1 1     04:39A 18173436690            0:40      53939 506688         •••••••••••••••      310410276936201      phone         _ MOBILE_ DATA_ [52709 / 23473 :- 97.07914:32. 9 3881: 248]
                                                                               9
1039    03/20/11      04:40A 18173436690           6 0: 00    95245 298915         •••••••••••••••      310410276936201      phone         _ MOBILE_DATA_ [52709/23473:-97.07914:32.93881:248]
                                                                           0
1040    03/20/11      05 : 40A   18173436690       60:00          51      49                            310410276936201      phone         _ MOBILE_ DATA_   [52709 / 23473 : -97.07914:32.93881:248]
1041    03/20/11      06:40A     181734 366 90     60:00          51      49                            310410276936201      phone         _ MOBILB_DATA_    [52709/ 23473 : - 97 . 07914:32.93881: 248]
1042    03/20/11      07:40A     18173436690       60:00       4811 10950                               310410276936201      phone         _ MOBILE_ DATA_   [52709/ 23473:-97.07914:32.93881 :24 8]
1043    03/20/11      08:40A     1 81 73 436690    60:00     1118 3 0 298230                            310410276936201      phone         _ MOBILB_DATA_    [52 709/ 23473:-97.07914:32.93881:248]
1044    03 / 20/11    09:40A     18173436690       60:00        103       49                            3104102769362 0 1    phone         _ MOBILB_ DATA_   [52709 / 23473: - 97.07914:32.93881:248]
1045    03/20/11      10:40A     18173436690       45:27     227293 489352                              310410276936201      phone         _ MOBILE_ DATA_   [52709 / 23473:-97.07914:32.93881:248]
                                                                               5
1046    03/20/1 1     ll:25A 18173436690            9:39 149719 497082                                  310410276936201      phone         _ MOBILE_ DATA_ [52709 / 23473:-97.07914:32.93881:248]
                                                                               6
1047    03 / 20/11    11:3 5A 1 817 3 436690       58:46 285210 483609                                  310410276936201      phone         _ MOBILE_DATA_ [52709 / 23473: - 97.07914:32.9388 1 :248]
                                                                         9
1048    03/20/11      l2:34P 18173436690            0:38      57735 506355         •••••••••••••••      310410276936201      phone         _ MOBILE_ DATA_ [52709/23473:-97.07914:32.93881:248]
                                                                         7
1049    03/20/1 1     12 : 34P 18173436690          1:08      66 411 505385        ***** ***** *****    310410276936201      phone         _ MOBILE_ DATA_ [52709 / 23473 :- 97.07914:32.9388 1: 248]
                                                                               4
1 050   03/20/ll      12:35P 18173436690            0:4 0     5 1296   506990      ***** **********     310410276936201      phone         _ MOBILE_ DATA_ [ 52709/23473:-97.07914:32.93881:248]
                                                                            7
1051    03/20/11      12 : 36P 1817 3 4 36690       0 : 53    56038 506414         •••••••••••••••      310410276936201      phone         _MOBILE_ DATA_ [ 52709/23473:-97.07914:32.93881 :2 48]
                                                                            l
1052    03/20/11      12:37P 18173436690           53:16      67024    305761      •••••••••••••••      310410276936201      phone         _ MOBILE_ DATA_ [52709 / 23473:-97.0791 4 :32.93881:2 48]
                                                                            7
1053    03/20/11      01:30P 1 8173436690           7:39      0             0      ••••••• •• •••• ••   3104 1 027693620 1   phone         _ MOBILE_ DATA_ [52903 / 27609:-97.08444 : 32.92639:]
1054    03/20/11      Ol:38P 18173436690            4:31 117551 500375             ••••••••••••• ••     310410276936201      phone         _ MOBILB_ DATA_ [52707/41588:-97.13542 :32. 85347:120]
                                                                               2
1055    03/20/11      Ol:42P 18173436690           60:00      18403 280802                              310410276936201      phone         _ MOBILE_ DATA_ [52707/ 41588:-97 .13542:32.85347:120]
1056    03/20/11      02:14P 18173436690            2:46       5760 43044                               310410276936201      acds . voicem MOBILE DATA [52707 / 40649: - 97.16078:32 . 85086 :24 8]
                                                                                                                             ail
                                                                                                                                          -        -     -
1057    03/20/11      02:15P 18173436690            1 :51 290448         6078      .....•.•.•...••      310410276936201      wap . cingu1a _ MOBILB_ DATA_ [52707 / 40649:-9 7 .16078:32 . 85086:248]
                                                                                                                             r
1058    03/20/11      02:20P 18173436690            0:26       2061      133 5     .....••........      310410276936201      acds.voicem _ MOBILB_DATA_ [52707 / 40649:-97 . 16078:32.85086 : 248]
                                                                                                                             ail
1059    03/20/11      02:42P 18173436690           60:00       5179      8515      ••••• •• ••• •••••   310 410276936201     phone         _ MOBILE_ DATA_ [52707 / 40649:-97.16078:32.85086:248]



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                                                         not for general distribution.
915465.00 1
                                  Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 60 of 99 PageID 3880
                                                              MOBILITY USAGE
04/15/2011
SCAMP                                                      {with cell location )                                                                                                               €? at&t

 Run Date:           04/15/2011
 Run Time:           15:26:58
 Data Usage For:     (617)343·6690
 Account Number:     318912244
Item         Conn.    Conn.    Originating      Elapsed    Bytes       Bytes                  IMEI                       IMSI               Access       Description      Ce ll Location
             Date     Time       Number          Time       Up          On                                                                     Pt
1060    03/20/ll     03:42P 18173436690          60:00      3664        13514      •••••••••••••••                 310410276936201     phone           _ MOBILE_ DATA_ [52707/40649:-97 . 16078:32.85086:248]
1 061   03/20/ll     04:l5P 18173436690           0:50      3079        42438      ... . . . . . . . . . . . . .   310410276936201     acda . voicem   _ MOB I LE_ DATA_ [52707/40649:-97.16078:32.85086:248]
                                                                                                                                       ail
1062    03/20/ll     04:18P 181 73436690          0 : 20    2061         1335      .•••...••.•....                 310410276936201     acds.voicem
                                                                                                                                                       - MOB ILE- DATA-   [52707/40649: - 97. 1 6078:32.85086:248]
                                                                                                                                       ail
1063    03/20/ll     04:42P 18173436690          60:00      2592   8993            ...............                 310410276936201     phone
                                                                                                                                                       -_ MOBILE- DATA-   [52707/40649:-97.16078:32.85086:248]
1064    03/20/ll     05:11P 18173436690           2:21      5954 110531                                            310410276936201     acda . voicem      MOBILE_DATA_    [52707 / 40649:-97.16078:32.85086:248]
                                                                                                                                       ail
1065    03/20/ll     05:42P     18173436690      15:43       378         1425      ****** * ********               310410276936201     p h one         _ MOBILE_ DATA_    [52707/40649:-97.16078:32.85086:248]
1066    03/20/ll     05:58P     18173436690       9:13             0           0   •••••••••••••••                 3104 10276936201    p h one         _ MOBILE_ DATA_    [52903/40289 : -97.10911:32.842:240]
1067    03/20/1 1    06:07P     181 7 3436690    60:00 254529 818917               •••••••••••••••                 310410276936201     phone           _ MOBILE_ DATA_    [52818/40318 : -97.06083:32.77256:120]
1068    03/20/ll     07:07P     18173436690      60:00 113109 363875               ...............                 310410276936201     p h one         _ MOBILE_DATA_     [ 5 2818/27353:-97.09664:32.77369:248]
1069    03/20/11     07:45P     18173436690       0:52   4281  64388                                               310410276936201     acda.voicem     _ MOBILE_DATA_     [52818/41369:-97.09664:32.77369:240]
                                                                                                                                       ail
1070    03/20/ll     08 : 07P 18173436690        60:00       106          393                                      310410276936201     phone           _ MOBILE DATA_ [52818/41369:-97.09664:32.77369:240]
1071    03/20/ll     08:47P 18173436690           0:50      3479        60159                                      310410276936201     acda . voicem   _ MOBILE_DATA_ [ 52818/41369:-97.09664:32.77369:240]
                                                                                                                                       ail
1072    03/20/l l    09:07P 18173436690          60 : 00     323          841      •••••••••••••••                 310410276936201     phone           _ MOBILE_ DATA_ [ 52818/4 1369 :- 97 . 09664:32.77369:240]
1073    03/20/ll     09:38P 18173436690           1:57      4178         2670      •• • •••••• • •• • ••           310410276936201     acda.voicem     _ MOBILE_DATA_ [ 52803/14677: - 97.09319:32.75886:8]
                                                                                                                                       ail
1074    03/20/ll     l0:07P     18173436690       4 : 00      0      0                                             310410276936201     phone           _ MOBILE_DATA_     [52818/27359 : -97.09664:32.77369:]
1075    03/20/ll     lO:llP     18173436690       0:19        0      0                                             310410276936201     phone           _ MOBILE_DATA_     [52001/41363:-97.09664:32 . 77369:248]
1076    03/20/ll     lO:l2P     18173436690       1:09        0      0                                             310410276936201     phone           _ MOBILE_ DATA_    [52008/41102:-97.13536:32.81506 : 120 ]
1077    03/20/ll     lO:l3P     18173436690       0:19        0      0             ...............                 310410276936201     phone           _ MOBILE_DATA_     [52001 / 18263: - 97.02939:32.81042:248 ]
1078    03/20/ll     lO : l3P   18173436690       3:30        0      0             .•.............                 310410276936201     phone           _ MOBILE_ DATA_    [52818/41367: - 97.09664:32.77369:0]
1079    03/20/ll     lO:l7P     18173436690      25:12     7060  62304             ** *********** * *              310410276936201     phone           _ MOBI LE_DATA_    [52903/18589:-97.05194:32.7925:]
1080    03/20/ll     l0:42P     18173436690       8:07      208    307             ...............                 310410276936201     phone           _ MOBILE_ DATA_    [52709/24332:-97 . 09953:32.93497:128]
1081    03/20/ll     l0:50P     18173436690       1:55       51      0             •••••....•...•.                 310410276936201     phone           _ MOBILE_ DATA_    [52807/61999:-97.06947:33.01606:240]
1082    03/20/ll     l0:52P     18173436690       0:22        0      0             ...............                 310410276936201     phone           _ MOBILE_ DATA_    [52709/60427 : -97.09917:32.9558 1 :8]
1083    03/20/ll     l0 : 52P   18173436690       l: 1 4      0      0                                             3 1 0410276936201   phone           _ MOBILE_DATA_     [52807/61999 : -97.06947 : 33.01606:240]
1 084   0 3 /20/ll   l0:53P     18173436690      60 : 00  88366 183582             ...............                 310410276936201     phon e          _ MOBILE_ DATA_    [52709/60427 : -97.099 1 7:32.9558 1 :8]
1085    03/20/ll     ll:53P     18173436690      33 : 39 340148 478007             •••••......•...                 3 1 0410276936201   phone           _ MOBILE_ DATA_    [52709/60427:-97.09917:32.95581:8]
                                                                     5
1086    03/21/ll     l2:27A 18173436690          43 : 35 347796 477270             •••••••••••••••                 310410276936201     phone           _ MOBILE_ DATA_ [52709/60427:-97.09917:32.95581:8]
                                                                            9
1087    03/21/ll     01:11A 18173436690           0:23     35168       508613      •••••••••••••••                 310410276936201     phone           _ MOBILE_DATA_ [ 52709/60427:-97 . 09917:32.95581:8]
                                                                            8
1088    03/21/ll     01:11A 18173436690           0:30     49109       507213      •••••••••• • ••••               310410276936201     phone           _ MOBILE_ DATA_ [ 52709/60427 : -97.09917:32.95581 : 8]
                                                                            7




                                                                                                 AT&T Proprie ta r y
        AMO                      The information c ontained h e r e is f o r u s e by a utho rized p e r son only a nd i s                                                                                Page 63
                                                         n o t for general d i stribu t i on .
915465.001
                                  Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22                                             Page 61 of 99 PageID 3881                            -.,...;
                                                                                                                                                                                     ~; at&t
                                                                                      MOBILITY USAGE
04/15/2011
SCAMP                                                                              (with cell location)



 Run Date:              04/15/2011
 Run Time:              15:28:58
Data Usage For:         (817)343-6690
Account Number:         318912244
Item         Conn.      Conn .    Originating    Elapsed    Bytes   Bytes               IMBI                   IMSI               Access      Description    Cell Location
           Date         Time       Number         Time       Up     Dn                                                                 Pt
1089     03/21/11       01:12A 18173 43669 0       2:2 1    65180 505594        •••••••••••••••         31 0 4102769362 0 1   phone         _ MOBILE_ DATA_ [52709/60427:-97.09917:32.9558 1 :8]
                                                                       3
1090     03/21/11       01:14A 18173436690         0:17     32712 508783        •••••••••••••••         310410276936201       phone         _MO BILE_ DATA_ [52709/60427:-97.09917:32 . 95581:8]
                                                                            4
1091     03/21/11       01:14A 18173436690         1:13     60903 505978        •••••••••••••••         310410276936201       phone         _ MOBILE_ DATA_ [52709/60427 :-97.09917 : 32 . 95581:8]
                                                                       3
1092     03/21/11       01 :15A 18173436690        0: 1 7   36121 508421        •••••••••••••••         310410276936201       phone         _ MOBILE_ DATA_ [ 52709/60427: -97 .099 17: 32.9 5581 :8]
                                                                       0
1093     03/21/11       01:16A 1817 343669 0       1:02     72824 504734        •••••••••••••••         310410276936201       phone         _MOBILE_ DATA_ [52709/60427:-97.099 17: 32.95581:8]
                                                                            2
1094     03/21/11       01:17A 1 8173436690        0 : 40   40354   508082      •••••••••••••••         310410276936201       p hone        _ MOBILE_ DATA_ [52709 /60427 :-97.09917:32 .95581:8]
                                                                         5
1095     03/21/11       01 : 17A 1 8173 436690     0 : 53   63033   505833      ***************         310410276936 201      phone         _ MOBILE_ DATA_ [52709/60427 :- 97.09917:32.95 5 81 : 8]
                                                                         4
1096     03/21/11       01:18A 1 8173436690        1:31     97639   502278      •••••••••••••••         310410276936 20 1     phone         _ MOBILE_ DATA_ [52709 /6042 7:-97.09917: 32.9 5581:8]
                                                                         6
1097     03/21/11       01:20A 18173436690         0 : 16   29496   509120      ***************         310410276936201       phon e        _MOBILE_ DATA_ [52 709/60427 :-97 .09917:32.9 5581 :8 ]
                                                                         7
1098     03/21/11       01:20A 181734 366 90       0:39     43632   507675      •••••••••••••••         31041027693620 1      phone         _ MOBILE_ DATA_ [52709/60427:-97. 0 9917:32.95581:8 ]
                                                                         9
1099     03/21/11       01:21A 181734366 90        0 : 28   35959 508539        ***************         31041 0 276936201     phone         _ MOBILE_ DATA_ [52709/60427:-97.09917:32.95581:8]
                                                                       6
1100     03/21/11       01 :21A 1 81 7 3436690     0:20     42435 507769        •• •••• •••••••••       310410276936201       phone         _ MOBILE_DATA_ [52709/60427:-97.09917:32.95581:8]
                                                                       9
1101     03/21/11       01 :22A 18173436690        0:21     47827 507339        ***************         310410276936201       phone         _ MOBILE_ DATA_ [ 52 709 /6 0 427:-97 . 09917:32.95581 : 8 ]
                                                                       5
1102     03 /21/11      01:22A 18173 436690        0:49     47943 507298        •••••••••••••••         310410276936201       phone         _ MOBILE_DATA_ [ 52709/60427:-97.09917:32 . 95581:8 ]
                                                                            2
1103     03 /2 1 / 11   0 1:23A 18173436690        0 : 49   50238 506980        •••••••••••••••         310410276936201       phone         _ MOBILE_ DATA_ [ 52709/60427: - 97.09917:32.95581 : 8 ]
                                                                       0
1104     03 /2 1 / 11   01:24A 1817 3436690        1:20     88825 503178        •••••••••••••••         31 0410276936201      phone         _MOBILE_ DATA_ [ 52709/60427:-97.09917:32.9558 1 : 8]
                                                                            9
11 0 5   03 /2 1 / 11   01:25A 18173436690         0 : 31   35932 508495        • • •••••••••••••       310410276936 2 01     phone         _ MOBILE_ DATA_ [5270 9/60427: -97.09917:32.95581:8 ]
                                                                            6
1106     03 /21/ 11     01:25A 18173436690         0 : 24   32968 508760        * ****** ********       31 0410276936201      phone         _ MOBILE_ DATA_ [52709/60427: - 97.09917:32.95581:8]
                                                                       0
1107     03 / 21 /11    01 :26A 181734 36690       0 : 35   44975 507576        ................... .   310410276936201       phone         _ MOB ILE_ DATA_ [52709/ 60427:- 97. 09917:32.9 5581:8]
                                                                       2
1108     03 /2 1 /11    01:26A 18173436690         0:37     4897 5 507191       ***************         310410276936201       phone         _ MOBILE_ DATA_ [52709/60427:-97. 09 917:32.95581:8 ]
                                                                        5
1109     03/21/11       01 :27A 18173436690        1:10     66601 505438        ***************         3 1 0410276936201     phone         _ MOBILE_ DATA_ [52709/60427:-97.09917 : 32.95581 :8 ]
                                                                       7




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                               Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 62 of 99 PageID 3882
915465.001                                                 MOBILITY USAGE                                                                                                       ~
04 / 15 / 2011
SCAMP                                                    (with cell location)                                                                                                   ~ at&t

 Run Date:            04/15/2011
 Run Time:            15:28:58
 Data Usage For:      (817 )343-6690
 Account Number:      318912244
Item      Conn.       Conn.    Originating   Elapsed    Bytes     Bytes              IMBI                  IMSI               Access     Description    Cell Location
          Date         Time      Number       Time        Up        Dn                                                           Pt
1110    03/2 1 / 11   01:28A 18173436690       0 : 19    36333 508377         •••••••••••••••       310410276936 20 1      phone       _ MOBILE_ DATA_ [52709/60427:-97 . 09917:32.9 55 81:8)
                                                                          7
1111    03/21/1 1     01:28A 18173436690       0: 19     34940 5 08 516       •••••••••••••••       31041027693620 1       phone       _ MOBILE_ DATA_ [5 2709 /60427 : -9 7.09917: 32 .955 81:8)
                                                                          6
111 2   03/2 1 / 11   01:29A 18173 4 36690     0:27      45021 507585         •••••••••••••••       31041027693620 1       phone       _ MOBI LE_DATA_ [52709/60427:·97.099 1 7:32 .9 5581 : 8)
                                                                          5
1 113   03/2 1 / 11   01:29A 18173436690       1:07      54128 506654         •••••••••••••••       310410276936 2 01      phone       _ MOBILE_ DATA_ [52709/60427:-97.09917:32.95581:8)
                                                                    6
1114    03/2 1 / 11   01:30A 18173436690       1:35     117 354   50030 1     '************** *     31 04 1 02769 3 6201   phone       _ MOBILE_ DATA   [52709/6 042 7:-97.0 9917:32.95581:8)
                                                                        8
1115    03/2 1 / 11   01: 32A 18173436690      1:50      91029    502915      •••••••••••••••       310410276936201        phone       _ MOBILE_DATA_ [52709/60427:·97. 09 917:32 . 95581:8)
                                                                        9
1116    03/2 1 /11    01:34A 18173436690       0:2 0     35260 508578         •••••••••••••••       310410276936201        phone       _ MOBILB_ DATA_ [52709 /60 427:-9 7.0 9917:32 .95581:8 )
                                                                       6
1117    03/2 1 / 11   01:34A 18173436690       0:26      44783    507607      •••••••••••••••       310410276936201        phone       _ MOBILB_ DATA_ [52709/60427:-97.09917:32.95581 : 8 )
                                                                       1
1 118   03/2 1 / 11   01:35A 18173436690       0:17      29900 509137         •••••••••••••••       310410276936201        phone       _ MOBILB_ DATA_ [52709 /60 427:-97.09917:32.95581 :8 )
                                                                       4
1119    03/2 1 / 11   01:35A 18173436690       0:19      31474    508945      •••••••••••••••       31041027693620 1       phone       _ MOBILE_ DATA_ [ 52709/60427 :- 97.09917:32.95581:8)
                                                                       1
1120    03/2 1 / 11   01:35A 18173436690       1:09      88672    503218      •••••••••••••••       310410276936201        phone       _ MOBILE_DATA_ [ 52709/60427:-97.09917:32.95581:8)
                                                                       7
1121    03/21/11      01:36A 18173436690       0:15      28236    509190      •••••••••••••••       310410276 936201       phone       _ MOBILB_ DATA   [52709/60427:-97.09917:32 . 95581 : 8)
                                                                       4
1122    03/2 1 / 11   0 1 :37A 18173436690     0:16      28548    509180      •••••••••••••••       310 410276936201       phone       _ MOBILE_ DATA_ [52709 /60427 : -97.09917:32 . 9558 1: 8)
                                                                       0
1123    03/2 1 / 11   01:37A 18173436690       0:30      35479 508488         •••••••••••••••       310410276936201        phone       _ MOBILB_OATA    [527 09/604 27:-9 7 .09917 :32 . 9558 1 :8)
                                                                    0
1 124   03/2 1 / 11   01:37A 18173436690       0:57      59148 506165         •••••••••••••••       310410276936201        p hone      _ MOBILE_ DATA_ [52 709/6042 7: -97.09917 :32.95581:8)
                                                                         4
1125    03/2 1 /11    01:38A 18173436690       1:57      90349 503062         ••• ••••••• •• •• •   31041 0276936201       p hone      _ MOBI LE_DATA_ [52709/6 0427 :- 97 . 09917 : 32.95581:8)
                                                                         7
1126    03/2 1 / 11   01:40A 18173436690       0 : 30    45032    507633      ***************       310410276936201        phone       _ MOBILE_ DATA_ [ 52709/60427:-97.09917:32.95581:8)
                                                                       2
1127    03/2 1 /11    01:41A 18173436690       0:25      36767    508324      * *********** ***     310410276936201        phone       _ MOBILE_ DATA_ [52709/60427:-97.09917:32. 95581:8)
                                                                       1
1128    03/2 1 / 11   01:41A 1817343669 0      9 : 58 232282      488868      •••••••••••••••       31 041 0276936201      phone       _MOBILB_ DATA_ [52709/60427:-97 .09917:32 . 95581:8]
                                                                         2
1129    03/2 1 / 11   01 :51A 18173436690      0:22      36568 508347         *** *** ****** ***    3104 10276936201       phone       _ MOBILB_OATA_ [52709/60427:-97.09917:32.95581 :8 ]
                                                                    6
1130    03/2 1 / 11   01:51A 1817343669 0      2:11      55029    506531      ***************       310 41 0 276936201     phone       _ MOBILE_ DATA   [52709/ 60427:-97.09917:32.9 5581 :8)
                                                                         5




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915465.001
                                 Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 63 of 99 PageID 3883                                                                   -...,.,
                                                                                                                                                                              ~ ~ at&t
04/15/2011
                                                             MOBILITY USAGE
SCAMP                                                     (with cell location)


 Run Date:            04/15/2011
 Run Time:            15:28:58
 Data Usage For:      (817)343-6690
Account Number:       318912244
Item         Conn.     Conn.    Originating   Elapsed   Bytes      Bytes              IMEI                  IMSI               Access    Description      Cell Location
          Date         Time       Number       Time      Up         Dn                                                            Pt
1131    03/21/11      01:54A 18173436690        1:29     93530 502756          •••••••••••••••      310410276936201         phone       _MOBILE_ DATA_ [52709/60427 :-97.09917:32.95581:8]
                                                                    1
1132    03 /21/11     01:55A 18173436690        0:30     45073 507599          •••••••••••••••      310410276936201         phone       _ MOBILE_ DATA_ [52709/60427 :-97.09917:32.95581:8 ]
                                                                    6
1133    03/21/11      01:56A 18173436690        0:42     56017 506452          •••••••••••••••      310410276936201         phone       _MOBILE_ DATA_ [52709/6 0427:-97.09917:32.95581:8]
                                                                    9
1134    03/21/11      01:56A 18173436690        0:40     55493 506483          ***************      310410276936201         phone       _MOBILE_ DATA_ [52709/60427 : -97 . 09917:32.95581:8]
                                                                    4
1135    03 / 21/ 11   01:57A 18173436690        1:07     34188 508620          •••••••••••••••      310410276936201         phone       _ MOBILE_ DATA_ [52709/60427:-97 .09917:32.95581:8]
                                                                    5
1136    03 / 21/11    01:58A 181734 36690       2:03    107492 501278          •••••••••••••••      310410276936201         phone       _MOBILE_ DATA_ [52709/60427:-97 . 09917:32.95581:8]
                                                                    1
1137    03 /21/11     02:00A 18173436690        0:26     47260 507308          •••••••••••••••      310410276936201         phone       _ MOBILE_ DATA_ [52709/60427:-97.09917:32.95581:8]
                                                                           6
1138    03/21/11      02:01A 18173436690        0:26     33748 508760          ••••••••••• • •••    310410276936201         phone       _ MOBILE_ DATA_ [52709/60427:-97.09917:32.95581:8]
                                                                    0
1139    03/21/11      02:01A 1 8173436690       0:52     56251 506458          ***************      310410276936201         phone       _ MOBILE_ DATA_ [52709/60427:-97 .09917 : 32.95581:8 ]
                                                                    5
1140    03/21/11      02:02A 18173436690        0:59     62699 505818          •••••••••••••••      3104102769362 01        phone       _ MOBILE_ DATA_ [52709/60427:·97 .09917:32.95581:8]
                                                                           5
1141    03/21 /11     02 : 03A 18173436690      1:27     59896     506011      •••••••••••••••      310410276936201         phone       _ MOBILE_ DATA_ [52709/60427:-97.09 917:32 . 95581:8]
                                                                        8
1142    03 /2 1/11    02:04A 18173436690        0:20    31044      508905      •••••• •• ••••• ••   310410276936201         phone       _ MOBILE_DATA_ [52709/60427:-97.09917:32.95581:8]
                                                                        2
1143    03/21/11      02:05A 18173436690        0:53    60001 506 11 5         •••••••••••••••      3 1 04 1 02769362 0 1   phone       _ MOBILE_ DATA_ [52709 /60427 : -97.09917:32.95581:8]
                                                                     2
1144    03/21/11      02:06A 18173436690        1:01     5 11 68   506942      •••••••••••••••      310410276936201         phone       _ MOBILE_ DATA_ [ 52709/60427:-97 . 09917:32.95581:8]
                                                                           2
1145    03/21/11      02:07A 18173436690        0:14    28444 509 1 90         •••••••••••••••      3 1 0410276936201       phone       _ MOBILE_ DATA_ [5 2709/60427:-97.09917:32.95 581 :8]
                                                                           4
1146    03/21/11      02:07A 18173436690       6 0:00 134663       400606      •••••••••••••••      310410276936201         phone       _ MOBILE_ DATA_ [ 52709/60427:-97 . 09917:32 . 95581:8]
                                                                        6
1147    03/21/11      03:07A    18173436690    60:00   6590         28248                           310410276936201         phone       _MOBILE_DATA_     [52709 /60427 :-97.09917:32.95581:8]
1148    03/21/11      04:07A    18173436690    60: 00   891           526                           310410276936201         phone       _ MOBILE_ DATA_   [52709/60427:-97 . 09917:32.95581:8]
1149    03/21/11      05 :07A   18173436690    60:00 192699        669530                           310410276936201         phone       _MOBILE_DATA_     [52709 /60427: -97.09917: 32 .95581:8]
1150    03/21/11      06:07A    18173436690    55:46 470646        464954      ...............      310410276936201         phone       _ MOBILE_ DATA_   [52709 /60427: -97.09917:32.95581:8]
                                                                         1
1151    03 / 21/11    07: 03A 18173436690       0:38 109364 501075                                  310410276936201         phone       _ MOBILE_DATA_ [52709 /60427 : -97.09917:32.95581:8]
                                                                           0
1152    03/21 / 11    07:03A 18173436690        0:31 106964        501340      ...............      310410276936201         phone       _MOBILE_ DATA_ [52709/60427 : -97.09917:32.95581:8]
                                                                           0
1153    03/2 1 / 11   07:04A 18173436690        0:26 105456 501480                                  310410276936201         phone       _MOBILE_ DATA_ [52709/6 0427:-97.09917:32.95581:8]
                                                                           0



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9 1 5465.00 1                     Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 64 of 99 PageID 3884
                                                               MOBILITY USAGE
04/15/20 11
SCAMP                                                       (with cell location)                                                                                                     €? at&t

 Run Date:            04/15/2011
 Run Time:            15:28:59
 Data Osage For:      (817)343-6690
 Account Number:      318912244
Item         Conn.     Conn.      Originating   Elapsed   Bytes     Bytes            IMEI                 IMSI                Access        Description       Cell Location
             Date      Time       Number         Time      Up        Dn                                                          Pt
1154    03/21/11      07:04A 1 8173436690         0:31 107432       501340    •••••••••••••••       310410276936201     p hone          _ MOBILE_ DATA_ [527 09/ 60427 : -97.09917:32.95581:8]
                                                                         0
115 5   03/21/11      07 : 05A 18173436690       60:00    348048    341578    •••••••••••••••       310410276936201     phone           _MOBILE_DATA_ [52709 /60427: -97.09917:32.95581:8 ]
                                                                         3
1156    03/21/11      08:05A     18173436690     60:00 113428       406028    ...............       310410276936201     phone           _ MOBILE_ DATA_       [52709/ 60427: -97.09917:32.95 5 81:8]
1157    03 /2 1/11    09:05A     18173436690     60:00  83011       166431                          3104102769362 01    phone           _MOBILE _ DATA_       [ 52709/60427:-97.09917:32.95581:8]
1158    03/21/11      10:05A     18173436690      0:33   1562         2456                          310410276936201     phone           _ MOBILE_ DATA_       [ 5 2709 /604 27:-97.09917:32.95581:8 ]
1159    03/21/11      10:05A     18173436690      0:17      0            0                          310410276936201     phone           _MOBILE_ DATA         [52903/03673:-97.08444:32.92639:300]
1160    03/21/11      10:05A     18173436690     60:00  71667 104112          ••••••••••••• • •     310410276936201     phone           _ MOBILE_ DATA_       [52709 /6 2028:-97.09953:32.93497:120]
1161    03/21/11      10:35A     18173436690      0:42   3359  58225          ............... .     310410276936201     acds.voicem     _ MOBI LE_ DATA_      [52709 / 24338:-97.09953:32.93497:]
                                                                                                                        ail
1162    03/21/11      10:44A 18173436690          1:16     2061       1335    •••••••••••••••       310410276936201     acds.voi cem _ MOBILE_ DATA_ [52709/24338:-97.09953 : 32.93497: ]
                                                                                                                        ail
1163    03/21/11      11:05A 18173436690         60:00    63994 111226        ................      310410276936201     phone           _ MOBI LE_ DATA_ [52709 /2 4338:-97 . 09953 : 32 . 9 3497 :]
1164    03/2 1 / ll   l2:05P 18173436690         60:00      217    737        ..............•       310410276936201     phone           _ MOBILE_ DATA_ [52709 / 24338:-97.09953:32.93497:]
1165    03/21/11      01:04P 18173436690          0:51     3159  42315                              310410276936201     acds.voicem     _MOBILE_ DATA_ [52709 /2 4332:-9 7.09953 :32.9 3497:128]
                                                                                                                        ail
1166    03/21/11      01 : 05P 18173436690       60:00    91694 241955        •••••••••••••• •      310410276936201     phone           _ MOBILE_ DATA_ [52709 /243 32: - 97 . 09953:32.93497:128]
1167    03/21/11      01:06P 18173436690          0:32     2061       1335    ......••....••.       310410276936201     acds.voicem
                                                                                                                                        - MOBILE DATA [52709/24338:-97.09953:32.93497:]
                                                                                                                                                 -        -
                                                                                                                        ail
1168    03/21/11      02:05P     18173436690      1:17  32663 1 06505         •••••••••••••••       310410276936201     phone           _ MOBILE_ DATA_       [52709/24338:-97.09953:32.93497:]
1169    03/21/11      02:07P     18173436690      0:17   2488    2695         ••••••••• • •••••     310410276936201     phone           _ MOBILE_ DATA_       [52903/03673: - 97.08444:32.92639:300]
1170    03/21/11      02:07P     18173436690     26:13 192214 715237          .......••......       310410276936201     p h one         _ MOBILE_ DATA_       [52709/60313:-97.07914:32.93881:240 ]
1171    03/21/11      02:33P     18173436690      0:04      0       0                               310410276936201     p h one         _MOBILE_ DATA_        [52903/60087:-97.09742:32.89986:0]
1172    03/21/11      02:33P     18173436690     60:00 140164 315526                                310410276936201     phone           _ MOBILE_ DATA_       [52709/62028:-97.09953:32.93497:120]
1173    03/21/11      02:34P     18173436690      0:54   3599   89808                               3 1 0410276936201   acds.voicem     _ MOBILE_DATA_        [52709/62028:-97.09953:32.93497:120]
                                                                                                                        ail
1174    03/21/11      02 : 43P 18173436690        1:31     2061      1335                           310410276936201     acds.voicem
                                                                                                                                        - MOBILE- DATA        [5 2709/62028: - 97.09953:32.93497: 1 20]
                                                                                                                        ail
1175    03/21/11      03:33P     18173436690     17:33     6804  37279                              310410276936201     phone           _ MOBILE_ DATA_       [52709 /62028: - 97 . 09953 : 32.93497:12 0]
1176    03/21/11      03:51P     18173436690      0:41        0      0        ...............       310410276936201     p hone          _ MOBILE DATA_        [52903/03677:-97.08444:32.92639:60]
1177    03/21/11      03:52P     18173436690     60:00    59514 133035                              31041027 693 6201   phone           _MOBIL E_ DATA        [52709/60318:-97.07914:32 . 93881:120 ]
1178    03/21/11      04:52P     18173436690     60:00    14022  58578        ......•..•.....       310410276936201     phone           _ MOBILE_ DATA_       [52709/60318: - 97.07914:32.93881:120]
1179    03/21/11      05: 5 2P   18173436690     39:34     7572  16552                              310410276936201     phone           _MOBILE_DATA_         [52709/60318:-97.07914:32.93881:120]
1180    03/21/11      06:04P     18173436690      4:02     3399  78444        ...•.•........•       310410276936201     acds.voicem     _ MOBILE_ DATA_       [52709/60313: - 97 . 07914 : 32.93881:240]
                                                                                                                        ail
1181    03/21/11      06:45P 18173436690          4:02     2231     31897     *** * *** **** ****   310410276936201     acds . voicem   _ MOBILE_ DATA_ [ 52709/23473: - 97.07914:32.93881:248]
                                                                                                                        ail
1182    03/21/11      06:45P 18173436690         60:00     1774      1574     **** * *** *** ****   3104102 7693620 1   phone           _ MOBILE_ DATA_ [ 52709 /234 73: - 97.07914 : 32.93881:248]
1183    03/21/11      07:45P 18173436690         10:40          0         0   •••••••••••••••       310410276936201     phone           _ MOBILB_ DATA_ [52709 / 23473: - 97.07914:32.93881 : 248]



                                                                                       AT&T Propri e tary
        AMO
                                  The informa tio n containe d here i s f or u s e by a utho r i z e d p e rso n o nly a n d is                                                                 Page 67
                                                           n ot f o r genera l d i s tribu t ion .
                                Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 65 of 99 PageID 3885                                                                                 -.,....,
9 1 5465. 001
04/ 1 5/2 011
SCAMP
                                                             MOBILITY USAGE
                                                          (with cell location )                                                                                                            t;? at&t
 Run Date:          04/15/2011
 Run Time :         15:28:59
 Data Usage For:    (817)343·6690
 Account Number:    318912244
Item      Conn.      Conn.    Originating      Elapsed    Bytes    Bytes                IMEI                    IMSI               Access         Description       Cell Location
          Date       Time       Number          Time       Up       On                                                               Pt
1184    03/21/11    08:42P 18173436690           0:35        55         344    •••••••••••••••           3104 1 02769362 01   phone           _ MOBILE_ DATA_ [52903/27601:·97.08444:32.92639:60]
1185    03/21/11    08:42P 18173436690           0 : 31    227 1    3 1 937    •••••••• •• •• • ••       310410276936201      acds.voicem     _ MOBILE_ DATA_ [52903/27601:-97.08444:32.92639 : 60]
                                                                                                                              ail
        03/21/11    08:43P 18173436690           1:48      2171      1214                                310410276936201
1186                                                                                                                          acds.voicem
                                                                                                                              ail
                                                                                                                                              - MOBILE- DATA- [52709/23478 : -97.07914 : 32.93881:]
1187    03/21/11    08 : 43P   18173436690      60:00 189192 498734            ...•...........           310410276936201      phone             MOBILE DATA
                                                                                                                                                       -        -   [52709/23478:-97.07914 : 32.93881:]
1188    03/21/11    09 : 43P   18173436690      60:00     51     49            •..............           310410276936201      phone
                                                                                                                                              -
                                                                                                                                              _ MOBILE_ DATA_       [52709/23478: - 97.07914 : 32.93881:]
1189    03/21/11    10 : 43P   18173436690      60:00  46555 220969            •.•............           310410276936201      phone           _ MOBILE_ DATA_       [52709/23478:-97.07914:32.93881:]
1190    03/21/11    1 1 :43P   18173436690      60:00 36361   81084                                      310410276936201      phone           _ MOBILE_ DATA_       [52709/23478:·97.07914:32.93881:]
1191    03/22/11    12:36A     18173436690       0:50   3119 45236             ••.•.•.........           310410276936201      acds.voicem     _ MOBILE_ DATA_       [52709/20547:·97.16761:32.98706:0]
                                                                                                                              ail
1192    03/22/11    12:43A 18173436690          60:00       223       393      •••••••••••••••           310410276936201      phone           _ MOBILE_ DATA_ [52709/20547: · 97.1676 1 :32.98706:0]
1193    03/22/11    01:43A 18173436690          60:00      6744     29309      •••••••••••••••           31041 0 276936201    phone           _ MOBILE_ DATA_ [ 52709/20547:·97.1676 1 :32 . 98706:0]
1194    03/22/11    02:01A 18173436690           0:21      2061      1335      ***** ** ********         310410276936201      acds . voicem   _ MOBILE_ DATA_ [ 52709/20547: · 97.1676 1 :32.98706:0]
                                                                                                                              a il
1195    03/22/11    02 : 43A   181 73436690     60:00   6050  14754            ***************           31041 0276936201     phon e          _ MOBILE_ DATA_       [ 52709/20547:-97.1676 1 :32.987 0 6:0]
1196    03/22/11    03:43A     18173436690      60:00   6088  14744            *** ** * * * *** * * **   31041 0276936201     phone           _ MOBILE_ DATA_       [ 52709/20547 :- 97.1676 1 :32 . 98706:0]
1197    03/22/11    04:43A     1 81 73436690    60:00 125250 477008            ••••••••• • • • •• •      31 041027693620 1    phone           _ MOBILE_ DATA_       [ 52709/20547:-97.16761:32.98706:0]
1198    03/22/11    05:43A     18173436690      60:00       204         49     ******** * ** * * **      310410276936201      phone           _ MOBILE_ DATA_       [ 52709/20547: - 97 . 16761:32.98706:0]
11 99   03/22/11    06:26A     18173436690       0:01         0          0     •••••••••••••••           310410276936201      acda.voicem     _ MOBILE_ DATA_       [52709/20543: · 97 . 16761:32.98706 : 240]
                                                                                                                              ail
1200    03/22/11    06:43A 181 73436690         60:00     33005     78881                                31041027693620 1     phone           _ MOBILE_ DATA_ [ 52709/20543:-97.16761 : 32.98706:240]
1201    03/22/11    07:25A 18173436690           1 : 21    2135      1375      ••••••..•......           310410276936201      acda.voicem     _ MOBILE_ DATA_ [ 527 0 9/20547:-97.16761:32.98706:0]
                                                                                                                              ail
1202    03/22/11    07 : 43A 1 81 73436690      60:00       998         49     •• •• ••• • • • • • •••   310410276936201      phone           _ MOBILE_ DATA_ [52709/20547: · 97 . 16761:32.98706:0]
1203    03/22/11    08 : 43A 18173436690        60:00      6659     21715      ***************           310410276936201      phone           _ MOBILE_ DATA_ [52709/20547:-97.16761:32.98706:0 ]
1204    03/22/11    09 : 43A 18173436690        60:00 217448       114707      * ** * * **********       310410276936201      phone           _ MOBILE_ DATA_ [52709/20547:-97.16761:32.98706:0]
                                                                        9
1205    03/22/11    10:43A     18173436690      60:00    6996    28613         ***************           310410276936201      phone           _ MOBILE_ DATA_       [52709/20547: - 97.16761:32 . 98706:0 ]
1206    03/22/ 11   11 :43A    18173436690      60:00 107202 327524            ••••••• • ••• • •••       310410276936201      phone           _MOBILE_ DATA_        [52709/20547:·97.16761:32 . 98706:0]
1207    03/22/11    12:43P     18173436690      60:00 1 176 1 1 469668         •••••••••••••••           310410276936201      p hone          _ MOBILE_ DATA_       [52709/20547: - 97 . 16761:32.98706 : 0]
1208    03/22/1 1   01 :43P    18173436690      60:00     52129    169075      * * ***** ********        310410276936201      phone           _ MOBILE_ DATA_       [52709/20547:·97.16761:32.98706 : 0]
1209    03/22/11    02:43P     18173436690      27:21 301235 481987            • •••••• ••• • ••• •      3104 1 02769362 01   phone           _ MOBILE_ DATA_       [52709/2 0 547:-97 . 16761 : 32.98706 : 0 ]
                                                                           4
1210    03/22/11    03: 1 0P 1 81734 3 6690      0:51     48646    507271      * *** ** ** *******       3104 1 02769362 01   phone           _MOBILE_ DATA_ [52709/20547:-97. 1 6761:32.98706:0]
                                                                        8
1211    03/22/11    03:11P 18173436690           0:43     40839    507988      ***************           310410276936201      phone           _ MOBILE_ DATA_ [52709/20547 : -97.16761 : 32.98706:0]
                                                                        7
1212    03/22/ 11   03:11P 1 8173436690          0:38     49383    507147      ***************           3104 1 0276936201    phone           _ MOBILE_ DATA_ [52709/2 0 547:-97. 1 676 1 :32.98706:0]
                                                                        6




                                                                                          AT&T Propri etar y
         AMO
                                The info rmation contained h ere i s f o r u se b y a uthorized per son only a nd i s                                                                                   Page 6 8
                                                        not f o r g eneral di s tribu tion .
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                                 Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 66 of 99 PageID 3886                                                                   -...,..;
                                                                                                                                                                              tg~ at &t
04/15/2011
                                                              MOBILITY USAGE
SCAMP                                                      (with cell location}


 Run Date :           04/15/2011
 Run Time:            15:28:59
 Data Usage For:      (817)343·6690
 Account Number:      318912244
Item          Conn.   Conn.      Originating   Elapsed    Bytes   Bytes           IMEI                IMSI             Access        Description       Cell Location
          Date        Time         Number       Time        Up      Dn                                                      Pt
1213    03/22/11      03 :12 P 18173436690       0:37      47121 50730 5    ...............    3104 1 0 276936201   phone
                                                                                                                                 -MOBILE_DATA-         [5 2 709/20547 :-9 7.16761 :3 2 . 98706 :0)
                                                                        9
1214    03/22/11      03:13P 18173436690         0:25      34060 508620     ...............    3104 1 0276936201    phone
                                                                                                                                 - MOBILE_ DATA- [5 2709 / 2 0 547: -97.1 676 1: 32 .98706:0)
                                                                        0
1215    03/22/11      03:13P 18173436690         0:30      47564 507248     ***************    310410276936201      phone
                                                                        4
                                                                                                                                 - MOBILE DATA- [52709/20547 :- 97.16761 : 32.98706:0)
1216    03/ 22 /11    03:14P 18173436690         0:2 0     34902 508636     ...............    3104102 76936201     phone
                                                                                                                                 - MOBILE   DATA       [52709 / 2 0547 : -97 . 16761:32.98706:0)
                                                                        2
1217    03/2 2 / 11   03 : 14P 18173436690      60:00      49924 332631     ........•......    310410276936 2 01    phone
                                                                                                                                 - MOBILE   DATA       [ 52 709/20547: - 97. 1 6761:32.98706:0)
                                                                        8
1218    03/22/11      04: 14P   18173436690     60:00      17235 165788     ...............    310410276936201      phone
                                                                                                                               - MOBILE- DATA-         [52709 /20547 :-97.1 6761 :32 . 98706 : 0)
121 9   03/22/11      05:14P    18173436690     60:00     109857 37 8471    ...............    310410276936201      phone       _ MOBI LE_ DATA_       [52 709 / 20547:-97.16761:32.98706:0)
1220    03/22/11      06: 14P   1817 3436690    60:00        432       98   ........•...•..    310 410276936201     p h one     _ MOBILE_ DATA_        [52709/20547:-97. 1 6761:32 . 98706:0)
1221    03/22/11      07: 14P   18173436690     60:00      34366   67399    .......•.......    310410276936201      phone
                                                                                                                               - MOBILE - DATA-        [52709/205 47: - 97. 1 676 1 :32.98 7 06:0)
1222    03 / 22 /11   08: 14P   18173436690     60:00      1792 0 538339    ********** *****   3104102769362 01     p h one     _ MOBILE_DATA          [52709/20547:-97.16761 :32 . 98706 : 0 )
1223    03/22/11      08:44P    18173436690      0:50       3199   53003    ..•••..........    310410276936201      acds.voicem MOBILE DATA
                                                                                                                                                   -   [52709/24311: - 97.12608:32.9 382 2 : 8 )
                                                                                                                    a il
                                                                                                                               -         -     -
1224    03/22/11      08:47P 1 8 17 3436690      0 : 35     2061    1335    .....••.•••••..    3104 10276 936201    acds.voicem MOBILE DATA
                                                                                                                               -               -       [ 527 09/24317: -97 .12 608:32 . 938 22:1
                                                                                                                    ail
1225    03/22/11      09:14P 18173436690         0:14       2336    1432    ...............    310410276936201      acds.voicem MOBILE_DATA
                                                                                                                                 -                 -   [ 52709/24311:-97 . 12608:32.93822:8)
                                                                                                                    ail
1226    03/22/11      09:14P 18173436690        60:00  51718 139492         ************ ***   310410276936201      phone         MOBILE_ DATA         [52709 /24311 :-97.12608:32.93822: 8)
1227    03/22/11      10: 14P 18173436690       60:00 236970 668032         ...............    3104102769362 0 1    phone
                                                                                                                                 -                 -
                                                                                                                               - MOBILE_ DATA-         [527 09/24 311 : - 97.12608:32.93822:8)
1228    03/22/11      11:14P 18173436690        60:00 265794 126 02 9       .•...•.........    31 0410 276936201    phone
                                                                                                                                 -MOBILE DATA
                                                                                                                                                   -   [527 09/24311: - 97.12608:32.93822:8)
                                                                    1




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                                                        not for general distribution.
                                   Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 67 of 99 PageID 3887
                                                                                                                                                                             ~~ at&t
915465 . 00 1                                                  MOBILITY USAGE
04/ 1 5/2011
SCAMP                                                       (with cell location)


    Run Date:            0 4 /15/2011
    Run Time:            15:29:01
 SMS Usage For:          (817)343-6690
 Account Number:         318912244
Item         Conn.                 Conn.     Originating     Terminating           IMBI                   IMSI            Description   Cell Location
             Date                  Time        Number          Number
1               03/01/11          01:43A 18177845975       18173436690                            310410276936201             IN        ( 52706 / 42143: - 97.29017:32.87097:248]
2               03/01/11          01: 53A 18177845975      18173436690                            310410276936201             IN        ( 52709 / 35303:-97.26156:32.92961:300]
3               03/01/11          08:22A 14693584679       18173436690                            310410276936201             IN        (52709 / 60428: - 97 . 09917:32.95581 : 128]
4               03/01/11          08 : 46A 18173436690     14693584679      .....•...•.••••       310410276936201            OUT        (52709 / 62028: - 97 . 09953:32 . 93497:120]
5               03/01/11        08:47A     14693584679     18173436690      ...............       310410276936201             IN        [52709/62028: - 97 . 09953:32.93497:120]
6               03/01/11        08:52A     18179469251     18173436690      000000000000000       310410276936201           IN MMS      []
7               03/01/11        08 : 52A   1111301000      18173436690      .........•.....       3104 1 0276936201           IN        [52709/62022:-97.09953:32.93497:120]
8               03/01/11        08:52A     1111301000      18173436690      .....•...•.••••       310410276936201             IN        [52709 / 62022: - 97.09953:32 . 93497 : 120]
9               03/01/11        09:06A     18173436690     14693584679      •.•............       310410276936201            OUT        [52709 /    60313:-97.07914:32.93881:240]
10              03/01/11        09:07A     14693584679     18173436690                            310410276936201             IN        (52 709 /   62028: - 97.09953:32.93497:120]
11              03/01/11        09:15A     18173436690     14693584679                            310410276936201            OUT        (52709 /    62022: - 97.09953:32 . 93497:120]
12              03/01/11        09:16A     14693584679     18173436690      ............••.       310410276936201             IN        (52709 /    60313 :- 97 . 07914:32.93881:240]
13              03/01/11        09:17A     18173436690     14693584679      ..............•       310410276936201            OUT        (52709 / 60313 :- 97 . 079 1 4:32.93881:240 ]
14              03/01/11        09:18A     14693584679     18173436690                            310410276936201             IN        [52 7 09/ 62028:-97.09953:32.93497 : 120]
15              03/01/11        09:26A     18173436690     14693584679                            310410276936201            OUT        [52709/ 24338:-97.09953 : 32.93497 : ]
16              03/01/11        09 : 26A   14693584679     18173436690                            310410276936201             IN        [52709/24338:-97 . 09953:32.93497:]
17              03/01/11        10:40A     1000000000      18173436690                            310410276936201             IN        [52709 / 24338: - 97 . 09953 : 32.93 4 97:]
18              03/01/11        10 : 40A   1100            18173436690      ***************       310410276936201           IN VMN      [ 52709 / 24338:-97.09953:32.93497:]
19              03/01/11        10:40A     0100            18173436690                            310410276936201           IN_VMP      (52709 / 24338 :- 97 . 09953:32 . 93497:]
20              03/01/11        12:25P     18173436690     18048732541      .•.••.•..•.....       310410276936201            OUT        [ 52709 / 62028:-97.09953:32.93497:120]
21              03/01/11        12:29P     18173431808     18173436690                            310410276936201             IN        ( 52709 / 60313:-97.07914:32.93881:240]
22              03/01/11        12 : 29P   18173431808     18173436690                            31041027693 6 201           IN        ( 52709 / 62028: - 97.09953:32.93497:120]
23              03/01/11        12:30P     18173436690     18173431808                            3104102 7 6936201          OUT        (52709 / 62028: - 97.09953:32.93497:120]
24              03/01/11        12:31P     18173436690     12142230947      ............•.•       310410276936201            OUT        [52709 / 62028 :- 97.09953:32.93497:120]
25              03/01/11        12:31P     18173431808     18173436690                            3104 1 02 7 693 6 201       IN        ( 52709 / 62028: - 97 . 09953 : 32.93497:120 ]
26              03/01/11        12:31P     18048732541     18173436690                            310410276936201             IN        ( 52709 / 62028:-97.09953:32.93497:120 ]
27              03/01/11        12: 32P    12142230947     18173436690                            3104102 7 6936201          IN         ( 52709 / 62028: - 97.09953:32.93497:120 ]
28              03/01/11        12:38P     18173436690     1804873 2 54 1   ****** * * *** ****   310410276936201            OUT        (52709/62028: - 97.09953:32.93497:120 ]
29              03/01/11        12:39P     18173436690     12142230947                            3104102 7 6936201          OUT        [ 52709 / 62028: - 97.09953:32.93497:120 ]
30              03/01/11        12:40P     12142230947     18173436690                            310410276936201             IN        (52709 / 62028:-97.09953 : 32.93497:120 ]
31              03/01/11        12:57P     18173436690     12142230947      ...•...........       3104102 7 6936201          OUT        [52709 / 62028: - 97 . 09953:32.93497:120]
32              03/01/11        03:00P     18173436690     18048732541                            310410276936201            OUT        (52709 / 62028:-97.09953:32.93497:120]
33              03/01/11        03:09P     18048732541     18173436690                            310410276936201             IN        [52709/62028:-97.09953:32.93497:120]
34              03/01/11        03:12P     18177845975     18173436690      ..........•.••.       310410276936201             IN        (52709 / 62028:-97.09953:32 . 93497 : 1 20]
35              03/01/11        03:43P     18048732541     18173436690      .........•.....       310410276936201             IN        (52709 / 603 1 3:-9 7 .0 7 914: 3 2.93881:240]
36              03/01/11        03:44P     1 8173436690    18048732541      ...............       310410276936201            OUT        (52709 / 24338: - 97.09953:32 . 93497: ]
37              03/01/11        03 : 45P   18048732541     18173436690      ..........••...       310410276936201             IN        (52709 / 24338 :- 97 . 09953:32.93497:]
38              03/01/11        10 : 31P   18173436690     18048732541      •••••..........       310410276936201            OUT        (52707 / 40649:-97 . 16078:32.85086:248]



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                                   The information contained here is for use by authorized person only and is                                                                            Page 70
                                                          n ot for general distribution .
9 1 5465 . 001
                                  Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 68 of 99 PageID 3888
04/ 15 / 2 011
                                                              MOBILITY USAGE
SCAMP                                                      (with cell location)


 Run Date:              04/15/2011
 Run Time:              15:29:01
 SMS Usage Por:         (817)343-6690
 Account Number:        318912244
Item           Conn.           Conn.       Originating     Terminating        IMEI                IMSI           Description   Cell Location
               Date            Time          Number          Number
39           03/01/11         10:33P     18048732541     18173436690                       310410276936201          IN         [52707 / 40649:-97 . 16078:32.85086 : 248 ]
40           03/01/11         10:35P     18173436690     18048732541                       310410276936201          OUT        [52707/40649:-97.16078:32.85086 : 248]
41           03/01/11         10:37P     18048732541     18173436690                       310410276936201           IN        [ 52707 / 40649:-97.16078 : 32.85086 : 248]
42           03/01/11         10:38P     18173436690     1 8048732541    ...•••••.......   310410276936201          OUT        [52707/40649: - 97 . 16078:32.85086:248 ]
43           03/01/11         10:39P     18048732541     18173436690                       310410276936201           IN        [ 52707/40649:-97.16078:32.85086:248]
44           03/01/11         10:40P     18173436690     18048732541     ..••.•..•......   310410276936201          OUT        [52707/40649: - 97 . 16078:32 . 8508 6 :248]
45           03/01/11         10: 41P    18048732541     18173436690                       310410276936201           IN        [52707/40649:-97.16078:32.85086 : 248]
46           03/01/11         11:20P     18173436690     181 73431808    ...............   310410276936201          OUT        [ 52707/40649: - 97.16078:32.85086:248]
47           03/01/11         11 : 35P   18173436690     14695791622     000000000000000                          OUT_ MMS     (]
48           03/01/11         11:57P     18173436690     14695791622                       3104102 7 6 93 6201      OUT        [ 52707/40649:-97.16078:32.85086:248]
49           03/01/11         11:58P     18173436690     18179882986                       310410276936201           OUT       [52707 / 40649:-97.16078:32.85 086: 248]
50           03/02/11         12: 22A    18177845975     1 8173436690    ..••.•.........   31 041027 6936201          IN       [ 52707/40649: - 97.16078: 3 2 . 85086:248]
51           03/02/11         01:28A     18173431808     18173436690     ..............•   310410276936201            IN       [ 52903/03677: - 97.08444:32 . 92 639:60 ]
52           03/02/11         07 : 30A   18177845975     18173436690     000000000000000   3 1 0410276936201       IN MMS      []
53           03/02/11         07 : 30A   1111301000      18173436690                       3104 1 0276936201          IN       [ 52709 / 23562:-97. 0991 7 : 32.95581:128]
54           03/02/11         07:30A     1111301000      18173436690     ...............   310410276936201           IN        [52709 / 23562 : -97.0991 7 :32 . 95581:128]
55           03/02/11         09:05A     18173436690     18172296524                       310410276936201          OUT        [52709 /2 3562:-97. 099 17 : 32.95581:128]
56           03/02/11         09:21A     18048732541     18173436690                       3 1 04 1 0276936201       IN        [ 52709 /23 562 : -97.09917 : 32.95581:128]
57           03/02/11         09: 34A    18173436690     18048732541                       310410276936201          OUT        [ 52709 /60 422: - 97.09917:32.95581: 1 28]
58           03/02/11         11 : 04A   18173436690     19729356690                       310410276936201          OUT        [52709/ 2433 1 :- 97 . 099 53:32 . 93497:8 ]
59           03/02/11         ll:llA     18173436690     18176569628                       310410276936201          OUT        [52709/ 24331: - 97.09953 : 32.93497:8 ]
60           03/02/11         ll:llA     1121611611      18173436690     •..•.......••••   310410276936201           IN        [52709/2 4331:-97.09953:32. 93 497: 8 ]
61           03/02/11         11: 14A    18173436690     18176569628                       310410276936201          OUT        [ 52709/60422 :- 97.09917:32.95581:128]
62           03/02/11         11:14A     1121611611      18173436690                       310410276936201           IN        [52709/604 22: - 97.09917:32.95581: 1 28]
63           03/02/11         03:27P     18179882986     18173436690                       310410276936201           IN        [52 7 09/62022 :- 97.09953:32.93497:120]
64           03/02/11         03:29P     1 8173436690    18179882986     ...............   310410276936201          OUT        [52709/62028: - 97.09953:32.93497: 1 20 ]
65           03/02/11         03:30P     181 79882986    1 8173436690    ..•............   310410276936201           IN        [52709 /24 332 : -97.09953 : 32 . 9349 7 :128 ]
66           03/02/11         03:33P     18173436690     18179882986                       310410276936201          OUT        [52709 /24 332: - 97.09953:32.93497:128 ]
67           03/02/11         03:34P     18179882986     18173436690                       3104102 76936201          IN        [52 7 09 / 2 4332 :- 97.09 95 3:32.9349 7 :128 ]
68           03/02/11         06:17P     18173436690     18179882986                       310410276936201          OUT        [52709/62028:-97.09953:32.93497:120]
69           03/02/11         06:33P     18 1 79882986   18173436690                       3104102 769 36201         IN        [52709/24332: - 97.09953:32.93497:128 ]
70           03/02/11         08:50P     18173431808     1 8173436690                      310410276936201           IN        [52709/603 1 3 :- 97 . 07914:32.93881:240 ]
71           03/02/11         11:02P     12147991845     18173436690                       310410276936201           IN        [52709/60428: - 97.09917:32.95581:128]
72           03/02/11         ll:lOP     18173436 690    12147991845                       310410276936201          OUT        [5 2709 / 23562 :- 97.09917:32.95581:128]
73           03/02/11         1 1 :12P   12147991845     18173436690     ...........•••.   310410276936201           IN        [52709/2356 2: -97 . 09917:32.95581 : 128]
74           03/02/11         11: 1 3P   18173436690     12147991845     ...............   310410276936201          OUT        [52709/23562:-97 . 09917:32.95581 : 128 ]
75           03/02/11         11:13P     18173436690     12147991845                       310410276936201          OUT        [ 52709 /2 3562: - 97 . 09917 : 32.95581:128 ]
76           03/02/11         11: 17P    12147991845     18173436690                       310410276936201           IN        [52709 /23562 :-97.09917:32.95 581 : 128]



                                                                                 AT&T Pro pri e t a r y
        AMO
                                 The inf o rmation con ta i ned h e r e is fo r use by a u t h orized p erson o nl y and is                                                       Page 71
                                                            n o t f o r g ener a l dis tri b ut ion.
9 15465.001
                                Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 69 of 99 PageID 3889
                                                              MOBILITY USAGE
04 / 15 /20 11
SCAMP                                                     (wi th ce l l location)                                                                                               @?. at&t

Run Date:              04/ 1 5/2011
Run Time:              15:29:01
SMS Usage Por:         (817)343-6690
 Account Number:       318912244
Item        Conn.             Conn .        Orig inating     Termi nating           IMEI                  IMSI            Descri ption   Cell Location
              Date            Time             Number           Number
77          03/02/11         ll:l8P       12147991845      18 17 3436690                          31 0 4 1 02769362 0 1       IN          [52709/23562: - 97.09917:32.95581 : 128]
78          03/02/ll         ll : 20P     1 8173436690     1214799 1 845      ...........•...     310 4 1 0276936201         OUT          [52709/23562: - 97.09917:32.95581:128]
79          03/02/11         ll : 20P     1817343669 0     1 214799 1 8 4 5   .....••••..••..     310 4 1 027693620 1        OUT          [52709/23562 : - 97.09917:32.95581:128 ]
80          03/02/11         ll : 2lP     12147991845      18 173436690       .....••.......•     310410276936201             IN          [52709/23562 : -97.09917:32.9558 1 :128]
81          03/03/11         l2:06A       18179469251      18173436690        ........•......     310410276936201             IN          [52709/23562: - 97.09917:32.95581:128]
82          03/03/11         0 9 : 39A    1 8173431808     181734 3 6690      .......•.....•.     3104 1 0276936201           IN          [52709/62028 :- 97.09953:32.93497:120]
83          03/03/11         09 : 43A     18173431808      181734 3 6690      ....••.........     310 41 0276936201           IN         [ 52709/62028 : -97.09953:32.93497: 1 20]
84          03/03/ll         09 : 44A     18173431808      18173436690        .....•......•••     310410276936201             IN          [52709/24338: - 97.09953:32.93497:]
85          03/03/ll         10: 14A      18 173431808     18173436690                            31041 0 2769 3 6201         IN         [ 52709/62022:-97.09953 : 32.93497 :1 20]
86          03/03/ll         l O:l4A      18173431808      18173436690                            3 1 041 0 27693620 1        IN         [ 52709/60313:-97.07914 : 32.93881 : 240]
87          03/03/ll         lO : l6A     18173436690      1817343 1 808      ......••......•     310410276936201            OUT         [ 52709/62028:-97.09953:32.93497:120]
88          03/03/ll         l O: l9A     1 2142 2 30947   18173436690        .............••     310410276936201             IN         [52709/62028: - 97.09953:32 . 93497 :1 20]
89          03/03/ll         l0:2lA       1817343669 0     12142230947                            3 1 04 10276936201         OUT         [ 52709/62028: -9 7 .0 9953 : 32.9 3 497: 1 20 ]
90          03/03/ll         l0:22A       12142230947      18173436690                            31041 0276936201            IN         [52709/62028: - 97.09953:32.93497: 1 2 0 ]
91          03/03/ll         10: 38A      18173431808      18173436690                            31041027693620 1            IN         [ 52709/62028 : - 97 . 09953:32.93497:120]
92          03/03/ll         10 : 48A     18179882986      18173436690                            3 10410 2769 3 620 1        IN         [ 527 0 9/603 1 3 : -97 .079 1 4:32.9388 1 :240]
93          03/03/ll         l0:52A       18173436690      18179882986        ............•..     31041 02769 3 620 1        OUT         [ 52709/603 1 3 :- 97.079 1 4:32.9388 1 :240]
94          03/03/ll         l0 : 52A     18173436690      18179882986                            310410276936201            OUT         [ 52709/60313 : -97.07914:32.93881:240]
95          03/03/ll         l0:56A       18179882986      18173436690                            3 1 0410276936201           IN         [527 0 9/62028:-97.0995 3 :32.93497:12 0 ]
96          03/03/ll         l0:59A       1 8173436690     18179882986                            3 1 041027693620 1         OUT         [52709/62028: - 97.09953 : 32.9 3497:12 0]
97          03/03/ll         ll:OlA       18179882986      18173436690        .................   3 1 0410276936201           IN         [52709/62028: - 97.09953 : 32.9 3497:120 ]
98          03/03/ll         ll : 23A     18173431808      18173436690        ...............     3 1 0410276936201           IN         [52709/24332: - 97.09953 : 32 . 93497 : 128 ]
99          03/03/ll         ll : 3lA     18173436690      18173 4 3 1 808    ..••.........•.     3 1 041027693620 1         OUT         [52709/62028 :- 97 . 09953 : 3 2. 93497 : 120]
100         03/03/ll         ll : 32A     18 173431808     18173436690                            310410276936201             IN         [52709/62028: - 97 . 099 5 3:32.93497:120]
101         03/03/ll         ll : 33A     18173431808      18173436690                            310410276936201             IN         [52709/62028: - 97.0995 3 :32.93497:120]
102         03/03/ll         l l : 4 0A   18173431808      18173436690        ..•...........•     3104102769362 0 1           IN         [52709/60313:-97.07914:32.93881:240]
103         03/03/ll         ll :40A      18173431808      18173436690        ...............     3104 1 02769362 0 1         IN         [52709/62028: - 97.09953:32.93497:120]
104         03/03/ll         02 : 49P     18173436690      18179882986                            3104 1 0276936201          OUT         [52709/60313 :- 97.07914:32.93881:240]
lOS         03/03/ll         02 : 5lP     18179882986      1817343669 0                           3104102769362 0 1           IN         [52709/62028:-97.09953: 3 2.93497:120]
106         03/03/ll         02 : 57P     18179882986      18173436690                            3104 1 02769362 0 1         IN         [52709/62028: - 97.09953:32.93497 : 120]
107         03/03/ll         02 : 58P     18173436690      18179882986                            310410276936201            OUT         [52709/62028:-97.09953:32.93497:120]
108         03/03/ll         02 : 59P     18179882986      18173436690        ...............     3104 1 0276936201           IN         [ 52709/60313:-97.07914:32 . 93881:240]
109         03/03/ll         0 3 : 50P    18173436690      12147386545                            3 1 0410276936201          OUT         [ 52709/23562: - 97.099 1 7 : 32.9 5 581 : 1 28]
110         03/03/ll         0 5 : 54P    18173436690      18048732541        •.••...•....•••     31 0 4 1 0276936201        OUT         [ 52709/20237: - 97.12608:32.93822:8]
111         03/03/ll         06:l8P       18048732541      18173436690                            31 0 410276936201           IN         [ 52709/20231:-97.12608:32.93822:8]
112         03/03/ll         06 : 2lP     1804873254 1     1 8173 4 3669 0    .......•.......     31 04102769 3 6201          IN         [527 09/20237:-97.12608:32.93822:8]
113         03/03/ll         0 6: 35P     18173436690      18048732541        ....•..........     31 0 410276936201          OUT         [52709/07583 :- 97.12506 : 32.971:360]
114         03/03/ll         06 : 3 5P    18173436690      18048732541                            310410276936201            OUT         [ 527 0 9/07583: - 97.12506:32.97 1 :360]



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                                 The info rmation cont a ined here is for u s e by a u t ho rized person o nl y a nd i s                                                                    Pa g e 72
                                                           not for gene ral di s tribut i on.
                                 Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 70 of 99 PageID 3890
915465.001
04/15/2011
SCAMP
                                                              MOBILITY USAGE
                                                           (with cell location)                                                                                @? at&t
 Run Date:              04/15/2011
 Run Time:              15:29:02
 SMS Usage For:         (817)343-6690
 Account Number:        318912244
Item         Conn.             Conn.      Originating    Terminating         IMEI                IMSI          Description   Cell Location
             Date              Time         Number         Number
115        03/03/ll           07:14P     18179469251    18173436690    ........••..••.     310410276936201         IN         [527 09/20231:-97.12608:32.93822:8]
116        03/03/11           09 : 23P   18173436690    18048732541                        310410276936201        OUT         [52709/62029:-97.09953:32.93497:240]
117        03/03/11           09 :3 6P   18048732541    18173436690    •..............     310410276936201         IN         [52709/23563:-97 . 09917: 32. 95581:248]
118        03/03/11           09:36P     18173436690    18048732541    ...............     310410276936201        OUT         [52709/23563:-97.09917:32.95581:248]
119        03/03/11           09:37P     18048732541    18173436690                        310410276936201         IN         [52709/23563 : -97 . 09917:32.95581:248]
120        03/03/11           09:38P     18173436690    18048732541    ..•.•••..•.....     310410276936201        OUT         [52709/23563:-97.09917:32.95581:248]
121        03/03/11           10:36P     18048732541    18173436690    ...•...........     310410276936201         IN         [52709/20231:-97.12608:32.93822:8]
122        03/03/11           l0:37P     18173436690    18048732541    ...............     310410276936201        OUT         [52709/20231:-97.12608:32.93822:8]
123        03/03/11           10:48P     18173436690    18048732541    ...............     310410276936201        OUT        [52709/19436:-97.1521:32.9458:240]
124        03/04/ll           12:11A     1000000000     18173436690    ***************     310410276936201         IN        [ 52709/02425: - 97.18342:32.92942:128]
125        03/04/11           12: 11A    1100           18173436690    •••••••••••••••     310410276936201       IN VMN      [52709 / 02425:-97.18342:32.92942:128]
126        03/04/11           12:11A     0100           18173436690    ••••••• •• ••••••   310410276936201       IN VMP      [ 52709/02425 :- 97 .183 42:32.92942:128]
127        03/04/ll           12:33A     18173431808    18173436690    •••••••••••••••     310410276936201         IN        [ 52 709 /02425 :- 97.18342:32.92942:128]
128        03/04 / 11         02:34A     18173431808    18173436690    •••••••••••••••     310410276936201         IN        [ 52709/23563:-97.09917 : 32.95581:248]
129        03/04/ll           0 2 :35A   18173436690    18173431808    •••••••••••••••     310410276936201        OUT        [527 09/62021:-97.09953 :32. 93497:0 ]
1 30       03/04/11           08:04A     18174202850    18173436690    •••••••••••••••     310410276936201         IN        [52 709/60422: - 97.09917:32.95581 :128]
131        03/04 / 11         11:27A     18178218924    18173436690    •••••••••••••••     310410276936201         IN        [52709/62028:-97.09953:32 . 93497:120 ]
132        03/04/ll           11:48A     18048732541    18173436690    •••••••••••••••     31041027693620 1        IN        [52709/62028:-97.09953:32.93497:120]
133        03/04/ll           11:50A     18173436690    18048732541    •••••••••••••••     310410276936201        OUT        [52709/62028:-97 . 09953:32.93497:120]
134        03/04/ll           12:05P     18173431808    18173436690    ***************     310410276936201         IN        [52709/62022:-97.09953:32.93497:120]
135        03/04/ll           l2:06P     18173431808    18173436690    ***************     310410276936201         IN        [52709/24338:-97.09953:32 . 93497:]
136        03/04/ll           l2:51P     18173431808    18173436690    •••••••••••••••     310410276936201         IN        [52709/62028:-97.09953:32 . 93497:120]
137        03/04/11           03:14P     12142230947    1817343 6690   •••••••••••• •••    310410276936201         IN        [52709/23562:-97.09917:32.95581:128]
138        03/0 4/ll          05:15P     12147386545    18173436690    •••••••••••••••     310410276936201         IN        [52707/40649:-97 . 16078:32.85086 :2 48]
139        03/04/ll           06:04P     18173431808    18173436690    •••••••••••••••     310410276936201         IN        [ 52707/40643:-97.16078:32.85086:248]
140        03/04/ll           06:05P     18173436690    18173431808    ***************     310410276936201        OUT        [ 52707/40643: - 97.16078:32.85086:248]
l4l        03/04/11           06:06P     18173431808    18173436690    • • •••••••••••••   310410276936201         IN        [ 52707/40643:-97.16078:32.85086:248]
142        03/04/ll           06:08P     18173436690    18173431808    •••••••••••••••     3 10410 276936201      OUT        [ 52707/40649:-97.16078 :32.85086:248]
l43        03/04/ll           06:08P     18173431808    18173436690    •••••••••••••••     3104 1027 6936201       IN        [52 707/40649:-97.16078:32.850 86:248]
l44        03/04/ll           06:26P     18173436690    18173431808    ***************     310410276936201        OUT        [52 707/40649: - 97.16078:32.85086 : 248 ]
145        03/04/ll           06:38P     18173431808    18173436690    •••••••••••••••     310410276936201        IN         [ 52707/40649:-97 .1 6078:32.85086:248]
146        03/04/ll           06:49P     18173431808    18173436690    ***************     310410276936201        IN         [52707/40649:-97.16078:32.85086:248 ]
147        03/04/ll           07:05P                    18173436690    000000000000000     310410276936201        IN         []
148        03/04/ll           07:06P     18173431808    18173436690    ***************     310410276936201        IN         [52903/40553: - 97.11217:32.85897:240]
149        03/04/ll           08:37P     18178974827    18173436690    ***************     310410276936201        IN         [52709/23568:-97.09917:32.95581:]
150        03/04/ll           10:17P     18178974827    18173436690    ***************     310410276936201        IN         [52709/23563:-97.09917:32.95581:248]
151        03/04/ll           10:31P     18179469251    18173436690    •••••••••••••••     310410276936201        IN         [52709/23563:-97.09917:32.95581:248]
152        03/05/ll           12:56A     14697741845    18173436690    ••••••••• • •••••   310410276936201        IN         [52709/23563:-97.09917:32.95581:248]



                                                                                AT&T Proprietary
        AMO                                                                                                                                                               Page 73
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                                                        not for general distribution.
915465.001                       Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 71 of 99 PageID 3891                                                                  -...,...;
                                                                                                                                                                              ~? at&t
04/15/2011
                                                              MOBILITY USAGE
SCAMP                                                      (with cell location)


 Run Date:              04/15/2011
 Run Time:              15:2 9 :0 2
 SMS Usage For :        (817)343-6 690
 Account Number:        318912244
Item          Conn.            Conn.        Originating      Te rminating           IMEI                I MSI           Descrip t ion   Cell Location
             Date               Time          Number           Number
153        03/05/11           01 : 26A    18179469251      18173436690        .•....•.•.•....    310410276936201             IN         [52709/23563:-97 . 09917:32.95581:248 ]
154        03/05/11           05 :17A     18173436690      18178974827                           310410276936201            OUT         [52 709/243 37:-97 . 09953:32.93497:]
155        03/05/11           08:17A      18173436690      18173431808                           310410276936201            OUT         [52703/34571: -97.42067:3 2.76231:60]
156        03/05/11           08:37A      18173 431808     18173436690        .•........•••..    310410276936201             IN         [ 5 2703/142 21:-97.44 867:32 .77356: 60]
157        03/05/11           08:54A      12147386545      1817343 6690       ***************    310410276 93 6 201          IN         [52703/35367:-97 .44 867:32.77356:8]
158        03/05/11           08:54A      1 214 7 386545   18173436690                           310410276936201             IN         [ 52703 / 35367: - 97.44867:32.77356:8]
159        03/05/11           09:00A      18173436690      1214738 6545                          310410276936201            OUT         [52703/ 3 5367: -97.44867:3 2.773 56: 8]
160        03/05/11           09:04A      18173436690      14697741845        ............•..    31 0410 27 69362 0 1       OUT         [ 52703/353 6 1:-97.44 867:3 2 .77356:8]
161        03/05/11           09:05A      18173436690      1 214 7 9 9184 5                      31041027693620 1           OUT         [52 7 03/35361: -97.4486 7:3 2 .77356 :8]
1 62       03/05/11           09:14A      14697741845      18173436690                           31 0 41027693 62 0 1        IN         [52 703 / 34571:-97.42067:32.7623 1 : 60]
163        03/05/11           09 :1 5A    12147991845      18173436690                           310410276936201             IN         [52703/3457 1 : - 97.42067:32.76231:60]
164        03/05/11           09:16A      18173436690      1469 7741845       ...............    310410276936201            OUT         [ 52703/35361 : - 97 . 44867:32.77356 : 8]
165        03/05/11           09 : 16A    18173436690      12147991845        ...............    31041 027693620 1          OUT         [ 52703/35361:-97.44867:32.773 56 :8 ]
166        03/05/1 1          09:16A      18173436690      1214799184 5       ....•.•...••••.    31041027 69 3 6201         OUT         [ 52703/35361:-97.44867 :32. 77356:8]
167        03/05/11           09: 17A     18173436690      12147991845                           31041027 6 93 6 201        OUT         [5 2703 / 35361 : -97.44867:32.77356:8 ]
168        03/05/11           09:19A      12147991845      18173436690                           310410276936201             IN         [ 52703 / 35361: - 97.44867:32.77356:8]
169        03/05/11           09:19A      14697741845      1817343 6690                          310410276936201             IN         [ 52703/35361:-97. 44867 :32 . 77356:8]
170        03 / 05/11         09:28A      18173436690      14697741845                           310410276936201            OUT         [52703 / 34571: - 97.42067:32.76231:60]
171        03/05/11           09 :28A     18173436690      12147991845        .......•••.••..    310410276936201            OUT         [52703/34 5 71 :-97 . 42067 : 32.76231:60]
172        03/05/11           09:32A      12147991845      1817 3436690                          310410276936201             IN         [52703 / 34571:-97.42067:32.76231:60]
173        03/05 /11          09:33A      1469 77 41845    18173 4 36 690                        310410276936201             IN         [52703/35361: -97.4486 7:32 .77 356:8]
174        03/05/11           09:41A      14697741845      1817 3436690       ***************    31 0410276936201            IN         [52703/35 367:-97.44 867 : 32.77356:8]
175        03/05/11           10 : 04A    18173436690      14697741845                           3 1 04 1 02769 36201       OUT         [52 70 3 / 35361:-97. 44867 :32. 77 356:8]
176        03/05/11           10:05A      18173436690      12147991845        ************* **   310410276936201            OUT         [527 0 3 / 35361 :- 97 .44867:32 . 773 56: 8]
177        03/05/11           1 0 : 08A   14697741845      18173436690        .••..•.........    310410276936201             IN         [52703/35361: - 97.44867 : 32 . 77356 : 8]
178        03/05/11           10 : 09A    18173436690      14697741845        ***************    3104 1 02 76936201         OUT         [527 03/3 536 1: - 97.44867:32.77356:8]
179        03/05/11           10:10A      1 214799 1 845   1 8173436690                          3104 1 02769 36201          IN         [52703/35361: - 97.44867 : 32.77356 : 8]
180        03/05/11           10:10A      18173436690      1804 87 32541      000000000000000    310410175616304         OUT MMS        []
181        03/05/11           10:11A      14697741845      18173436690                           3 1 04 1 0276936201         IN         [52703/34571 :- 97.42067 : 32.76231 : 60]
182        03/05/11           10:18A      18048732541      18173436690        •.•...••....••.    31041027693620 1            IN         [52703/1422 1 :- 97.44867:32.77356 : 60]
183        03/05/11           10:24A      1817 3436690     14697741845        ........•••.•.•    310410 276936201           OUT         [527 03 /3 4571: - 97.42067:32.76231 : 60]
184        03/05/11           10:25A      18173436690      12147991845                           310410276936 2 01          OUT         [52703 / 34571:-97.42067 : 32. 76231 : 60 ]
185        03/05/11           10:26A      14697741845      18173436690        ......•........    310410276936201             IN         [527 03 /3457 1:-97 . 42067:3 2.7 623 1: 60 ]
186        03/05/11           10:27A      12147991845      18173 436690                          310410276936201             IN         [52703 / 34571:-97.42067:32.76231:6 0 ]
187        03/05/11           10: 3 1A    18173436690      14697741845                           310410276936201            OUT         [527 03 /35361 :-97.44867:32.7 7356:8 ]
188        03/05/11           10:32A      14697741845      18173436690        .......•.......    310410276936201             IN         [52703/ 1 422 1: - 97.4486 7 : 32.77356:60]
189        03/05/11           10:33A      18173436690      14697741845        ...............    310410276936201            OUT         [5 2703 / 1 4221 :-97.44 867 : 32.77356:60 ]
190        03/05/11           10:53A      18173436690      14697741845        ...............    310410276936201            OUT         [5 2703/14221:-97.44867:32.77356 : 60 ]



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                                  Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 72 of 99 PageID 3892
                                                                                                                                                                       ~ at&t
915465 .0 01                                                   MOBILITY USAGE
04/15 / 2011
SCAMP                                                       {with cell location)



 Run Date:               04/15/2011
 Run Time:               15 :2 9:02
SMS Osage Per:           (817)343-6690
Account Number:          318912244
Item       Conn.                Conn.       Originating     Terminating         IMBI                 IMSI          De scription   Cell Location
               Date             Time           Number         Number
191          03/05/ll          ll:04A     14697741845     18173436690                         310410276936201          IN         [52703 / 35367:-97.44867:32.77356:8]
192          03/05/ll          ll:22A     1 2 147386545   1817343 6690    .................   310410276936201          IN         [52703 / 3536 1:-97 .44867:32.77356:8]
193          03/05/ll          ll:23A     18173436690     12147386545     ..........•....     3104 1 0276936201        OUT        [52703/34571:-97.42067:32.762 31:60]
194          03/05/ll          l2:06P     12147386545     18173436690                         310410276936201          IN         [52703 / 14221:-97.44867:32.77356:60]
195          03/05/ll          l2:33P     12145353700     18173436690                         310410276936201          IN         [52703/14153:-97.4065:32 . 73331 :3 00]
196          03/05/ll          Ol:2lP     19153172253     18173436690                         310410276936201          IN         [52703 / 3457 1:- 97.42067:32.76231:60]
197          03/05/ll          Ol:25P     18173436690     19153172253                         310410276936201          OUT        [52703 / 14221:-97.44 867 : 32.77356:60]
198          03/05/ll          01:26P     19153172253     181734 36690                        310410276936201          IN         [52703 / 34571:-97.42067:32.76231:60]
199          03/05/ll          02:29P     14697741845     18173436690     •...•...•..•...     310410276936201          IN         [52703/14221:-97.4 4 867 : 32.77356 : 60]
200          03/05/ll          03:2lP     18173436690     14697741845                         310410276936201          OUT        [52703 / 14181:-97 . 42067:32.76231:60]
201          03/05/ll          03:36P     18178974827     18173436690     ............•..     310410276936201          IN         [52703 / 34571:-97.42067:32.76231:60]
202          03/05/ll          03:4lP     14697741845     18173436690                         310410276936201          IN         [ 527 0 3 /14181:-97.4 2 067:32.76231:60]
203          03/05/ll          03:54P     18173436690     14697741845                         310410276936201          OUT        [52703 / 35361:-97.44867:32.77356:8]
204          03/05 /ll         04:05P     14697741845     18173436690                         3104 10276936201         IN         [52703 / 14183:-97.42067 :32 .76231:300]
205          03/05/11          04:20P     18173431808     18173436690     **** **** *******   310410276936201          IN         [52707 / 24943:-97.23075:32 . 79428:300]
206          03/05/ll          06 :39P    14692260768     18173436690                         310410276936201          IN         [52709 / 60428: - 97.09917:32.95581:128]
207          03/05/ll          06:55P     18173436690     14692260768                         3104 10276936201         OUT        [52709 / 23562: - 97.09917:32.9 55 81:128]
208          03/05/ll          06:57P     14692260768     18173436690                         310410276936201          IN         [52709 / 23562:-97.09917:32.95581:128]
209          03/05/ll          06:58P     18173436690     14692260768                         310410276936201          OUT        [ 52709/23562:-97.09917:32.95581:128]
210          03/05/ll          07:00P     14692260768     1 8173436690    ..............•     310410276936201          IN         [ 52709/23562: -9 7 . 09917:32 . 9558 1: 128]
211          03/05/ll          07:02P     18173436690     14692260768                         310410276936201          OUT        [ 52709/23562 :- 97.09917:32.95581:128]
212          03/05/ll          07 : 03P   14692260768     18173436690                         310410276936201          IN         [52709/23562:-97.09917:32.95581:128]
213          03/05/ll          lO:l9P     18179480989     18173436690     ..•.•...•.....•     310410276936201          IN         [52709/ 23562: -97 .09917:32.95581: 128]
214          03/06/ll          05:58A     12147386545     18173436690     ..•...•........     310410276936201          IN         [52703/34572:-97.42067:32.76231:180]
215          03/06/ll          07:5lA     18173436690     18173431808                         31041027 693 62 Ol       OUT        [52703/35361: - 97.44867:32.77356:8]
216          03/06/ll          08:33A     12147386545     18173436690     ...............     31 0410276936201         IN         [52703/14221:-97.44867:32.77356:60]
217          03/06/ll          08:36A     18173436690     12147386545                         310410276936201          OUT        [5 2703/ 1 422 1:-97.44867:32.77356:60]
218          03/06/ll          08:36A     1 2147386545    18173436690                         310410276936201          IN         [52703/14221:-97.44867:32.77356 :60 ]
219          03/06/ll          08: 37A    18173436690     12147386545                         310410276936201         OUT         [52703/1422 1:-97.44867:32.773 56:60]
220          03/06/ll          08:39A     12147386545     18173436690     ....•..........     310410276936201          IN         [52703/14221:-97.44867:32.77356:60]
221          03/06/ll          08:53A     18173431808     18173 436690                        310410276936201          IN         [52703/ 14221: - 97.44867:32.77356:60]
222          03/06/ll          09:00A     18173436690     18173431808     .•.............     310410276936201         OUT         [5 2703 /35367 : -97.44867 : 32 . 77356:8]
223          03/06/ll          09 :00A    18173431808     18173436690     ...............     310410276936201          IN         [52703/35 3 67:- 97.44867:32.773 56 :8]
224          03/06/ll          09:0lA     18173436690     18173 431808                        310410276936201         OUT         [52703/35367 : -97 . 44867 : 32.77356:8]
225          03/06/ll          09:0lA     18173431808     18173436690                         310410276936201          IN         [52703/35367 :- 97 . 44867 : 32 . 77356:8 ]
226          03/06/ll          09:0lA     18173436690     18173431808                         310410276936201         OUT         [52703/3 53 67: -97.4 4867:32 .77356: 8 ]
227          03/06/ll          09:23A     14697741845     18173436690     .......••......     310410276936201          IN         [52703/35367:-97.44867:32.77356:8 ]
228          03/06/ll          09:26A     181 73 436690   14697741845                         310410276936201         OUT         [52703/35367 :- 97.4 4 867:32.77356 :8]



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                                 Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 73 of 99 PageID 3893
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04/ 1 5/20 11
                                                              MOBILITY USAGE                                                                                            ~~ a&
                                                                                                                                                                        ~   t t
SCAMP                                                      (with cell location)


 Run Date:              04/15/2011
 Run Time:              15:29:02
 SMS Usage For:         (817)343-6690
 Account Number:        318912244
Item         Conn .            Conn.       Originating     Terminating          IMBI                IMSI           Description   Cell Location
             Date              Time          Number          Number
229          03/06/11         09:27A     14697741845     18173436690                         310410276936201           IN        [52703 / 35367:-97 . 44867:32.77356:8]
230          03/06/11         09:28A     14697741845     18173436690                         310410276936201           IN        [52703 / 35367: - 97.44867:32.77356:8 ]
231          03/06/11         09: 33A    18173436690     14697741845      ................   310410276936201          OUT        [52703 /35 367: -97.44867:32.77356:8 ]
232          03/06/11         09:44A     18173436690     14697741845                         310410276936201          OUT        [52703 /35 367: - 97.44867:32.77356:8 ]
233          03/06/11         09:52A     18173436690     18179480989                         310410276936201          OUT        [52703 / 14221:-97.44867 :3 2.77356:60 ]
234          03/06/11         09: 53A    18173436690     12142230947                         310410276936201          OUT        [52703 / 1 4221 :-97.4 4867:32.77356:60 ]
235          03/06/11         09:56A     14697741845     18173436690      ..•..........•.    310410276936201           IN        [5 2 703/14221:-97.44867:32.77356:60]
236          03/06/11         09:56A     14697741845     18173436690                         310410276936201           IN        [52703/14221: - 97.44867:32.77356:60 ]
237          03/06/11         09:58A     18173436690     14697741845                         31041027693620 1         OUT        [52703/14221:-97.44867:32.77356 : 60]
238          03/06/11         10:33A     18179480989     18173436690                         310410276936201           IN        [52703/14221:-97.44867:32.77356 : 60 ]
239          03/06/11         10:37A     18173436690     18179480989                         310410276936201          OUT        [52703/14221:-97.44867:32.77356:60]
240          03/06/11         11 : 01A   12145353700     18173436690                         310410276936201           IN        [52703/40479:-97.39414:32.79517:248]
241          03/06/11         11 : 01A   12145353700     18173436690                         310410276936201           IN        [5 2703 / 40479:-97 .39414 :32.79517:248]
242          03/06/11         11:02A     18173436690     12145353700                         310410276936201          OUT        [52703 / 40479:-9 7 .39414:32.79517:248]
243          03/06/11         11:03A     12145353700     18173436690                         3104102769362 0 1         IN        [52703 /40479: -97.39414:32 . 79517:248 ]
244          03/06/11         11 : 20A   12147386545     18173436690                         310410276936201           IN        [52703 / 40473:-97.39414:32 . 79517:248]
245          03/06/11         11:40A     18173431808     18173436690      •.•.•..........    31041027693 6201          IN        [ 52703 / 404 79: -9 7 .39414:32 . 79517:248]
246          03/06/11         11:53A     18173431808     18173436690                         31041027 6 93 62 01       IN        [52703/35394:-97.39886:32.77283:8]
247          03/06/11         12:00P     12144356137     18173436690                         3 1 0410276936201         IN        [52703/14181:-97.42067:32.76231:60]
248          03/06/11         12 : 34P   121473865 4 5   18173436690                         310410276936201           IN        [ 52703 /1 422 1 :-97 . 44867 : 32 . 77356 : 60]
249          03/06/11         02:37P     18173431808     18173436690      .......•.••••..    3104 1 0276936201         IN        [52703/34571:-97.42067:32.76231:60]
250          03/06/11         04 : 01P   18173431808     18173436690                         3104 1 0276936201         IN        [52705/33811:-97.32344:32.74433:60 ]
251          03/06/11         04 : 03P   18173436690     1 8173431808                        310410276936201          OUT        [52705/03222:-97.29314 : 32.78031:180]
252          03/06/11         04:15P     18173431808     18173436690                         3 1 04 1 0276936201       IN        [52707/23533:-97.16078:32.85086:248 ]
253          03/06/11         06:13P     18173436690     18173431808      ...............    310410276936201          OUT        [52707 / 40649: - 97. 16078 :32.8 5086:248]
254          03/06/11         06:14P     18173436690     18173431808      ...............    310410276936201          OUT        [ 52707/40649: - 97.16078:32.85086:248]
255          03/06/11         06: 14P    18173431808     18173436690                         310410276936201           IN        [ 52707/40649:-97.16078 : 32.85086 : 248]
256          03/06/11         06:15P     18173436690     1817343 1 808                       31041 0276936201         OUT        [52707 /4064 3: - 97.16078:32.85086:248]
257          03/06/11         06:16P     18173436690     18173431808                         310410276936201          OUT        [52707/40643:-97.16078 : 32.85086 : 248]
258          03/06/11         08: 14P    1817 3436690    18173431808                         310410276936201          OUT        [52709 /60422: - 97.09917:32.95581:128]
259          03/06/11         08:15P     1817 3431808    18173436690      ...............    31041027693 6 201         IN        [52709/60422: - 97.09917:32.95581 : 128]
260          03/06/11         08:17P     18173436690     14697741845                         310410276936201          OUT        [52709/60 428:- 97.0 9917:32.95581:128]
261          03/06/11         08:20P     14697741845     18173436690      ...............    310410276936201           IN        [52709/2 3562: - 97.09917:32.95581:128 ]
262          03/06/11         08:20P     1469774 1 845   1 8 1 73436690   ...............    310410276936201           IN        [52709/2 3562: - 97.09917:32.95581:128 ]
263          03/06/11         08:22P     18173436690     14697741845                         310410276936 2 01        OUT        [52709/ 235 62 : - 97.09917 : 32.95581:128 ]
264          03/06/11         08:24P     1469774 1 845   1 8173436690                        3104 1 0276936201         IN        [52709/23562:-97.09917:32.95581:128 ]
265          03/06/11         08 : 25P   18173436690     14697741845                         310410276936201          OUT        [52709/2 3562: - 97.09917:32.95581:128 ]
266          03/06/11         08:26P     1469774 1 845   18173436690      ..........•..•.    310410276936201           IN        [52709 /23562 : - 97.09917:32.95581:128 ]



                                                                                   AT&T Propri etary
        AMO                      Th e i n fo rma t ion con ta ine d h e r e i s fo r u se by a utho riz e d per son o nly a n d is                                                  Pa ge 76
                                                                n ot f or g e ne r al di strib u tio n .
                                  Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 74 of 99 PageID 3894                                                             ........,
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915465.001                                                                                                                                                                              '

04/15/2011
                                                               MOBIL ITY USAGE
SCAMP                                                       (with cell l ocation)


 Run Date:               04/15/2011
 Run Time:               15:29:02
 SMS Osage For:          (817)343-6690
 Account Number:         318912244
Item         Conn.              Conn .      Originating     Terminating           IMEI                IMSI            Desc ription   Cell Location
              Date              Time          Number           Number
267        03/06/11            08:26P     18173436690     1 4697 7 418 45                      310410276936201            OUT        [52709/23562:-97.09917:32.95581:128]
268        03/06/11            08: 27P    18173436690     14697741845                          310410276936201            OUT        [5270 9/2 3562:-97.09917:32.95581:128]
269        03/06/11            08:28P     14697741845     1817343669 0      •.•..•....•••..    31041 0 276936201          IN         [ 52709/23562:-97.09917:32.95581:128]
270        03/06/11            08:30P     18173436690     14697741845                          310410276936201            OUT        [ 52709/2 3562:-97.09917:32. 95581: 128]
271        03/06/11            08:33P     14697741845     18173436690                          310410276936201            IN         [52709 /23562 :-97.09917:32.95581:128]
272        03/06/11            08:35P     18173436690     14697741845                          3104102 7 6 93 62 01       OUT        [52709/23562:-97.09917:32.95581:128]
273        03/06/11            08:39P     14697741845     18173436690       ................   310410276936201            IN         [52709/23562:-97.09917:32.95581:128]
274        03/06/11            08:40P     18173436690     14697741845                          310410276936201            OUT        [52709 /23562 :-97.09917:32.95581:128]
275        03/06/11            08:42P     1817343 669 0   14697741845                          310410276936201            OUT        [52709/23562:-97.09917:32.95581:128]
276        03/06/11            08:57P     14697741845     18173436690       .........•.•...    310410276936201            IN         [5270 9/60422:-97.09917:32.9558 1:128]
277        03/06/11            09:02P     14697741845     18173436690                          310410276936201            IN         [52709/60422:-97.09917:32.95581:128]
278        03/06/11            09:47 P    1000000000      18173436690                          310410276936201            IN         [52709 /60428: -97.099 1 7 :32 . 95581:128]
279        03/06/11            09:47P     1100            18 173436690                         3104102769 3620 1        IN VMN       [52709 /6042 8:-97 .09917:3 2.95581:128]
280        03/06/11            09:47P     0100            18173436690       ...•......•••••    310410276936201          IN_VMP       [52709/60428:-97.09917: 32 .95581:128]
281        03/06/11            10:25P     18048732541     18173 436690                         310410276936201            IN         [52709/60422:-97.09917:32.95581:128]
282        03/07/11            09:28A     18173436690     18048732541                          310410276936201           OUT         [52709/24338:-97.09953:32.93497:]
283        03/07/11            09:28A     1817 3436690    14697741845                          310410276936201           OUT         [52709/24338:-97.09953:32.93497:]
284        03/07/11            09:36A     14697741845     18173436690                          310410276936201            IN         [52709/24338:-97.09953:32.93497:]
285        03/07/11            09:37A     1817 3436690    14697741845                          310410276936201           OUT         [52709/24338:-97.09953:32.93497:]
286        03/07 / 11          09:38A     14697741845     18173436690       ...............    310410276936201            IN         [52709/24338 :-97.09953:32.93497 : ]
287        03/07/11            09:39A     14697741845     18173436690       ......•........    310410276936201            IN         [52709 /24338 :-97.09953:32.93 497:]
288        03 /07/ 11          09 :44A    18173436690     14697741845                          310410276936201           OUT         [52709/24338:-97.09953:32.93497 : ]
289        03/07/11            09:49A     14697741845     18173436690                          310410276936201            IN         [52709 /24338 :-97.09953:32. 93497 :]
290        03/07/11            09 :57A    18173436 690    14697741845                          310410276936201           OUT         [52709 /24338:-97. 0995 3 : 32.93497 :]
291        03/07/11            09:58A     14697741845     18173436690                          3104102769362 0 1          IN         [52709/24338:-97. 099 53 : 32.93497: ]
292        03/07/11            1 0: 11A   14697741845     181734 36690      ....••.........    310410276936201            IN         [5270 9/243 3 8:-97.09953 : 32.93 497 : ]
293        03 /07/11           10:54A     10 00000000     18173436690                          310410276936201            IN         [ 52709/62028:-97.09953 : 32.93497:120 ]
2 94       03/07/11            10:54A     1100            18173436690                          310410276 9 36201        IN VMN       [52709 /62028:-9 7.09953 :32 . 9349 7:120]
295        03 /07/11           10: 54A    0100            18173 436690      .......••.•.•••    310410276936201          IN VMP       [ 52709/6202 8: -97 .09953:32 .93497:12 0]
296        03/07/11            11 : 02A   18173431808     18173436690                          310410276936201            IN         [5270 9/24 33 8: -97.09953 :32.9349 7:]
297        03/07/11            11: 26A    18178974827     18173436690       .....•........•    310410276936201            IN         [52709/62022 : -97 .09 953:32.93497 :12 0]
298        03 / 07 /11         11: 28A    1817343669 0    18178974827       ......•........    310410276936201           OUT         [52 709/603 13:- 97.07914 :32.93881:2 40]
299        03/07/11            11: 29A    18178974827     18173436690       ...............    310410276936201            IN         [ 52709/603 1 3 : -97 .0 7914:32.9388 1:24 0]
300        03 /07/ 11          12:56P     12145669724     18173436690       ....•.•.•....•.    310410276936201            IN         [5270 9/24332: -97.09953 :32.9349 7:128]
301        03/07/11            02:06P     18172962476     18173436690                          3104 102 76936201          IN         [ 52709/62028:-97.09953:32.93497:120]
302        03/07/11            07:03P     18172962476     18173436690       ••.............    310410276936201            IN         [ 52709/24317:-97 . 12608:32.93822:]
303        03/ 07 /11          08:22P     18173431808     1817343669 0      ...............    310410276936201            IN         [ 52709/24317:-97 . 12608: 32.93822:]
304        03/07/11            08:22P     18173431808     18173436690                          310410276936201            IN         [ 52709/24317:-97 .12608: 32.93822:]



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                                                         not for general distribution.
915465.001                        Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 75 of 99 PageID 3895                                                           -....,.;
                                                                                                                                                                        ~~ at&t
04/15/2011
                                                               MOBILITY USAGE
SCAMP                                                       (with cell location)


 Run Date:               04/15/2011
 Run Time:               15:29:03
 SMS Usage For :         (817)343-6 690
 Account Number:         318912244
Item          Conn.             Conn.        Originating     Terminating         IMEI                IMSI            Description   Cell Location
              Date              Time           Number          Number
305         03/07/11           08 : 24P    18173431808     18 1 73436690   ................   310410276936201            IN        [527 0 9/60423:-97.09917:32.95581:248]
306         03/07/11           09:1 5P     12146940034     18173436 690                       310410276936201            IN        [52709/23563:-97.09917:32.95581:248]
307         03/07/11           09: 28P     18173431808     18173436690                        310410276936201            IN        [52903/03673:-97.08444:32.92639:300]
308         03/07/11           10 : 2 6P   18177845975     18173436690     ........••.....    3104102769362 01           IN        [52707/40649:-97.16078:32.85086 : 248]
309         03/07/11           10 : 37P    18173436690     18177845975                        310410276936201           OUT        [52 7 0 7/23533:-97.16078:32.85086:248]
310         03/07/11           10:55P      18177845975     18173436690                        310410276936201            IN        [52707/23533:-97.16078:32.85086:248]
311         03/07/11           11 : 45P    18179469251     18173436690                        310410276936201            IN        [52707/40649:-97.16078:32.85086:248]
312         03/08/11           02:02A      18177845975     18173436690                        3104102769362 01           IN        [52707/40649:-97.16078:32 . 85086:248]
313         03/08/11           02:02A      18177845975     18173436690     ...........•...    310410276936201            IN        [52707/40649:-97.16078:32 . 85086:248 ]
314         03/08/11           02:16A      18179469251     18173436690                        3104102 76936201           IN        [52707/41989:-97 . 23333 : 32.84097:248]
315         03/08/11           02:24A      18179469251     18173436690                        310410276936201            IN        [52706/ 14 722 :- 97 . 29017:32 . 87097:128 ]
316         03/08/11           04:2 0A     18177845975     18173436690     ...............    3 104102 76936 201         IN        [52709/604 22:-97.09917:32.95581:128]
317         03/08/11           04:49A      1817784 5975    18173436690                        310410276936201            IN        [ 52709/60422:-97.09917:32.95581:128 ]
318         03/08/11           04:49A      18177845975     18173436690     ...••..•.......    310410276936201            IN        [ 52709/60422 :- 97.09917:32.95581:128 ]
319         03/08/11           06:31A      18179469251     18173436690     000000000000000    310410276936201          IN_ MMS     []
320         03/08/11           08:31A      1111301000      18173436690     ............•..    310410276936201            IN        [ 52709/23562:-97.09917:32.95581: 128]
321         03/08/11           08:31A      1111301000      18173436690                        310410276936201            IN        [ 52709/23562:-97.09917:32.95581:128]
322         03/08/11           04:10P      12142230947     18173436690                        310410276936201            IN        [ 52709/60422:-97.09917:32.95581 : 128]
323         03/08/11           06:15P      18179469251     18173436690                        310410276936201            IN        [52709/20237:-97.12608:32 . 93822:8]
324         03/08/11           06: 34P     1 8172962476    18173436690     •...•..•.•..•..    310410276936201            IN        [ 52709/243 1 1: - 97. 1 2608:32.93822:8]
325         03/08/11           06:39P      18173436690     18172962476                        310410276936201           OUT        [52709/23563:-97.09917:32.9558 1 :248]
326         03/08/11           07 :1 5P    14697741845     18173436690                        3104102 7 6 93 62 01       IN        [ 52709/24317:-97.12608:32.93822:]
327        03/08/11            07 : 17P    18173436690     14697741845     .........•.....    310410276936201           OUT        [ 52709/23563:-97.09917:32.95581:248]
328        03/08/11            07 : 17P    1 4697741845    18173436690     ......•........    310410276936201            IN        [52 709/23 56 3:-97 .0 9917:32 . 95581:248]
329        03/08/11            07 : 18P    1 817343669 0   14697741845     ..•............    310410276936201           OUT        [5270 9/23563: -97.09917:32.95581:248]
330        03/08/11            07 :21P     14697741845     18173436690     ..........•....    310410276936201            IN        [ 52709/2 02 37 : - 97 .12608: 32.93822:8]
331        03/08/11            07:31P      18173431808     18173436690                        31041027693620 1           IN        [52709 /6 0423: -97.09917 :32.9 5581:248]
332        03 /08/11           08:25P      16823519256     18173436690                        3 104102 76936201          IN        [52 709/20237:-97 .1260 8:32 . 93822:8]
333        03/08/11            09:12P      18179469251     18173436690                        310410276936201            IN        [52709/60423:-97.09917:32.95581:248]
334        03/08/11            09 : 57P    18179469251     18173436690                        310410276936201            IN        [52903/44264:-97.09953:32.8695:360]
335        03/08/11            1 0:29P     18173436690     16824726873                        310410276936201           OUT        [52707/42189:-97.13406:32.83747 : 248]
336        0 3/ 08 /11         10:56P      18173436690     14697741845                        310410276936201           OUT        [52707/14743: - 97.13406:32.83747:248]
337        03/08/11            1 0:58P     14697741845     18173436690                        310410276936201            IN        [52707/14743:-97.13406:32.83747:248]
338        03/08/11            10:59P      18173436690     14697741845                        310410276936201           OUT        [52707/42183: - 97.13406:32.83747:248]
339        03/08/11            11: OOP     14697741845     18173436690                        310410276936201            IN        [5 27 07 /42189:-97. 134 06:32.83747:248]
340        03/08/11            11: 01P     18173436690     14697741845                        310410276936201           OUT        [52707/42189:-97.13406:32.83747:248]
341        03/08/11            11: 01P     14697741845     18173436690                        3104102769362 01           IN        [ 52707/42189:-97 . 13406:32.83747:248]
342        03/08/11            11: 03P     18173436690     14697741845                        3104 1 02769362 01        OUT        [52707 /42189 : -97. 13406: 32.83747:248 ]



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915465.001
                                   Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 76 of 99 PageID 3896                                                           -.,.,;
                                                                                                                                                                        ~ ?- at&t
04 / 15 /2 011
                                                                MOBILITY USAGE
SCAMP                                                        (with cell location)


 Run Date:                 04/15/2011
 Run Time:                 15:29:03
 SMS Osage For :           (817)343-6690
 Account Number:           318912244
Item        Conn.                 Conn.     Originating     Terminating        IMEI                 IMSI             Deocription   Cell Locat ion
             Date                 Time        Number          Number
343          03/08/11            11:03P    18173 436690   146977418 45                      3 10410276936201            OUT         [52707/42189: -97 .13406:32.83 7 47:248 )
344          03/08/1 1           11:06P    146977418 45   18173436690     ..•........•...   310410276936201              IN         [52 7 07/42 1 89 : -97. 13406:32.83747:248)
34 5         03/08/1 1           11: 14P   18173436690    18179074504     ...............   31041 027693620 1           OUT         [52707/42189:-97.13406:32.83747:248)
346          03/08/ 11           11:14P    18173436690    18179038698                       310410276936201             OUT         [52 707 / 42189:-97.13406:32 . 83747:248)
347          03/08/11            11:24P    18173436690    18179882986                       310410276936201             OUT         [52707/42 1 89: - 97.13406:32.83747:248)
348          0 3 /08/ 11         11:25P    18173436690    18174756127                       31041027 693 62 01          OUT         [527 07/42 1 89:-97.13406:32.83747:248)
349          03/08/11            11:55P    18173436690    14695791622     .....••.•....•.   310410276936201             OUT         [5 2707/42 189:- 9 7 . 1 3406:32.83747:248 )
35 0         03/0 8/ 11          11: 56P   18173436690    14697741845                       310410276936201             OUT        [527 07/42 18 9 :- 97.13406:32.83747:248)
351          0 3 /08/ 11         11:57P    18173436690    18048732541     •..............   310410276936201             OUT        [52707/42 189 :-97 .1 3406:32.83747:248)
352          03/09/11            12: 11A   18174756127    18173436690     ...............   310410276936201              IN        [ 52707/14743: - 97 .1 3406:32 . 83747:248)
353          03/09/ 11           12:12A    1817343669 0   18174756127                       31 0 41 0276 9 36201        OUT        [ 5270 7 / 1 4743: - 97.13406:32.83747:248)
354          03/09/ 11           12:12A    18174756127    18173436690                       310410276936201              IN        [527 07/14743:-97. 13 406:32.83747:248)
355          03/09/11            12:14A    18174756127    18173436690                       310410276936201              IN        [52707/42 1 83: - 97.13406:32. 837 47:248)
356          03/09/11            12:15A    18174756127    18173436690     •..•.•..•••....   310410276936201              IN        [52707/42189: - 97.13406 : 32.83747 : 248)
357          03/09/ 11           12:l5A    18173436690    18174756127                       3 1 0410276936201           OUT        [ 52707/14743: - 97.13406:32.83 7 47 : 248)
358          03/09/ 11           12:16A    18174756127    18173436690                       310410276936201              IN        [52707 / 14743:-97.13406:32.83747 : 248)
359          03/09/ 11           12:17A    18173436690    18174756127                       3104 1 0276936201           OUT        [52 707/14743: - 97.13406:32.83747:248)
36 0         03/09/11            12:l7A    18174756127    1 8173436690    ......•••.•....   3 1 04102769 3 6201          IN        [52707/14743 :- 97. 1 3406 : 32 . 83 7 47:248)
361          03/09/11            12:18A    18174756127    18173436690                       3 1 041027693620 1           IN        [52707/14743:-97.13406:32.83747:248)
362          03/09/ 11           12:18A    18177845975    18173436690     .........•.....   3104 1 02769 3 6201          IN        [52707/14743 : -97 . 13406 : 32.83747:248)
363          03/09/11            12:18A    18173436690    18174756127     ..•.•......•...   3104 1 0276 936201          OUT        [52707 / 14743:-97.13406:32.83747 : 248)
364          03/09/1 1           12:l8A    18174756127    18173436690                       31 04 1 02 7 69 3 6201       IN        [52707/14743:-97.13406:32.83747:248)
365          03/09/ 11           12:19A    18174756127    18173436690                       3 1 04 1 0276936201          IN        [52 7 07 / 1 4743:-97.13406:32.83747:248 )
366          03/09/11            12:19A    18174756127    18173 4 36690   ...............   3 1 04 1 02769 3 6201        IN        [52707/ 1 4743: - 97 . 13406:32.83747:248)
367          03/09/ 1 1          12:19A    18173436690    18174756127     ***************   310410276936201             OUT        [52707 / 1 4743 :- 97.13406:32 . 83 7 47:248 )
368          03/09 / 11          12: 20A   18173436690    18174756127     ***************   310410276936201             OUT        [52707/14 7 43 :-9 7.13406 : 32.83 7 47: 248 )
3 69         03/09/ 11           12:20A    18173436690    18174756127                       310410276936201             OUT        [52707/14743:-97.13406:32.83747:248 )
370          03/09/11            12:20A    18174756127    18173436690                       31041027 693 62 01           IN        [52707 / 1 4 743:-97.13406:32 .8 3747:248 )
371          03/09/ 11           1 2:21A   18174756127    18173436690     ..•............   310410276936201              IN        [527 07/14743 :- 97.13406 : 32.83747:248 )
372          03/09/ 11           12:21A    18174756127    18173436690                       310410276936201              IN        [527 07/ 1 4 743:- 97. 134 06:32.83747:24 8)
373          03/09/ 11           12:22A    18174756127    18173436690     .•...........•.   3 10 41 0276 93 620 1        IN        [52707/14743:-97 .1 3406:32.83747:248)
374          03/09/11            12:22A    18173436690    18174756127     ......•........   31041 02 7693620 1          OUT        [ 52707/14743: - 97. 13 406 :32 .83747:248)
37 5         03/09/ 11           12:22A    18174756127    181734 3 6690   ...•...........   3104102769362 01             IN        [52707/14743:-97.13406:32.83747:248)
376          03/09/11            12:22A    1817343669 0   18174756 1 27                     310410276936201             OUT        [ 52707/1474 3:- 97.13406:32.83747:248)
377          03/09/11            12:23A    18173436690    18174756127     •.•............   31 041 02 76 93 62 01       OUT        [52707/14743:-97. 13406 : 32 . 83747:248 )
378          03/09/11            12:24A    18174756127    1 8173436690                      310410276936201              IN        [ 52707/14743:-97.13406:32 . 83747:248)
379          03/09/11            12:25A    18174756127    18173436690                       31041 0276936201             IN        [5270 7/1 4743: -97. 1340 6:32.83747:248)
380          03/09/11            12:25A    18173436690    18174756127     ......•.•.•....   31 04102 769362 01          OUT        [ 52707/14743:-97.13406:32.83747:248)



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915465.001
                                    Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 77 of 99 PageID 3897                                                                     -.,.._,
                                                                                                                                                                                    ~:? at &t
04/15/2011
                                                                MOBILITY USAGE
SCAMP                                                        (with cell location)


 Run Date :                04/15/2011
 Run Time :                15:29 : 03
 SMS Usage For:            (817) 343-6690
 Account Number:           318912244
Item         Conn.                Conn.       Originating         Terminating             IMBI                  IMSI           Description   Cell Location
                Date              Time          Number              Number
381           03/09/ll           12: 25A    1817 47 56127       18173436690                              310410276936 2 01         IN        [ 52707/14743: - 97 .134 06:32 . 83747 : 248 ]
382           03/09/ll           12 :26A    18173436690         18174756127        ...................   310410276936201          OUT        [52707/14743: - 97. 1 3406:32 . 83747:248 ]
383           03/09/ ll          12:26A     18174756127         1 8173436690                             310410276936 2 01         IN        [52707 / 1 4743:-97. 1 3406:32.83747:248 ]
384           03/09/ll           12:26A     18174756127         18173436690                              310410276936201           IN        [ 52707 / 14743:-97.13406:32.83747:248 ]
385           03/09/l l          12:27A     18173436690         1 8174756127                             310410276936201          OUT        [52707 /   14743:-97.134 0 6 : 32 . 83747:248]
386           03/09/ll           12:27A     18 174756127        1 8 17 3 43 6690   ...........•...       310410276936201           IN        [52707 /   1 4743:-97.13406:32.83747:248 ]
387           03/09/ll           12:28A     1817 4756 127       1 8173436690       ••.•...........       310410276936201           IN        [52707 /   147 43 :- 97. 1 3406:32 .83747:248 ]
388           03/09/ll           12:28A     18174756127         18173436690                              310410276936201           IN        [52707 /   14743:-97.13406:32.83747:248]
389           03/09/ll           12:29A     18174756127         18173436690                              310410276936201           IN        [52707 /   14743:-97.13 4 06:32.83747:24 8]
390           03/09/ll           12:31A     18173436690         18174756127                              310410276936201          OUT        [52707 /   42183: - 97.13406 : 32 . 83747:248]
391           03/09/11           12:31A     1 8 17 4756127      18173436690                              310410276936201           IN        (52707 /   42 1 89: - 97.13406:32.83747:248]
392           0 3/09/ll          12:36A     18 17475612 7       18173436690                              3 1 04102 7693620 1       IN        [52707 /   42 1 89 :- 97.13406:32.83747:248]
393           03/09/ll           12:37A     1 8173436690        18174756127                              310410276936201          OUT        [52707 /   42 1 89 :- 97.13406 : 32.83747:248]
394           03/09/ll           12: 39A    18174756127         18173436690                              310410276936201           IN        [52707 /   42189: - 97. 1 3406:32.83747:248]
395           03/09/ll           02 :13A    18174756127         1 8173436690       ......•.•......       310410276936201           IN        [ 52707 / 42189:-97.13406:32.83747:248]
396           03/09/ll           09:20A     14694632000         18173436690        .....•........•       310410276936201           IN        [ 52709 / 60428: -9 7 . 09917:32.95581:128]
397           03/09/11           09: 26A    18048732541         18173436690        ...............       3 1 0410276936201         IN        [ 52709 / 60428:-97.09917:32.95581:128]
398           03/09/ll           09 : 42A   18173431808         18173436690        .•.............       3 1 04 1 0276936201       IN        [ 52709 / 62022 : -97 . 09953 : 32 . 93497:120]
399           03/09/ll           09:43A     1 8179882986        18173436690                              31041027693620 1          IN        [ 52709 / 62022:-97.09953:32.93497:120]
400           03/09/ll           10 : 55A   14697741845         18173436690                              310410276936201           IN        [ 52816 / 13581:-96.82419:32.56967:8]
401           03/09/ll           12:11P     18172 9 6 2 4 7 6   1 817343669 0      .......••.•....       310410276936201           IN        [52709 / 24332:-97.09953:32.93497:128]
402           03/09/ll           12:36P     18173436690         1 469774 1845      ............•..       3 1 0410276936201        OUT        [52 709 / 23562: - 97.09917:32.95581:128]
403           03/09/ll           12:37P     18173436690         1 8172962476       .......•.......       310410276936201          OUT        [ 52709 / 23562:-97.09917:32.95581:128]
404           03/09/ll           12: 39P    18172962476         18173436690                              310410276936201           IN        [52 709/23 5 62:-97.09917:32.95581:128]
405           03/09/11           12:40P     18173436690         18172962476                              310410276936201          OUT        [52709 / 23562: - 97 . 09917:32.95581:128 ]
406           03/09/11           01:09P     14697741845         18173436690        ....•...•......       310410276936201           IN        [52709 / 60428:-97 . 099 1 7:32.9558 1 : 1 28 ]
407           03/09/11           01:59P     18172962476         18173436690        ...............       310410276936201           IN        [52709 / 24338:-97 . 09953:32 . 93497:]
408           03/09/11           02:03P     181734 3 1808       18173 436690                             310410276936201           IN        [52709/62028:-97.09953:32.93497:120]
409           03/09/ll           02 : 05P   18173436690         18172962476        ..•........•...       3 1 0410276936201        OUT        [52709 / 24332: - 97 . 09953:32.9 3 497:128]
410           03/09/ll           02:06P     18172962476         18173436690                              310410276936201           IN        [52709 / 24332:-97 . 09953:32.93497 : 128]
411           03/09/11           02:40P     18174756127         18173436690                              310410276936201           IN        [52709 / 23473: - 97 . 07914 : 32.93881:248]
412           03/09/11           02:53P     18173436690         18174756127        ...............       310410276936201          OUT        [52709 / 23562:-97 . 09917:32.95581:128]
413           03/09/ll           02:53P     18173436690         18174756127        ...............       310410276936201          OUT        [52709/23562 :- 97 . 09917:32.95581:128 ]
4 14          03/09/ll           02:54P     1 8 1 74756127      18173436690        ........••••••.       310410276936201           IN        [52709/23562: - 97 . 099 17 :32.95581:128]
415           03/09/11           02:56P     18173436690         18174756127                              310410276936201          OUT        [52709/23562: - 97.09917:32.95581:128]
416           03/09/ll           02:57P     18173436690         18174756127        ...•...........       310410 2 76936201        OUT        [52709 / 23562:-97.0991 7 :32.95581 : 128]
417           0 3 /09/ll         02:57P     1 8174756127        1 8 1 73436690     ...............       310410276936201           IN        [52709 / 23562 : -97. 0 9917:32 . 95581:128]
41 8          03/09/ll           02:58P     18174756127         18173436690        •.•.••.........       310410276936201           IN        [ 52709/23562: - 97 . 09917:32.95581: 1 28]



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                                                                                                                                                                            ~~ at&t
915465.001
0 4 /1 5 /2011
                                                                  MOBILITY USAGE
SCAMP                                                          (with cell locat i on)


  Run Dato:                04/15/2011
  Run Timo:                15:29:03
  SMS Osage For:           ( 817) 343-6690
  Account Number:          318912244
 Item          Conn.                Conn.       Originating       Terminating         IMBI                 IMSI           Description   Cell Location
                Date                Time          Number            Number
419         03/09/11               03:25P     16824726873      18173436690                          310410276936201           IN        [52709/23562:-97.09917:32.95581:128]
420         03/09/11               03:34P     18173436690      16824726873                          310410276936201          OUT        [52709/60422:-97.09917:32.95581:128]
421         03/09/11               03:38P     16824726873      18173436690                          310410276936201           IN        [ 52709/62022: - 97 . 09953:32.93497:120]
422         03/09/11               03:47P     18173436690      16824726873                          310410276936201          OUT        [ 52903/14321:-97. 1 0911:32.842:8]
423         03/09/11               03:47P     18173436690      1 6824726873                         31 04 1 027693620 1      OUT        [ 52903/14321:-97.10911:32.842:8 ]
424         03/09/11               03:48P                      18173436690      0000000 00 000000   310410276936201           IN        []
425         03 /09/ 11             04:03P     16824726873      18173436690                          3 104 1 0276936201        IN        [ 52707/23533:-97.16078:32.85086:248]
426         03 /09/11              05:40P     18173431808      18173436690                          310410276936201           IN        [ 52707 /4 0649:-97.16078:32.85086:248]
427         03 /09/ 11            05:40P      18173431808      18173436690                          310410276936201           IN        [ 52707/40649:-97.16078:32.85086:248]
428         03/09/11              07:19P      18172962476      18173436690      •.•.•••........     310410276936201           IN        [52707 /40649 :-97 . 16078 : 32.85086:248]
429         03/09/11              07:19P      18172962476      18173436690                          310410276936201           IN        [52707 /40649:-97. 16078 :32. 85086:248]
430         03/09/11              07:45P      14694632000      18173436690      000000000000000     310410276936201         IN_ MMS     []
431         03/09/11              08: 31P     16822214899      18173436690                          310410276936201           IN        [52707/40643:-97.16078:32.85086:248]
432         03/09/11              08:32P      18173436690      16822214899      .•.........•.•.     310410276936201          OUT        [52707 /4 0643: -97.16078:32 . 85086 : 248]
433         03/09 / 11            08:32P      16822214899      18173436690                          310410276936201           IN        [52707/40649:-97.16078:32.85086:248]
434         03/09/11              08:33P      18173436690      16822214899                          310410276936201          OUT        [52707/40649:-97 . 16078:32.85086:248]
435         03/09/11              08:34P      16822214899      18173436690                          310410276936201           IN        [52707/40649 : -97.16078:32.85086:248]
436         03/09/11              08:38P      18173436690      16822214899      •..•.....•.....     310410276936201          OUT        [52707 / 23533:-97 . 16078:32.85086:248]
437         03/09/11              08:39P      16822214899      18173436690                          310410276936201           IN        [52707 / 23533 : -97 . 16078:32.85086:248]
438         03/09/11              08:40P      18173436690      16822214899      •.••..•••...•..     310410276936201          OUT        [ 52707 /2 3533:-97.16078 : 32 . 85086:248]
439         03/09/11              08:40P      18173436690      16822214899                          310410276936201          OUT        [527 0 7/23533:-97.16078:32.85086:248 ]
440         03/09/11              08:40P      1 8 1 73436690   16822214899                          310410276936201          OUT        [52707/ 23533:-97.16078:32.85086:248]
441         03/09/11              08:41P      16822214899      18173436690                          310410276936201           IN        [52707/23533:-97.16078:32.8 50 86:248]
442         03/09/11              08 : 42 P   18 17 3436690    16822214899                          3 1 0410276936201        OUT        [52707 /23533:-97 . 16078:32.85086:248 ]
443         03/09/11              08 : 43P    16822214899      18173436690      .........•.....     310410276936201           IN        [52707/23533:-97.16078:32.85086:248]
444         03/09/11              09 :1 8P    1 8173436690     16822214899                          3 1 0410276936201        OUT        [ 52707/4 0 643:-97 . 16078:32.85086:248 ]
445         03 /09/11             09:26P      18173436690      18179882986                          3 1 0410276936201        OUT        [52707/40643:-97.16078:32.85086:248]
446         03 /09/11             09 : 26P    18173436690      14697741845                          3 1 041027693620 1       OUT        [ 52707/40643:-97 . 16078:32.85086:248]
447         03/09/11             09:29P       18173436690      14694632000                          310410276936201          OUT        [ 52707/40649:-97 . 16078:32.85086:248]
448         03 /09/11            09:29P       18173436690      14694632000                          310410276936201          OUT        [52707 / 40649:-97.16078 : 32 . 85086 :248 ]
449         03 /09/11            09:30P       14694632000      18173436690      ...............     310410276936201           IN        [52707/40649:-97.16078:32 . 85086:248]
450         03/09/11             09:30P       14694632000      18173436690                          310410276936201           IN        [52707 / 40649:-97.16078:32 . 85086:248]
451         03 /09/11            09:31P       18173436690      14694632000      ...............     310410276936201          OUT        [52707 /40649: -97.16078:32.85086:248]
452         03/09/11             09:31P       18173436690      14694632000      ...........•...     310410276936201          OUT        [52707/40649 :-97 .16078:32.85086:248]
453         03 / 09/11           09:31P       18173436690      14694632000                          310410276936201          OUT        [52707/40649 :-97.16 078:32.85086:248]
454         03 /0 9 / 11         09:32P       18173436690      14694632000      ...............     310410276936201          OUT        [52707/ 4 0649:-97.16078:32.85086:248]
455         03/09/11             09:32P       14694632000      18173436690      .•..•••.•..•...     310410276936201           IN        [52707/40649 : -97 . 16078:32.85086:248]
456         03 / 09/11           09 : 33P     18173436690      14694632000      ...........•••.     3104 1 0276936201        OUT        [52707/40649 : -97.16078 : 32.85086:248]



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                                                                                                                                                                                       ~ at&t
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                                                                 MOBILITY USAGE
SCAMP                                                         (with cell location)


 Run Date:               04/15/2011
 Run Time:               15:29:03
 SMS Osage For:          (817) 3 43 · 6690
 Account Number :        3189 1224 4
Item        Coon.                 Conn.        Originating      Terminating              IMBI                      IMSI            Description   Cell   Location
               Date                Time           Number           Number
457         03/09/11            09:33P       14694632000      1 8173436690                                 310410276936201              IN       ( 52707/40649: - 97.16078:32.85086:248]
4 58        03/09/11            09 : 35P     18173436690      1 4694632000                                 310410276936201             OUT       ( 52707 / 40647 :- 97.16078:32.85086:8 ]
459         03/09/11            09:36P       14694632000      18 173436690                                 310410276936201              IN       ( 52707/23532 :- 97.16078:32 .8 5 086: 1 28]
460         03/09/11            09 : 37P     1 8 1 73436690   1 4694632000      * * *** * *** * **** *     3104 1 0276936201           OUT       (52707/ 41582 :- 97.13542:32.8 5 347:120 ]
461         03/09/11            09:38P       14694632000      18173436690                                  310410276936201              IN       (52707/415 82: - 97.13542: 32 .8 5 347: 1 20]
462         03/09/11            09:39P       18173436690      14694632000                                  31041 02769 3 6201          OUT       [52903 / 40553: - 97.11217:32.85897 : 240 ]
463         03/09/11            09:41P       14694632000      18173436690       * **** * * * ***** **      310410276936201              IN       [529 0 3 / 44264: - 97.09953:32.8695:360]
464         03/09/11            09:4 1 P     16822214899      1 8173436690      • • ••• ••••• • • • ••     3 1 04102769 3 6201          IN       [52903/44264 :- 97.09953:32.8695:360]
465         03/09/11            09: 41P      18173436690      16822214899       * * *** ** * ** * ****     3 1 0410276936201           OUT       [5 2903/44264:-97.09953:32.8695:360]
466         03/ 0 9/11          09:42P       18173436690      1 46 94632 00 0   •••••• • • • ••••••        310410276936201             OUT       [52903/01673:-97.08228:32.87758:300 ]
467         03/09/11            09:45P       1111301000       18173436690       •• •••••• •• ••• ••        310410276936 2 01            IN       [52903 / 23587:-97.09742:32.89986:]
468         03/09/11            09:45P       1111301000       18173436690       • •••• • • • •••• •••      3104102769 3 620 1           IN       [52903/27609 : -97.08444:32.92639:]
469         03/09/11            09:46P       14694632000      18173436690       0 0 000000000000 0         31041 0276936201          IN MMS      []
470         03/09/11            09:46P       111 1301000      18173436690       • •• ••••••••••••          310410276936201              IN       [52903 /0 3673: - 97.0844 4: 32 . 92639:300]
471         03/09/11            09 : 46P     111130 1 000     181 73436690      •••••••• • ••••••          310410276936201              IN       [52903/03673 :- 97 . 08444 : 32 . 92639 : 300]
472         03/09/11            09:46P       18173436690      14694632000       ••••• •• •••••• ••         310410276936201             OUT       [52903/03673: - 97 .08444: 3 2 . 92639:300]
473         03/09/11            09 : 48P     1 4694632000     18173436690       • ••••••• • ••• • ••       310410276936201              IN       ( 52709 /24 338 : -97 . 09953:32.93497:]
474         03/09/11            09:48P       18173436690      14694632000       •••• •• • • ••••• • •      3 10 4 10 276936201         OUT       [52709 /24337 :-97. 09953 :32 . 93497:]
475         03/09/11            09 : 54P     1817 3436690     14694632000       000000000000000                                     OOTMMS       []
476         03/09/11            09 : 58P     14694632000      181 73436690      •• • •• ••••••• •• •       310410276936201              IN       [ 52709 /62021: - 97.09953:3 2. 93497:0]
47 7        03/09/11            10 : 00P     18173 436690     14694632000       •• • ••••••••••••          310410276936201             OUT       [52709/62021: - 97.09953 : 32 . 93497 : 0]
478         03/09/11            10:02P       14694632000      18 1 73436690     •••••• ••• •• • •• •       310410276936201              IN       [52709/62027: - 97.0995 3 :32.93497:0]
479         03/09/11            10:03P       18173436690      14694632000       •• • •••••• •• ••••        310410276936201             OUT       [52709 /6 2027: - 97.0 9953 :32.93497:0]
480         03/09/11            10 : 10P     1 4 694632000    18173436690       ••• •• •• •• •• •• ••      3104102769362 0 1            IN       [527 09/ 24331: - 97.09953:32.93497:8 ]
481         03/09/11            10:12P       18173436690      14694632000       •• ••• • •••••••••         3104102769362 0 1           OUT       [52709 /6 0428 :- 97 . 09917:32.95581:128]
482         03/09/11            10: 1 6P     14694632000      1817 3436690      •••••••• • ••••• •         3104 1 0276936201            IN       [52709/60428:-97.09917 : 32 . 95581:128]
483         03/09/11            1 0:18P      181 73436690     1 4694632000      • • • •• • • • •••• •• •   3 104 1 02 76 93620 1       OUT       [5 2 709/60428 :- 97.09917 : 32 . 95581:128]
484         03/10/11            1 2:31A      18174756127      18 173436690      * ******* * ******         310410276936201              IN       [52709/23568 :- 97 . 09917:32 . 955 8 1 : ]
485         03/10/11            02:09A       1817343 1 808    1817 3436690      * **** * ****** ***        3104 1 0276936201            IN       [52709 /6 0422 : -97 . 09917:32.95581:128 ]
486         03/10/11            08:15A       18173436690      18048732541       000000000000000            310410175616304          OUT_ MMS     []
487         03/10/11            08:27A       180487 3 2541    18 173436690      •••••• •• ••• •• • •       310410276936201              IN       [5 2709/2356 2 :-97 . 09917:32 . 95581:128]
488         03 /10/11           09:50A       1 46 977 41845   181734366 9 0     •••••• • •• • •••••        310410276936201              IN       [52709/24338 :- 97.09953 : 32 . 93497:]
489         03/10/11            09:54A       1 817 3436690    136 1774156 1     000000000000000            3104103 7 4272871        OUT_ MMS     []
490         03/10/11            09 : 55A     13617 7 41561    18173436690       •••• • •• • ••• • •••      310410276936201              IN       [52709/24338:-97 . 09953 : 32 . 93497:]
491         03/10/11            09:56A       18173436690      13617741561       • •••• •• • • •••• ••      310410276936201            OUT        [5 2709 / 243 3 8: - 97.09953 : 32 . 93497:]
492         03/10/11            10:17A       18172962476      1 8 173436690     ••• ••• •••• •••• •        310410276936201             IN        [52709/24338:-97.09953:32.93497: ]
493         03/10/11            10: 17A      1817 2962476     18173436690       **** ** ***** ** **        310410276936201             IN        [52709/24338 :- 97.099 53 :3 2 .93497:]
494         03/10/11            1 0 : 30A    13617741561      1817 3436690      *** ** * * ** ** ****      310410276936201             IN        [5 2 709/62028: - 97 . 09953 : 3 2. 93497:120 ]



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9 1 546 5 . 00 1                  Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 80 of 99 PageID 3900
                                                               MOBILITY USAGE
0 4/15/2 0 11
SCAMP                                                       {with cell location)                                                                                                      at&t

Run Date:                04/15/2011
Run Time :               15:29:03
SMS Usage For:           (817)343-6690
 Account Number:         3189122 44
Item        Conn.               Conn.       Originating     Terminating             IMEI                    IMSI          Description   Cell Location
             Date               Time          Number          Number
495        03 / 10/11          1 1:14A    18173431808     18173436690      ••••••••• •• ••••         310410276936201           IN       [ 52709/62028:-97.09953:32.93497:120 ]
496        03/10/11            11:40A     18177845975     18173436690      • •• •••••• • • •• ••     310410276936201           IN       [ 52709/62028:-97.09953:32.93497:120 ]
497        03/10/11            06 : 27P   18173431808     181734 3 6690    •••••••••••••••           310410276936201           IN       [ 52709/23563:-97.099 1 7:32.95581 : 248 ]
498        03 / 10/11          06 : 41P   18177845975     18173436690      • ••••• • •••••• ••       31041027693620 1          IN       [ 52709/20231 : -97. 1 2608:32.93822:8]
499        03 / 10/ 11         06 : 50P   181734318 0 8   18173436690      •••••••••••••••           310410276936201           IN       [ 52709/23563:-97.09917:32 . 95581:248]
500        03 / 10/ 11         06 : 51P   18177845975     18173436690      ••• •• •• ••• • ••• •     31041027693620 1          IN       [52709/23563:-97.099 1 7:32.95581:248]
501        03/10/11            07 : 01P   18179469251     18173436690      000000000000 000          310410276936201        IN MMS      []
502        03/10/11            07 : 27P   18179882986     18173436690      ••• • • • • • ••• • •••   310410276936201           IN       [ 52709 /2 3563:-97.099 1 7:32.95 5 81:248]
503        03/10/11            08 : 05P   18173431808     18173436690      ...............           310410276936201           IN       [ 52709 / 23563:-97 . 09917 : 32.95581:248]
504        03/10/11            08:25P     18173436690     18173431808                                310410276936201          OUT       [527 0 9/243 1 7:-97 . 12608 : 32.93822:]
505        03/10/11            08:29P     18173431808     18173436690      ...............           310410276936201           IN       [52709/23563:-97.09917:32.95581:2 48]
506        03/10 / 11          08:59P     18179469251     18173436690      000000000000000           31041027693620 1       IN MMS      []
507        03/10/11            0 8:59P    1 111301000     1817343669 0                               31 04102769362 01         IN       [52709/60423: - 97.09917:32 .955 81:248]
508        03/10/11            08:59P     1111301000      1817343669 0                               310410276936201           IN       [52709 /60423 : -97.09917:32.95581:248]
509        03/10/11            09:01P     1111301000      18173436690                                3104102769362 0 1         IN       [52709 / 60423 : -97 . 09917:32.95581:248]
510        03/10/11            09:01P     1111301000      18173436690      ...............           310410276936201           IN       [52709 /604 23:-97.09917:32.95581 : 248]
511        03/10/11            09:14P     18173436690     18179882 986                               310410276936201          OUT       [52709 /202 37 : -97.126 0 8:32.93822:8 ]
512        03/10/11            09:15P     18179882986     18173436690                                310410276936201           IN       [52709/20237:-97.12608:32.93822:8]
513        03/10/11            1 0 :04P   18179882986     1 8 1 73436690                             310410276936201           IN       [52709 /2 0237:-97.12608:32.93822:8 ]
514        03/10/11            10:1 1 P   18173436690     18179882986                                310410276936201          OUT       [52709/60423:-97 . 09917:32 . 95581:248]
515        03/10/11            10:11P     18173436690     18 179882986     •..••.....•.•.•           310410276936201          OUT       [52709/2 0 231:-97 . 12608:32 . 93822:8 ]
516        03/10/11            10:12P     18179882986     18173436690      ................          310410276936201           IN       [52709/20237 : -97 . 12608:32.93822:8 ]
517        03/10/11            10:15P     18179882986     18 173436690                               310410276936201           IN       [52709/20237:-97.12608:32.93822:8 ]
518        03/10/11            10:21P     18173436690     18 179882986                               31041 0276936201         OUT       [52709/23563: - 97.09917:32.95581:248 ]
519        03/10/11            10:22P     18179882986     18173436690                                31 041 0276936201         IN       [52709 / 23563:-97.09917:32.95581:248 ]
520        03/10/11            10:24P     18173436690     18179882986      ..•..••.....••.           31 041 027693620 1       OUT       [52709/60423:-97.09917:32.95581:248 ]
521        03 /1 0/ 11         10: 25P    18179882986     18173436690      ...............           310410276936201           IN       [52709 /60423 :-97 .09 91 7:32.9558 1 :248]
522        03/1 0/11           10:42P     18173436690     1 817343 1 808                             310 410 27693620 1       OUT       [ 52709/20231 :- 97.12608:32.93822 : 8]
523        03/10/11            10:42P     18173436690     18179882986      ...••.•........           31041027693620 1         OUT       [52709/20231: - 97.12608:32.93822:8]
524        03/10 / 11          10:43P     18173436690     1361774 1 56 1   ..........•....           31041027693620 1         OUT       [52709/20231: - 97 . 12608:32.93822:8]
525        03/10/11            10:43P     18173431808     18173436690                                31041027693620 1          IN       [52709/20231:-97.12608 : 32.93822:8]
526        03/10/ 11           1 0:43P    18173436690     1 817343 1 808   .•.....•.•.••..           31041027693620 1         OUT       [527 0 9/60423:-97 . 09917 : 32.95581:248]
527        03/10/11            10:44P     18173431808     18173436690      ••• ••• •• •• • ••••      310410276936201           IN       [52709/6042 3: - 97.09917:32 . 955 81:248]
528        03/10/ 11           1 0:44P    18173436690     18173431808      •••••••••••••••           310410276936201          OUT       [5 2709/60423:-97 . 09917:32.95581 :24 8]
529        03 / 11/ 11         12:26A     18179882986     18173436690      •••••••••• • ••••         310410276936201           IN       [52707/40643 : -97.16078:32.85086:248]
530        03 / 11/ 11         03 : 17A   7535            181 73436690     • •••••• • ••• • •••      310410276936201           IN       [52709 /2 0328:-97.15139:32.97094:128]
531        03 / 11/11          08:43A     18048732541     18173436690      •••••••••••••••           3104102769362 0 1         IN       [52709/23562:-97.09917:32 . 95581:128]
532        03/11/11            01:06P     18173436690     18048732541      •••••••• •• •••••         310410276936201          OUT       [52709/62028:-97.099 5 3:32.93497:120]



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        AMO                                                                                                                                                                           Page 83
                                  The informa t i on conta ine d h ere is for u s e by a utho r iz ed p e r s on only and is
                                                             not for general di s tribution .
                                  Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 81 of 99 PageID 3901
                                                                                                                                                                   ~~ at&t
915465.001                                                     MOBILITY USAGE
04/15/2011
SCAMP                                                       (with cell location)


 Run Date:               04/15/2011
 Run Time:               15:29:04
 SMS Usage For:          (817)343-6690
 Account Number:         318912244
Item        Conn.               Conn.      Originating     Terminating          IMBI                IMSI          Description   Cell Location
               Date             Time         Number          Number
S33          03/11/11          01:12P     18048732S41    18173436690     ..•.....••.•...      310410276936201         IN        [S2709/62028 :- 97.099S3:32.93497:120 ]
S34          03/11/11          01:S1P     1469774184S    18173436690                          31041 027693620 1       IN        [S2709/62028:-97.099S3:32.93497:120 ]
S3S          03/11/11          01:59P     18173436690    1469774184S                          310410276936201        OUT        [ S2709/62028:-97.099S3:32.93497:120]
S36          03/11/11          01:S9P     1469774184S    18173436690                          310410276936201         IN        [ S2709/62028: - 97.099S3:32.93497:120]
S37          03/11/11          06:12P     18179882986    18173436690                          310410276936201         IN        [ S2709/60423:-97.09917:32.95581:248]
S38          03/11/11          06:24P     18173436690    18179882986     ...............      310410276936201        OUT        [ 52709/24311: - 97.12608:32.93822:8]
S39          03/11/11          06:38P     18179882986    1 8173436690    * * *********** **   310410276936201         IN        [ 52709/60423: - 97.09917:32.95581:248]
S40          03/11/11          0 7:08P    18179882986    1 8173436690                         310410276936201         IN        [52709/20231: - 97.12608:32 . 93822:8]
S41          03/11/11          07:18P     18173436690    18179882986     .....•.......•.      310410276936201        OUT        [52709/ 60423:-97.09917:32.95581:248]
S42          03/11/11          07:26P     1817 9882986   18173436690                          310410276936201         IN        [S2709 / 20237:-97.12608:32.93822:8]
S43          03/11/11          07 : 38P   18173436690    18179882986                          310410276936201        OUT        [S2709 / 23S63:-97.09917 :3 2.9SS81 : 248]
S44          03/11/11          07 : 44P   1 8179882986   18173436690     ..•............      310410276936201         IN        [S2709/60423 :- 97.09917:32.9SS81:248]
S4S          03/11/11          07 : S2P   18173431808    18173436690                          310410276936201         IN        [S2709/24317:-97. 1 2608:3 2.93822:]
S46          03/11/11          07:S2P     18173431808    18173436690     ••.............      310410276936201         IN        [S2709 / 24317:-97.12608 : 32.93822:]
S47          03/11/11          07:S3P     18173431808    18173436690     .....•••.......      310410276936201         IN        [S2709 / 24317:-97.12608:32.93822:]
S48          03/11/11          09:23P     18173436690    18179882986                          310410276936201        OUT        [S 2709 / 26 943 :-97.12S 06 :32 . 971:300]
S49          03/ 11/11         09 : 23P   18173436690    18173431808                          310410276936201        OUT        [S2709/243 11: - 97.12608 :3 2.93822:8,
                                                                                                                                S2709/26943:-97.12S06:32 . 971 :3 00]
sso          03/11/11          10:09P     1469774184S    18173436690                          310410276936201         IN        [S2903 / 40SS7:-97 . 11217:32.8S897:0]
SS1          03/11/11          10:09P     18173436690    1469774184S                          310410276936201        OUT        [S2903 / 44266:-97.09953:32.8695:0]
SS2          03/11/11          10:10P     1469774184S    18173436690                          310410276936201         IN        [ S2903 / 40SS8:-97.11217:32.8S897:120]
SS3          03/11/11          10:11P     18173436690    1469774184S     .......•.......      310410276936201        OUT        [S2903/24183: - 97 . 11217:32.8S897:248]
SS4          03/11/11          10:12P     1469774184S    18 1734366 90                        310410276936201         IN        [S2707/41S82:-97. 1 3S42:32.8S347:120 ]
sss          03/11/11          10:13P     18173436690    1469774184S     ...............      310410276936201        OUT        [S2707/41S82: - 97.13S42:32.8S347:120,
                                                                                                                                S2707 / 41S83:-97.13S42:32.8S347:240]
SS6          03/11/11         10 :1 3P    18173436690    1469774184S                          310410276936201        OUT        [ S2707/41S83:-97 . 13S42:32.8S347:240]
SS7          03/11/11         10:14P      18179882986    18173436690                          3104102 76936201        IN        [ S2707/41S89 :- 97.13S42 :32.8S3 47:240]
sse          03/11/ 11        10:14P      18173436690    18179882986     ...•.••.•......      3104102 7693620 1      OUT        [ S2707/23532:-97 . 16078:32 . 8S086:128]
SS9          03/11/11         10:1SP      1469774184S    18173436690                          310410276936201         IN        [S2707/23S3 2: - 97 . 16078:32 . 85086:128]
S60          03/11/11         10:1SP      18173436690    1469774184S     .•.............      310410276936201        OUT        [S2707 /23S31: - 97.16078:32 .8 S086 :8 ]
S61          03/11/11         10:17P      1469774184S    18173436690                          310410276936201         IN        [S2707/23S33: - 97.16078:32.8S086:248]
S62          03/11/11         10:44P      18179882986    18173436690                          310410276936201         IN        [S2707/23S33:-97.16078:32 . 8S086:248]
S63          03/11/11         10:4SP      18173436690    18179882986     ..•..•.........      310410276936201        OUT        [S2707/23S33 : -97.16078:32.8S086:248 ]
S64          03/11/11         10:47P      18179882986    18173436690                          310410276936201         IN        [S2707 /23S33 : -97 .16078:32.8S086:248]
S6S          03/11/11         10:49P      18173436690    18179 882986                         310410276936201        OUT        [S2707/23S33 : -97.16078:32.8S086:248]
S66          03/11/11         10:SOP      18179882986    18173436690                          310410276936201         IN        [S 2707 /23S33: - 97 .1 6078:32.8S086:248]
S67          03/11/11         10:S2P      18173436690    18179882986                          310410276936201        OUT        [S2707 /23S 33:-97.16078 : 32.8S086:248]
S68          03/11/11         10:S4P      18179882986    1817343 6690                         310410276936201         IN        [S2707 / 23S33 :- 97.16078:32.8S086:248]



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        AMO                                                                                                                                                                   Page 84
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                                                         not for general distribution .
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                                                                                                                                                                                                 ~ at&t
9 1 5465. 001
04/ 1 5/ 2011
                                                                  MOBILITY USAGE
SCAMP                                                          (with cell location)


 Run Date:                 04/15/2011
 Run Time:                 15:29:04
 SMS Usage For :           (817)343-6690
 Account Number:           318912244
I tem        Conn.                Conn.         Originating        Termi nating               IMBI                       IMSI             Descri ption   Cell Location
             Date                  Time           Number              Number
569        03/11/11              1 0:58P      181 73436690       18179882986                                     31041027693620 1            OUT         [52707/23533:-97 . 1607 8:32.85086 : 248]
57 0       03/ 11 / 11           11: 00P      181 7 3 43669 0    1 8179074 504      ...••..•.......              3 1 04 1 027693620 1        OUT         [ 52707/23533:-97 .1 6078:32.85086:248]
571        03/11/11              1 1:01P      18179882986        18 1 73436690                                   31041027693620 1             IN         [52707/23533:-97 . 16078:32 . 85086:248]
572        03/11/11              11:02P       18173436690        18179882986                                     310410276936201             OUT         [52707/23533 :- 97 .1 6078:32.85086 : 248]
573        03/11/11              11: 03P      18179882986        18173436690        ...............              310410276936201              IN         [52707/23533:-97.16078:32 . 85086:248]
574        03/11/11              11: 03P      18173436690        18179882986                                     310410276936201             OUT         [52707/23533 : -97.16078:32.85 0 86:248 ]
575        03/11/11              11: 0 4P     1817988 2 986      18173436690                                     31 0 4102769362 0 1          IN         [ 52707/23533: - 97. 1 6078:32.85 0 86 : 248 ]
576        03/11/11              11:05P       18173436690        18179882986                                     31 0 4 1 027693620 1        OUT         [ 52707/23533 :- 97. 1 6078:32.85 0 8 6 :2 4 8 ]
577        03/11/11              11:40P       18173436690        18 0 48732541      ..•....•.......              31 0 4102769362 0 1         OUT         [ 52707/2 3 5 3 3:-97. 1 6078:32.85086:248 ]
578        03/12/11              12:21A       18173436690        18179882986        * * * **** * * * * * * * *   310410276936201             OUT         [ 52707/23533:-97. 1 6078:32.850 86:248 ]
579        03/12/11              12 : 56A     18173436690        18174202850                                     3104102769362 0 1           OUT         [ 52707/40649: - 97.16078 : 32.85086:248 ]
580        03/12/11              12:57A       181734 3 6690      18174202850        ............•..              310 4102769362 0 1          OUT         [ 52707/40649: - 97.160 7 8:32.85086:248]
581        03/ 1 2/11            12:58A       18173436690        14697741845        .•.•...........              3104102769362 0 1           OUT         [ 527 0 7/40649:-97. 1 6078:32.85086:248]
582        03/12/11              12 : 59A     18173436690        16822214899        .••••...•......              3104 10 2769 3 62 01        OUT         [ 52707/40649:-97. 1 6078:32.85086 : 248 ]
583        03/12/11              1 2 : 59A    18173436690        14694632000                                     3 1 0410276936 2 01         OUT         [ 527 0 7/40649:-97.16078:32.85086:248]
584        03/12/11              01:00A       18173436690        14695692275                                     310410276936201             OUT         [ 527 0 7/40649: - 97 . 16078:32.85086:248]
585        03/12/11              01:00A       14694632000        18173436690                                     310410276936201              IN         [ 52707/40649: - 97.16078:32.85086:248]
586        03/12/11              0 1 :00A     18174202850        18173436690                                     310410276936201              IN         [ 52707/40649:-97 . 16078:32.85086 : 248]
587        03/12/11              01:00A       1817 4 202850      18173436690        •...••••...•...              3 1 04 1 0276936 2 0 1       IN         [ 527 0 7/4 0 649 : -97 . 16 0 78:32.85086 : 248]
588        0 3 / 1 2/11          01:03A       18 1 73436690      1 8 1 7 4 202850   ...............              3 1 0410 27693620 1         OUT         [ 52707/4 0 649 : -97 . 16078 : 32.85086 : 248]
589        03/12/11              01:03A       1 8173436690       18174202850                                     3 1 041027693620 1          OUT         [52707/40649:-97. 1 6 0 78:32.85086 : 248]
590        03/12/11              01:04A       1 8173436690       18174202850                                     310410276936201             OUT         [52707/40649:-97.16 0 78 : 32.85086: 2 48]
591        03/12/11              01:04A       18174202850        18173436690                                     310410276936201              IN         [52707/40649:-97.16 0 78:32.85086:248]
592        03/12/11              01:05A       1 8 1 73436690     1817 4202850                                    31 041027693620 1           OUT         [52707/406 4 9:-97.16 0 78:32.85086:248]
593        03/12/11              01 : 06A     18173436690        14694632 00 0                                   3 1 041027693620 1          OUT         [52707/40649:-97.16 0 78:32.85086:248]
594        03/12/11              01:06A       18 1 73436690      1 4697741845                                    3 1 041027693620 1          OUT         [52707/40649:-97.16078:32 . 85086:248]
595        03/12/11              01 : 06A     14694632 0 00      1 817343669 0                                   31041027693620 1             IN         [52707/40649:-97.16078:32.85086:248]
596        03/12/11              01:07A       18 1 73436690      14694632 000                                    310410276936201             OUT         [52707/40649:-97 . 16078:32.85086:248]
597        03/12/11              01 : 08A     18174202850        18173436690                                     310410276936201              IN         [52707/40649:-97 . 16078: 3 2.85 0 86 :2 48]
598        03/ 1 2/11            0 1 :09A     18173436690        18 1 74202850      ..•............              310410276936201             OUT         [52707/40649:-97.16078 : 32.85 0 86:248 ]
599        03/12/11              01 : 09A     14694632 000       1817343669 0       ...........•...              310410276936201              IN         [ 52707/40649: - 97. 1 6078 : 32.85086:248 ]
600        0 3 / 1 2/ 11         0 1 :09A     18 1 7 3 43669 0   18 1 74202850                                   3 1 04 1 02769362 01        OUT         [ 52707/40649:-97.16078 : 32.850 86:248 ]
601        03/12/11              0 1 : 1 0A   18173436690        14694632000                                     3104 1 02769362 0 1         OUT         [ 52707/40649: - 97. 1 60 7 8:32.85086:248]
602        03/ 1 2/ 1 1          0 1 : 11A    18174202850        1817 3 436690      .............•.              3104102769362 0 1            IN         [ 52707/40649: - 97. 1 6078:32.85086:248]
603        03/12/11              01:11A       18173436690        18179074504        .••..••........              3104102769362 0 1           OUT         [ 527 0 7/40649:-97.16078:32.85086:248]
604        0 3/12/11             0 1 : 12A    18173436690        18174202850        ••...•.........              31 0 4102769362 0 1         OUT         [ 52707/4 0 649:-97.16078:32 . 85086:248]
605        03/ 1 2/11            01: 1 2A     18173436690        181 74 2 02850                                  31 0 410276936201           OUT         [ 527 0 7/4 0 649:-97. 1 6078:32.85086:248]
606        03/12/11              01: 13A      181 73436690       16824726873                                     3 104102769362 0 1          OUT         [ 527 0 7/4 0 649: - 97 .1 6078:32.85086 : 248]



                                                                                                  AT&T Propri etary
        AMO                                                                                                                                                                                                  Pa g e 85
                                     The i nforma t i on c onta i ned here i s for u se by a utho rized pe r s on o nly and i s
                                                                  n o t f o r gene ral distribu t i on .
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                                                                                                                                                                            ~ at&t
91 5465.001                                                    MOBILITY USAGE
04/ 15 /20 11
SCAMP                                                       {with c e ll location)


 Run Date:               04/15/2011
 Run Time :              15:29:04
 SMS Usage For:          (817) 343-6 690
 Account Number:         318912244
Item         Conn.               Conn .      Originating     Terminating            IMBI                   IMSI          Description   Cel l Location
             Date                Time          Number          Number
607       03/12/11              01:15A     18174202850     18173436690                              310410276936201          IN        ( 52707 /406 49:-97.16078:32.85086:248]
608       03/12/11              01:17A     18173436690     18174202850      ***************         310410276936201         OUT        (52707/40649 : -97.16078:32.85 086 :248]
609       03/12/11              01:17A     18173436690     181742 0 2850                            3104 1 027693620 1      OUT        (52707/40649:-97.16 078:32.85086:248]
610       03/12/11              01:18A     18174202850     18173436690                              31041027693620 1         IN        (52707/40649:-97 . 16078:32.85086:248]
611       03/ 1 2/11            01: 1 8A   18174202850     18173436690                              3104 1 0276936201        IN        (52707/40649:-97.16078:32.85086:248]
612       03/12/11              01: 1 8A   18174202850     18173436690                              310410276936201          IN        (52707/40649 : -97 . 16078:32.85086:248]
613       03/12/11              01: 1 9A   18173436690     181 742 0 2850   ...........••..         310410276936201         OUT        (52707/40649:-97.16078:32.85086:248]
614       03/12/11              01:20A     18174202850     18173436690                              310410276936201          IN        (52707 /4 0649 : -97 . 16078:32.85086:248]
615       03/12/11              01:20A     18173436690     18174202850                              310410276936201         OUT        (527 07/40649:-97.16078:32.85086 : 248]
616       03/12/11              01:21A     1817 34 36690   18174202850                              310410276936201         OUT        (52707 /40649: -97.16078:32.8508 6 :248]
617       03/12/11              01:21A     1817343669 0    14694632000      ***************         31 0410276936201        OUT        (527 0 7/40649:-97.16078:32.85086:248]
618       03/12/11              01 :2 1A   18174202850     18173436690                              310410276936201          IN        (52707 /4 0649:-97 .1607 8:32.85 0 86:248]
619       03/ 1 2 / 11          01:22A     18173436690     1 8 1 74202850                           310410276936201         OUT        (52707/40649:-97.16078:32.8 5 086:248]
620       03/12/11              01:22A     14694632000     18173436690                              310410276936201          IN        (52707/40649:-97.16078:32.85086:248]
621       03/12/11              01:23A     18173 4 36690   14694632000      ...............         310410276936201         OUT        (52707 /40649 : -97 . 16078 : 32.85086:248]
622       03 / 12 / 11          01:23A     18173436690     14694632000                              310 410276936201        OUT        (52707/40649:-97.16078:32.85 0 86:248]
623       0 3/ 12 / 11          01:24A     14694632000     18173436690                              310410276936201          IN        (52707/40649:-97.16078:32.85086:248]
624       03/12/11              01:2 4A    18173436690     18174202850      ...•...•.•.....         310410276936201         OUT        (52707 /40649 :-97 . 16078:32 . 85086:248]
625       03/12 / 1 1           0 1:25A    18173436690     14694632000                              310410276936 2 01       OUT        (52707 /40649: -97.16078:32.8 50 86:248]
626       03 / 12/11            01: 27A    18174202850     18 1 73436690                            31041 0276936201         IN        (52707/40649:-97 . 16078:32 . 85086:248]
627       03/12/11              01:28A     18173436690     18174202850      ...............         310410276936201         OUT        (52707/40649:-97 .1 6078 : 32.85086:24 8]
628       03 /12 / 11           01:29A     18173436690     14694632000                              31041 0276936201        OUT        (52707 /4 0649 : -97. 1 6078:32 . 85086 : 248]
629       03 /12/ 11            01: 31A    18174202850     18173436690                              310410276936201          IN        (52707 /4 0649 : -97.16078:32 .85086:248]
630       03 / 12 / 11          01:31A     18174202850     1817343669 0                             31041 0276936201         IN        (52707/40649: - 97.16078:32.85086:248]
631       03/12/11              01:32A     14694632000     1817343669 0     .•.............         310410276936201          IN        (52707 /4 0649:-97.16078:32.85086:248]
632       03/12/11              01:32A     18173 436690    14694632000      ***************         310410276936201         OUT        (52707 / 40649:-97.16078:32.85086:248]
633       03/12/11              01:33A     14694632000     1 8173436690                             310410276936201          IN        ( 5270 7 /40649 : -97.16078:32.85086:248 ]
634       0 3 / 12/ 11          01:33A     1 8173436690    14694632000                              3 1 0410276936201       OUT        ( 52707/40649 : -97.16 078:32.85086:248 ]
635       03/12/11              01:33A     18173436690     1 4694632000     *** * * * ** * ******   310410276936201         OUT        ( 52707/40649 : -97.16078:32.85086:248 ]
636       03 / 12/ 11           01:34A     14694632000     18173436690                              310410276936201          IN        ( 52707 /40649 : - 97.16078:32.85086:248]
637       03 / 12 / 11          01:34A     1 4694632000    18173436690      •..............         310410276936201          IN        ( 52707/40649:-97 . 16078:32.85086:248]
638       03 /12/ 11            01:34A     1 8 173436690   1817 4 202850    ...............         310410276936201         OUT        ( 52707 /40 649:-97 . 16078:32.85086:248]
639       03/12/11              01 :35A    1 8173436690    14694632000      .............•.         310410276936201         OUT        ( 52707 / 40649: - 97 . 16078:32.85086:248]
640       03 /12 / 11           01:35A     18173436690     18174202850      ..•..•...••.•.•         310410276936201         OUT        ( 52707/40649:-97.16078:32.85086:248]
641       03/12/11              01:35A     14694632000     18 173436690                             3 1 0410276936201        IN        ( 52707/40649:-97 . 16078:32.85086:248]
642       03/12/11              01:36A     18 173436690    14694632000      .•.............         310410276936201         OUT        (52707/40649:-97.16078:32.85086:248]
643       03 / 12 / 11          01:36A     1 8 174202850   18173436690                              3 1 0410276936201        IN        ( 52707/40649:-97.16078:32.85086 : 248]
644       03/12/11              01:36A     14694632000     18173436690                              310410276936201          IN        (52707 / 40649:-97.16078:32.85086:248]



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                                                             not for gene r a l distribut i on.
                                   Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 84 of 99 PageID 3904
915465.001
04/15/2011
                                                                MOBILITY USAGE                                                                                              ~;";;~
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                                                                                                                                                                                        t t
SCAMP                                                        (with cell location)


 Run Date:                04/15/2011
 Run Time:                15:29:04
 SMS Usage For:           (817)343-6690
 Account Number:          318912244
Item         Conn.               Conn.       Originating     Terminating         IMEI                  IMSI            Description   Cell Locat ion
             Date                 Time         Number          Number
645        03/12/11             01:36A     18173436690     18174202 850                        3 1041027693 6201          OUT        [ 52707 /406 49 : -97.1 6078 :32. 85086 :248 )
646        03/12 / 11           01:37A     1 817 3436690   14694632000     *********** * ***   310410276936201            OUT        [52707/40649: -9 7 .16 078 :32 .85086 :2 48)
647        03/12/11             01:38A     14694632000     18173 436690    ***************     31041 0276936201            IN        [ 5270 7/406 49:-97.16 078:32.85086 :24 8)
648        03/12/11             01:40A     18174202850     18173436690                         310410276936201             IN        [5 2707 /406 49:-97.16 078:32.85 0 86:248 )
649        03 / 12/11           01:40A     18174202850     18173 4 36690                       31 0410276 936201           IN        [ 5270 7/406 49:-9 7 .16078:32.85086 :24 8]
650        03/12/11             01:41A     18173436690     18174202850                         310410276936201            OUT        [52707/40649:-97.16078:32.85086:248)
651        03/12/11             01:42A     18173436690     14694632000     ************* * *   31041 0 276936201          OUT        [ 52707 / 4 0649:-9 7 . 16078 :32.85 086 :24 8)
652        03/12/1 1            0 1:43A    14694632000     18173436690                         310410276936201             IN        [52707/40649 : -97.16078:32.85086 :248)
653        03/12/11             0 1:44A    18174202850     18173436690     *********** * ***   310410276936201             IN        [52 707 / 4 0649:-97.16078:32. 85086:24 8)
6 54       03/12/11             0 1:44A    18174202850     18173436690     .•.............     31041027 69362 01           IN        [52707/40649 :-97 .16078:32. 8 5086:2 48)
655        03 / 12 / 11         01:46A     18173436690     18174202850                         31 04102769 36201          OUT        [52707/40649:-97.16078:32.85086:248)
656        03/12/11             01:47A     18173436690     14694632000                         310410276936201            OUT        [527 07/4064 9:-97 . 160 78:32. 85 086 :248)
657        0 3/12/11            01:48A     1 46946 32000   18173436690     .....•.•.••.•..     310 4 1 02 769362 0 1       IN        [52707/40649 :- 97.16078 :32 .85086:248)
658        0 3/12/11            01:48A     1817 3436690    14694632000     ....•.....•....     31 04 1 02 7693 620 1      OUT        [ 52707/4 0649 : -97. 1607 8:32. 85086 :248)
659        03/ 12 / 11          01:59A     18174202850     18173436690     ••.•.•.........     310410276936201             IN        [ 52903/40558: - 97.11217:32.85897:120)
660        03 / 12 / 11         02:01A     14695692275     1 8173436690                        31 04102 76 9362 01         IN        [52 903/ 44266:- 97 . 0995 3:32. 8695 : 0 )
661        03 / 12 / 11         08:17A     18048732541     18173436 690                        3104 1 0276936201           IN        [ 52709/2 35 62: - 97.09917 : 32.95581: 12 8 )
662        03/12/11             08:20A     14697741845     18173436690     ....•..........     310410276936201             IN        [52 709/ 23562:-97.09917:32.95581 :128)
663        03 / 12/11           09:50A     1682 47 26873   1 8173436690                        3104102769362 0 1           IN        [52709 / 23562:- 97 .09917:3 2 . 95581:128 )
664        03/12/11             ll:OlA     18048732541     18173436690     ..............•     310410276936201             IN        [527 09/ 6 0 313:- 97 .0 7914 :32. 93881:2 40 )
665        03/12/11             11 : 05A   14695692275     181734366 90    ...•••.........     310410276936201             IN        [527 0 9 /60 3 1 9:-97.07914:32 .9 3881 :24 0)
666        03/12/11             12:15P     13302406183     18173436690                         310410276936201             IN        [52903/60081:-97.09742:32.89986:0)
667        03/12/11             12:22P     14694632000     18173436690                         310410 276936201            IN        [52903/60081: - 97 . 09742: 32. 89 9 86:0]
668        03/12/11             02:03P     18173436690     1330 2406183    ************** *    3104102 7693620 1          OUT        [ 52 709/604 28:-97. 09 917:32.955 81 : 128)
669        03/12 / 11           02:03P     18173436690     14 6 94632000   .....••.•••....     3 10 410276936 20 1        OUT        [52709/60429:-97.09917:32.95581 : 248]
670        03/12/11             02:04P     14694632000     18173436690     •...•..........     310410276936201             IN        [ 5 2709/2 3562:-97 .09917: 32.9558 1 : 1 28 )
671        03/12/11             02:04P     133 02406 183   18173436690                         3 1041027693 62 01          IN        [52709/23 562:- 97 . 099 17:32. 9 5581:128 )
672        03/12/11             02: 11P    18173436690     14694632000     .............•.     3 10410 2769362 0 1        OUT        [ 527 09/23562: -9 7.09917:32 . 95581 : 1 28 )
673        03/12/11             02:41P     16824726873     1 8173436690    .•.•......•....     3 10 41 0 2769362 0 1       IN        [52709/604 28:- 97.09917:32 . 95581 : 128 ]
674        03/12/11             03:01P     18173436690     16824726873                         3 10410 276936201          OUT        [52709 / 23568:-9 7.09917 : 3 2.95581:)
675        03/12/11             03:02P     16824726873     18173436690     ..........•...•     310410276936201             IN        [52709/23568:-97.09 917 :32.95581:)
676        03/12/11             03:04P     18173436690     16824726873     .••••••........     31041027 69 3 62 0 1       OUT        [ 527 09/60428:-97.099 17 :32.955 8 1:128)
677        03/12/11             03:11P     1 6824726873    18173436690     ***************     310410276936201             IN        [52709/60428: -97.099 17 :32 . 95581 :128)
678        03/12/11             03:12P     1 81734366 90   16824726873     ....••.........     310410276936201            OUT        [52709/60428:-97 .0 9917: 32 .9558 1: 128)
679        03/12/11             03:15P     16824726873     18173436690     .............••     3104102769362 0 1           IN        [52709 /23 562:-97.09917:3 2.9558 1:128 )
680        03/12/11             03 : 16P   18173436690     16824726873                         310410276936201            OUT        [527 09/23562:-97.09917:32.95581:128 )
681        03 /12/ 11           03:17P     16824726873     18173436690                         310 4 102769362 0 1         IN        [527 09/ 2 3562 :- 97.09917 : 32.95581:128 )
682        03/12/11             03:18P     18173436690     16824726873                         310410276936201            OUT        [ 52709/23562:-97.09917 : 32.95581: 12 8)



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                                     Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 85 of 99 PageID 3905
04/15/20 11
                                                                 MOBILITY USAGE
SCAMP                                                         {with cell location)


 Run Date:                  04/15/2011
 Run Time:                  15:29:04
 SMS Usage For:             (817) 343-6690
 Account Number:            318912244
Item        Conn.                  Conn.       Originating     Terminating          I MBI              IMSI           Description   Cell Loca tion
                Date               Time          Number           Number
683          03 / 12 / 11         03:19P     16824726873     1 8 1 73436690   ...............   310410276936201           IN        [52709/23562: -97.09917 :32 .95581:128]
684          03 /12/11            03 : 20P   18173436690     16824726873                        310410276936201          OUT        [ 52709/23562:-97.09917:32.95581:128 ]
685          03 /12/11            03 : 22P   16824726873     18173436690                        3104 1 02769362 01        IN        [ 52709/60428:-97.09917:32.95581:128]
686          03/12/11             03:24P     18173436690     14695692275      000000000000000                          OUT_ MMS     []
687          03/12/11             03:24P     18173436690     16824726873                        3 10 4 1 0276936201      OUT        [5 2709/23563:-97.09917:32 . 95581:248]
688          03/12/11             03:25P     16824726873     18173436690      .•...••.•.•...•   31 0410276936201          IN        [527 0 9/23562: - 97 . 09917:32 .9 5581:128]
689          03/12/11             03:26P     14695692275     18173 4 36690                      3 1041 0276936201         IN        [52709/23562:-97.09917:32 . 95581:128]
690          03/12/11             03:27P     18173436690     14695692275      .....•.•.•.•...   310410276936201          OUT        [ 52709/23562: - 97.09917:32 . 9558 1 :128]
691          03/12/11             03:27P     18173436690     16824726873      .•.•...•••.•...   310410276936201          OUT        [ 52709/23562 :- 97.09917:32.95581:128]
692          03/12/11             03:29P     16824726873     18173436690                        310410276936201           IN        [ 52709/23562: - 97.09917:32.95581:128]
693          03/12/11             03:30P     18173436690     16824726873                        310410276936201          OUT        [ 52709/23562 :- 97.09917:32.95581:128]
694          03/12/11             03:31P     14695692275     18173436690      ***************   310410 27693620 1         IN        [52709/23562:-97.09917:32.95581:128]
695          03/1 2/11            03:31P     16824726873     18173436690      .....•.•••.•...   310410276936201           IN        [ 52709/23562:-97.09917:32.95581:128]
696          03/12/11             03 :34P    18173436690     16824726873      000000000000000                          OUT_ MMS     []
697          03/12/11             03:36P     16824726873     18173436690                        31041 0276936201          IN        [52709/60428:-97.09917:32.95581:128]
698          03/12/11             03:36P     14695692275     18173436690                        310410276936201           IN        [527 09/6 0428:-97. 09917 : 32.95581 : 128]
699          03/12/11             03:36P     18173436690     16824726873      ...............   31041027693620 1         OUT        [52709 /6042 8:-97.0 9917 :32.95581:128]
700          03/12/11             03:37P     18173436690     14695692275                        310410276936201          OUT        [52709/23562:-97.09917 : 32.95581:128]
701          03/12/11             03:37P     16824726873     18173436690                        31041027693620 1          IN        [52709 /23562:-9 7.09917:32.95581:128]
702          03/12/11             03:37P     14695692275     18173436690                        310410 276936201          IN        [52709/23568: - 97.09917:32 . 95581: ]
703          03/12/11             03 : 38P   18173436690     16824726873                        310410276936201          OUT        [52 709/23568: -97 . 099 1 7:32 .95581:]
704          03/12/11             03:38P     18173436690     14695692275                        310410276936201          OUT        [52709/23568: - 97.09917:32.95581:]
705          03/12/11             03:38P     16824726873     18173436690      .....•••••.•...   310410276936201           IN        [52709 /23 568:- 97 .09917:32.95581:]
706          03/12/11             03 : 39P   18173436690     16824726873                        310410276936201          OUT        [52709/18908:-97.15139:32.97094:]
707          03/12/11             03:39P     14695692275     18173436690                        310410276936201           IN        [52709/23568 :- 97.09917:32.95581:]
708          03/12/11             03:40P     18173436690     14695692275                        310410276936201          OUT        [52709/23568: - 97. 09917:32.95581:]
709          03/12/11             03:40P     16824726873     18173436690      .....•.•.......   3 1 04102769362 0 1       IN        [ 52709/23568 : -97 . 09917 : 32.95581 : ]
710          03/ 1 2/11           03:41 P    14695692275     18173436690      ......•...•.•.•   310410276 9362 01         IN        [52709/604 28 :-97.09917 :32.95581:128]
711          03/12/11             03:43P     18173436690     14 695692275     ....•...•..•.•.   310410276936201          OUT        [ 527 09 /23568:-97 .09917:32 . 95581 : ]
712          03/ 1 2/11           03:43P     14695692275     18173436690      ...............   3104 1 0276936201         IN        [52709/60428: - 97.09917:32 . 9558 1 : 1 28 ]
713          03/12/11             03:50P     1 8173436690    1469569227 5                       3 104102769 362 01       OUT        [ 52709/23562: - 97 . 09917:32.95581:128]
714          03/12/11             03 :5 1P   14695692275     1 817343669 0    ***************   310410276936201           IN        [ 52709/23568: - 97.09917:32.95581:]
715          03/12/11             03:52P     18173436690     14695692275                        3104102769362 01         OUT        [ 52709/18908: - 97.15139:32.97094:]
716          03/12/11             04:07P     14695692275     18173436690                        310410276936201           IN        [ 52709/60428:-97.09917:32.95581:128]
717          03 /12/ 11           04:29P     1817343 6690    14695692275                        3104 1 0276936201        OUT        [52709/60428 :-97.09917:32.95581:128]
718          03/12/11             04:30P     14695692275     1817343669 0                       3 10410276936201          IN        [52709/23562:-97.09917:32.95581:128]
719          03/12/11             04:31P     1 8173436690    14695692275                        3 1 04 10 276936201      OUT        [52709/23562:-97.09917:32.95581:128]
720          03/12/11             04:32P     14695692275     18173436690                        3104 10276936201          IN        [52709/23568: - 97.09917:32.95581 :]



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                                   Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 86 of 99 PageID 3906                                                            -..,...,
                                                                                                                                                                         ~? at&t
04/15/2011
                                                                MOBILITY USAGE
SCAMP                                                        (with cell location)


 Run Date:                04/15/2011
 Run Time:                15:29:05
 SMS Usage For:           (817) 343·6690
 Account Number:          318912244
Item         Conn.               Conn.       Originating     Terminating         IMEI               IMSI            Description   Cell Location
               Date              Time          Number           Number
721          03/12/11           04 : 34P   18173436690     14695692275     ...............   310410276936201           OUT        [52709/60428: - 97.09917:32.95581: 128]
722          03/12/11           04:35P     14695692275     18173436690                       310410276936201            IN        [52709/60422: - 97.09917:32.95581:128]
723          03/12/11           04 : 36P   18173436690     14695692275     000000000000000                           OUT MMS      []
724          03/12/11           04:37P     18173436690     16824726873     000000000000000                           OUT MMS      []
725          03/ 12 /11         04:42P     18173436690     18048732541                       310 410276936201          OUT        [52709 / 23562: - 97.09917:32.95581:128]
726          03/12/11           04:49P     18048732541     1 8173436690    .•••••....•....   3104102 7 6 93 62 01       IN        [52709 / 60428:-97.099 1 7:32.95581:128]
727          03/12/11           04:52P     16824726873     18173436690                       3104 1 0276936201          IN        [ 52709 / 23562:-97.09917:32.95581:128]
728          03/12/11           04:53P     18173436690     16824726873     ...............   310410276936201           OUT        [ 52709 / 24337:-97.09953:32.93497 :]
729          03/12/11           04:54P     16824726873     18173436690     ......•.•..•.•.   310410276936201            IN        [52709 / 62027:-97.09953:32.93497:0]
730          03/12/11           04:57P     18 173436690    16824726873                       31041027 6 93 62 01       OUT        [52709/24332:-97.09953:32 . 93497 : 128]
731          03/12/11           04:58P     18173436690     14695692275     .........•.•••.   310410276936201           OUT        [52709/24332:-97.09953:32.93497 : 128]
732          03/12/11           05:01P     14695692275     18173436690     ..••••.......•.   3 1 0410276936201          IN        [52709 / 2433 2 :-9 7 .09953:32.93497 : 128]
733          03/12/11           OS: 31P    14695692275     18173436690                       310410276936201            IN        [52709 / 24338:-97 . 09953 : 32 . 93497:]
734          03/12/11           05:33P     16824726873     18173436690                       310410276936201            IN        [52709/60313:-97.07914:32.93881:240]
735          03/12/11           05:33P     18173436690     14695692275                       310410276936201           OUT        [52709 / 60313 : -97.07914:32.93881:240 ]
736          03/12/11           05:35P     14695692275     18173436690                       3104 1 0276936201          IN        [52709 / 62022:-97.09953 : 32.93497:120]
737          03/12/11           05:58P     16824726873     18173436690     .....•.........   310410276936201            IN        [52709/ 62028:-97.09953:32.93497:120]
738          03/ 1 2/11         05:59P     1817343 1 808   1 8173436690                      31041 0276936201           IN        [52709/ 24338 : -97.09953:32.93497:]
739          03/12/11           06:07P     18173436690     16824726873                       31041 027693620 1         OUT        [52709/62028:-97 . 09953:32.93497 : 120 ]
740          03/12/11           06 : 08P   16824726873     18173436690                       310410276936201            IN        [52709 / 62028 :- 97.09953:32.93497:12 0 ]
741          03/12/11           06:30P     18173436690     16824726873     •.•..••.•.•....   310410276936201           OUT        [52709 / 24332:-97.09953:32.93497:128]
742          03/12/11           06:30P     18173436690     18173431808                       310410276936201           OUT        [52709 / 24338 :- 97.09953:32.93497: ]
743          03/ 12 /11         06:30P     168 24726873    18173436690     ...............   3104 10276936201           IN        [52709 / 24338:-97.09953:32.93497 :]
744          03/12/11           06 : 31P   18173431808     18173436690                       310410276936201            IN        [ 5 2709 / 24338: - 97.09953:32.93497 :]
745          03/12/11           06 : 57P   18173436690     18173431808     •••............   310410276936201           OUT        [52709 / 24338: - 97.09953:32.93497:]
746          03/12/11           06:59P     18173431808     18173436690     ........•......   310410276936201           IN         [52709 / 24338 :- 97 .09953:32.93497:]
747          03/12/11           08:23P     18173436690     16824726873     ...............   310410276936201           OUT        [ 52709 / 62028: - 97.09953:32.93497:120 ]
748          03/12/11           08:23P     18173436690     18048732541     000000000000000   31 0410175616304        OUT_MMS      []
749          03/12/11           08:24P     18173436690     18048732541     000000000000000   310410175616304         OUT MMS      []
750          03/12/11           08:39P     16824726873     18173436690                       3104 1 027693620 1         IN        [52709 / 62028:-9 7 .09953 : 32.93497:120]
751          03/12/11           08:40P     18048732541     18173436690                       3104102 7 6 93 62 01       IN        [ 52709/62028: - 97.09953:32.93497:120]
752          03/12/11           08:41P     18173436690     16824726873     ••....•••.•....   310410276936201           OUT        [ 52709 / 62028: - 97.09953 : 32.93497:120]
753          03/12/11           08:41P     18173436690     18048732541     ••.•.•.........   3104102 7 6 93 62 01      OUT        [ 52709 / 62028:-97.09953 : 32 . 93497:120]
754          03/12/11           08 : 42P   18048732541     18173436690     ...............   310410276936201            IN        [52709 / 62028:-9 7 .09953 : 32 . 93497:120]
755          03/12/11           08 : 42P   18173436690     14695692275     ............•..   310410276936201           OUT        [52709 / 62028:-97.09953:32 . 93497:120 ]
756          03/12/11           08:42P     14695692275     18173436690                       3 1 0410276936201          IN        [52 709 / 62028: - 97 . 09953:32 . 93497 : 120 ]
757          03/12/11           08 : 43P   18173436690     1469774 184 5   ....•.•.•..•.•.   310410276936201           OUT        [52709/62028 : -97.09953:32.93497:120 ]
758          03/12/11           08:43P     16824726873     18173436690                       310410276936201            IN        [52709/ 62028:-97.09953:32.93497:120 ]



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                                     Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 87 of 99 PageID 3907                                                       -....,.;
                                                                                                                                                                       1£~ at&t
04 / 15 /2 011
                                                                  MOBILITY USAGE
SCAMP                                                          (with cell location)


 Run Date:                  04/ 15 /20 11
 Run Time:                  15 :29: 05
 SMS Usage For:             (817)3 43-6690
Account Number:             318912244
Item         Conn .                  Conn.     Originating     Terminating         IMEI                IMSI          Description   Cell Location
                Date                Time         Number           Number
759          03 / 12 / 11         08:44P     18173 436690    16824726873      ••.•..•........   31 0410276936201        OUT        [527 09 /62026:-97.09953:32.93497:120 ]
760          03/12/11             08:46P     1 6824726873    18173436690      ..........•....   310410276936201          IN        [52709/62026:-97.09953:32 . 93497:120 ]
761          03/12/11             08:53P     14695692275     18173436690                        310410276936201          IN        [52709/24332:-97.09953:32.93497:126]
762          03/12/11             08:53P     18173436690     14695692275                        310410276936201         OUT        [52709 /24332:- 97.09953:32.93497:126]
763          03/12/11             08:54P     14695692275     18173436690                        310410276936201          IN        [52709/24332 : -97 .0 9953:32.93497:126 ]
764          03/ 1 2/11           08:58P     14697741845     18173436690                        310410276936201          IN        [52709/24336:-97.09953:32.93497:]
765          03/ 1 2/11           09:33P     14697741845     18173436690      ...............   3104 1 0276936201        IN        [52709/24332 : -97. 09953:32.93497:126]
766          03/12/11             09:41P     18173431808     18173436690                        310410276936201          IN        [52709/24336 :- 97.09953:32 . 93497:]
767          03/12/11             10 : 41P   14695692275     18173436690      ......•••......   310410276936201          IN        [52903/60066:-97.09742:32.89966:120]
768          03 / 12 / 11         10:42P     18173436690     14695692275                        3104 1 027693620 1      OUT        [52903 /4 0557:-97 . 11217:32.85697:0]
769          03/12 / 11           10:43P     14695692275     18173436690                        31041027693620 1         IN        [ 52903/44266:-97.09953:32.6695:0]
770          03/12/11             10:43P     18173436690     14695692275      .••............   310410276936201         OUT        [ 52903/24 1 62:-97.11217:32.85897: 128]
771          03 / 12 / 11         10:45P     14695692275     18173436690                        3104 10276936201         IN        [ 52903/40553:-97.11217 :3 2.85897:240]
772          03/12/11             10:48P     18173436690     16824726873      .....••..••.•.•   310410276936201         OUT        [52707/23531:-97 .16078:32.85086:8]
773          03 / 12 / 11         10:53P     1000000000      18173436690                        310410276936201          IN        [52707/40649:-97.16076:32.65066:248]
774          03 /12/ 11           10:53P     1100            18173436690      ***************   310410276936201        IN_ VMN     [52707/40649: - 97.16078:32.85086:248]
775          03/12/11             10:54P     0100            18173436690                        310410276936201        IN_ VMP     [ 52707/40649:-97 .1 6078 : 32.85086:248]
776          03/12/11             11:06P     14695692275     18173436690      000000000000000   310410276936201        IN_ MMS     []
777          03 /12/ 11           11: 06P    11113 01000     18173436690                        310410276936201          IN        [52707/40643:-97.16076:32 . 85066:248]
778          03/12/11             11:06P     11113 01000     1817 343669 0    ........••..•..   310410276936201          IN        [ 52707/40643:-97. 1 6078:32.65066 : 248]
779          03 / 12 /11          11:23P     14695692275     1 8173436690                       310410276936201          IN        [52707/40649 :- 97 . 1 6076:32 .65 066 :248]
780          03 /12/ 11           11:23P     18173436690     14695692275                        310410276936201         OUT        [ 52707/40649 :- 97.16078:32 . 85086:248]
781          03 /12/ 11           11:23P     14695692275     1 8173436690                       310410276936201          IN        [52707 /40649 :- 97.16078:32.85086:248]
78 2         03 / 12 / 11         11:27P     18173 436690    14695692275      .••.......••...   310410276936201         OUT        [527 07/40649:-97.16078:32.85086:246]
783          03/12/11             11:27P     1817343669 0    14695692275      ............•..   310410276936201         OUT        [52707/40649:-97.16076:32.85086:246]
784          03/12/11             11:27P     14695 692275    18173 43669 0                      310410276936201          IN        [527 0 7/40649:-97 . 16076:32.85086:246]
785          03/12/11             11:54P     18173436690     14695692275                        310410276936201         OUT        [52707/40649:-97 .1 6078 : 32 . 85086:246]
786          03/12/11             11: 54P    1469569 22 75   18173436690      ...............   310410276936201          IN        [527 07 /40649:-97 . 16078 : 32.85086:248 ]
787          03/12/11             11:58P     1 8173436690    14695692275                        310410276936201         OUT        [5 2707/40649:-97 .16 078:32 . 65066:248]
788          03/12/11             11:58P     14695692275     18173436690                        310410276936201          IN        [527 07/40649:-97 .16076 :32. 65086:248 ]
789          03/12/11             11:59P     1 8173436690    14695692275      ..........••••.   31 0410276936201        OUT        [52707/40649:-97.16076:32.85066:248]
790          03/12/11             11:59P     14695692275     1 8 173 436690                     3104 1 0276936201        IN        [52707 /4 0 649:-97.16076:32.65066 : 248 ]
791          03/13/11             12:00A     1817 3436690    14695692275                        310410276936201         OUT        [52707/40649:-97.16078:32.85086:248]
792          03/13/11             12:01A     14695692275     18173436690                        310410276936201          IN        [52707 /4 0649:-97.16078:32.65086:248]
793          03/13/11             12:02A     1817343669 0    14695692275      ...•••...••....   310410276936201         OUT        [52707/40649:-97.16078 :3 2.85086:248]
794          03/13/11             12:03A     14695692275     18173436690      .•.............   310410276936201          IN        [52707 /4 0649: -97.16078:32 .8 5066:248]
795          03/13/11             12:08A     18173431808     18173436690                        310410276936201          IN        [52 707/40649:-97.16078:32.85066:248]
796          03/13/11             12 :10A    18173436690     18173431808                        310410276936201         OUT        [ 52707/40649:-97 .1 6078:32.85086:248]



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                                 Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 88 of 99 PageID 3908                                                                 ~
9 1 5465 .001
0 4 / 15 / 2011
SCAMP
                                                             MOBILITY USAGE
                                                           (with cell location)                                                                                             @t;. at&t
 Run Date:              04/15/2011
 Run Time:              15:29:05
 SMS Usage For:         (817)343-6690
 Account Number:        318912244
Item         Conn.             Conn.       Originating      Terminating           IMEI                   IMSI           Description   Cell Loca t ion
             Date              Time           Number          Number
797        03/13/11           12: 1 0A   1469 5 692275    18173436690     ...............         31041027693620 1          IN        [5 2 707 / 40649: - 97.16078:32 . 85086:248]
79B        03/13/11           12:13A     18173 4 36690    1 4 695692275   ..•.••.•.......         310 4102769 3 620 1      OUT        [52707/40649: - 97 . 16078:32.85086:248]
799        03/13/11           12:14A     14695692275      18173436690                             310410276936201           IN        [52707/40649: - 97.16078:32.B5086:248]
BOO        03/13/11           12:22A     18173436690      14697741845     ** ********* ****       310410276936201          OUT        [52707/40649: - 97.16078:32 . 85086:248]
B01        03/13/11           12:22A     18173436690      14695692275                             310410276936201          OUT        [52707 / 40649: - 97 . 16078:32.85086:24B]
B02        03/13/11           12:23A     1000000000       181734 3 6690   * ** ******* *****      310410276936201            IN       [52707 / 40649 :- 97 . 16078:32 . 85086:248]
B03        03/13/11           12 : 23A   1100             1 8173436690    .•••.•.........         310410276936201         I N VMN     [ 52707 / 40649: - 97 . 1 6078:3 2 .85086:24B ]
B04        03/13/11           12 : 23A   0100             1B173436690                             310410276936201         IN VMP      [52707 / 40649 :- 97.16078:32 . B5086:248 ]
B05        03/13/11           12:24A     14695692275      18173436690     * * ****** **** ***     310410276936201            IN       [52707/40649:-97.16078 : 32 . 85086 : 248 ]
B06        03/13/11           12 : 24A   14697741845      18173436690                             310410276936201            IN       [52707 / 40649:-97.1607B:32.B5086:248 ]
B07        03/13/11           12 : 24A   18173436690      14695692 2 75   ...•...•....•..         3 1 0410276936201        OUT        [ 52707 / 40649:-97.16078 : 32.85086:248]
BOB        03/ 1 3/11         12 : 25A   1 469569227 5    1 B173436690                            3 1 04102769362 0 1       IN        [52707/40649 :- 97. 1 607B:32.85086:248 ]
B09        03/13/11           12 : 25A   18173436690      14697741845                             31 0410276936201         OUT        [52707/40649 :- 97. 1 607B : 32.85086:248 ]
B10        03/13/11           01: 1 0A   18173436690      14697741845                             310410276936201          OUT        [52707/40649:-97.1607B:32.85086:248 ]
B11        03/13/11           01:11A     18177B45975      18173436690     ...............         3 1 0410276936201         IN        [52707/40649: - 97. 1 6078:32.B5086:248]
B12        03/13/11           01:12A     14697741845      18173436690                             310410276936201           IN        [52707 / 40649 : -97.16078 : 32.85086 : 248]
B13        03/13/11           01:13A     1B173436690      14697741845     .........•.....         3 1 0410276936201        OUT        [52707 / 40649 : -97.1607B:32.85086:24B]
B14        03/13/11           01 : 14A   1 B173436690     1469774 1 845   ...............         310410276936201          OUT        [52707/40649: - 97 .1 6078 : 32.85086:248 ]
B15        03/13/11           01:19A     18173436690      14697741845                             3 1 0410276936201        OUT        [ 52707/40649:-97.16078:32.85086:248]
B16        03 /13/11          01:19A     18173436690      14697741845                             310410276936201          OUT        [ 52707 /40649 : -97.16078:32.85086 : 248]
B17        03/13/11           01:52A     18177845975      1B173436690     .........•.....         310410276936201           IN        [52707 /40649 :-97.16078:32.850B6:248]
B1B        03/13/11           03:06A     1000000000       18173436690     ...............         310410276936201           IN        [52707/4 1588: - 97 . 13542:32.85347 : 120]
B1 9       03/ 1 3/11         03 : 06A   11 00            18173436690     *** **** ** ******      3104 1 0276936201       IN VMN      [52707 / 4 1 588: - 97.13542:32 . 85347:120]
B20        03/13/11           03 : 07A   0100             18173436690                             3 1 04 1 0276936201     IN VMP      [52707 /4 1 588: - 97 . 13542:32.85 347:120]
B21        03/13/11           03:16A     1 000000000      18173436690     .........•.....         310410276936201           IN        [52903/03409: - 97 . 04358:32.92375 : 300]
822        03/13/11           03:16A     1100             18173436690     ...............         310410276936201         IN VMN      [52903 /03 40 9: - 97 . 04358:32.92375:300]
823        03/13/11           03:17A     0100             181 73436690    .............•.         310410276936201         IN VMP      [52903 /03409 :-97 . 04358:32.92375 : 300]
824        03/13/11           03:38A     1817 3436690     18173431B08                             3 10410276936201         OUT        [52807 / 00639: - 96 . 96389 :3 3 . 00542:300 ]
825        03/13/11           03:38A     18173436690      181 73431808    ........••.••••         310410276936201          OUT        [52807/00639 : -96 . 96389:33 . 00542 : 300 ]
826        03/13/11           03:49A     18173436690      1 4697741B45    000000000000000         3 1041022B969426       OUT MMS      []
827        03/13/11           03:49A     1000000000       18173436690     ...............         31041027 69 36201         IN        [52807 /14971 : - 96.98325:33.00553:8]
828        03/13/11           03:50A     1100             1 8173436690    ...............         310410276936201         IN VMN      [52807 / 27043: - 96.96389:33 . 00 54 2:300]
829        03/13/11           03 : 50A   0100             1B173436690                             3 1 0410 276936201      IN VMP      [52807/27043:-96.96389:33 . 00542:300]
830        03/13/11           05:17A     18173431808      18173436690     * *** * ****** ** * *   31041027693620 1          IN        [52905/19758: - 96.96028:32.95381:]
831        03/13/11           05:23A     18173431808      18173436690     ***************         31041027 6936201          IN        [52907/14927: - 96.99494:32.91928:8 ]
832        03/13/11           05:24A     1 8 1 73436690   1817343 1 808   •.•............         3 1 0410276 936201       OUT        [52907/12779: - 96.97992:32.92586:300]
833        03/13/11           10 : 20A   14697670349      18173436690                             3 10 410276936201         IN        [52709/60428 : -97.09917 : 32 . 95581:1 2B ]
834        03/13/11           11 : 03A   1682472 6B7 3    1B1 73436690                            310410276936201           IN        [52 908 / 2382 1 :-96.83219:33.07506:B ]



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                                                         n o t for general di stribution.
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                                 Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 89 of 99 PageID 3909                                                        __,
                                                                                                                                                                   e~ at&t
04 / 1 5/2011
                                                              MOBILITY USAGE
SCAMP                                                      (with cell location)


 Run Date:              04/15/2011
 Run Time:              15:29:05
 SMS Uoage Per:         (817)343-6690
 Account Number:        318912244
Item         Conn.             Conn .      Originating     Terminating         IMBI               IMSI          Description   Cell Location
             Date              Time           Number         Number
835        03/13/11           ll:06A     14695692275      18173436690                       310410276936201          IN       [52908/00402:-96.81903:33.08753:180]
836        03/13/11           l1:09A     16823654979      18173436690    ............••.    310410276936201          IN       [52908 /10261:-96.80053:33.09622:0 ]
837        03/13/11           l2:32P     18173431808      18173436690    ...............    310410276936201          IN       [52909/08299:-96.63889:33.18278:300 ]
838        03/13/11           l2:32P     1 8173431808     18173436690    ***************    310410276936201          IN       [52909/08299:-96 . 63889:33.18278:300]
839        03/13/11           02:l2P     16823654979      18173436690    .......•••••..•    310410276936201          IN       [52909/08291:-96 . 63889:33.18278:60 ]
840        03/13/11           02:46P     18 17 3431808    18173436690                       3104 10276936201         IN       [52909/08297:-96.63889:33.18278:60]
841        03/13/11           02:50P     18173431808      18173436690    ...............    310410276936201          IN       [52901/10719:-96 .61156 :33.19783:240 ]
842        03/13/ll           03:25P     18173431808      18173436690                       310410276936201          IN       [52905/ 27451:-96.85 628:32.98561:60]
843        03/13/ll           03:28P     18173431808      18173436690                       310410276936201          IN       [52905/10071:-96.84136:32.98542:352]
844        03/ 13 /11         03 : 35P   18173436690      18173431808    ...............    310410276936201         OUT       [52805/10997 : -96.83125 : 32.98025:310]
845        03/13/ll           03: 35P    18173431808      18173436690    ..........•••••    310410276936201          IN       [52805/ 1 0997 :- 96 .8312 5 : 32 . 98025:310]
846        03/13/11           03:36P     18173431808      18173436690                       310410276936201          IN       [52805/ 10997 : -96.83125:32 . 98025:310]
847        03 / 13/11         03:36P     18173431808      18173436690    ......••.......    310410276936201          IN       [52805/ 10997:-96.83125:32.98025:310]
848        03/13/11           03:37P     18173431808      18173436690                       310410276936201          IN       [52805/ 10997:-96.83125:32.98025:310]
849        03/13/ll           03: 40P    14692260768      18173436690    000000000000000    310410276936201       IN MMS      []
850        03/13/ll           03 : 53P   18173436690      18173431808                       310410276936201         OUT       [52805/ 1 0997 :-96. 83125:32.98025:310]
851        03/13/11           04: 43P    18173436690      14696671196                       310410276936201         OUT       [52805/ 10991:-96.83125:32.98025:310]
852        03/13/11           05:04P     14695692275      18173436690                       310410276936201          IN       [52805/ 10991:-96.83125:32.98025:310]
853        03/13/11           05:l2P     18173436690      14695692275    ........•......    310410276936201         OUT       [52805/ 10991:-96.83125:32.98025:310]
854        03/13/11           05:l4P     14695692275      18173436690                       310410276936201          IN       [52805/ 10991:- 96.83125:32.98025:310]
855        03/13/ll           05:15P     14696671196      18173436690                       310410276936201          IN       [52805 / 10991:-96.83125:32.98025:310]
856        03/13/ll           05:16P     18179882986      181734 36690                      310410276936201          IN       [52805 / 10991:-96.83125:32 .98025:310]
857        03/13/ll           05:l6P     18173436690      14695692275    .•••.•.........    310410276936201         OUT       [5 2906 / 11033:-96.82775:33. 00181 : 240]
858        03/13/11           05:l6P     18173436690      14696671196    ..•......•••...    31041027693620 1        OUT       [5 2906 /1103 3:-96.82775:33. 00181 : 240]
859        03/13/11           05:17P     146 95692 2 75   18173436690                       310410276936201          IN       [5 2906 / 11033 :-96.82775:33.00181:240 ]
860        03/13/ll           05:2 l P   18173 436690     14 695692275                      310410276936201         OUT       [52805 / 10991:-96.83125:32.98025:310]
861        03/13/ll           05:23P     18173436690      12147271620    000000000000000    310410291214099      OUT_ MMS     []
862        03/13/11           05:23P     18173436690      18172471569    000000000000000    310410323221810      OUTMMS       []
863        03/13/11           05:23 P    18173436690      18177761615    000000000000000    310410345691961      OUT_ MMS     []
864        03/13/11           05:23P     18173436690      18178974827    000000000000000    31041034 87 42151    OUT MMS      []
865        03/13/11           05:24P     18177761615      18173436690                       310410276936201          IN       [ 52805 /10991:-96.83125:32.98025:310]
866        03/13/ll           05:25P     18172 471569     18173436690                       310410276936201          IN       [52906/11033:-96.82775:33.00181:240]
867        03/13/11           05:25P     18173436690      12144357871    000000000000000    310410236299908      OUT_ MMS     []
868        03/13 / 11         05:25P     18173436690      12147320901    000000000000000                         OUT_ MMS     []
869        03/13/ll           05:25P     18173436690      19728964423    0000000000000 00   310410277601744      OUT_ MMS     []
870        03/13/11           05:25P     14695692275      18173436690                       310410276936201          IN       [52906/11033:-96.82775:33.00181:240]
871        03/13/ll           05:26P     18178974827      18173436690    .............••    310410276936201          IN       [5280 5 / 10991:-96.83125:32.98025:310]
872        03/13/ll           05:28P     18173436690      14692260768    000000000000000                         OUT_ MMS     []



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                                   Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 90 of 99 PageID 3910
                                                                                                                                                                          ~ at&t
915465.001
04/15/2011
                                                                MOBILITY USAGE
SCAMP                                                        (with cell location)


 Run Date:                04/15/2011
 Run Time:                15:29:05
 SMS Usage For:           (817) 343-6690
 Account Number:          318912244
Item         Conn.               Conn.        Originating     Terminating         IMBI                 IMSI           Description   Cell Location
             Date                 T ime          Number         Number
873       03/ 13 /11            05:28P      18173436690     18172282783     000000000000000     310410350142843        OUT_ MMS     []
874       0 3 / 13 /11          05:28P      18173436690     18176816425     00000 0000 000000                          OUT MMS      []
875       03/13/11              05:29P      19728964423     18173436690     ...............     31041 0276936201           IN       [52805/10991:-96 . 83 1 25:32.98025 : 310]
876       03/13/11              05:30P      18172282783     18173436690     000000000000000     31 04102769 36201       IN MMS      []
877       03/13/ 11             05:30P      1 111301 000    18173436690     ***************     310410276936201            IN       [528 05 / 1 0991:-96 . 8 312 5:32.98025 : 310]
878       03/13/11              05:30P      1111301000      18173436690     •..•...........     310410276936201            IN       [52805 / 109 91:-96 . 83125:32.98025 : 310]
879       03/13/11              05: 35P     18173436690     1214 4786469    000000000000000     310410325153 495       OUT_ MMS     []
880       03/13/11              05:35P      18173436690     18172052127     000000000000000                            OUT MMS      []
881       03 / 13 / 1 1         05:35P      18173436690     18174204373     00000 0000000000                           OUT MMS      []
882       03/13/11              05:35P      18173436690     18177159226     000000000000000                            OUT_ MMS     []
883       03 /13/ 11            05:35P      18173436690     181787697 02    000000000000000                            OUT_ MMS     []
884       03/13/11              05:35P      18173436690     18179480989     000000000000000                            OUT MMS      []
885       03/13/11              05:38P      14692260768     18173436690     000000000000000     310410276936201         IN_ MMS     []
886       03 /13/11             05:38P      18178769702     18173436690                         310410276936201            IN       [ 52906/11033:-96.82775:33.00181:240]
887       03/13/11              05:38P                      18173436690     000000000000000     310410276936201            IN       []
888       03/13/11              05:38P      1111301000      18173436690                         3104 1 027693620 1         IN       [ 52805/10991: - 96 . 83125:32.98025:310]
889       03/13/11              05:38P      1111301000      18173436690     ***************     310410276936201            IN       [ 52805/10991:-96.83125:32.98025:310]
890       03/13/11              0 5 :38P    18178769702     18173436690                         310410276936201            IN       [ 52805/10991:-96.8312 5 :32.98025:310 ]
891       03/ 13 /11            05:39P      1817228278 3    18173436690                         310410276936201            IN       [52805 /10991:-96.83125: 32 . 98025:310]
892       03/13/11              05:39P      18173436690     181787 69702                        3 1 0410276936201         OUT       [52805/10991:-96.83125:32.98025:310]
893       03/13/11              05:39P      18173 43669 0   18172282783     ....•.....•••..     3 1 04 1 0276936201       OUT       [52805 /10991 :-96.83125:32.9802 5:310 ]
894       03/13/11              05:40P      18172 282783    18173 436690                        3104102769362 0 1          IN       [52805/10991 : -96.83125:32.98025:310 ]
895       03/13/11              05:40P      1111 301000     1 8173436690    ***************     310 4102769362 01          IN       [52805/10991:-96 . 83125:32.98025:310]
896       03/ 13 / 11           05 : 40P    11113 0 1000    18173436690     ••.............     310 4102 76936201          IN       [528 0 5/10991:-96 . 83125:32.98025:310]
897       03/13/11              05 :40P     18178769702     18173436690     .......••••••..     310410276936201            IN       [52805/10991:-96 . 83125:32 . 98025 :31 0]
898       03/13/11              05:42P      18173436690     14692260768     .••............     3104 102 76936201         OUT       [5280 5 / 10991:-96.83125:32.98025:310]
899       03/13/11              05 :44P     14692260768     18173436690     ..•.......•.•.•     31041027 693 62 01         IN       [52805/10991:-96.83125:32 . 98025:310]
900       03/13/11              05 : 44 P   1 469667 1196   18173436690     •..............     310410276936201            IN       [52906/ 11033:-96.82775:33. 00 181:240]
901       03/13/11              05 : 44P    18173436690     13302406183     000000000000000     310410217839186        OUT_ MMS     []
902       03/13/11              05 : 44P    14696671196     18173436690     ***************     3 10410276936201           IN       [52805/ 1 099 1: -96.83125 : 32 . 98025:310]
903       03/13/11              05 : 45P    18173436690     14692260768                         31 0410276936201          OUT       [52805/10991: -96. 83 125:32.98025:310]
904       03/13/11              05 : 45P    18173436690     14696671196     ••.•..••..•...•     31 0410276936201          OUT       [ 52805/10991:-96.83125:32.98025:310]
905       03/ 13 /11            05 : 45P    14696671196     18173436690     ......•.......•     310410276936201            IN       [ 52805/1 0 991:-96 . 83125:32.98025:310]
906       03/13/11              05 : 46P    14692260768     18173436690     ...............     310410276936201            IN       [52805 /1 0 991:-96 .83125:32.98 025:310]
907       03/ 1 3/11            05:47P      11113 0 1000    18173436690                         310410276936201            IN       [52805 /10991: -96.83125 :32.98025:310]
908       03/13/11              05:47P      1111301000      18173436690                         310410276936201            IN       [ 52805/10991 :- 96.83125:32.980 25 : 310]
909       03/13/11              05:50P      18173436690     14696671196     •..•.•••.•.....     31041027693620 1         OUT        [52805/10991:-96.83125:32.98025 :310]
910       03/13/11              05:51P      14696671196     18173436690     ......•...•..•.     310410276936201            IN       [ 52805/10991 : -96.83125:32 . 98025:310]



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915465.001
                                   Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 91 of 99 PageID 3911                                                                          -..,.,
                                                                                                                                                                                        cg~ at&t
04 / 15/2011
                                                                MOBILITY USAGE
SCAMP                                                        (with cell location)


 Run Date:              0 4/15/20 11
 Run Time:              15 :2 9:05
 SMS Usage Por :        (817) 343 - 6690
 Account Number:        318912244
Item           Conn.             Conn.         Originating        Terminating            IMEI                   IMSI             Description   Cell Location
                Date              Time              Number             Number
911        03/13/ 11            05 :51P     18173436690         14696671196                            310410276936201               OUT       [52805/10991 : - 96 .83125: 32 .98025 : 3 10 ]
912        03/13/ 11            05 :52P     18173436690         14696671196        000000000000000                                OUT MMS      []
913        03/13/11             05:53P      14695692275         18173436690        .......•.......     310410276936201                IN       [52805/10991:-96.83125:32.98025:310]
914        03/ 13 / 11          05:54P      18173436690         14695692275        .••.........•..     31041027693620 1              OUT       [52 805 / 10991:-96.83125:32.98025:310]
915        03/ 1 3/11           05:54P      146966711 9 6       18173436690        ...............     31 04 1027693620 1             IN       [52805/10991:-96.83125:32.98025 :31 0]
916        03/ 13 / 11          05:54P      1 8 1 7 34 36690    14695692275        ••••........••.     3 10 4 1 027693620 1          OUT       [52 805/ 109 91:-96.83125:32.98025:310]
917        03/ 13 /11           05:54P      18173436690         14696671196        ...............     310410276936201               OUT       [5280 5/1099 1:-9 6 . 83125:32.98025:310 ]
918        03/ 13 / 11          05: 54P     14695692275         18173436690        ••.............     3 104 1027693620 1             IN       [52805 /1 0 99 1:-96 .8312 5 :32 .9 8025:310 ]
919        03/13/11             05:55P      18173436690         14696671196                            310410276936201               OUT       [52805/10991:-96.83125:32.98025:310]
920        03/ 1 3/11           0 5 : 55P   1 8 178 974827      1 8 1 73436690     000000000000000     310410276936201             IN_ MMS     []
921        03/13/11             05: 55P     1111301000          18173436690        .....•.....•...     3104 102769362 01              IN       [5 2805/10991:- 96.83 1 25 : 32.98025:310 ]
922        03/13/11             05: 5 6 P   1111301000          18173436690        •••.........•..     310410276936201                IN       [52805/10991:-96 .8 3125:32.98025:310]
923        03/13/11             05:57P      18173436690         181789 74827       ******** **** ***   31041027 6936201              OUT       [52805/10991: - 96.83125:32.98025:310 ]
924        03/13/11             05 :58P     14696671196         18173436690                            310410276936201                IN       [52805/1099 1:- 96 . 83125 :3 2.98025:310]
925        03/13/11             05:58P      14695692275         1 8 173 4 3669 0                       310410276936201                IN       [52805/10991:-96.83125:32.98025:310]
926        0 3 /13/11           05:58P      1 8 173 4 3 669 0   14696671196                            310 41027693620 1             OUT       [529 06/ 1 1 0 33: -9 6.82775:33 . 00 1 8 1:2 40 ]
927        03/13/11             06:06 P     1 81789 748 27      18173436690        •..............     310410276936201                IN       [52805 / 10991:-96.83125:32.98025:310]
928        03/13/11             06: 12P     18173436690         1817 8974827       .....•..••..•..     310410276936201               OUT       [52805 / 10991:-96.83125:32.98 025 : 310]
929        03/13/11             06 : 27P    18173436690         13 61774 1 561     0000000 00 000000   310410374272871            OUT MMS      []
930        03/ 13/11            06 :53P     18173431808         18173436690                            310410276936201                IN       [ 52805/1099 1:- 96 . 83 1 25:32.98025:3 1 0]
931        03/13/11             06 :55P     18173431808         1817343 6690       .•.............     310410276936201                IN       [52906/11033:-96.82775:33.00181:240]
932        03/13/11             06:55P      18173436690         18 1734 3 1 808                        310410276936201               OUT       [ 52805/10991: - 96.83 1 25 : 32 . 98025:3 1 0]
933        03/13/11             07:16P      18173431808         1817343669 0                           3104 1 0276936201              IN       [5 290 5 /036 81:-96.84869:33.00328:60]
934        03 / 13 / 11         07 :1 9P    18173436690         18 173431808       ........•••....     310410276936201               OUT       [52905/ 1 8833: -9 6.88975 : 32.98386:300]
935        03/13/11             07 : 4 1P   18173436690         14696671196        .....•.•..••.•.     310410276936201               OUT       [52903/6008 7:-97 .09742:32.89986: 0]
936        03/13/11             07 :45P     18173436690         18048732541                            31 04 1 02 76 936 2 0 1       OUT       [52903 /27603 :-97.08444:32.92639:300]
937        03/13/11             08 :05P     14695692275         18173436690                            3 1 04 1 027693620 1           IN       [527 0 9/20237: - 97.126 08 : 32 . 93822:8]
938        03/13/11             08:07P      18173436690         14695692275        ........••.•...     310410276936201               OUT       [52709/20237:-97.12608: 32 .93822:8]
939        03/13/11             08:12P      14695692275         18173436690        ••...•......••.     3104 1 027693620 1             IN       [52709 /2023 7 : -97 .126 08 :32.9382 2 :8]
940        0 3/13/11            0 8 :59P    1817 9469251        18173436690        .......•••••...     3 1041 027693620 1             IN       [52709/23562: -97.0 9917:32 .95581 : 128]
941        03/13/11             09: 03 P    14696671196         18173436690        •••.•.....•...•     3 10 4 1 027693620 1           IN       [52709/23562 :-97.0 9917:32.9 55 81: 12 8]
942        03 /13/11            09: 04P     1469667 1196        18173436690        000000000000000     310410276936201            I N_ MMS     (]
943        03 / 13 / 11         09: 04P     1111301000          18173436690                            3 10 41027693620 1             IN       [52709 /18 908:-97.15139:32.97094:]
944        03/13/11             09: 04P     1111301000          18173436690                            310410276936201                IN       [52 7 09/18908 : -97.15139:32.97094:]
945        03/13/11             09:09P      14695692275         1817 3436690                           3 10410 27693620 1             IN       [52709/60428:-97.09917:32.95581:128]
946        03/13/11             09: 30P     180487 325 4 1      18173436690                            310410276936201                IN       [527 09/18 908:- 97.15139:32. 97094: ]
947        0 3 / 13/11          0 9:48P     1361774156 1        18173436690        000000000000000     3104102769362 01           IN MMS       []
948        03/13/11             09:48P      11113 01000         1 8 173436690                          310 4 10 276936201             IN       [5 2709/189 0 8: - 9 7 . 15139 :32.97094 :]



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04/15/2011
                                                                 MOBILITY USAGE                                                                                              .::.;;".-' t t
                                                                                                                                                                            ~ a&
SCAMP                                                          (with cell location)


 Run Date:                 04/ 15/2011
 Run Time:                 15:29:05
 SMS Usage For:            (817)343 - 6690
Account Number:            318912244
Item           Conn.               Conn.       Originating     Terminating         IMEI                  I MSI          Description   Cell Location
               Date                 Time           Number         Number
949          03/13/11             09:49P     1111301000      18173436690     ......•.•......     310410276936201              IN      (5 2709/ 1 8908:-97.15139:32.97094 :)
950          03/13/11             11:40P     18173431808     1817 3436690                        3 104102 76936201            IN      ( 52709/60422: - 97 .09 917:32.9 558 1:12 8)
951          03/ 1 4/ 11          0 8:47A    18048732541     18173436690     ....•..........     3 1 04102 76936201           IN      (5270 9/620 27: - 97. 09 953:32.93497 :0)
952          03/14/11             09:32A     18172052127     18173436690                         310410276936201              IN      (52709/24338: - 97.09953:32.93497:)
953          03/14/11             09:35A     18173436690     18172052127                         31041027693620 1            OUT      (52709/24332:-97.09953:32.93497:128)
954          03/14/11             11:02A     18172052127     18173436690                         3104 1 027693620 1           IN      ( 52709/24338: - 97.09953:32.93497: )
955          03/14/11             11:04A     18173431808     181734 36690                        310410276936201              IN      (527 0 9/24338: - 97.09953: 3 2.93497 :)
956          03/14/11             11:43A     18173436690     18179882986                         31041027693620 1            OUT      (527 0 9/24338: - 97.09953 :3 2.93497: )
957          03/14/11             11:44A     18 173 436690   14695692275     •••••• •••••••••    310410276936201             OUT      (52709/24338:-97.09953:32.93497:)
958          03/14/11             11 : 44A   18179882986     18173436690     •••••••••••• •••    3104 1 0276936201            IN      (52709/24338:-97.09953:32.93497:)
959          03/14/11             11:44A     1817 3436690    16824726873     ***************     31 0 4 1 0276936201         OUT      (527 0 9/24338: - 97 . 09953:32.93497:)
960          03/14/1 1            11:45A     18173436690     18179882986     •••••••••••••••     31 0 4 1 0276936201         OUT      (527 09/24338 :- 97 .09 953 : 32.93497:)
961          03/14/11             11:45A     18179882986     18173436690     •••••••••••••••     31 041 02769 362 01          IN      (52709/24338:-97 . 0995 3: 32.93497:)
962          03/14/11             11:58A     14695692275     18173436690     •••••••••••••••     3104 1 0276936201            IN      (52709/24338 :- 97.09953:32.93497:)
963          03/14/11             12:19P     1000000000      18173436690     •••••••••••••••     310410276936201              IN      (52709/62 0 28 :-97.09953:32.93497 :120)
964          03/14/11             12:19P     1100            18173436690                         310410276936201          IN VMN      (52709/62028:-97.09953:32.93497:120)
965          03/14/11             12:19P     01 00           18173436690                         3 1041 0276936201        IN VMP      (52709/62028:-97.09953:32.93497:120)
966          03/14/11             12 : 34P   14695692275     18173436690                         310410276936201              IN      (52709/62028:-97.09953:32.93497:120)
967          03/14/11             01: 22P    18179882986     18173436690                         31 04 1 02769362 0 1         IN      (52709/24338:-97.09953:32.93497:)
968          03/14/11             01:49P     16824726873     1817343 6690    000000000000000     310410276936201          IN MMS      ()
969          03/14/11             01:5 0P    18173436690     18179882986     ***************     310410276936201             OUT      (52709/24338:-97.09953:32.93497:)
970          03/14/11             01:51P     18179882986     18173436690                         310410276936201              IN      (52709/24338:-97.09953:32.93497:)
971          03/14/11             02:10P     18179882986     18173436690     ...............     310410276936201              IN      (52709/24338:-97.09953:32.93497:)
972          03/14/11             02:12P     18173436690     18179882986     ....•.•.•..•...     310410276936201             OUT      (52709/24338:-97.09953:32.93497:)
973          03/14/11             02: 14P    18179882986     1817 3 436690                       310410276936201             IN       (5 2709/24338:-97 . 09953:32 . 93497:)
974          03/14/11             02:16P     18173436690     18179882986     ***************     310410276936201             OUT      ( 52709/24338 :-9 7 . 09953 : 32.93497:)
975          03/14/11             02:33P     18179882986     18173436690                         310410276936201             IN       (5 2709/24338:-97.09953 : 32.93497:)
976          03/14/11             02:34P     18173436690     18179882986                         310410276936201            OUT       ( 52709/24338 : - 97 .0 9953 : 32.93497:)
977          03/14/11             02:35P     18179882986     1817 3436690                        310410276936201             IN       ( 52709/62022: - 97.09953:32.93497:12 0 )
978          03/14/11             03:30P     181772 1 2416   18173436690     ........•......     310410276936201             IN       ( 52709/23568:-97. 0 99 1 7:32.95581:)
979          03/14/11             03:43P     16824726873     18173436690     0000000 0000 0000   310 41027 6936201        IN_MMS      ()
980          03/14/11             03:43P     1111301000      18173436690     .......•••.....     310410276936201             IN       ( 52709/23568:-97.09917:32.95581 :)
981          03/14/11             03:43P     111130 1 000    18173436690                         310410276936201             IN       ( 52709/23568: - 97.09917:32.95581:)
982          03/14/11             03:44P     16824726873     18173436690     ................    310410276936201             IN       ( 52709/23568:-97.09917:32.95581 :)
983          03/14/11             03:44P     16824726873     1 8173436690    00000000000 0000    310410276936201          I N MMS     ()
984          03/14/11             03:44P     1111301000      18173436690                         31041 02 76936201           IN       ( 52709/2 35 68:-97.099 17 :32.95581: )
985          03/14/11             03:44P     1111 30 1 000   1817343669 0                        310410276936201             IN       ( 527 0 9/23568:-97.09917 : 32 . 95581: )
986          03/14/11             03:47P     181734 3 6690   16824726873                         3 1 041027693620 1         OUT       (527 0 9/2 3 568: - 97.0991 7 :32 . 95581:)



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                                    Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 93 of 99 PageID 3913
915 4 65.00 1
04 / 1 5/2 011
                                                                MOBILITY USAGE                                                                                                A,.,~
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SCAMP                                                        {with cell location )


 Run Date:                04/15/2011
 Run Time:                15:29 : 06
 SMS Ooage For:           (8 17}343-6690
 Account Number:          318912244
Item           Conn .            Conn .        Originating     Terminating          IMEI                 IMSI            Description   Cell Location
               Date              Time            Number          Number
987          03/14/11           03:49P       11113 0 1000    18173436690     ..............•      31041 0276936201           IN        [52709 / 60422: - 97.09917:32.95581:128]
988          03/14/11           03:49P       1111301000      18173436690     .....•..•......      310410276936201            IN        [52709 / 60422: - 97.09917:32.95581 : 128]
989          03/14/11           03:51P       18173436690     16824726873     •..••.•...•...•      31 0410276936201          OUT        [52709 /60422:-97 . 09917:32.95581 : 128]
990          03/ 14/11          04:02P       1000000000      18173436690     ...............      310410276936201            IN        [52709/60422:-97 . 09 917:32.9558 1 :128]
991          03/14/11           04:02P       1100            18173436690     .....••........      310410276936201          IN VMN      [527 09/ 60422 : -97.09917:32.95581: 1 28]
992          03/14/11           04:02P       0100            18173436690     ....•.•.....••.      310410276936201          IN_ VMP     [52709/60422:-97.09917:32.95581:128]
9 93         03/ 14/11          04: 1 0P     1 6824726873    18173436690     ...•..••.•.....      3 10410276936201           IN        [52709/23568:-97 . 09917:32.95581: ]
994          03/14/11           04:17P       18173436690     16824726873     ...•••......••.      310410276936201           OUT        [52709/24 33 1:-97.09953:32.93497:8]
995          03/14/11           04:17P       18173436690     16824726873                          310410276936201           OUT        [52709/24331:-97 . 09953:32 . 93497:8]
996          03/14/11           04:20P       16824726873     1817343 6690                         310410276936201            IN        [52709/2 433 7 :-97. 099 53 : 32 . 93497:]
997          03/14/11           04 : 2 1P    16824726873     18173436690                          310410276936201            IN        [52709 / 24337:-97 . 09953 : 32 . 93497:]
998          03/14/11           04:22P       18179882986     18173436690     ********* ******     310410276936201            IN        [52709/24337:-97.09953:32 . 9349 7 : ]
999          03/14/11           04 : 25P     18173436690     14695692275     ** **** **** *****   31041027693 620 1         OUT        [52903/03673:-97.08444:3 2 .92639 : 300]
1000         03/14/11           04:41P       14695692275     18173436690                          3104 10276 936201          IN        [52707 / 40649:-97.16078 : 32.85086:248]
1001         03/14/11           06:21P       18173436690     18177212416                          3104102 769 3620 1        OUT        [52707/40649:-97.16078:32.85086:248 ]
1002         03/14/11           06:22P       18173436690     18179882986                          310410276936201           OUT        [5 2707 /406 49 :- 97.16078:32.85086:248 ]
1003         03/14/11           06 : 23P     18179882986     18173436690                          310410276936201            IN        [52707/40649:-97.16078:32.85086:248 ]
1004         03/14/ 1 1         06:23P       1817721241 6    18173436690                          310410276936201            IN        [52707/40649:-97.16078:32.85086:248]
1005         03/14/11           06 : 2 4 P   1 8173436690    18177212416     .....••....•...      310410276936201           OUT        [52707 / 40649:- 97.16078:32.8508 6: 24 8 ]
1006         03/14/11           06:26P       18173436690     16824726873                          310410276936201           OUT        [52707 / 40649:-97.16078:32.85086:248 ]
1007         03/14/11           06:27P       16824726873     18173436690                          310410276936201            IN        [ 52707/40649: - 97.16078:32.85086:248]
1008         03/14/11           06:28P       18173436690     16824726873                          3104 1 0276936 2 0 1      OUT        [ 52707/40649: - 97.16078 : 32.85 086: 248]
1009         03/14 / 11         06:31P       16824726873     18173436690     ...•.••....•...      310410276936201            IN        [ 52707 /40649 :-9 7 .16078:32 . 85086:248]
1010         03/14/11           06 : 31P     18177212416     18173436690                          310410276936201            IN        [52707 /4 0649:-97.16078:32.85086 : 248]
1011         03/14/11           06 : 31P     18177212416     18173436690                          310410276936201            IN        [52707/40649:-97.16078:32.85086:248]
1012         03/14/11           06:33P       18173436690     16824726873                          31041 027693620 1         OUT        [52707 / 40649: - 97.16078:32.85086:248]
1013         03/14/11           06 : 35P     16824726873     181 73436690    ...............      310410276936201            IN        [52 707/ 40649:-97.16078:32.85086:248 ]
1014         03/14/11           06:41P       16824726873     18173436690     ......•...•.•..      31041027 693 62 01         IN        [52 707/ 40649:-97.16078:32.8508 6:248 ]
1015         03/14/11           06 : 44P     18173436690     16824726873                          31041027 693 620 1        OUT        [52 707/ 40649:-97.16078 : 32 . 85086:248]
1016         03/14/11           06:45P       18173436690     18179882986     .....•.....••••      31041027 6936 201         OUT        [52707 /40 649:-97.16078:32.85086:248]
1017         03/14/1 1          06 : 46P     18173436690     18048732541                          31041027 69362 01         OUT        [52707/40649 : -97. 1 6078 : 32 . 85086:248]
1018         03/14/11           06 : 47P     16824726873     18173436690                          310410276936201            IN        [52707/40649:-97.16078:32.85086:248]
1019         03/14/11           06:49P       18173436690     16824726873                          310410276936201           OUT        [52 707/ 40649 : -97 .1 607 8 : 32 . 85086:248]
1020         03/14/11           06:57P       18173436690     16824726873     ...•.•••••...•.      310410276936201           OUT        [52707/40649:-97.16078:32.85086 : 248]
1021         03/14/11           06:57P       18173436690     18179882986                          310410276936201           OUT        [52707/40649 : -97.1 607 8 : 32.85086:248 ]
1022         03/14/11           06:58P       16824726873     18173436690                          310410276936201            IN        [ 52707/40649:-97.16078:32 . 85086:248 ]
1023         03/14/ 1 1         06:59P       181 73436690    16824726873                          310410276936201           OUT        [52707 / 40649:-97.1607 8 : 32 . 85086:248 ]
1024         03/14/11           06:59P       18179882986     18173436690     ....•..........      310410276936201            IN        [52 707/406 49:-97. 1607 8:32.85086:248 ]



                                                                                       AT&T Pr oprie t a ry
        AMO                                                                                                                                                                              Page 96
                                   Th e i nformati on cont a ine d here is f o r u se by authori zed p e r son onl y and is
                                                               n o t f o r g e n e r a l di stri b ution .
915465 .001
                                   Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 94 of 99 PageID 3914                                                            -..,.;
                                                                                                                                                                         ;g ~ at&t
04 /1 5 / 2011
                                                               MOBILITY USAGE
SCAMP                                                        (with cell location)


 Run Date:                04/15/2011
 Run Time:                15:29:06
 SMS Usage Por :          (817)343-6690
 Account Number:          318912244
Item           Conn.             Conn.       Originating      Terminating           IMEI                IMSI          Description   Cell Locat ion
               Date              Time           Number           Number
1025         03/14/11           07:00P     1817 343 6690    14695692275       ...............    310410276936201         OUT        (52707/40649 :- 97 .1 6078 : 32 . 85086:248 ]
1026         03/14/11           07:00 P    18173436690      1 8179882986                         310410276936201         OUT        (52707/40649 : -97. 1 6078:32 . 85086:248 ]
1027         03/14/11           07:00 P    18179882986      18173436690                          310410276936201          IN        (52707/40649: - 97. 1 6078:32.85086:248]
1028         03/14/11           07:05P     1 8173436690     18179882986       ...•....•..•.•.    310410276936 2 01       OUT        ( 52707 / 40643: - 97.16078:32.85086:248]
1029         03/14/11           07:06 P    18179882986      18173436690                          310410276936201          IN        ( 52707/40649: - 97. 1 6078:32.85086:248]
1030         03/14/11           07:07P     18173436690      18179882986       •..•.•••..•....    310 410276936201        OUT        ( 52707 / 40649:-97 . 16078:32.85086:248]
1031         03/14/11           07:07 P    18173436690      18179882986                          310410276936201         OUT        (52707/40649: - 97 .1 6078:32.85086:248]
1032         03/14/11           07:13P     14695692275      18173436690       .....••...•....    31 0410276936201         IN        (52707 / 23533 :- 97 . 16078:32.85086:248]
1033         03 / 14/11         07:16P     18173436690      14695692275       ......••....•..    310410276936201         OUT        (52707 / 23533:-97.16078:32 .8 5086:248]
1034         03/14/11           07:18P     14695692275      18173436690                          310410276936201          IN        (52707 /406 49: - 97.16078:32 . 85086:248]
1035         03/14/11           07 : 19P   18177212416      18173436690                          310410276936201          IN        (52707 /40649 : - 97.16078:32.85086:248]
1 036        03/14/11           07 : 20P   18173436690      1469569 22 75                        310410276936201         OUT        (52707 /406 49 :- 97 . 16078:32.85086:248 ]
1037         03/14/11           07:20P     18173436690      18177212416                          310410276936201         OUT        (52707 /406 49 :- 97.16078:32 . 85086:248 ]
1038         03/14/11           07:23P     1 8 1 73436690   14695692275                          310410276936201         OUT        (52707 / 23533:-97 . 16078:32.85086:248]
1039         03/14/11           07:23P     18173436690      18179882986                          310410276936201         OUT        (52707 /235 33: - 97 . 16078:32 . 85086 : 248]
1040         03/14/11           07 : 23P   18177212416      18173436690       ............•..    310410276936201          IN        (52707 / 23533:-97. 1 6078:32.85 0 86 : 248]
1041         03/14/11           07:24P     18173436690      18177212416                          310410276936201         OUT        (52707 / 23533:-97 . 16078 : 32 . 85086:248]
1042         03/14/11           07:25P     181 772124 1 6   18173436690       ..•.•..•....•..    3 1 0410276936201        IN        (52707/23533: - 97. 1 6078 : 32.85086 : 248]
1043         03/14/11           07:25P     18177212416      18173436690                          31041027693620 1         IN        (52707/23533: - 97.16078:32.85086:248]
1044         03/14 / 11         07:26P     1 8 1 73436690   181772 1 24 1 6                      31 04 10276936201       OUT        (52707 /23533 : -97.16078:32.85086 : 248 ]
1045         03/14/11           07:26P     14695692275      18173436690       ...•...••••....    31041 027 69 36201       IN        ( 52707 / 23533:-97.16078:32.85086 : 248]
1046         03/14/11           07:26P     18173436690      18177212416       •......•...•...    3 1 0410276936201       OUT        (5 2707 /2 3533:-97.16078:32.85086:248]
1047         03/14/11           07:27P     18177212416      18173436690                          310410276936201          IN        (52707/23533:-97.16078 : 32.85086:248]
1048         03/14/11           07:27P     18173436690      14695692275       ..........•....    310410276936201         OUT        (52707/23533: - 97. 1 6078 : 32.85086:248]
1049         03/14/11           07:27P     1817 3436690     181772124 1 6                        3104102769362 0 1       OUT        (52707/23533: - 97.16078:32.85086:248]
1050         03/14 / 11         07:28P     181772 1 2416    1817343 6690      .........••....    3104102 7693620 1        IN        (52707/23533: - 97.16078:32.85086:248]
1051         03/14/11           07:28P     18 173436690     18177212416                          310410276936201         OUT        (52707/23533:-97.16078:32.85086:248]
1052         03/14/11           07:29P     18 173436690     16824726873                          31041027693620 1        OUT        (52707 /2 3533 :- 97. 1 6078:32 . 85086:248]
1053         03/14/11           07:29P     14695692275      181 7343669 0     ....... ........   310410276936201          IN        (52707 /2 3533: - 97.16078:32.85086:248]
1054         03/14/11           07 : 29P   18177212416      18173436690                          310410276936201          IN        ( 52707 /235 33: - 97. 1 6078:32 . 85086:248]
1055         03/14/11           07:29P     18173436690      18175288426                          310410276936201         OUT        ( 52707/23533: - 97.16078:32.85086:248]
1056         03/14/11           07 : 29P   18173436690      14695692275       ........•.•....    310410276936201         OUT        (52707/23533: - 97.16078:32.85086:248 ]
1057         03/14/11           07:29P     18173436690      14695692275                          310410276936201         OUT        (52707/23533 :- 97 . 1 6078 : 32.85086:248 ]
1058         03/14/11           07:30P     1 8 173436690    14695692275                          310410276936201         OUT        (52707/23533: - 97.16078:32.85086:248 ]
1059         03/14/11           07:30P     14695692275      18173436690                          310410276936201          IN        (52707/23533 : -97 . 16078:32 . 85086:248 ]
1060         03/14/11           07:31P     16824726873      18173436690       ...........•...    310410276936201          IN        (52707/23533 : - 97 . 16078:32.85086:248 ]
1061         03/14/11           07:31P     14695692275      18173436690                          310410276936201          IN        (52707 /2 3533:-97 . 16078 : 32.85086:248 ]
1062         03/14/11           07 : 32P   1817 3436690     14695692275       .•.••.••..•....    310410276936201         OUT        (52707 /23533 :-97 . 16078:32.85086:248]



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                                   The info rmation c o ntained here i s f o r u se b y autho rized p e r son o nly and is                                                           Pa g e 97
                                                             n o t f o r g e n e r a l distribution.
.X'
                                         Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 95 of 99 PageID 3915
                                                                                                                                                                           ~ at&t
      915465.001                                                      MOBILITY USAGE
      04/15/2011
      SCAMP                                                        (with cell location)


      Run Date:                04/15/2011
      Run Time:                15:29:06
      SMS Usage For:           (817)343 · 6690
      Account Number:          318912244
      Item          Conn.              Con_n .     Originating     Terminating         IMI!I               IMSI          Description   Cell Location
                    Date               Time          Number          Number
      1063        03/14/11            07:34P     18173436690     14695692275     000000000000000                          OUT_ MMS     []
      1064        03/14/11            07:34P     14695692275     18173436690     •.......•......    3 1 0410276936201        IN        [52707/23533:-97.16078:32 . 85086:248]
      1065        03/14/11            07:36P     18173 43669 0   14695692275     ***************    310410276936201         OUT        [ 52707/23533:-97.16078:32.85086:248]
      1066        03/14/11            07:37P     14695692275     18173436690     •.•............    310410276936201          IN        [527 0 7/23533:-97.16078:32.85086:248]
      1067        03/14/11            07:37P     18173436690     14695692275     ************ ***   3 1 041027693620 1      OUT        [52707/23533:-97.16078:32.85086:248]
      1068        03/14/11            07:37P     14695692275     18173436690                        3 1 0410276936201        IN        [ 52707/23533:-97.16078:32.85086:248)
      1069        03/14/11            07:37P     18173436690     14695692275     ...............    310410276936201         OUT        [52707/23533 :- 97 . 16078:32.85086:248]
      1070        03/14/11            07:38P                     1817343 6690    000000000000000    3 1 0410276936201        IN        []
      1071        03/14/11            07:38P     18173436690     14695692275                        310410276936201         OUT        [52707/23533:-97.16078:32.85086:248]
      1072        03/14/11            07:39P     14695692275     18173436690     ....•.•........    310410276936201          IN        [52707/23533:-97.16078:32.85086:248]
      1073        03/14/11            07:39P     18177212416     18173436690                        310410276936201          IN        [ 52707/23533: - 97. 16 078:32.85086:248]
      1074        03/14/11            07:40P     18 1 77212416   18173436690                        3104102769362 0 1        IN        [ 52707/23533:-97.16078:32.85086:248)
      1075        03/14/11            07:42P     18173436690     14695692275                        310410276936201         OUT        [ 52707/23533: - 97.16078:32.85086:248 )
      1076        03/14/11            07:42P     18173436690     18177212416     •.•.......••.••    310410276936201         OUT        [ 52707/40643:-97 . 16078:32.85086:248]
      1077        03/14/11            07:43P     18173436690     14695692275                        310410276936201         OUT        [ 52707/40643:-97 .1 6078 : 32.85 0 86:248 ]
      1078        03/14/11            07:43P     18177212416     18173436690                        310410276936201          IN        [ 52707/40643:-97 .1 6078 : 32.85086:248)
      1079        03/14/11            07:44P     14695692275     18173436690                        310410276936201          IN        [ 52707/40643:-97.16078:32.85086:248]
      1080        03/14/11            07:44P     16824726873     18173436690                        310410276936201          IN        [52707/40643:-97.16078:32.85086:248]
      1081        03/14/11            07:44P     16824726873     18173436690                        310410276936201          IN        [52707/40643 :- 97.16078:32.85086:248]
      1082        03/14/11            07:44P     18173436690     18175288426     000000000000000                          OUT_ MMS     []
      1083        03/14/11            07:44P     18173436690     14695692275                        310410276936201         OUT        [52707/40643:-97 . 16078:32.85086:248]
      1084        03/14/11            07:45P     18173436690     16824726873                        310410276936201         OUT        [52707/40643:-97.16078:32.85086:248]
      1085        03/14/11            07:45P     14695692275     18173436690                        310410276936201          IN        [52707/40643:-97.16078:32.85086:248]
      1086        0 3/14/ 11          07:4 5 P   14695692275     18173 4366 90   ................   310410276936201          IN        [52707/40643:-97.16078:32.85086:248]
      1087        03/14/11            07:46P     18173436690     14695692275     ***************    310410276936201         OUT        [ 52707/40643 : -97.16078:32 . 85086:248)
      1088        03/14/11            07:46P     1817 3436690    14695692275     ............•..    310410276936201         OUT        [ 52707/40643: - 97.16078:32.85086:248)
      1089        03/14/11            07:47P     16824726873     1 8173436690                       310410276936201          IN        [ 52707/40643:-97.16078:32.85086 : 248]
      1090        03/14/11            07:47P     14695692275     18173 4 36690   ...............    310410276936201          IN        [52707/4 0 643:-97.16078 : 32.85086:248 ]
      1091        03/14/11            07:47P     18173436690     1 6824726873    ..........•....    310410276936201         OUT        [ 527 0 7/4 0 643:-97.16078:32.85086:248 ]
      1092        03/14/11            07:48P     18173436690     14695692275     .......•••...•.    3104102769362 0 1       OUT        [ 52707/40643:-97.16078:32.85086:248]
      1093        03/14/11            07:48P     1817343669 0    14695692275     ...............    3 1 0410276936201       OUT        [52707/40649 : -97.16078:32.85086:248]
      1094        0 3/14/11           07:49P     14695692275     18173436690                        310410276936201          IN        [ 52707/40649:-97 . 16078:32 . 85086:248]
      1095        03/14/11            07:50P     1817343669 0    14695692275     •••••.....•....    3 1 0410276936201       OUT        [52707/40649:-97.16078:32 . 85086:248]
      1096        03/14/11            07:51P     14695692275     18173436690                        310410276936201          IN        [ 52707/40649:-97.16078:32.85086 : 248]
      1097        03/14/11            07:51P     18173436690     14695692275                        310410276936201         OUT        [52707/40649:-97.16078:32.85086:248]
      1098        03/14/11            07:52P     14695692275     18173436690                        310410276936201          IN        [52707/40649:-97.16078:32.85086:248]
      1099        03/14/11            07 : 53P   18173436690     14695692275     .....•.........    310410276936201         OUT        [ 52707/40649 :-9 7.16078:32 . 85086:248]
      1100        03/14/11            07:53P     14695692275     18173436690                        310410276936201         IN         [ 52707/40649:-97.16078:32 . 85086:248]



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915465.001
                                    Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 96 of 99 PageID 3916
                                                                 MOBILITY USAGE
04/15/2011
SCAMP                                                         (with cell location)                                                                                            €? at &t

Run Date:                  04/15/2011
Run Time :                 15:29:07
SMS Osage For:             (817)343·6 690
Account Number:            31891224 4
Item       Conn.                  Conn.       Originating     Terminating         IMBI                  IMSI             Description   Cell Location
               Date                Time         Number          Number
1101         03/14/11            07:54P     18173436690     14695692275                         3 1 04 1 02 7693 620 1      OUT        [52707/42127:-97.15889:32.83583 : 0]
1102         03/14/11            07:57P     18173436690     18179882986     000000000000000     310410378721321           OOT_ MMS     []
1103         03/14/11            08:03P     14695692 27 5   18173436690     ***************     310410276936201              IN        [52706/00779 :- 97.27833:32.83864:248]
1104         03/1 4/11           08:05P     18173436690     19157400023     000000000000000                               OUT_MMS      []
1105         03/14/11            08:05P     18173436690     14695692275     ***************     310410276936201             OUT        [52706/42148 :- 97.29017:32 . 87097:128 ]
1106         03/14/11            08:06P     14695692275     18173436690                         310410276936201              IN        [ 52 706/42148: - 97.29017 :32.87 097:128]
1107         03/14/11            08:06P     18173436690     14695692275                         3 1 0410276936201           OUT        [52706/42 1 48 :-97 . 29017:32.87097:12 8 ]
1108         03/14/11            08:07P     1817 7212416    1817343 6690                        310410276936201              IN        [ 527 06/4214 8 : -97.290 17:32.87097 :128]
1109         03/14/11            08 : 07P   14695692275     18173436690                         3 10 410276936201            IN        [ 52706/14722: - 97.29017:32.87097:128]
1110         03/14/11            08 : 07P   18173436690     18177212416     ........••.....     3104102769 36201            OUT        [ 52706/14722:-97 . 29017:32.87097:128]
1111         03/14/11            08:07P     18173436690     14695692275                         310410276936 2 01           OUT        [52706/14 722: - 97 .29 017 : 32.87097:128]
1112         03/14/11            08:12P     18177212416     18173436690                         310410276936201              IN        [527 06/00771 :-97.27833:32.83864:8]
1113         03/14/11            08:12P     18173436690     18177212416                         310410276936201             OUT        [52706/42142:-97.29017:32.87097:128]
1114         03/14/11            08:13P     14695692275     18173436690     .••............     310410276936201              IN        [52706/42142:-97.29017:32.87097:128]
1115         03/14/11            08:22P     14695692275     18173436690                         310410276936201              IN        [52706/42148 :- 97.29017:32.87097 : 128]
1116         03/14/11            08:28P     19157400023     18173436690                         310410276936201              IN        [52706/42 1 48: - 97.29017:32.87097:128]
1117         03/14/11            08:43P     18179882986     18173436690                         310410276936201              IN        [ 52706/42148: - 97.29017 : 32 . 87097:128]
1118         03/14/11            08:52P     18177212416     18173436690     000000000000000     310410276936201           I N MMS      []
1119         03/14/11            09 :51P    1000000000      18173436690                         310410276936201              IN        [52706/ 1 4722: - 97.29017:32.87097:128]
1120         03/14/11            09:52P     1100            18173436690     ••.•...........     3 1 04 1 027693620 1      IN VMN       [ 52706/14722: - 97 . 29017:32.87097:128]
1121         03/14/11            09:52P     0100            18173436690                         310410276936201           IN_ VMP      [ 52706/14722:-97 . 29017:32.87097:128]
1122         03/14/11            10:02P     19157400023     18173436690     000000 0000000 00   310410276936201           IN MMS       []
1123         03/ 1 4/11          10:02P     19157400023     18173436690     000000000000000     310410276936201           IN_MMS       []
1124         03/14/11            10:42P     18173436690     16824726873                         3104102769 3 6201           OUT        [52706/42148 : -97.29017:32.87097:128 ]
1125         03/14/11            10:42P     18173436690     19157400023                         310410276936201             OUT        [52706/42149:-97.29017:32.87097:248]
1126         03/14/11            10:43P     18173436690     18179469251                         310410276936201             OUT        [52706/42149:-97.29017:32.87097:248]
1127         03/14/11            10:44P     18173436690     18179882986                         310410276936 2 01           OUT        [52706/42148: - 97.29017 : 32 . 87097:128]
1128         03/14/11            1 0:52P    1111301000      18173436690                         310410276936201             IN         [52706/40967: - 97.30836:32 . 89667:8 ]
1129         03/1 4/11           10:52P                     18173436690     000000000000000     310410276936201             IN         (]
1130         03/14/11            10:53 P    1111301000      18173436690                         310410276936201             IN         [52 706/14471 :-97 .30836: 32.89667:8]
1131         03/14/11            11: 01P    18173436690     16824726873                         310410276936201             OUT        [ 52709/41791:-97 . 23292:32.93019:0]
1132         03/14/11            11:22P     18173436690     18177212416                         31041027 69362 0 1          OUT        [52709 /60422 :-97.09917:32.95581:128]
1133         03/ 1 4/1 1         11:23P     18177212416     18173436690                         310410276936201              IN        [527 09/20322:-97.15139:32 . 97094:128]
1134         03/14/11            11: 24P    19157400023     18173436690                         310410276936201             IN         [52709/60428: -97.099 17: 32.955 81:128]
1135         03/14/11            11:24P     1817343 6690    19157400023     ••.•.....••....     310410276936201             OUT        [52709/60428:-97 . 09917:32.95581:128]
1136         03/14/11            11 : 47P   19157 400023    18173436690     ..........•....     310410276936201             IN         [52709/2 35 62:-97 . 09917:3 2 .9 558 1 : 128 ]
1137         03/14/11            11:47P     19157400023     18173436690     000000000000000     310410276936201           IN MMS       []
1138         03/14/11            11:47P     1111301000      18173436690     ..•............     310410276936201             IN         [52709/ 23562:-97.09917:3 2 . 9558 1 :128]



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                                   Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 97 of 99 PageID 3917                                                                        ~
915465.001
                                                                                                                                                                                     ~; at&t
04/15/2011
                                                               MOBILITY USAGE
SCAMP                                                        (with cell location )


 Run Data:                04 / 15/2011
 Run Time:                15:29:07
 SMS Osago Por:           (817)343-6690
Account Numbor:           318912244
Item         Conn.               Conn.        Origi n a ting     Terminating           IMSI                   IMSI            Desc r iption   Cell Location
             Date                Time           Number             Number
1139       03/14/11             11:47P      11113 0100 0       1817343 6690                           310410276936201              IN          [52 709 / 23562 : -97.0991 7 :32.9 5581:128)
1140       03/14/11             11:52P      18173431808        18173436690      ...............       310410276936201              IN          [52709/23562: -9 7.09917 :32. 95581:12 8)
1141       03/14/11             11:52P      1817 3436690       1817343 18 08    ........•......       3104102769362 0 1           OUT          [52709 / 235 62 :-97.09917:32.955 81:128)
1142       03/14/11             11:53P      1 8173436690       19157400023      •..............       310 410276936201            OUT          [5270 9 / 235 62 :-97. 09917: 32.955 8 1 :128)
1143       03/ 14 / 11          11:55P      19157400023        18173436690      •••••••••••••••       31041027 6 93 6201           IN          [52709 / 23562:-97. 099 17: 32.95581: 12 8)
11 44      03/15/11             12:00A      1 8173436690       191574000 23     •••••••••••••••       310410276936201             OUT          [52709/ 235 62:- 97.09917:32.9558 1 : 128 )
1145       03/15/11             12:02A      1111301000         1 8173436690     •••••••••••••••       31 04 10 2769 362 0 1        IN          [5 2709 / 2 3 5 62: -97. 09917: 32.95581 : 128)
1146       03/ 15 /11           12:02A      1111301000         181 73436690     ***************       310410276936201              IN         (5270 9/ 2356 2:- 97 . 09917:32.95581: 128)
1147       03/15/11             12:02A      11113 0 1 000      18173436690      •••••••••••••••       31041 0276936 2 01           IN         [527 09/ 23 562: - 97.09917:32.95581:128)
1148       03/ 15 /11           12:02A      1111301 000        1 8173436690     •••••••••••••••       310410276936201              IN         [ 52709/ 23562: - 97.09917:32.95581:128)
1149       03 / 15 /11          12:03A      19157400023        18173 43669 0    •••••••••••••••       310410 276936 201            IN         [52709/ 235 62 :- 97 . 09917:32.95581:128)
1150       03/15/11             12:03A      18173 43669 0      1 91574 0 0023   ***************       31 04 1 02769362 01         OUT         [527 09/23562 :- 97 . 09917:32.9 5581:128)
1151       03/15/11             1 0:39A     121473 86545       18173436690      ••••••••• ••••• •     310410276936201              IN         [52709/ 62028:-97.09953:32.93497:120)
1152       03 / 15 / 11         10 : 39A    12147386 545       18173436690      •••••••••••••••       3 1 0410276936201            IN         [52709/62028:-97.09953:32.93497:120)
1153       03/15/11             1 0 : 40A   18173436 69 0      12147386545      •••••••••••••••       310410276936201             OUT         [5 270 9 /6 2 028: -97. 09953:32 . 93497:120)
1154       03 / 15 /11          1 0 :48A    18179882986        18173436690      •••• •••• •••••••     3104 10276 9362 01           IN         [52709/24338:-97.09953:32.93497:)
1155       03/15/11             10:51A      18173 436690       18179882986      •••••••••••••••       310410276936201             OUT         [52709/24338:-97.09953:32.93497:)
1156       03/15/11             10:54A      18048732541        18173436690      •••• ••• ••••••••     3 1 04 1 0276936 2 01        IN         [52709/24338: -97 .09953:32.93497:)
1157       03/15/11             10:54A      1804 87325 41      18173436690      ***************       31 04 1 0276936201           IN         [52 709 /24 338:- 97.09953:32.93497:)
1158       03/15/11             1 0 : 55A   18179882986        18173436690      ••• • •••••••••••     310410276936201              IN         [52709/24338: -9 7.09953: 32. 93497:)
1159       03/15/11             11:42A      18179882986        18173436690      •••• •••••• •••••     310410276936201              IN         [ 52709 / 2 4 338 : -97. 099 53:32. 93497:)
1160       03/15/11             11:56A      18173436690        18173431808      •••••••••••••••       31 04102769 362 01          OUT         [ 5270 9 /62028: - 97.09953: 3 2. 9 3497 :12 0)
1161       03/15/11             12:03P      18173 431808       18173436690                            310410276936201              IN         [52709/24332 :-97.09953:32.93497: 128)
1162       03/15/11             12:29P      1817 7212416       18 173436690     ......•........       310410276936201              IN         [52709/ 24338:- 97 . 09953 : 32.93497: )
1163       03/15/11             03:42P      18179469251        18173436 6 90    ...................   310410276936201              IN         [ 52709/62028: - 97. 0 9953 : 32.9 3497: 120 )
1164       03/15/11             03 : 44P    18173436690        18179469251                            310410276936201             OUT         [ 52 70 9 / 62028:-97.09953:32. 93 4 97:120)
1165       03/15/11             03:46P      121456 69724       18173436690                            310410276936201             IN          [52709/62028:-97.09953:32.93497: 120)
1166       03/15/1 1            03:52P      18179469251        1817343669 0                           310 410276936201            IN          [5270 9/ 62028:-97.09953 :32.93 4 97:120 )
1167       03/15 /1 1           03:53P      16824726873        18173436690      ...•...........       310410276936201             IN          [52709/62028:-97.09953:32.93497:120)
1168       03/15/11             03:56P      1817946925 1       1817343669 0                           310410276936201             IN          [52709 / 24332 :-97 . 09953:32.93497:128 )
1169       03/ 15/ 11           04 : 01P    1817 946925 1      18173436690      ..•..•..•......       310 410276936201            IN          [52709 /604 22:-97.09917:32.95581:128)
1170       03/15/ 11            04 : 04P    18179882986        18173436690      ..•..........•.       310410276936201             IN          [52709 /6 0422:-97.09917:32 . 95581:128)
1171       03/15 / 11           04:06P      1817343 6690       18179469251      •...•..........       310410276936201             OUT         [52709/60422:-97.09917:32.95581:128)
1172       03/15/11             04:09P      16823654979        1817343 6690                           310410276936201             IN          [52709/60428: -97 .099 17 :32.95581:128)
1173       03/ 15/ 11           04:09P      1817946925 1       18 17343669 0                          310 41027693620 1           IN          [ 52709/60428: -97.09917:32.95581:128)
1174       03/15/ll             04:09P      18179469251        1817 3436690                           310410276936201             IN          [52709/60428 :- 97.099 17 :32.95 581: 128)
1175       03/ 1 5/ ll          04:10P      1682472 68 73      18173436690      ***************       31041027693 620 1           IN          [ 52709 /60428: -97 .0991 7:32 .955 81:128)
1176       03/ 15 /ll           04: 11P     18179469251        18173436690                            310410276936201             IN          [52709/60428:-97.09917:32.95 58 1:128 )



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                                    Case 4:22-cv-00385-O Document 16-24 Filed 08/16/22 Page 98 of 99 PageID 3918
04/15/2011
                                                                MOBILITY USAGE
SCAMP                                                        (with cell location)


 Run Date :                04/15/2011
 Run Time:                 15:29:07
 SMS Osage For:            (817)343·6690
 Account Number:           318912244
Item         Conn.                Conn.     Originating     Ternlina ting         IMEI               IMSI          Description   Cell Location
             Date                 Time        Number          Number
1177          03/15/11           04 :24P   18173436690    16824726873       ....•••.•......    310410276936201        OUT        [52709/60422:-97 . 09917:32.95581:128]
1178          03/15/11           04:25P    16824726873    18173436690                          3104102769362 0 1       IN        [52709/60422: -97.09917: 32. 95581: 128 ]
1179          03/15/11           04:29P    18179469251    18173436690       000000000000000    310410276936201       IN_MMS      []
1180          03/15/11           04:37P    18179469251    18173436690       000000000000000    310410276936201       IN_MMS      []
1181          03/15/11           04:47P    18179469251    18173436690                          310410276936201         IN        [52707 / 23533: - 97.16078:32.85086:248]
1182          03/15/11           05:06P    18173431808    18173436690                          310410276936201         IN        [52707/235 33:-9 7 . 16078:32.85086:248]
1183          03/15/11           05:06P    18173431808    18173436690       .....••........    310410276936201         IN        [52707/23533: - 97.16078:32.85086:248]
1184          03/15/11           05:11P    18173436690    18179882986                          310410276936201        OUT        [52 707/235 33:-97. 16078: 32.8508 6:248]
1185          03/15/11           06:00P    18173436690    18179882986       .........•...•.    310410276936201        OUT        [52707/40 64 9:-97.16078:32 .85 086 :248 ]
1186          03/15/11           06:01P    18179882986    18173436690                          310410276936201         IN        [52 707/40649: - 97.16078:32 .8 5086:248]
1187          03/15/11           06:27P    18179469251    18173436690       00000000000000 0   310410276936201       IN_MMS      []
1188          03/15/11           06:27P    1111301000     18173436690                          3104 1 0276936201       IN        [52707/40649 :-97.1 6078:32.85086: 24 8]
1189          03/15/11           06:27P    1111301000     1817 3436690                         310410276936201         IN        [52707/40649:-97.16078:32.85086:248]
1190          03/15/11           06:29P    1111301000     18173436690       ........•......    31 0410276936201        IN        [52707 / 40649:-97.16078:32.85086:248]
1191          03/15/11           06:30P    1111301000     18173436690       .......•..•....    310410276936201         IN        [52707 / 40649:-97.16078:32.85086:248]
1192          03/15/11           06:37P    1111301000     18173436690       ............•..    310410276936201         IN        [52707 / 40649:-97.16078:32.85086:248]
1193          03/15/11           06:38P    1111301000     18173436690       •..•••...•....•    310410276936201         IN        [52707/40649:-97.16078:32.85086:248]
1194          03/15/11           06:54P    18173436690    18048732541       ................   310410276936201        OUT        [52707/23533:-97 . 16078:32.85086:248]
1195          03/15/11           07:19P    18173436690    18179882986       ***************    310410276936201        OUT        [52707 / 40643 :- 97.16078:32.85086:248]
1196          03/15/11           07:19P    18179882986    18173436690       ...............    310410276936201         IN        [52707 / 40649:-97 . 16078:32 .850 86 : 248 ]
1197          03/15/11           07:21P    18173436690    1817988298 6      ........•.•....    310410276936201        OUT        [52707/23533 :-9 7 .16078:32 .850 86:248 ]
1198          03/15/11           07:32P    18179882986    18173436690       ...........•.•.    310410276936201         IN        [52707/40649:-97.16078:32.85086:248 ]
1199          03/15/11           07:59P    18173436690    18179882986       ..••...........    3104 1 0276936201      OUT        [52707/23533: - 97.16078:32.85086:248]
1200          03/15 / 11         08:02P    18179882986    18173436690       ************* **   310410276936201         IN        [52707/23533: - 97.16078:32.85086:248]
1201          03/15/11           08:03P    18173436690    18179882986                          310410276936201        OUT        [52707/23533: -97. 16078 : 32.85086:248]
1202          03/15/11           08:04P    18173436690    19157400023       ......•........    310410276936201        OUT        [52707/23533: - 97.16078: 32.850 86:248]
1203          03/15/11           08:20P    18179882986    18173436690       ...............    310410276936201         IN        [52707/40649:-97.16078:32 . 85086:248]
1204          03/15/11           08:20P    18179882986    18173436690                          310410276936201         IN        [ 52707/40649 :- 97. 16078 :32 .850 86:248]
1205          03/15/11           08:39P    18173431808    18173436690       ...............    310410276936201         IN        [52707 /41588 :-97.13542:32.8 5347:120]
1206          03/15/11           08:40P    18179882986    18173436690                          310410276936201         IN        [52707/41588 :-97 . 13542:32. 85347:120]
1207          03/15/11           08: 41P   18179882986    18173436690                          310410276936201         IN        [52903 / 4 0558: - 97.11217:32.85897:120]
1208          03/15/11           08:42P    18173436690    18179882986       ...............    310410276936201        OUT        [52903 /40558 :- 97.11217:32.85897:120]
1209          03/15/11           08:42P    18179882986    18173436690                          310410276936201         IN        [52903/40558 :- 97.11217:32.85897:120]
1210          03/15/11           08:42P    18173431808    18173436690       ................   310410276936201         IN        [52903/40558:-97.11217:32.85897:120]
1211          03/15/11           08:43P    18173431808    18173436690                          31041027693620 1        IN        [52903/40558:-97 . 11217:32.85897:120]
1212          03/15/11           08:44P    18173436690    18179882986                          3 1 0410276936201      OUT        [52903 / 40558:-97 . 11217:32.85897:120]
1213          03/15/11           08:44P    18173436690    18173431808                          310410276936201        OUT        [52903 / 40558:-97.11217:32.85897:120 ]
1214          03/15/11           08:4 5P   19157400023    18173436690       ...............    31041027 6 936201       IN        [52903/40558 :-9 7 . 11217:32.85897:120 ]



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                                                            MOBILITY USAGE
04/15/2011
SCAMP                                                    (with cell location)                                                                                  €? at&t

Run Date:             04/15/2011
Run Time:             15:29:07
SMS Usage For:        (817)343-6690
Account Number:       318912244
Item        Conn.            Conn.      Originating     Terminating         IMEI                 IMSI           Description   Cell Location
            Date             Time         Number          Number
1215      03/15/ll          08:45P     18179882986    18173436690                         31041027693620 1           IN       [52903/40558: -9 7.11217:32.85897:120]
1216      03/15/ll          08: 4 5P   18173431808    18173436690     *********** *** *   310410276936201            IN       [ 52903/40558:-97. 11 217:32.85897 :1 20]
1217      03/15/ll          08:48P     18173436690    1 9157400023    ***************     310410276936201           OUT       [52903/40558:-97.11217:32.85897:120]
1218      03/15/ll          09:02P     18173436690    14696843383     .......•••..•.•     31041027 6 93 6201        OUT       [52903/40558:-97.11217:32.85897:120]
1219      03/15/ll          09:02P     18173436690    14696843383     .•••...........     310410276936201           OUT       [52903/40558:-97.11217:32.85897:120]
1220      03/15/ll          09:03P     14696843383    18173436690     .........••.•..     310410276936201            IN       [52903/40558:-97.11217:32.85897:120]
1221      03/15/ll          09 :03P    18173436690    14696843383                         310410276936201           OUT       [52903/40558:-97.11217:32.85897:120]
1222      03/15/11          09:05P     14696843383    18173436690     000000000000000     310410276936201         IN MMS      []
1223      03/15/ll          09:05P     1111301000     18173436690                         310410276936201            IN        [ 52903/40558:-97.11217:32.85897:120]
1224      03/15/11          09 :05P    1111301000     18173436690                         310410276936201            IN        [52903/40558:-97 . 11217:32.85897:120]
1225      03/15/ll          09:06P     18173436690    14696843383                         3 1 0410276936201         OUT        [ 52903/40558:-97.11217 : 32.85897:120]
1226      03/15/ll          09:07P     18173436690    14696843383     ........••..•..     310410276936201           OUT        [52903/40558:-97.11217:32.85897:120]
1227      03/15/11          09:07P     18173436690    14696843383     ..•............     310410276936201           OUT        [52903/40558:-97.11217:32.85897:120]
1228      03/15/11          09:07P     14696843383    18173436690                         31041027693620 1           IN        [52903/4 0 558:-97.11217:32.85897:120]
1229      03/15/11          09:12P     14696843383    18173436690     .•.............     3104102 7 693 62 01        IN        [52903/40558:-97.11217:32 . 85897:120]
1230      03/15/ll          09:13P     18173436690    14696843383                         310410276936201          OUT         [52903/40558:-97.11217:32.85897:120]
1231      03/15/ll          09:14P     18177212416    18173436690     ........•.•..•.     310410276936201           IN         [52903/40558:-97.11217:32.85897:120]
1232      03/15/ll          09:16P     14696843383    18173436690                         310410276936201           IN        [ 52903/40558:-97.11217:32.85897:120 ]
1233      03/15/ll          09:17P     18173436690    14696843383                         310410276936201          OUT        [ 52903/40558:-97.11217:32.85897:120 ]
1234      03/15/ll          09:18P     14696843383    18173436690                         3104102769362 01          IN        [ 52903/24182:-97.11217:32.85897:128]
1235      03/15/ll          09:19P     18173436690    14696843383                         310410276936201          OUT        [52903/14321:-97.10911:32.842:8,
                                                                                                                              52903/24182:-97.1 1 217:32 . 85897:128]
1236      03/15/ll          09:19P     18173436690    14696843383                         310410276936201          OUT        [52903/24182:-97.11217:32.85897:128]
1237      03/15/ll          09 : 20P   18173436690    14696843383                         310410276936201          OUT        [52903/24182:-97 . 11217:32.85897:128]
1238      03/15/ll          09:20P     14696843383    18173436690     ....•..........     310410276936201           IN        [52903/40552:-97.11217:32.85897:120]
1239      03/15/ll          09:23P     18173436690    14696843383     •........•••.•.     310410276936201          OUT        [52903/40552:-97.11217:32.85897:120]
1240      03/15/ll          09:24P     18173436690    14696843383     .•.••..•....•..     31041027693620 1         OUT        [ 52903/40552:-97.11217:32.85897:120 ]
1241      03/15/ll          09:25P     18173436690    16824726873     .....•••.••....     310410276936201          OUT        [ 52903/40552 : -97.11217:32.85897:120 ]
1242      03/15/ll          09:25P     18173436690    18179882986                         310410276936201          OUT        [ 52903/40552:-97.11217:32.85897:120]
1243      03/15/ll          09:27P     14696843383    18173436690     .........•.•...     310410276936201           IN        [ 52903/40552:-97.11217:32.85897:120]
1244      03/15/ll          09:32P     18173436690    14696843383     000000000000000                            OUT_ MMS     []
1245      03/15/ll          09:34P     18048732541    18173436690     .......••••••..     310410276936201           IN        [52903/40558: - 97.11217:32.85897 :1 20]
1246      03/15/11          09:38P     18173436690    18173431808     ...............     3 1041 0276936201        OUT        [52903/60088:-97.09742:32.89986:120]
1247      03/15/ 11         09:38P     18173431808    18173436690     •....•...•.•...     310410276936201           IN        [52903/60089:-97.09742:32.89986:240]
1248      03/15/ll          09:39P     18173436690    18173431808     •••.•..........     310410276936201          OUT        [52903/60087:-97.09742:32.89986:0]
1249      03/15/11          09:41P     14696843383    18173436690                         310410276936201           IN        [ 52903/27603:-97.08444:32.92639:300]
1250      03/15/11          09:41P     18173436690    14696843383                         310410276936201          OUT        [52903/27603 : -97.08444:32.92639:300 ]
1251      03/15/11          09:42P     14696843383    1 8173436690                        310410276936201           IN        [ 52903/27609: - 97 . 08444:32.92639:]



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